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1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF MARYLAND
                                                                  GREENBELT DIVISION


                   In Re:                                                                          §
                                                                                                   §
                   SBM CERTIFICATE COMPANY                                                         §           Case No. 13-17282
                   SBM INVESTMENT CERTIFICATES, INC.                                               §
                                                                                                   §
                                                                 Debtors                           §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 11 of the United States Bankruptcy Code was filed on
                    04/26/2013 . The case was converted to one under Chapter 7 on 06/17/2013 . The
                   undersigned trustee was appointed on 06/17/2013 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $             536,646.58

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                        41,173.25
                                                     Bank service fees                                                              18,419.11
                                                     Other payments to creditors                                                    17,563.72
                                                     Non-estate funds paid to 3rd Parties                                            5,000.00
                                                     Exemptions paid to the debtor                                                       0.00
                                                     Other payments to the debtor                                                        0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $             454,490.50
             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 10/15/2013 and the
      deadline for filing governmental claims was 10/23/2013 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 29,832.33 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 29,832.33 , for a total compensation of $ 29,832.33 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 14,200.34 , for total expenses of $ 14,200.34 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 12/12/2018                                     By:/s/MERRILL COHEN, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                      FORM 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
                                                                                                                                                                                                Exhibit A
Case No:             13-17282                         TJC        Judge:        Thomas J. Catliota                        Trustee Name:                      MERRILL COHEN, TRUSTEE
Case Name:           SBM CERTIFICATE COMPANY                                                                             Date Filed (f) or Converted (c):   06/17/2013 (c)
                     SBM INVESTMENT CERTIFICATES, INC.                                                                   341(a) Meeting Date:               07/16/2013
For Period Ending:   12/12/2018                                                                                          Claims Bar Date:                   10/15/2013


                                  1                                           2                          3                            4                          5                             6

                         Asset Description                                  Petition/              Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                     Unscheduled          (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                            Values              Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                    Exemptions,                                                                              Assets
                                                                                                  and Other Costs)

  1. NON-CONTIGUOUS PROPERTIES LOCATED IN THE CITY                                883,407.00                      0.00                                                       0.00                        FA
     OF S
  2. COMMERCIAL/MIXED-USE BUILDING 125 N. MINNESOTA                               109,486.00                      0.00                                                51,000.00                          FA
     STR
  3. MONEY IN WELLS FARGO BANK ACCOUNTS                                            67,188.53                      0.00                                                37,838.67                          FA
  4. 12% EQUITY INTEREST IN 1800 PARK AVENUE, LLC                             10,200,000.00                       0.00                                                       0.00                        FA
  5. 100% OWNERSHIP INTEREST IN SBM MORTGAGE                                            0.00                      0.00               OA                                      0.00                        FA
     CORPORATIO
  6. 100% OWNERSHIP INTEREST IN SBM SECURITIES I, LLC                                   0.00                      0.00               OA                                      0.00                        FA
     L
  7. 18% LIMITED PARTNERSHIP INTEREST IN INVY RESORT                            1,000,000.00                      0.00                                                       0.00                        FA
     VE
  8. COLLATERALIZED MORTGAGE OBLIGATION RESIDUAL                                  700,565.19                      0.00                                               375,313.13                          FA
     TRANCH
  9. MORTGAGE NOTES HELD FOR INVESTMENT- FOUR                                   5,450,000.00                      0.00                                                       0.00                        FA
     LOANS ORI
 10. MORTGAGE NOTES HELD FOR INVESTMENT- LOAN TO                                2,000,000.00                      0.00                                                       0.00                        FA
     MRS VE
 11. REAL ESTATE TAX LIEN CERTIFICATES                                             50,000.00                      0.00                                                       0.00                        FA
 12. POTENTIAL CLAIMS AND CAUSES OF ACTION AGAINST                                 Unknown                        0.00                                                       0.00                        FA
     BANK
 13. POTENTIAL CLAIMS AND CAUSES OF ACTION AGAINST                                 Unknown                        0.00                                                       0.00                        FA
     THE
 14. LIST OF CERTIFICATE HOLDERS                                                   Unknown                        0.00                                                       0.00                        FA
 15. OFFICE FURNITURE, FIXTURES, AND COMPUTER                                       5,000.00                      0.00                                                       0.00                        FA
     EQUIPMENT
 16. RESIDENTIAL LEASE AGREEMENT WITH EMMILLIA                                     Unknown                    7,875.00                                                 7,875.00                          FA
     TURNER 1
 17. RESIDENTIAL LEASE AGREEMENT WITH KYLE FUHR 125                                Unknown                   12,337.50                                                12,337.50                          FA
     N.
 18. UTILITY REFUND                             (u)                                     0.00                   666.76                                                  1,874.06                          FA

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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              13-17282                            TJC         Judge:        Thomas J. Catliota                           Trustee Name:                      MERRILL COHEN, TRUSTEE
Case Name:            SBM CERTIFICATE COMPANY                                                                                    Date Filed (f) or Converted (c):   06/17/2013 (c)
                      SBM INVESTMENT CERTIFICATES, INC.                                                                          341(a) Meeting Date:               07/16/2013
For Period Ending:    12/12/2018                                                                                                 Claims Bar Date:                   10/15/2013


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

 19. ATTORNEYS FEES REFUND - LTB                            (u)                               0.00                   29,816.66                                                 29,816.66                           FA
 20. ATTORNEYS FEES REFUND - MW                             (u)                               0.00                   10,000.00                                                 10,000.00                           FA
 21. INSURANCE REFUND                               (u)                                       0.00                     591.56                                                     591.56                           FA
 22. CLAIM AGAINST PHILIP HAYDEN                           (u)                                0.00                   10,000.00                                                 10,000.00                           FA
 23. CLAIM AGAINST ERIC WESTBURY                            (u)                               0.00                  248,496.00                                                       0.00                   248,496.00
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                    Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                               $20,465,646.72                 $319,783.48                                                 $536,646.58                   $248,496.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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3.31.18: The Trustee has been attempting to collect the judgment obtained against Eric Westbury, the former principal of the debtor. The Trustee has conducted post judgment
discovery but has been unable to collect the judgment. The Trustee intends to file a motion to preserve the judgment for the estate after the case is closed. The Trustee has
completed the process of reviewing the over 1800 Proofs of Claim filed in this case. The Trustee has filed approximately 30 objections to claims, several of which are still
pending. The Trustee is waiting for final fee applications to be prepared by outside counsel as well as the final tax returns for the estate. Once the claim objections have been   Exhibit A
resolved, the tax returns filed, and the fee applications finalized, the Trustee will submit the TFR.

3.31.17: The Trustee obtained a judgment against Eric Westbury, the former principal of the debtor for approximately $250,000. The Trustee is attempting to collect or sell such
judgment. There are approximately 2,000 Proofs of Claims filed in this cases. The Trustee is in the process of reviewing such Proofs of Claims. Once the judgment is sold or
collected, and the Proofs of Claims properly reviewed, the Trustee will file the TFR.

3.31.16: The Trustee ha obtained a contract for the sale of the an of New Yor /Mellon investment.   motion to approve such sale is pending. The Trustee filed a complaint
against P. Hayden for recovery of preference/fraudulent transfer. settlement has been reached and approved by the Court. Pursuant to such settlement, the Trustee is
receiving monthly payments. There are 2 remaining payments due. The Trustee filed a complaint against E. Westbury for recover of preferences/frauduelnt transfer. Trial is
scheduled in the adversary for May 2016.

3.31.15: Trustee has a contract for the purchase of the debtor s real estate located in New Ulm, MN.    motion to approve the sale is pending. Trustee has filed advesary
proceedings against the debtor s former principals to recover preferential and fraudulent transfers. Such adversary proceedings are pending. The Trustee is attempting to collect
funds owed to the debtor from YN Mellon an . Trustee has filed a Rule 2004 examination motion to examine the NY Mellon an .

3.31.14: Trustee is attempting to li uidate assets of the estate. Such assets include real estate located in New Ulm, MN. Trustee has retained a real estate agent and is
mar eting such property. ssets also include various claims and potential lawsuits. Trustee has conducted an investigation and is pursuing such claims.



RE PROP #             3   --   Property disposed of during Chapter 11.
RE PROP #            21   --   Refund of property insurance from 125 N. Minnesota due to cancellation of insurance
                               after property sold
RE PROP #            22   --   Settlement amount is $10,000 payable: $1000 11/1/15; $4000 12/1/15; $1,000 for 5
                               months starting 1/15/16.
RE PROP #            23   --   The Trustee has been unable to collect this judgment. The Trustee intends to file a
                               motion to preserve this asset for the estate upon case closing.

Initial Projected Date of Final Report (TFR): 08/31/2015            Current Projected Date of Final Report (TFR): 07/31/2018




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                           Trustee Name: MERRILL COHEN, TRUSTEE                                      Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                  Bank Name: Signature Bank
                   SBM INVESTMENT CERTIFICATES, INC.                                                             Account Number/CD#: XXXXXX9081
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX8919                                                                             Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                            Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                  6                     7

Transaction Date    Check or                 Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   06/09/16                        Trsf In From EAGLEBANK                    INITIAL WIRE TRANSFER IN                            9999-000               $475,961.56                              $475,961.56

   07/13/16           10001        CLERK, U.S. BANKRUPTCY COURT                                                                  2700-000                                        $350.00         $475,611.56

   07/13/16           10002        CLERK, U.S. BANKRUPTCY COURT                                                                  2700-000                                        $350.00         $475,261.56

   08/05/16                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $504.97         $474,756.59

   09/08/16                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $504.09         $474,252.50

   10/07/16                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $487.37         $473,765.13

   11/07/16                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $503.07         $473,262.06

   12/07/16                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $486.33         $472,775.73

   01/09/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $502.02         $472,273.71

   02/07/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $501.52         $471,772.19

   03/05/17           10003        INSURANCE PARTNERS                                                                            2300-000                                        $270.02         $471,502.17
                                   26865 CENTER RIDGE
                                   ROADWESTLAKE, OH 44145
   03/07/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $452.49         $471,049.68

   04/07/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $500.26         $470,549.42

   05/08/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $483.54         $470,065.88

   05/25/17           10004        CLERK, U.S. BANKRUPTCY COURT              COURT COSTS Triple Seal                             2700-000                                         $23.00         $470,042.88
                                                                             Copy of Judgment
   06/07/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $499.16         $469,543.72

   07/10/17                        Signature Bank                            BANK SERVICE FEE                                    2600-000                                        $482.51         $469,061.21



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                                                                                                                                                                                                   Page:           2
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                             Trustee Name: MERRILL COHEN, TRUSTEE                                       Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                    Bank Name: Signature Bank
                   SBM INVESTMENT CERTIFICATES, INC.                                                               Account Number/CD#: XXXXXX9081
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX8919                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                              Separate Bond (if applicable):


       1                2                              3                                               4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   07/24/17           10005        CLERK, CIRCUIT COURT                      FILING FEE TO RECORD                                  2700-000                                         $110.00         $468,951.21
                                                                             JUDGMENT
   08/07/17                        Signature Bank                            BANK SERVICE FEE                                      2600-000                                         $498.12         $468,453.09

   08/11/17           10006        CLERK, CIRCUIT COURT                      FILING FEE FOR ORAL                                   2700-000                                          $56.00         $468,397.09
                                                                             EXAMINATION Case No.
                                                                             434738-V
   09/08/17                        Signature Bank                            BANK SERVICE FEE                                      2600-000                                         $497.41         $467,899.68

   09/11/17           10007        CLERK, CIRCUIT COURT                      FILING FEE                                            2700-000                                          $56.00         $467,843.68

   09/29/17           10008        ESQ PROCESS SERVERS                       PROCESS SERVICE                                       2990-000                                          $65.00         $467,778.68
                                                                             Eric Westbury subpoena
   10/06/17                        Signature Bank                            BANK SERVICE FEE                                      2600-000                                         $480.82         $467,297.86

   11/07/17                        Signature Bank                            BANK SERVICE FEE                                      2600-000                                         $496.20         $466,801.66

   12/07/17                        Signature Bank                            BANK SERVICE FEE                                      2600-000                                         $479.69         $466,321.97

   12/22/17           10009        BIENSTOCK LAW, LLC                        EXAMINER'S FEE                                        2990-000                                         $150.00         $466,171.97
                                                                             Court examiner re: Eric
                                                                             Wesbrugy
   01/09/18                        Signature Bank                            Bank Service Fee under 11                             2600-000                                         $495.15         $465,676.82
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/23/18           10010        SUBURBAN REPORTING SERVICE                COURT REPORTER                                        2990-000                                         $412.25         $465,264.57
                                   PO BOX 341415                             Deposition of Eric Westbury
                                   BETHESDA, MD 20827
   02/07/18                        Signature Bank                            Bank Service Fee under 11                             2600-000                                         $494.52         $464,770.05
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/05/18           10011        INSURANCE PARTNERS AGENCY, INC. Bond Premium                                                    2300-000                                         $207.51         $464,562.54

                                   6190 Cochran Road, Suite E
                                   Colon, OH 44139



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                                                                                                                                                                                                  Page:           3
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                             Trustee Name: MERRILL COHEN, TRUSTEE                                      Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: Signature Bank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX9081
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8919                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   03/07/18                        Signature Bank                            Bank Service Fee under 11                            2600-000                                         $445.94         $464,116.60
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/06/18                        Signature Bank                            Bank Service Fee under 11                            2600-000                                         $492.92         $463,623.68
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/07/18                        Signature Bank                            Bank Service Fee under 11                            2600-000                                         $476.41         $463,147.27
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/07/18                        Signature Bank                            Bank Service Fee under 11                            2600-000                                         $491.80         $462,655.47
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/09/18                        Signature Bank                            Bank Service Fee under 11                            2600-000                                         $475.43         $462,180.04
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/26/18           10012        STATE OF NEW JERSEY -CBG                  NEW JERSEY CORP                                      2820-000                                         $519.00         $461,661.04
                                   State of New Jersey, Div. of Taxation     BUSINESS TAX
                                   Revenue Processing Center                 E.I.N. XX-XXXXXXX
                                   PO Box 666                                Form CBT-100 balance due for
                                   Trenton, NJ 08646-0666                    the year ended 12/31/13
   07/26/18           10013        MINNESOTA REVENUE                         FORM M4- CORPORATE                                   2820-000                                         $169.00         $461,492.04
                                   Mail Station 1250                         FRANCHSE TAX RETURN
                                   St. Paul, MN 55145-1250                   EIN XX-XXXXXXX
                                                                             Form M4 balance due for the
                                                                             year ended 1231/13
   07/26/18           10014        STATE OF NEW JERSEY -CBT                  FORM CBT - New Jersey Corp                           2820-000                                         $519.00         $460,973.04
                                   State of New Jersey, Div of Taxation      Business Tax Return
                                   Revenue Processing Center                 EIN XX-XXXXXXX, Form
                                   PO Box 666                                CBT-100 balance due for the
                                   Trenton, NJ 08464-0666                    year ended 12/31/14
   07/31/18           10015        MINNESOTA REVENUE                         FORM M4- CORPORATE                                   2820-000                                      $3,531.00          $457,442.04
                                   Mail Station 1250                         FRANCHSE TAX RETURN
                                   St. Paul, MN 55145-1250                   EIN XX-XXXXXXX, Form M4
                                                                             balance for the year ended
                                                                             12/31/15




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                                                                                                                                                                                                  Page:           4
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                              Trustee Name: MERRILL COHEN, TRUSTEE                                     Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                    Bank Name: Signature Bank
                   SBM INVESTMENT CERTIFICATES, INC.                                                               Account Number/CD#: XXXXXX9081
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   07/31/18           10016        STATE OF NEW JERSEY - CBT                 FORM CBT - New Jersey Corp                            2820-000                                        $695.00         $456,747.04
                                   State of New Jersey, Div of Taxation      Business Tax Return
                                   Revenue Processing Center                 EIN XX-XXXXXXX, Form CBT -
                                   PO Box 666                                100 balance due for the year
                                   Trenton, NJ 08646-0666                    ended 12/31/15
   08/07/18                        Signature Bank                            Bank Service Fee under 11                             2600-000                                        $490.80         $456,256.24
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/10/18                        Signature Bank                            Bank Service Fee under 11                             2600-000                                        $485.57         $455,770.67
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/26/18           10017        STATE OF NEW JERSEY -CBT                  NEW JERSEY CORP                                       2820-000                                        $703.82         $455,066.85
                                   NEW JERSEY DIVISION OF TAXATION           BUSINESS TAX
                                   REVENUE PROCESSING CENTER                 EIN XX-XXXXXXX, Form CBT -
                                   CORPORATION BUSINESS TAX                  100 balance due for the year
                                   PO BOX 257                                ended 12/31/16
                                   TRENTON, NU 08646-0257
   10/29/18           10018        STATE OF NEW JERSEY                       STATE INCOME TAX                                      2820-000                                        $296.36         $454,770.49
                                   New Jersey Division of Taxation           FID 522-250-397
                                   Revenue Processing Center                 2013
                                   Corporation Business Tax
                                   PO Box 257
                                   Trenton, NJ 08646
   10/29/18           10019        STATE OF NEW JERSEY                       STATE INCOME TAX                                      2820-000                                        $279.99         $454,490.50
                                   New Jersey Division of Taxation           FID# 522-250-397
                                   Revenue Processing Center                 2014
                                   Corporation Business Tax
                                   PO Box 257
                                   Trenton, NJ 08646


                                                                                                             COLUMN TOTALS                               $475,961.56           $21,471.06
                                                                                                                   Less: Bank Transfers/CD's             $475,961.56                 $0.00
                                                                                                             Subtotal                                           $0.00          $21,471.06
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                                $0.00          $21,471.06



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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   07/07/13             3          WELLS FARGO BANK                          PROCEEDS FROM CLOSED                                 1129-000                  $6,321.52                                  $6,321.52
                                                                             ACCT.
   07/07/13             3          WELLS FARGO BANK                          PROCEEDS FROM CLOSED                                 1129-000                  $6,374.83                                $12,696.35
                                                                             ACCT.
   07/07/13             3          WELLS FARGO BANK                          PROCEEDS FROM CLOSED                                 1129-000                $25,142.32                                 $37,838.67
                                                                             ACCT.
   07/09/13           1001         NEW ULM PUBIC UTILITIES                   UTILITY ACCT NO. 02-205050                           2990-000                                           $63.12          $37,775.55
                                   100 N. BROADWAYNEW ULM, MN                -02
                                   56073                                     125 1/2 N MINNESOTA ST 1
   07/09/13           1002         NEW ULM PUBLIC UTILITIES                  UTILITY ACCT NO. 02-204950                           2990-000                                          $502.94          $37,272.61
                                   100 N. BROADWAYNEW ULM, MN                -04
                                   56073                                     125 N. MINNESOTA STREET
   07/09/13           1003         NEW ULM PUBLIC UTILTIES                   UTILITY ACCT NO. 02-205060                           2990-000                                          $100.70          $37,171.91
                                   100 N. BROADWAYNEW ULM, MN                -04
                                   56073                                     125 1/2 N MINESOTA ST 2
   07/30/13             16         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $37,696.91

   07/30/13             16         EMMILA TURNER                             RENT                                                 1122-000                     $525.00                               $38,221.91

   07/30/13             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $38,746.91

   08/01/13           1004         NEW ULM PUBLIC UTILITIES                  UTILITY                                              2990-000                                          $317.19          $38,429.72

   08/01/13           1005         NEW ULM PUBILC UTILITIES                  UTILITY ACCT NO. 02-205050                           2990-000                                           $82.13          $38,347.59
                                                                             -02
   08/01/13           1006         NEW ULM PUBLIC UTILITIES                  UTILITY ACCT NO. 02-205060                           2990-000                                          $147.04          $38,200.55
                                                                             -04
   08/06/13             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $38,725.55

   08/06/13             18         NEW ULM PUBLIC UTILITIES                  UTILITY REFUND                                       1290-000                     $666.76                               $39,392.31

   08/08/13                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $40.00          $39,352.31

   08/14/13           1007         NEW ULM PUBLIC UTILTIES                   UTILITY ACCT NO. 02-204950                           2990-000                                          $127.89          $39,224.42
                                                                             -04


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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   08/14/13           1008         NEW ULM PUBLIC UTILTIES                   UTILITY ACCT NO. 02-205050                           2990-000                                           $69.27          $39,155.15
                                                                             -02
   08/14/13           1009         NEW ULM PUBLIC UTITLIES                   UTILITY ACCT NO. 02-205060                           2990-000                                           $52.36          $39,102.79
                                                                             -04
   08/26/13             16         EMMILA TURNER                             RENT                                                 1122-000                     $525.00                               $39,627.79

   09/03/13             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $40,152.79

   09/11/13                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $42.00          $40,110.79

   09/20/13           1010         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $123.79          $39,987.00
                                                                             2050060--04
   09/20/13           1011         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                          $235.42          $39,751.58
                                                                             204950-04
   09/20/13           1012         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $102.35          $39,649.23
                                                                             205050-02
   10/04/13                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $41.00          $39,608.23

   10/10/13             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $40,133.23

   10/18/13           1013         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $239.18          $39,894.05
                                                                             204950-04
   10/18/13           1014         NEW ULM PUBLIC UTILITES                   UTILITIES ACCT NO. 02-                               2990-000                                           $74.25          $39,819.80
                                                                             205050-02
   10/18/13           1015         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $110.73          $39,709.07
                                                                             205060-04
   10/22/13             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $40,234.07

   10/22/13             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $40,759.07

   10/22/13             17         Reverses Deposit # 12                     RENT                                                 1122-000                  ($525.00)                                $40,234.07

   11/01/13             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $40,759.07




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   11/01/13             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $41,284.07

   11/07/13                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $43.00          $41,241.07

   11/14/13           1016         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $661.30          $40,579.77
                                                                             204950-04
   11/14/13           1017         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $48.81          $40,530.96
                                                                             205050-02
   11/14/13           1018         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT. NO. 02-                              2990-000                                           $91.43          $40,439.53
                                                                             205060-04
   12/02/13             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $40,964.53

   12/05/13             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $41,489.53

   12/11/13                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $42.00          $41,447.53

   12/20/13           1019         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $604.69          $40,842.84
                                                                             204950-04
   12/20/13           1020         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $46.54          $40,796.30
                                                                             205959-02
   12/20/13           1021         NEW ULM PUBLIC UTILITIES                  UTILTIES ACCT NO. 02-                                2990-000                                           $88.23          $40,708.07
                                                                             205060-04
   12/20/13           1022         CITY OF NEW ULM                           PARKING LOT RENTAL Lot 02                            2410-000                                          $154.64          $40,553.43
                                                                             Stall 34
                                                                             Lot 02 Stall 35
   01/02/14             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $41,078.43

   01/02/14             19         LEACH TRAVELL BRITT PC                    ATTORNEYS FEES REFUND -                              1290-000                $29,816.66                                 $70,895.09
                                                                             LTB
   01/09/14             20         MCGUIRE WOODS                             ATTORNEY FEES REFUND-                                1249-000                $10,000.00                                 $80,895.09
                                                                             MW
   01/10/14           1023         CITY OF NEW ULM                           PARKING LOT RENTAL Lot                               2410-000                                           $38.66          $80,856.43
                                                                             02, Stall 34
                                                                             Lot 02, Stall 35
   01/13/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $44.00          $80,812.43


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                                                                                                                                                                                                   Page:           8
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   01/14/14             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $81,337.43

   01/20/14           1024         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                       $1,455.11           $79,882.32
                                                                             204950-04
   01/20/14           1025         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $47.75          $79,834.57
                                                                             205050-02
   01/20/14           1026         NEW ULM PUBLIC UTITILIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $85.70          $79,748.87
                                                                             205060-04
   02/03/14             17         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $80,273.87

   02/10/14             16         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,798.87

   02/12/14           1027         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $38.66          $80,760.21
                                                                             LOT 02 STALL 35
   02/12/14           1028         CITY OF NEW ULM                           SNOW REMOVAL INV.                                    2410-000                                          $115.00          $80,645.21
                                                                             201401131102
   02/12/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $77.00          $80,568.21

   02/19/14           1029         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                          $966.22          $79,601.99
                                                                             204950-04
   02/19/14           1030         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $47.22          $79,554.77
                                                                             205050-02
   02/19/14           1031         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $84.49          $79,470.28
                                                                             205060-04
   03/04/14             16         EMMILLLA TURNER                           RENT                                                 1122-000                     $525.00                               $79,995.28

   03/07/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,520.28

   03/10/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $77.00          $80,443.28

   03/12/14           1032         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $38.66          $80,404.62
                                                                             LOT 02 STALL 35
   03/18/14           1033         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $960.67          $79,443.95
                                                                             204950-04



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                                                                                                    12/18/18                  Page 14 of 371
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   03/18/14           1034         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $42.02          $79,401.93
                                                                             205060-02
   03/18/14           1035         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $69.59          $79,332.34
                                                                             205060-04
   03/24/14           1036         INSURANCE PARTNERS AGENCY, INC.                                                                2300-000                                           $68.44          $79,263.90
                                   26865 CENTER RIDGE
                                   ROADWESTLAKE, OH 44145
   03/24/14           1037         RIVER VIEW SANITATION INC.                TRASH PICKUP INV. 131613                             2990-000                                           $11.52          $79,252.38
                                   PO BOX 338NEW ULM, MN 56073
   03/31/14             16         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $79,777.38

   04/01/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,302.38

   04/09/14           1038         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $38.66          $80,263.72
                                                                             LOT 02 STALL 35
   04/09/14           1039         RIVER VIEW SANITATION INC.                TRASH PICKUP INV. 13422                              2990-000                                           $72.74          $80,190.98

   04/10/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $85.00          $80,105.98

   04/16/14           1040         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $903.20          $79,202.78
                                                                             204950-04
   04/16/14           1041         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $45.21          $79,157.57
                                                                             205050-02
   04/16/14           1042         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $87.56          $79,070.01
                                                                             205060-04
   05/02/14             16         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $79,595.01

   05/07/14           1043         CITY OF NEW ULM                           PARKING LOT 02, STALL 35                             2410-000                                           $38.66          $79,556.35
                                                                             LOT 02, STALL 34
   05/09/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $82.00          $79,474.35

   05/13/14           1044         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $238.32          $79,236.03
                                                                             204950-04
   05/13/14           1045         NEW ULM PUBLIC UTITLIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $46.29          $79,189.74
                                                                             205050-02


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                                                                                                                                                                                                   Page:       10
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                                                                                              Filed
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                                                                                                    12/18/18                  Page 15 of 371
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   05/13/14           1046         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $97.15          $79,092.59
                                                                             205060-04
   05/16/14           1047         BANK MIDWEST INSURANCE-NU                 PROPERTY INSURANCE INV.                              2420-000                                       $1,303.57           $77,789.02
                                   307 N. MinnesotaNew Ulm, MNf 56073        16556
   05/29/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $78,314.02

   06/03/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $78,839.02

   06/03/14             16         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $79,364.02

   06/10/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $84.00          $79,280.02

   06/12/14           1048         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $38.66          $79,241.36
                                                                             LOT 02 STALL 35
   06/12/14           1049         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                          $478.63          $78,762.73
                                                                             204950-04
   06/12/14           1050         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $55.87          $78,706.86
                                                                             205050-02
   06/12/14           1051         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $81.71          $78,625.15
                                                                             205060-04
   07/08/14             16         EMMILLA M. TURNER                         RENT                                                 1122-000                     $525.00                               $79,150.15

   07/08/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $79,675.15

   07/08/14           1052         RIVER VIEW SANITATION INC.                TRASH PICKUP Inv. 138792                             2990-000                                           $72.74          $79,602.41

   07/08/14           1053         CITY OF NEW ULM                           PARKING Lot 02 Stall 34                              2410-000                                           $38.66          $79,563.75
                                                                             Lot 02 Stall 35
   07/10/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $81.00          $79,482.75

   07/24/14           1054         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $95.74          $79,387.01
                                                                             204950-04
   07/24/14           1055         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $72.91          $79,314.10
                                                                             205050-02



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                                                                                                                                                                                                   Page:       11
                                                           Case 13-17282            Doc 418 FORM
                                                                                              Filed
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                                                                                                    12/18/18                  Page 16 of 371
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   07/24/14           1056         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $159.74          $79,154.36
                                                                             205060-04
   08/04/14             16         EMMILLA TURNER                            RENT                                                 1122-000                     $525.00                               $79,679.36

   08/04/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,204.36

   08/08/14           1057         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $38.66          $80,165.70
                                                                             LOT 02 STALL 35
   08/11/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $84.00          $80,081.70

   08/18/14           1058         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $122.38          $79,959.32
                                                                             204950-04
   08/18/14           1059         NEW ULM PUBLIC UTILITIES                  UTILITIES                                            2990-000                                           $77.05          $79,882.27

   08/18/14           1060         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $170.39          $79,711.88
                                                                             20060-04
   09/09/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,236.88

   09/09/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $85.00          $80,151.88

   09/16/14           1061         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $19.33          $80,132.55

   10/03/14           1062         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $102.29          $80,030.26
                                                                             204950-04
   10/03/14           1063         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $91.82          $79,938.44
                                                                             205050-02
   10/03/14           1064         NEW ULM PUBLIC UTITLIES                   UTILITIES ACCT NO. 02-                               2990-000                                          $186.64          $79,751.80
                                                                             205060-04
   10/06/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,276.80

   10/06/14           1065         CITY OF NEW ULM                           PARKING LOT #02 STALL                                2410-000                                           $19.33          $80,257.47
                                                                             #34
   10/06/14           1066         RIVER VIEW SANITATION INC.                TRASH PICKUP INV. 143511                             2990-000                                           $72.74          $80,184.73




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                                                                                                                                                                                                   Page:       12
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                             Trustee Name: MERRILL COHEN, TRUSTEE                                       Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   10/07/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $82.00          $80,102.73

   10/16/14           1067         NEW ULM PUBIC UTILITES                    UTILITIES ACCT NO. 02-                               2990-000                                           $62.38          $80,040.35
                                                                             204950-04
   10/16/14           1068         NEW ULM PUBLIC UTILTIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $52.55          $79,987.80
                                                                             205050-02
   10/16/14           1069         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $36.56          $79,951.24
                                                                             205060-04
   10/16/14           1070         CITY OF NEW ULM                           SNOW REMOVAL INV.                                    2410-000                                           $95.00          $79,856.24
                                                                             201404231329
   11/06/14           1071         CITY OF NEW ULM                           PARKING Lot # 02, Stall# 34                          2410-000                                           $19.33          $79,836.91

   11/06/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $85.00          $79,751.91

   11/10/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $80,276.91

   12/01/14           1072         BANK MIDWEST INSURANCE                    PROPERTY INSURANCE INV.                              2420-000                                       $1,228.42           $79,048.49
                                                                             17137
   12/01/14           1073         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $434.88          $78,613.61
                                                                             204950-04
   12/01/14           1074         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $49.08          $78,564.53
                                                                             205050-02
   12/01/14           1075         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $25.11          $78,539.42
                                                                             205060-04
   12/01/14           1076         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $19.33          $78,520.09

   12/03/14             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $79,045.09

   12/16/14                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $82.00          $78,963.09

   12/23/14           1077         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $450.27          $78,512.82
                                                                             204950-04
   12/23/14           1078         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $49.55          $78,463.27
                                                                             205050-02



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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   12/23/14           1079         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $21.11          $78,442.16
                                                                             205060-04
   01/14/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $84.00          $78,358.16

   01/15/15           1080         RIVER VIEW SANITATION INC.                TRASH PICK UP INV. 148028                            2990-000                                           $72.74          $78,285.42

   01/15/15           1081         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $21.00          $78,264.42

   01/22/15           1082         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $469.04          $77,795.38
                                                                             204950-04
   01/22/15           1083         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $30.09          $77,765.29
                                                                             205050-02
   01/22/15           1084         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $25.24          $77,740.05
                                                                             205060-04
   01/27/15             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $78,265.05

   02/03/15             17         KYLE FUHR                                                                                      1122-000                     $525.00                               $78,790.05

   02/09/15           1085         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $21.00          $78,769.05

   02/10/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $83.00          $78,686.05

   02/20/15           1086         NEW ULM PUBLIC UTLITIES                   UTILITIES ACCT NO. 02-                               2990-000                                          $458.78          $78,227.27
                                                                             204950-04
   02/20/15           1087         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCOUNT NO. 02-                            2990-000                                           $44.21          $78,183.06
                                                                             205050-02
   02/20/15           1088         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $28.67          $78,154.39
                                                                             205060-04
   03/07/15             17         KYLE A. FUHR                              RENT                                                 1122-000                     $525.00                               $78,679.39

   03/12/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $75.00          $78,604.39

   03/19/15           1089         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $21.00          $78,583.39




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   03/19/15           1090         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $557.65          $78,025.74
                                                                             204950-04
   03/19/15           1091         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $40.49          $77,985.25
                                                                             205050-02
   03/19/15           1092         NEW ULM PUBIC UTILITIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $19.37          $77,965.88
                                                                             205060-04
   03/19/15           1093         CITY OF NEW ULM                           SNOW REMOVAL INV.                                    2410-000                                          $110.00          $77,855.88
                                                                             201502272222
   03/24/15           1094         INSURANCE PARTNERS AGENCY, INC.                                                                2300-000                                           $43.48          $77,812.40
                                   26865 CENTER RIDGE
                                   ROADWESTLAKE, OH 44145
   04/07/15             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $78,337.40

   04/07/15           1095         RIVER VIEW SANITATION INC.                TRASH PICK UP Inv. 152516                            2990-000                                           $72.74          $78,264.66
                                   PO Box 338New Ulm, MN 56073
   04/07/15           1096         CITY OF NEW ULM                           PARKING Lot 02, Stall 34                             2410-000                                           $21.00          $78,243.66

   04/09/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $83.00          $78,160.66

   05/07/15             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                               $78,685.66

   05/12/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                           $80.00          $78,605.66

   05/13/15             8          THE BANK O FNEW YORK MELLON               PAYMENT RE: NON-EXEMPT                               1129-000               $116,256.81                                $194,862.47
                                                                             PROPERTY
   05/13/15           1097         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $529.81         $194,332.66
                                                                             204950-04
   05/13/15           1098         NEW ULM PUBILC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $57.62         $194,275.04
                                                                             205050-02
   05/13/15           1099         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $20.29         $194,254.75
                                                                             205060-04
   05/13/15           1100         CITY OF NEW ULM                           PARKING LOT 02 STALL 34                              2410-000                                           $21.00         $194,233.75

   05/13/15           1101         CITY OF NEW ULM                           SNOW REMOVAL INV.                                    2410-000                                          $110.00         $194,123.75
                                                                             20150227222


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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                            Trustee Name: MERRILL COHEN, TRUSTEE                                        Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                   Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                           Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                    5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                             ($)
   05/18/15           1102         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $165.81         $193,957.94
                                                                             204950-04
   05/18/15           1103         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $61.36         $193,896.58
                                                                             205050-02
   05/18/15           1104         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $20.29         $193,876.29
                                                                             205060-04
   05/28/15             8          THE BANK OF NEW YORK MELLON               PAYMENT RE: NON-EXEMPT                               1129-000                  $4,908.12                               $198,784.41
                                                                             PROPERTY
   06/10/15                        EAGLEBANK                                 BANK SERVICE FEE                                     2600-000                                          $151.00         $198,633.41

   06/12/15             17         KYLE FUHR                                 RENT                                                 1122-000                     $525.00                              $199,158.41

   06/12/15           1105         CITY OF NEW ULM                           PARKING LOT 02, STALL 34                             2410-000                                           $21.00         $199,137.41

   06/12/15           1106         BANK MIDWEST INSURANCE                    INSURANCE INV. NO. 17548                             2420-000                                           $40.19         $199,097.22
                                   307 N. Minnesota StreetNew Ulm, MN
                                   56073
   06/19/15           1107         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                               2990-000                                          $109.48         $198,987.74
                                                                             24950-04
   06/19/15           1108         NEW ULM PUBLIC UTITILIES                  UTILITIES ACCT NO. 02-                               2990-000                                           $47.79         $198,939.95
                                                                             205050-02
   06/19/15           1109         NEW ULM PUBLIC UTITLIES                   UTILITIES ACCT NO. 02-                               2990-000                                           $22.28         $198,917.67
                                                                             205060-04
   06/19/15           1110         BANK MIDWEST INSURANCE                    INSURANCE INV. 17565                                 2420-000                                       $1,284.07          $197,633.60

   06/25/15           1111         THE PICKER-UPPERS LLC                     ADMINISTRATIVE EXPENSE -                             2990-000                                          $385.00         $197,248.60
                                   PO Box 638New Ulm, MN 56073               DISPOSAL INV. 13615
   06/25/15           1112         GLOBAL DOCUMENT DESTRUCTION               ADMINISTRATIVE EXPENSE -                             2990-000                                       $2,405.95          $194,842.65
                                   PO Box 71411Newnan, GA 30271              SHREDDING INV. 1939
   06/26/15           1113         SHRED RIGHT                               ADMINISTRATIVE EXPENSE -                             2990-000                                          $447.72         $194,394.93
                                   862 Hersey StreetSt. Paul, MN 55114       SHREDDING INV. 211798
   06/26/15           1114         CHRIS L. BURMEISTER                       ADMINISTRATIVE EXPENSE -                             2990-000                                          $480.00         $193,914.93
                                                                             CLEAN UP INV. 384714
   06/26/15           1115         PETER ROTHMEIER                           ADMINISTRATIVE EXPENSE -                             2990-000                                          $800.00         $193,114.93
                                   2404 Lake AvenueNew Ulm, MN 56073         BLDG. MNTN


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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                           Trustee Name: MERRILL COHEN, TRUSTEE                                       Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                  Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                             Account Number/CD#: XXXXXX0072
                                                                                                                                          Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                             Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                            Separate Bond (if applicable):


       1                2                              3                                             4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                            ($)
   07/06/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                              1129-000                  $5,441.54                              $198,556.47
                                                                             PROPERTY
   07/08/15           1116         MODUS EDISCOVERY INC.                    ADMINISTRATIVE EXPENSE                               2990-000                                      $1,535.57          $197,020.90
                                   Two Ravinia Drive, Suite 1570Atlanta, GA INV. 36-6360
                                   30346
   07/08/15           1117         CITY OF NEW ULM                           PARKING LOT 02, STALL 34                            2410-000                                          $21.00         $196,999.90

   07/08/15           1118         RIVER VIEW SANITATION INC.                TRASH REMOVAL INV.                                  2990-000                                          $72.74         $196,927.16
                                   PO BOX 338NEW ULM, MN 56073               157183
   07/08/15                        EAGLEBANK                                 BANK SERVICE FEE                                    2600-000                                         $204.00         $196,723.16

   07/27/15             2          BERENS, RODENBERG & O'CONNOR,             FORFEITED DEPOSIT FROM                              1110-000                  $1,000.00                              $197,723.16
                                   CHTD                                      SALE OF RP

   07/27/15           1119         NEW ULM PUBIC UTILITIES                   UTILITIES ACCT NO. 02-                              2990-000                                          $86.97         $197,636.19
                                                                             204950-04
   07/27/15           1120         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                              2990-000                                          $79.95         $197,556.24
                                                                             205050-02
   07/27/15           1121         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                              2990-000                                          $24.68         $197,531.56
                                                                             205060-04
   07/30/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                              1129-000                  $5,072.87                              $202,604.43
                                                                             PROPERTY
   08/12/15                        EAGLEBANK                                 BANK SERVICE FEE                                    2600-000                                         $211.00         $202,393.43

   08/18/15           1122         NEW ULM PUBLIC UTILITES                   UTILITIES ACCT NO. 02-                              2990-000                                          $96.67         $202,296.76
                                                                             204950-04
   08/18/15           1123         NEW ULM PUBLIC UTILITIES                  UTILITIES ACCT NO. 02-                              2990-000                                         $106.32         $202,190.44
                                                                             205050-02
   08/18/15           1124         NEW ULM PUBLIC UTITLIES                   UTILITIES ACCT NO. 02-                              2990-000                                          $28.67         $202,161.77
                                                                             205060-04
   08/18/15           1125         BEYOND REAL ESTATE - SUE                  PROPERTY MAINTENANCE                                2420-000                                         $170.00         $201,991.77
                                   ROTHMEIER                                 Reimburse expense paid to
                                   c/o Sue Rothmeier4 N. MinnesotaNew        Schaunus-Gag Plumbing and
                                   Ulm, MN 56073                             Heating
                                                                             for Steam Shut off/Turn On



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                                                                                              Filed
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                                Trustee Name: MERRILL COHEN, TRUSTEE                                      Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                      Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                             Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                             Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                    6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction                  Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   08/20/15                        BERENS, RODENBERG & O'CONNOR              SALE OF REAL PROPERTY                                                          $27,048.28                                $229,040.05

                                                                             Gross Receipts                            $50,000.00

                                   BEYOND REAL ESTATE                        SALES AGENT(S)                            ($3,750.00)    3510-000
                                   BEYOND REAL ESTATE                        COMMISSION
                                   BROWN COUNTY, MN                          EXPENSES OF SALE                           ($349.00)     2500-000
                                   BROWN COUNTY, MN
                                   BROWN COUNTY, MN                          REAL ESTATE PROPERTY                     ($17,563.72)    4700-000
                                   BROWN COUNTY, MN                          TAXES
                                   BERENS LAW FIRM                           EXPENSES OF SALE                           ($944.00)     2500-000
                                   BERENS LAW FIRM
                                   BEYOND REAL ESTATE                        EXPENSES OF SALE                           ($345.00)     3520-000
                                   BEYOND REAL ESTATE
                        2                                                    COMMERCIAL/MIXED-USE                      $50,000.00     1110-000
                                                                             BUILDING 125 N.
                                                                             MINNESOTA STR
   08/26/15             17         KYLE FUHR                                 RENT                                                     1122-000                   $262.50                              $229,302.55

   08/28/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                                   1129-000                $5,592.32                               $234,894.87
                                                                             PROPERTY
   09/10/15                        EAGLEBANK                                 BANK SERVICE FEE                                         2600-000                                        $223.00         $234,671.87

   09/15/15             21         BANK MIDWEST INSURANCE                    INSURANCE REFUND                                         1290-000                   $591.56                              $235,263.43

   09/15/15             18         NEW ULM PUBILC UTILITES                   REFUND                                                   1290-000                $1,207.30                               $236,470.73

   09/29/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                                   1129-000                $4,987.35                               $241,458.08
                                                                             PROPERTY
   10/09/15                        EAGLEBANK                                 BANK SERVICE FEE                                         2600-000                                        $242.00         $241,216.08

   10/30/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                                   1129-000              $95,693.07                                $336,909.15
                                                                             PROPERTY
   11/04/15                        EAGLEBANK                                 BANK SERVICE FEE                                         2600-000                                        $256.00         $336,653.15



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                                                                                                                                                                                                Page:       18
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                                                                                                2
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                          Trustee Name: MERRILL COHEN, TRUSTEE                                       Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                 Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                            Account Number/CD#: XXXXXX0072
                                                                                                                                         Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                            Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                           Separate Bond (if applicable):


       1                2                              3                                            4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                   Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                            ($)
   11/05/15             22         PHILIP HAYDEN                             SETTLEMENT OF ADV.                                 1249-000                  $1,000.00                              $337,653.15
                                                                             PROCEEDING
   11/30/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                             1129-000                  $3,894.12                              $341,547.27
                                                                             PROPERTY
   12/08/15                        EAGLEBANK                                 BANK SERVICE FEE                                   2600-000                                         $347.00         $341,200.27

   12/10/15             22         PHILIP HAYDEN                             SETTLEMENT OF ADV.                                 1249-000                  $4,000.00                              $345,200.27
                                                                             PROCEEDING
   12/31/15             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                             1129-000                  $3,817.58                              $349,017.85
                                                                             PROPERTY
   01/13/16                        EAGLEBANK                                 BANK SERVICE FEE                                   2600-000                                         $365.00         $348,652.85

   01/19/16             22         PHILIP HAYDEN                             SETTLEMENT OF ADV.                                 1249-000                  $1,000.00                              $349,652.85
                                                                             PROCEEDING
   02/01/16             8          BANK OF NEW YORK/MELLON                   PAYMENT RE: NON-EXEMPT                             1129-000                  $2,884.77                              $352,537.62
                                                                             PROPERTY
   02/09/16                        EAGLEBANK                                 BANK SERVICE FEE                                   2600-000                                         $371.00         $352,166.62

   02/19/16             22         PHILLIP HAYDEN                            SETTLEMENT OF ADV.                                 1249-000                  $1,000.00                              $353,166.62
                                                                             PROCEEDING
   02/25/16             8          SM FINANCIAL SERVICES CORP                SALE OF PROPERTY                                   1129-000                  $5,000.00                              $358,166.62

   03/07/16             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                             1129-000                  $3,124.31                              $361,290.93
                                                                             PROPERTY
   03/07/16                        EAGLEBANK                                 BANK SERVICE FEE                                   2600-000                                         $350.00         $360,940.93

   03/11/16           1126         INSURANCE PARTNERS AGENCY, INC.                                                              2300-000                                         $189.64         $360,751.29
                                   26865 Center Ridge RoadWestlake, OH
                                   44145
   03/21/16             22         PHILIP HAYDEN                             SETTLEMENT OF ADV.                                 1249-000                  $1,000.00                              $361,751.29
                                                                             PROCEEDING
   03/30/16             8          BANK OF NEW YORK MELLON                   PAYMENT RE: NON-EXEMPT                             1129-000                  $3,640.27                              $365,391.56
                                                                             PROPERTY
   04/11/16                        EAGLEBANK                                 BANK SERVICE FEE                                   2600-000                                         $383.00         $365,008.56



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                                                                                                                                                                                                   Page:       19
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 13-17282                                                                                               Trustee Name: MERRILL COHEN, TRUSTEE                                     Exhibit B
      Case Name: SBM CERTIFICATE COMPANY                                                                                     Bank Name: EagleBank
                   SBM INVESTMENT CERTIFICATES, INC.                                                                Account Number/CD#: XXXXXX0072
                                                                                                                                            Checking - Non Interest
  Taxpayer ID No: XX-XXX8919                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 12/12/2018                                                                              Separate Bond (if applicable):


       1                2                              3                                               4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction               Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/12/16             8          PHILIP HAYDEN ON BEHALF OF PLAN           SALE OF PROPERTY                                       1129-000                 $5,000.00                              $370,008.56
                                   Z,

   04/26/16             22         PHILIP HAYDEN                             SETTLEMENT OF ADV.                                     1249-000                 $1,000.00                              $371,008.56
                                                                             PROCEEDING
   04/27/16             8          PLAN Z, LLC                               SALE OF PROPERTY                                       1129-000              $110,000.00                               $481,008.56

   04/27/16           1127         SM FINANCIAL SERVICES CORP.               Refund of Deposit for purchase                         8500-002                                     $5,000.00          $476,008.56
                                   PO Box 53049 Old Turnpike                 of Bank of New York Mellon
                                   RoadOldwick, NJ 08858                     investment to unsuccessful
                                                                             bidder
   05/02/16             22         PHILIP AYDEN                              SETTLEMENT OF ADV.                                     1249-000                 $1,000.00                              $477,008.56
                                                                             PROCEEDING
   05/09/16                        EAGLEBANK                                 BANK SERVICE FEE                                       2600-000                                        $393.00         $476,615.56

   06/01/16                        EAGLEBANK                                 BANK SERVICE FEE                                       2600-000                                        $507.00         $476,108.56

   06/07/16                        EAGLEBANK                                 Pro-rated June 16' bank                                2600-000                                        $147.00         $475,961.56
                                                                             service fee
   06/09/16                        Trsf To Signature Bank                    FINAL TRANSFER                                         9999-000                                   $475,961.56                 $0.00



                                                                                                              COLUMN TOTALS                               $513,694.86          $513,694.86
                                                                                                                    Less: Bank Transfers/CD's                    $0.00         $475,961.56
                                                                                                              Subtotal                                    $513,694.86           $37,733.30
                                                                                                                    Less: Payments to Debtors                    $0.00                $0.00
                                                                                                              Net                                         $513,694.86           $37,733.30




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                                                                                                                                                                    Page:     20
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                                                                                                                                                                     Exhibit B
                                                                                               TOTAL OF ALL ACCOUNTS
                                                                                                                                                 NET             ACCOUNT
                                                                                                             NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX0072 - Checking - Non Interest                                 $513,694.86               $37,733.30                 $0.00

                                            XXXXXX9081 - Checking                                                       $0.00              $21,471.06           $454,490.50
                                                                                                                 $513,694.86               $59,204.36           $454,490.50

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                            Total Allocation Receipts:                         $22,951.72
                                            Total Net Deposits:                               $513,694.86
                                            Total Gross Receipts:                             $536,646.58




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                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 0:13-17282-TJC                                                                                                                 Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class        Notes                                               Scheduled           Claimed           Allowed
261A       OFFICE OF THE US TRUSTEE           Administrative                                                             $0.00           $325.00           $325.00
1          6305 Ivy Lane, Ste 600
2950       Greenbelt, MD 20770                                   (261-1) Chapter 11 quarterly fees




A2         U. S. BANKRUPTCY COURT             Administrative                                                             $0.00           $373.00           $373.00
10         CLERK
2700       CLERK                                                 Extended Check Description Notes from conversion:
           U.S. BANKRUPTCY COURT                                 ADV. PROC. 15-00194 350.00
                                                                 -----------------
                                                                 Triple Seal Fee 23.00




A2         U. S. BANKRUPTCY COURT             Administrative                                                             $0.00           $350.00           $350.00
10         CLERK
2700       CLERK                                                 Extended Check Description Notes from conversion:
           U.S. BANKRUPTCY COURT                                 Adv. Proc. No. 15-00195




1          RONALD D HOHNEKE ROTH              Unsecured                                                                  $0.00         $5,432.17          $5,432.17
70         IRA
7100       6732 192 Pl
           Albia, IA 52531


2          RONALD D HOHNEKE TRUST             Unsecured                                                                  $0.00        $43,676.00         $43,676.00
70         6732 192 Pl
7100       Albia, IA 52531




3          RONAND HOHNEKE BETTY               Unsecured                                                                  $0.00        $21,350.31         $21,350.31
70         HOHNEKE JTWROS
7100       6732 192 Pl
           Albia, IA 52532


4          GARY E ZWIEG                       Unsecured                                                                  $0.00         $6,000.00          $6,000.00
70         3050 Carriage Drive
7100       3050 Carriage Drive                                   (4-1) Account Number (last 4 digits):0397
           Medina, MN 55340




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Case Number: 0:13-17282-TJC                                                                                                          Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled           Claimed            Allowed
5          KENNETH F. TRAUSCH                 Unsecured                                                          $0.00          $8,487.11          $8,487.11
70         1508 265th street
7100       Eagle Grove, IA 50533                              (5-1) Account Number (last 4 digits):6247




6          SUSAN C TAYLOR                     Unsecured                                                          $0.00         $21,631.88         $21,631.88
70         62 Honey Lane
7100       Staffor, VA 22554                                  (6-1) Account Number (last 4 digits):1842




7          MARGARAET HALE                     Unsecured                                                          $0.00          $4,714.22          $4,714.22
70         925 SPRING ST
7100       GRINNELL, IA 50112




8          EULA VARNER ESTATE                 Unsecured                                                          $0.00         $15,241.52         $15,241.52
70         c/o Timothy J Rahm, attorney
7100       950 Office Park Road #333
           West Des Moines, IA 50265


9          DARLENE D. WOLF                    Unsecured                                                          $0.00          $3,318.00          $3,318.00
70         12956 Main Street
7100       New Ulm, MN 56073-4421                             (9-1) Account Number (last 4 digits):1025




10         RAY A JOHNSON                      Unsecured                                                          $0.00          $5,395.10          $5,395.10
70         PO BOX 29521
7100       WASHINGTON, DC 20017                               (10-1) Money Owed for Unreturned IRA Investment Payments




11         LOVISON RAYMOND                    Unsecured                                                          $0.00         $20,000.00         $20,000.00
70         c/o James G. Milani
7100       Orsborn, Milani et al                              (11-1) Certificate(11-2) Mortgage Note
           105 W. Van Buren St., PO Box 518
           Centerville, IA 52544-0518




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Case Number: 0:13-17282-TJC                                                                                                                Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled            Claimed            Allowed
12         DENNIS & VICKI                     Unsecured                                                               $0.00           $9,525.98          $9,525.98
70         CHRISTIANSON
7100       4962 North Dakota Avenue                           (12-1) Account Number (last 4 digits):0397
           Ames, IA 50014




13         KAREN BAHR                         Unsecured                                                                $0.00         $14,094.00         $14,094.00
70         5080 32nd Avenue
7100       Walker, IA 52352                                   (13-1) Account Number (last 4 digits):5073




14         WISDO MICHAEL                      Unsecured                                                                $0.00          $6,000.00          $6,000.00
70         143 SIMPSON
7100       SWOYERSVILLE, PA 18704                             (14-1) Certificate




15         REYNOLDS VIOLET                    Unsecured                                                                $0.00         $11,046.55         $11,046.55
70         3524 91ST CRESCENT NORTH
7100       BROOKLYN PARK, MN 55443                            (15-1) Account Number (last 4 digits):0397




16         CINDY HASELHUHN                    Unsecured                                                                $0.00          $9,425.80          $9,425.80
70         4866 Wistful Vista Drive
7100       West Des Moines, IA 50265-9998                     (16-1) Account Number (last 4 digits):9114




17         CAROL ALLISON                      Unsecured                                                                $0.00         $15,412.46         $15,412.46
70         811 WEST BROADWAY
7100       MONMOUTH, IL 61462                                 (17-1) Investment Certificates




18         HOWELL REBECCA                     Unsecured                                                                $0.00         $27,602.99         $27,602.99
70         225 GORDON RD
7100       MATANAN, NJ 07747                                  (18-2) Certificate of Investment(18-3) Certificate of Investment




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Case Number: 0:13-17282-TJC                                                                                                         Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
19         AGNES ANITA DECKER REV             Unsecured                                                          $0.00        $10,851.03         $10,851.03
70         TRUST
7100       c/o Peoples Bank Wealth Mgmt                       (19-1) Investment Sold(19-2) Investment Sold
           Group
           1701 S. Main Ave. P.O. Box 135
           Sioux Center, IA 51250


20         ETHEL FRANZEN TRUST                Unsecured                                                          $0.00        $45,000.00         $45,000.00
70         c/o Peoples Bank Wealth Mgmt
7100       Grp                                                (20-1) Investment Sold(20-2) Investment Sold
           1701 S. Main Ave P.O. Box 135
           Sioux Center, IA 51250




21         HOMER K. DECKER IRR                Unsecured                                                          $0.00        $10,851.03         $10,851.03
70         TRUST AGENCY
7100       c/o Peoples Bank Wealth Mgmt                       (21-1) Investment Sold(21-2) Investment Sold
           Grp
           1701 S. Main Ave P.O. Box 135
           Sioux Center, IA 51250


22         RAYMOND L. GRIMES ROTH             Unsecured                                                          $0.00         $4,801.88          $4,801.88
70         IRA
7100       c/o Peoples Bank Wealth Mgmt                       (22-1) Investment Sold
           Grp
           1701 S. Main Ave P.O. Box 135
           Sioux Center, IA 51250


23         ROBERT M. SHERMAN                  Unsecured                                                          $0.00       $208,114.68        $208,114.68
70         10444 Garnett St.
7100       Overland Park, KS 66214-2699                       (23-1) Account Number (last 4 digits):0397




24         GERALD SCHULTE                     Unsecured                                                          $0.00        $49,572.38         $49,572.38
70         2008 South 6th St
7100       Marshalltown, IA 50158                             (24-1) Account Number (last 4 digits):7079




26         JANET R. WALDEN                    Unsecured                                                          $0.00        $21,397.95         $21,397.95
70         4840 FRANKLIN STREET
7100       OMAHA, NE 68104-5129                               (26-1) Inheritance




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Case Number: 0:13-17282-TJC                                                                                                        Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled           Claimed           Allowed
27         JACOB PHIPPS                       Unsecured                                                         $0.00           $762.00           $762.00
70         4007 41st St
7100       Des Moines, IA 50312                               (27-1) Account Number (last 4 digits):3714




28         GOBLISH KARI                       Unsecured                                                         $0.00         $5,398.58          $5,398.58
70         15847 FLEET TRAIL
7100       APPLE VALLEY, MN 55124                             (28-1) CD Investment




29         GOBLISH TROY                       Unsecured                                                         $0.00         $5,780.81          $5,780.81
70         305 FALLWOOD ROAD
7100       REDWOOD FALLS, MN 56283                            (29-1) CD Investment




30         LYNDA & JOHN GOBLISH               Unsecured                                                         $0.00        $12,884.43         $12,884.43
70         225 Sunrise Blvd
7100       Redwood Falls, MN 56283                            (30-1) CD Investment




31         GOBLISH LYNDA                      Unsecured                                                         $0.00        $12,581.14         $12,581.14
70         225 SUNRISE BLVD
7100       REDWOOD FALLS, MN 56283                            (31-1) CD Investment




32         GOBLISH LYNDA                      Unsecured                                                         $0.00         $7,003.46          $7,003.46
70         225 SUNRISE BLVD
7100       REDWOOD FALLS, MN 56283                            (32-1) IRA Invested




33         GOBLISH LYNDA                      Unsecured                                                         $0.00         $6,278.65          $6,278.65
70         225 SUNRISE BLVD
7100       REDWOOD FALLS, MN 56283                            (33-1) IRA Investment




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Case Number: 0:13-17282-TJC                                                                                                        Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
34         LYNDA & JOHN GOBLISH               Unsecured                                                         $0.00        $24,086.73         $24,086.73
70         225 Sunrise Blvd
7100       Redwood Falls, MN 56283                            (34-1) CD Investment




35         LYNDA & JOHN GOBLISH               Unsecured                                                         $0.00        $27,298.29         $27,298.29
70         225 Sunrise Blvd
7100       Redwood Falls, MN 56283                            (35-1) CD Investment




36         GOBLISH JOHN                       Unsecured                                                         $0.00         $6,278.65          $6,278.65
70         225 SUNRISE BLVD
7100       REDWOOD FALLS, MN 56283                            (36-1) IRA Investment




37         GOBLISH JOHN                       Unsecured                                                         $0.00         $6,832.64          $6,832.64
70         225 SUNRISE BLVD
7100       REDWOOD FALLS, MN 56283                            (37-1) IRA Investment




38         EMILY PHIPPS                       Unsecured                                                         $0.00           $640.74           $640.74
70         754 19th St.
7100       Apt. 1                                             (38-1) Account Number (last 4 digits):7088
           Des Moines, IA 50314




39         DEBORAH K. WAGENER                 Unsecured                                                         $0.00        $21,498.66         $21,498.66
70         C/O Wil L. Forker
7100       701 Pierce Street
           Suite 303
           Sioux City, IA 51101

40         REITZEL GLADYS                     Unsecured                                                         $0.00        $71,445.01         $71,445.01
70         c/o Todd D. Boyd
7100       PO Box 977                                         (40-1) Purchased SBM 503 & 507 Certificates
           Clear Lake, SD 57226




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Case Number: 0:13-17282-TJC                                                                                                                 Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed             Allowed
41         TICKNER NANCY IRA                  Unsecured                                                                 $0.00          $6,086.72           $6,086.72
70         16430 Bark Bay Road
7100       Herbster, WI 54844                                 (41-1) Purchased Investment Certificate as Part of Self Directed IRA(41-2) SBM Certificate No.
                                                              204737(41-3) SBM Certificate No. 204737




42         KRABER RONALD                      Unsecured                                                                 $0.00         $11,285.14          $11,285.14
70         7204 235TH ST
7100       BLAKESBURG, IA 52536                               (42-1) 1/5 Interest in Certificate 204144 and Certificate 210855




43         HAWORTH SUSAN                      Unsecured                                                                 $0.00         $10,277.87          $10,277.87
70         4664 PARKRIDGE AVENUE
7100       PLEASANT HILL, IA 50327                            (43-1) Certificate 208353




44         SIOUX RURAL WATER                  Unsecured                                                                 $0.00         $73,824.90          $73,824.90
70         SYSTEM INC
7100       45703 176TH STREET                                 (44-1) Purchased Series 503 SBM Cert. No. 210940
           WATERTOWN, SD 57201




45         ALVE D. & EMMA HEAD                Unsecured                                                                 $0.00         $24,484.11          $24,484.11
70         6611 KILLARNEY STREET
7100       CLINTON, MD 20735




46         KRABER GARY                        Unsecured                                                                 $0.00         $11,285.14          $11,285.14
70         9591 20TH AVE
7100       PROLE, IA 50229                                    (46-1) 1/5 Interest in Certificate 204144 and Certificate 210855




47         CRAIG J. WESTENDORF                Unsecured                                                                 $0.00         $21,345.20          $21,345.20
70         7237 N 12th Place
7100       Phoenix, AR 85020




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Case Number: 0:13-17282-TJC                                                                                                                 Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
48         KIMBERLY REHDER AND                Unsecured                                                                 $0.00         $16,778.46         $16,778.46
70         DORIS T KEEGAN
7100       1575 W BIDDICK CT                                  (48-1) Money Owed from a Certificate Investment
           MERIDIAN, ID 83642




49         LOIS BEILKE                        Unsecured                                                                 $0.00          $3,377.25          $3,377.25
70         300 North Broadway
7100       Apt. 207                                           (49-1) Purchase of SBM Certificate
           New Ulm, MN 56073




50         SINCLAIR KEVIN                     Unsecured                                                                 $0.00         $16,946.18         $16,946.18
70         25005 295TH STREET
7100       WABASSO, MN 56293                                  (50-1) Loss of Value(50-2) Unable to Withdraw Funds From SBM




51         RICHARD TANG AND GRACE             Unsecured                                                                 $0.00        $116,812.67        $116,812.67
70         TANG CHIN
7100       131 Amberleigh Drive                               (51-1) Account Number (last 4 digits):0397
           Silver Spring, MD 20905




52         GAIL KRABER MADDY                  Unsecured                                                                 $0.00         $11,285.14         $11,285.14
70         6691 226th St.
7100       Albia, IA 52531                                    (52-1) 1/5 Interest in Certificate 204144 and Certificate 210855




53         DOROTHEA W. PAUL                   Unsecured                                                                 $0.00         $16,597.27         $16,597.27
70         71725 360th Street
7100       Morton, MN 56270                                   (53-2) Made Investment with the Debtor Which Has Not Been Repaid




54         WATIS LESANE                       Unsecured                                                                 $0.00         $65,444.55         $65,444.55
70         3406 Grayvine Ln
7100       Mitchellville, MD 20721                            (54-1) SBM Face Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
55         ELLEN ADELMAN                      Unsecured                                                                 $0.00         $27,693.34         $27,693.34
70         10 CLINTON STREET # 12T
7100       BROOKLYN, NY 11201                                 (55-1) Purchase of SBM Certificate




56         LAWRENCE A. FRIEND, CPA            Unsecured                                                                 $0.00         $94,643.38         $94,643.38
70         11001 Seven Hill Lane
7100       Potomac, MD 20854                                  (56-1) Services Performed




57         WESLEY & JANE DUEHR                Unsecured                                                                 $0.00         $38,628.05         $38,628.05
70         240 Greenbriar Lane
7100       Hollister, MO 65672                                (57-1) Account Number (last 4 digits):0397




58         BAUMAN KENNETH                     Unsecured                                                                 $0.00          $2,878.05          $2,878.05
70         985 DUFFER DR
7100       RAPID CITY, SD 57702                               (58-1) Investment in Savings Certificate issued by SBM




59         ELLEN A MADDISON                   Unsecured                                                                 $0.00          $2,335.24          $2,335.24
70         516 south main
7100       Albia, IA 52531                                    (59-1) Account Number (last 4 digits):2152




60         STANLEY HARCEY                     Unsecured                                                                 $0.00         $13,517.94         $13,517.94
70         c/o Ryan & Grinde LTD
7100       PO Box 6667                                        (60-1) Investment
           Rochester, MN 55903-6667




61         KRABER-LENDT RUTH                  Unsecured                                                                 $0.00         $11,285.14         $11,285.14
70         4640 SE 34TH ST
7100       DES MOINES, IA 50320                               (61-1) 1/5 Interest in Certificate 204144 and Certificate 210855




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
62         JOYCE & WESLEY DUEHR JT            Unsecured                                                         $0.00        $95,718.15         $95,718.15
70         3539 31st Street South
7100       Fargo, ND 58104                                    (62-1) Account Number (last 4 digits):0397




63         JOYCE & WESLEY DUEHR               Unsecured                                                         $0.00        $38,628.05         $38,628.05
70         3539 31st Street South
7100       Fargo, ND 58104                                    (63-1) Account Number (last 4 digits):0397




64         WOLFF JEAN                         Unsecured                                                         $0.00         $3,466.35          $3,466.35
70         1483 THIRD STREET SW
7100       HURON, SD 57350                                    (64-1) Unpaid IRA




65         LAUREL MORGAN                      Unsecured                                                         $0.00         $4,373.00          $4,373.00
70         1146 US Highway 75
7100       Pipestone, MN 56164                                (65-1) Account Number (last 4 digits):9841




66         TODD MORGAN                        Unsecured                                                         $0.00       $129,948.52        $129,948.52
70         1146 US Highway 75
7100       Pipestone, MN 56164                                (66-1) Account Number (last 4 digits):9027




67         BROCK MORGAN                       Unsecured                                                         $0.00         $4,373.00          $4,373.00
70         1146 US Highway 75
7100       Pipestone, MN 56164                                (67-1) Account Number (last 4 digits):2936




68         STANARD FINANCIAL                  Unsecured                                                         $0.00        $29,596.55         $29,596.55
70         SERVICES, LLC
7100       504 East Main Street                               (68-1) Account Number (last 4 digits):8147
           Pipestone, MN 56164




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled           Claimed           Allowed
69         WAYNE RISTY                        Unsecured                                                         $0.00           $791.13           $791.13
70         525 Park Ave.
7100       BROOKINGS, SD 57006                                (69-1) Certificate Investor




70         JEANNINE F. ANDERSON               Unsecured                                                         $0.00        $13,784.00         $13,784.00
70         818 West 5th
7100       Redfield, SD 57469-2020                            (70-1) Account Number (last 4 digits):3812




71         JEANNINE F. ANDERSON               Unsecured                                                         $0.00         $9,204.00          $9,204.00
70         818 West 5th
7100       Redfield, SD 57469-2020                            (71-1) Account Number (last 4 digits):0749




72         JAMES A. ANDERSON                  Unsecured                                                         $0.00        $41,335.00         $41,335.00
70         854 Arizona S.W.
7100       Huron, SD 57350-2219                               (72-1) Account Number (last 4 digits):1368




73         JAMES A. ANDERSON                  Unsecured                                                         $0.00        $52,553.00         $52,553.00
70         854 Arizona S.W.
7100       Huron, SD 57350-2219                               (73-1) Account Number (last 4 digits):1367




74         JAMES A. ANDERSON                  Unsecured                                                         $0.00         $9,764.00          $9,764.00
70         854 Arizona S.W.
7100       Huron, SD 57350-2219                               (74-1) Account Number (last 4 digits):8785




75         JAMES A. ANDERSON                  Unsecured                                                         $0.00        $18,116.02         $18,116.02
70         854 Arizona S.W.
7100       Huron, SD 57350-2219




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
76         ANN R. FISCHER                     Unsecured                                                         $0.00         $3,575.00          $3,575.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (76-1) Account Number (last 4 digits):0769




77         ANN R. FISCHER                     Unsecured                                                         $0.00        $14,927.00         $14,927.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (77-1) Account Number (last 4 digits):0770




78         ANN R. FISCHER                     Unsecured                                                         $0.00        $18,262.00         $18,262.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (78-1) Account Number (last 4 digits):0771




79         ANN R. FISCHER                     Unsecured                                                         $0.00        $18,032.00         $18,032.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (79-1) Account Number (last 4 digits):0772




80         ANN R. FISCHER                     Unsecured                                                         $0.00         $7,157.00          $7,157.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053




81         ANN R. FISCHER                     Unsecured                                                         $0.00         $8,534.00          $8,534.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (81-1) Account Number (last 4 digits):1577




82         ANN R. FISCHER                     Unsecured                                                         $0.00         $6,018.00          $6,018.00
70         1986 Iowa S.E.
7100       Huron, SD 57350-4053                               (82-1) Account Number (last 4 digits):8751




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
83         CLAYTON V. NEWGARD                 Unsecured                                                         $0.00        $39,010.00         $39,010.00
70         416 14th Street S.W.
7100       Pipestone, MN 56164                                (83-1) Account Number (last 4 digits):1608




84         DONALD OLSON                       Unsecured                                                         $0.00         $3,179.04          $3,179.04
70         c/o Larry Ust
7100       114 Jefferson Ave                                  (84-1) Certificate Investor
           Volga, SD 57071




85         DONALD OLSON                       Unsecured                                                         $0.00        $67,022.91         $67,022.91
70         c/o Larry Ust
7100       114 Jefferson Ave                                  (85-1) Certificate Investor
           Volga, SD 57071




86         DONALD OLSON                       Unsecured                                                         $0.00         $6,695.37          $6,695.37
70         c/o Larry Ust
7100       114 Jefferson Ave                                  (86-1) Certificate Investor
           Volga, SD 57071




87         DONALD OLSON                       Unsecured                                                         $0.00         $7,509.06          $7,509.06
70         c/o Larry Ust
7100       114 Jefferson Ave                                  (87-1) Certificate Investor
           Volga, SD 57071




88         GORDON W HILLESTAD OR              Unsecured                                                         $0.00        $23,091.97         $23,091.97
70         Marilyn H. Mihhestad
7100       c/o Richard Hillestad                              (88-1) Certificate Investor
           46250 218th Street
           Volga, SD 57071




89         GORDON W HILLESTAD OR              Unsecured                                                         $0.00        $32,908.98         $32,908.98
70         Marilyn H. Mihhestad
7100       c/o Richard Hillestad                              (89-1) Certificate Investor
           46250 218th Street
           Volga, SD 57071




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
90         HILLESTAD HALEY                    Unsecured                                                $0.00         $7,867.26          $7,867.26
70         % RICHARD A HILLESTAD
7100       46250 218TH STREET                                 (90-1) Certificate Investor
           VOLGA, SD 57071




91         HILLESTAD RICHARD                  Unsecured                                                $0.00        $23,947.01         $23,947.01
70         46250 218TH STREET
7100       VOLGA, SD 57071                                    (91-1) Certificate Investor




92         DANNIE AND MARCEE                  Unsecured                                                $0.00        $46,986.00         $46,986.00
70         STROMBERG
7100       715 EAST SPRING STREET
           REDWOOD FALLS, MN 56283


93         JOSEPHSEN LEON                     Unsecured                                                $0.00         $2,542.97          $2,542.97
70         208 E ASH ST, APT 14
7100       ARLINGTON, SD 57212                                (93-1) Certificate Investor




94         RISTY MELVIN                       Unsecured                                                $0.00        $27,777.18         $27,777.18
70         21586 455TH AVENUE
7100       ARLINGTON, SD 57212                                (94-1) Certificate Investor




95         RISTY MELVIN                       Unsecured                                                $0.00        $28,737.81         $28,737.81
70         21586 455TH AVENUE
7100       ARLINGTON, SD 57212                                (95-1) Certificate Investor




96         RAYMOND J. ZANE, ESQ.              Unsecured                                                $0.00        $23,720.93         $23,720.93
70         c/o PROTAS, SPIVOK &
7100       COLLINS, LLC                                       (96-1) monies owed
           Christine N. Johnson, Esquire                      (96-1) CORRECTIVE ENTRY: CORRECTED CREDITOR'S NAME TO NAME OF CREDITOR
           4330 East West Highway Suite 900                   SHOWN ON CLAIM - JY - 6/28/13
           Bethesda, MD 20814-4454




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
97         MAVIS CROSS                        Unsecured                                                         $0.00         $5,006.00          $5,006.00
70         508 South Main Street
7100       Howard, SD 57349                                   (97-1) Account Number (last 4 digits):0837




98         MAVIS CROSS                        Unsecured                                                         $0.00         $7,286.00          $7,286.00
70         508 South Main Street
7100       Howard, SD 57349                                   (98-1) Account Number (last 4 digits):0869




99         MAVIS CROSS                        Unsecured                                                         $0.00         $3,983.00          $3,983.00
70         508 South Main Street
7100       Howard, SD 57349                                   (99-1) Account Number (last 4 digits):0925




100        HARLEY CROSS                       Unsecured                                                         $0.00         $5,006.00          $5,006.00
70         508 South Main Street
7100       Howard, SD 57349




101        HARLEY CROSS                       Unsecured                                                         $0.00         $7,286.00          $7,286.00
70         508 South Main Street
7100       Howard, SD 57349                                   (101-1) Account Number (last 4 digits):0868




102        HARLEY CROSS                       Unsecured                                                         $0.00         $1,962.00          $1,962.00
70         508 South Main Street
7100       Howard, SD 57349                                   (102-1) Account Number (last 4 digits):1451




103        BETTY HOFFMAN                      Unsecured                                                         $0.00         $5,266.00          $5,266.00
70         405 North Douglas
7100       Howard, SD 57349                                   (103-1) Account Number (last 4 digits):0101




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled            Claimed            Allowed
104        BETTY HOFFMAN                      Unsecured                                                            $0.00           $5,047.00          $5,047.00
70         405 North Douglas
7100       Howard, SD 57349




105        BETTY HOFFMAN                      Unsecured                                                             $0.00          $5,588.00          $5,588.00
70         405 North Douglas
7100       Howard, SD 57349




106        DALE AND SHERYL WAYMAN             Unsecured                                                             $0.00         $11,027.97         $11,027.97
70         1239 18TH ST
7100       WEST DES MOINES, IA 50265                          (106-1) Certificate(106-2) Certificate




107        BAXTER HELEN                       Unsecured                                                             $0.00         $21,975.00         $21,975.00
70         2934 AVENUE I
7100       FORT MADISON, IA 52672                             (107-1) Certificate(107-2) Money Owed from a Certificate Investment(107-3) Money Owed from a
                                                              Certificate Investment, SBM Certificate No. 211898




108        JAMES ANDREWS                      Unsecured                                                             $0.00            $716.48            $716.48
70         109 LAKE AVE
7100       P O BOX 24                                         (108-1) Certificate Investor
           LAKE PRESTON, SD 57249




109        STARKENBURG ALVIN                  Unsecured                                                             $0.00         $10,344.15         $10,344.15
70         c/o Shirley Van Duyn
7100       20704 463RD AVE                                    (109-1) Certificate Investor
           BRUCE, SD 57220




110        MOLENGRAAF ANDREW                  Unsecured                                                             $0.00          $6,335.17          $6,335.17
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (110-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
111        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $7,825.36          $7,825.36
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (111-1) Certificate Investor




112        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $4,261.78          $4,261.78
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (112-1) Certificate Investor




113        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $3,655.32          $3,655.32
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (113-1) Certificate Investor




114        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $5,464.23          $5,464.23
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (114-1) Certificate Investor




115        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $4,891.26          $4,891.26
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (115-1) Certificate Investor




116        MOLENGRAAF ANDREW                  Unsecured                                                $0.00         $5,047.20          $5,047.20
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57071                                    (116-1) Certificate Investor




117        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $6,335.17          $6,335.17
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (117-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
118        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $5,047.20          $5,047.20
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (118-1) Certificate Investor




119        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $4,891.26          $4,891.26
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (119-1) Certificate Investor




120        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $4,261.78          $4,261.78
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (120-1) Certificate Investor




121        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $3,655.32          $3,655.32
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (121-1) Certificate Investor




122        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $5,464.23          $5,464.23
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (122-1) Certificate Investor




123        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $6,606.88          $6,606.88
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (123-1) Certificate Investor




124        MOLENGRAAF HENRIETTA               Unsecured                                                $0.00         $7,793.13          $7,793.13
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (124-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
125        MOLENGRAAF HENRIETTA               Unsecured                                                             $0.00         $7,825.36          $7,825.36
70         527 DAKOTA AVENUE
7100       VOLGA, SD 57070                                    (125-1) Certificate Investor




126        JOHN STEPHEN DOLJAC ADM.           Unsecured                                                             $0.00        $11,835.00         $11,835.00
70         5218 EAST PHILIPPI PL
7100       FREDERICKSBURG, VA 22407                           (126-1) Default




127        GRUVER DOROTHY                     Unsecured                                                             $0.00         $1,339.21          $1,339.21
70         13500 N Rancho Vistoso BLvd
7100       #108                                               (127-1) Investment in Savings Certificate
           Tucson, AZ 85755




128        JOHN STEPHEN DOLJAC                Unsecured                                                             $0.00        $29,636.00         $29,636.00
70         E 5218 Philippi Pl
7100       Fredericksburg, VA 22407                           (128-1) Default




129        CARL J. SINKIE TRUST B             Unsecured                                                             $0.00       $201,741.69        $201,741.69
70         ACCOUNT
7100       c/o LOIS SINKIE                                    (129-1) Certificate Investor
           24348 367TH AVE
           KIMBALL, SD 57355




130        LORRAINE REDMANN                   Unsecured                                                             $0.00        $14,943.27         $14,943.27
70         401 MAIN STREET WEST
7100       WESSINGTON SPRINGS, SD                             (130-1) Certificate Investor
           57382




131        LORRAINE REDMANN                   Unsecured                                                             $0.00        $11,876.40         $11,876.40
70         401 MAIN STREET WEST
7100       WESSINGTON SPRINGS, SD                             (131-1) Certificate Investor
           57382




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Code #     Creditor Name And Address          Claim Class     Notes                                                   Scheduled          Claimed            Allowed
132        SCHNEIDER ROBERT                   Unsecured                                                                   $0.00         $2,862.36          $2,862.36
70         20057 STARLIGHT AVE
7100       PIERRE, SD 57501                                   (132-1) Certificate Investor




133        DALTON JAY                         Unsecured                                                                   $0.00        $63,596.24         $63,596.24
70         PO BOX 361
7100       HIGHMORE, SD 57345                                 (133-1) Certificate Investor




134        DALTON JAY                         Unsecured                                                                   $0.00        $13,580.80         $13,580.80
70         PO BOX 361
7100       HIGHMORE, SD 57345                                 (134-1) Certificate Investor




135        SEMMLER JANET                      Unsecured                                                                   $0.00        $25,390.62         $25,390.62
70         P O BOX 200
7100       REE HEIGHTS, SD 57371-0200                         (135-1) Certificate Investor




136        NAGELE JOANNE                      Unsecured                                                                   $0.00        $13,815.45         $13,815.45
70         BOX 16
7100       WARNER, SD 57479                                   (136-1) Certificate Investor(136-2) Certificate Owner




137        BURG KIMBERLY                      Unsecured                                                                   $0.00         $2,819.51          $2,819.51
70         38668 SD HWY 34
7100       WESSINGTON SPRINGS, SD                             (137-1) Certificate Investor
           57382




138        LOIS LADEJAARD                     Unsecured                                                                   $0.00         $9,924.02          $9,924.02
70         908 Christine Ave
7100       Unit 204                                           (138-1) Certificate Investor
           Brookings, SD 57006




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled            Claimed            Allowed
139        MOHLING ALMA                       Unsecured                                                                $0.00          $31,869.33         $31,869.33
70         510 SLOCUM AVE S
7100       WESSINGTON SPRINGS, SD                             (139-1) Certificate Investor
           57382




140        KEITH E & BETTY L                  Unsecured                                                                  $0.00        $11,614.41         $11,614.41
70         GUNDERSON
7100       PO Box 504                                         (140-1) Certificate Investor(140-2) Owner of Certificate
           Wessington Springs, SD 57382




141        GUNDERSON BETTY                    Unsecured                                                                  $0.00         $5,145.83          $5,145.83
70         PO Box 504
7100       Wessington Springs, SD 57382                       (141-1) Certificate Investor(141-2) Owner of Certificate




142        WARNKE ILA                         Unsecured                                                                  $0.00         $2,478.80          $2,478.80
70         PO BOX 204
7100       WESSINGTON SPRINGS, SD                             (142-1) Certificate Investor
           57382




143        STEVE L. & SHERRIE L.              Unsecured                                                                  $0.00        $20,057.19         $20,057.19
70         REDMANN
7100       PO BOX 456                                         (143-1) Certificate Investor
           WESSINGTON SPRINGS, SD
           57382




144        VALLEY BUNGALOWS C/O               Unsecured                                                                  $0.00        $17,257.73         $17,257.73
70         OBERLE, L
7100       101 BRIDGE ST                                      (144-1) Investment Certificate and Interest
           SUITE A, MN 56058




145        HURD SHERYL                        Unsecured                                                                  $0.00         $3,986.75          $3,986.75
70         36521 183RD STREET
7100       ROCKHAM, SD 57470                                  (145-1) Certificate Investor




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
146        HURD LARRY                         Unsecured                                                         $0.00         $3,986.75          $3,986.75
70         36521 183RD STREET
7100       ROCKHAM, SD 57470                                  (146-1) Certificate Investor




147        JOHN & BETTY MCNEIL                Unsecured                                                         $0.00        $12,470.10         $12,470.10
70         1001 E 1ST AVE
7100       MITCHELL, SD 57301                                 (147-1) Certificate Investor




148        JOHN DOLJAC                        Unsecured                                                         $0.00        $49,975.00         $49,975.00
70         5218 East Phillippi Place
7100       Fredericksburg, VA 22407                           (148-1) Default




149        KRULL BETTY                        Unsecured                                                         $0.00         $8,278.94          $8,278.94
70         224 LAKEVIEW DR
7100       BEAVERTON, MI 48612                                (149-1) Certificate Investor




150        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $5,654.00          $5,654.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (150-1) Account Number (last 4 digits):4152




151        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $9,434.00          $9,434.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (151-1) Account Number (last 4 digits):4207




152        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $5,741.00          $5,741.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (152-1) Account Number (last 4 digits):7963




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
153        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $4,815.00          $4,815.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (153-1) Account Number (last 4 digits):0013




154        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $4,012.00          $4,012.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (154-1) Account Number (last 4 digits):0499




155        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $5,654.00          $5,654.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (155-1) Account Number (last 4 digits):1988




156        DOROTHY JOHNSON                    Unsecured                                                         $0.00         $9,434.00          $9,434.00
70         309 S.E. 21st Street
7100       Huron, SD 57350                                    (156-1) Account Number (last 4 digits):1989




157        EUGENE & DOROTHY                   Unsecured                                                         $0.00        $32,867.00         $32,867.00
70         JOHNSON LIVI
7100       C/O Dorothy Johnson                                (157-1) Account Number (last 4 digits):1141
           309 S.E. 21st Street
           Huron, SD 57350




158        HELEN & SHUNKICH EGO               Unsecured                                                         $0.00        $15,802.88         $15,802.88
70         JTWROS
7100       4365 Valley Drive                                  (158-1) Account Number (last 4 digits):8511
           Santa Maria, CA 93455




159        MCCOY WILLIAM                      Unsecured                                                         $0.00        $32,941.01         $32,941.01
70         625 W CROFTON ST
7100       CHANDLER, AZ 85225




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled          Claimed            Allowed
160        DANIEL & HARRIET LAWLER            Unsecured                                                 $0.00        $16,541.71         $16,541.71
70         225 West 4th Street, #220
7100       MILLER, SD 57362                                   (160-1) Certificate Investor




161        JOY VERNON                         Unsecured                                                 $0.00         $3,999.93          $3,999.93
70         801 EAST 3RD
7100       MILLER, SD 57362                                   (161-1) Certificate Owner




162        JOY BEVERLY                        Unsecured                                                 $0.00         $3,999.03          $3,999.03
70         801 EAST 3RD
7100       MILLER, SD 57362                                   (162-1) Certificate Owner




164        RATZLAFF SKYLA                     Unsecured                                                 $0.00        $52,412.64         $52,412.64
70         20725 336TH AVENUE
7100       HIGHMORE, SD 57345                                 (164-1) Certificate Investor




165        SWARTZ DOLORES                     Unsecured                                                 $0.00         $5,942.12          $5,942.12
70         PO BOX 267
7100       WESSINGTON, SD 57381                               (165-1) Certificate Investor




166        JAMES F. & BELLE A.                Unsecured                                                 $0.00        $49,737.25         $49,737.25
70         HINRICHS
7100       c/o LaDonna Callies                                (166-1) Certificate Investors
           45114 Herman Blvd
           Madison, SD 57042




167        JAMES F. & BELLE A.                Unsecured                                                 $0.00        $26,358.45         $26,358.45
70         HINRICHS
7100       c/o LaDonna Callies                                (167-1) Certificate Investor
           45114 Herman Blvd
           Madison, SD 57042




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
168        WEAVER FAMILY TRUST                Unsecured                                                $0.00         $6,241.21          $6,241.21
70         c/o Evelyn Weaver
7100       609 1st Street NE                                  (168-1) Certificate Investor
           Wessington Springs, SD 57382




169        LINDNER DELORIS                    Unsecured                                                $0.00        $45,450.35         $45,450.35
70         20 16TH ST SE
7100       WATERTOWN, SD 57201                                (169-1) Certificate Investor




170        STRUCK BRENDA                      Unsecured                                                $0.00        $20,311.07         $20,311.07
70         20613 385TH AVENUE
7100       WOLSEY, SD 57384                                   (170-1) Certificate Investor




171        STRUCK BRENDA                      Unsecured                                                $0.00        $16,751.20         $16,751.20
70         20613 385TH AVENUE
7100       WOLSEY, SD 57384                                   (171-1) Certificate Investor




172        STRUCK BRENDA                      Unsecured                                                $0.00         $9,884.66          $9,884.66
70         20613 385TH AVENUE
7100       WOLSEY, SD 57384                                   (172-1) Certificate Investor




173        MARTIN SCHNEIDER                   Unsecured                                                $0.00         $2,862.36          $2,862.36
70         11964 DOLLY MADISON CT.
7100       WOODBRIDGE, VA                                     (173-1) Certificate Investor




174        JOHNSON MARY                       Unsecured                                                $0.00        $48,513.40         $48,513.40
70         c/o Linda Johnson
7100       PO Box 322                                         (174-1) Certificate Investor
           Moorcroft, WY 82721-0322




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Code #     Creditor Name And Address          Claim Class     Notes                                                   Scheduled          Claimed            Allowed
175        LENARDS ROBERT                     Unsecured                                                                   $0.00        $21,726.53         $21,726.53
70         17031 KRANZBURG
7100       GOODWIN, SD 57238                                  (175-1) Certificate Investor




176        LENARDS LINDA                      Unsecured                                                                   $0.00         $5,145.83          $5,145.83
70         17031 KRANZBURG
7100       GOODWIN, SD 57238                                  (176-1) Certificate Investor




177        MARCELLA & GEORGE                  Unsecured                                                                   $0.00         $9,481.05          $9,481.05
70         MILLER
7100       800 9th Street, NE                                 (177-1) Certificate Investor
           Watertown, SD 57201




178        MILLER GEORGE                      Unsecured                                                                   $0.00         $6,009.34          $6,009.34
70         800 9TH ST NE
7100       WATERTOWN, SD 57201                                (178-1) Certificate Investor




179        BONNIE M HEASLEY LIVING            Unsecured                                                                   $0.00        $60,171.57         $60,171.57
70         TRUST
7100       Bonnie Heasley                                     (179-1) Certificate Investor(179-2) Certificate Owner
           c/o Laura Anderson
           17815 334th Ave.
           Highmore, SD 57345


180        KAISER AMANDA                      Unsecured                                                                   $0.00        $31,838.95         $31,838.95
70         c/o DON KAISER
7100       216 2ND ST SE, PO BOX 609                          (180-1) Certificate Investor
           HIGHMORE, SD 57345




181        LOUISE K STREHLE                   Unsecured                                                                   $0.00         $7,442.48          $7,442.48
70         PO Box 67
7100       Wessington Springs, SD 57382                       (181-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                                   Scheduled          Claimed            Allowed
182        LOUISE K STREHLE                   Unsecured                                                                   $0.00         $7,442.48          $7,442.48
70         PO Box 67
7100       Wessington Springs, SD 57382                       (182-1) Certificate Investor




183        LOUISE K STREHLE                   Unsecured                                                                   $0.00         $7,442.48          $7,442.48
70         PO Box 67
7100       Wessington Springs, SD 57382                       (183-1) Certificate Investor




184        BONNIE M HEASLEY LIVING            Unsecured                                                                   $0.00        $26,697.56         $26,697.56
70         TRUST
7100       Bonnie Heasley                                     (184-1) Certificate Investor(184-2) Certificate Owner
           c/o Laura Anderson
           17815 334th Ave.
           Highmore, SD 57345


185        SCHNEIDER KATHLEEN                 Unsecured                                                                   $0.00         $2,862.36          $2,862.36
70         2546 Seiler Rd
7100       Alton, IL 62002                                    (185-1) Certificate Investor




186        LAUBE NEAL                         Unsecured                                                                   $0.00         $9,924.02          $9,924.02
70         Neal E. Laube Credit Trust
7100       PO Box 61                                          (186-1) Certificate Investor
           Bryant, SD 57221-0061




187        SCHNEIDER MARTIN                   Unsecured                                                                   $0.00         $2,862.36          $2,862.36
70         305 CEDAR TRL
7100       YORK, NE 68467                                     (187-1) Certificate Investor




188        SOPER DON                          Unsecured                                                                   $0.00        $31,894.62         $31,894.62
70         c/o Shirley R. Cook
7100       308 Dakota Ave S.                                  (188-1) Certificate Investor(188-2) Certificate Investor
           PO Box 42
           Ree Heights, SD 57371




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled          Claimed            Allowed
189        LEESMAN LORENA                     Unsecured                                                                $0.00         $6,988.86          $6,988.86
70         110 5TH ST
7100       HIGHMORE, SD 57345                                 (189-1) Certificate Investor




190        LEESMAN LORENA                     Unsecured                                                                $0.00         $3,294.01          $3,294.01
70         110 5TH ST
7100       HIGHMORE, SD 57345                                 (190-1) Certificate Investor




191        BARBARA S. NEMEC LIVING            Unsecured                                                                $0.00        $16,183.97         $16,183.97
70         TRUST
7100       c/o Nicholas Nemec                                 (191-1) Certificate Investor(191-2) Certificate Holder
           19757 327th Ave
           Holabird, SD 57540-9611




192        MORFORD CARROLL                    Unsecured                                                                $0.00        $35,493.31         $35,493.31
70         615 4TH ST SE
7100       HIGHMORE, SD 57345                                 (192-1) Certificate Investor




193        JOHNSON MARY                       Unsecured                                                                $0.00        $11,884.24         $11,884.24
70         P.O. Box 907
7100       407 E Weston                                       (193-1) Certificate Investor
           Moorcroft, WY 82721




194        JERRY & ARLISS M. BENNETT          Unsecured                                                                $0.00        $15,934.67         $15,934.67
70         601 STATE AVE N
7100       WESSINGTON SPRINGS, SD                             (194-1) Certificate Investor
           57382




195        ROBERT N & ROSE A                  Unsecured                                                                $0.00         $9,630.06          $9,630.06
70         DUXBURY
7100       21030 373RD AVENUE                                 (195-1) Certificate Investor
           WESSINGTON, SD 57381




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
196        DANIEL & HARRIET LAWLER            Unsecured                                                $0.00         $8,351.48          $8,351.48
70         225 West 4th Street, #220
7100       MILLER, SD 57362                                   (196-1) Certificate Investor




197        RITA M & MARVIN                    Unsecured                                                $0.00         $3,232.54          $3,232.54
70         MATTHEWS
7100       345 N Wessington Street                            (197-1) Certificate Investor
           WESSINGTON, SD 57381




198        RITA M & MARVIN                    Unsecured                                                $0.00         $3,786.82          $3,786.82
70         MATTHEWS
7100       345 N Wessington Street                            (198-1) Certificate Investor
           WESSINGTON, SD 57381




199        MATTHEWS RITA                      Unsecured                                                $0.00        $12,586.93         $12,586.93
70         345 N. Wessington Street
7100       Wessington, SD 57381                               (199-1) Certificate Investor




200        RITA M & MARVIN                    Unsecured                                                $0.00         $2,511.76          $2,511.76
70         MATTHEWS
7100       345 N Wessington Street                            (200-1) Certificate Investor
           WESSINGTON, SD 57381




201        DENNIS L & TAMMY                   Unsecured                                                $0.00         $1,574.92          $1,574.92
70         METTLER
7100       PO Box 296                                         (201-1) Certificate Investor
           Wessington Springs, SD 57382




202        DONNA M SCHILTZ                    Unsecured                                                $0.00        $34,556.55         $34,556.55
70         703 East 7th Street
7100       Miller, SD 57362                                   (202-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
203        DONNA M SCHILTZ                    Unsecured                                                         $0.00         $5,892.05          $5,892.05
70         703 East 7th Street
7100       Miller, SD 57362                                   (203-1) Certificate Investor




204        DONNA M SCHILTZ                    Unsecured                                                         $0.00        $11,228.43         $11,228.43
70         703 East 7th Street
7100       Miller, SD 57362                                   (204-1) Certificate Investor




205        HEITZMAN ARLETTE                   Unsecured                                                         $0.00         $1,602.03          $1,602.03
70         707 N BROADWAY
7100       MILLER, SD 57362                                   (205-1) Certificate Investor




206        DOROTHY SCHROOTEN                  Unsecured                                                         $0.00         $6,945.00          $6,945.00
70         23103 425th Ave.
7100       Fedora, SD 57337                                   (206-1) Account Number (last 4 digits):0764




207        JAMES F. & BELLE A.                Unsecured                                                         $0.00        $32,908.98         $32,908.98
70         HINRICHS
7100       c/o LaDonna Callies                                (207-1) Certificate Investor
           45114 Herman Blvd
           Madison, SD 57042




208        JAMES F. & BELLE A.                Unsecured                                                         $0.00        $16,454.48         $16,454.48
70         HINRICHS
7100       c/o LaDonna Callies                                (208-1) Certificate Investor
           45114 Herman Blvd
           Madison, SD 57042




209        JAMES F. & BELLE A.                Unsecured                                                         $0.00        $32,009.43         $32,009.43
70         HINRICHS
7100       c/o LaDonna Callies                                (209-1) Certificate Investor
           45114 Herman Blvd
           Madison, SD 57042




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
210        JAMES F. & BELLE A.                Unsecured                                                                 $0.00         $32,452.56         $32,452.56
70         HINRICHS
7100       c/o LaDonna Callies                                (210-1) Certificate Investor
           45114 Herman Blvd
           Madison, SD 57042




211        DOROTHY SCHROOTEN                  Unsecured                                                                  $0.00        $10,516.00         $10,516.00
70         23103 425th Ave.
7100       Fedora, SD 57337                                   (211-1) Account Number (last 4 digits):5089




212        IVERSON ELEANOR                    Unsecured                                                                  $0.00         $7,510.88          $7,510.88
70         1000 West 2nd St
7100       Miller, SD 57362                                   (212-1) Certificate Investor




213        TEMPLETON CONSTANCE                Unsecured                                                                  $0.00         $3,262.08          $3,262.08
70         20658 GREEN VALLEY ROAD
7100       REE HEIGHTS, SD 57371                              (213-1) Certificate Investor




214        TEMPLETON ROBERT                   Unsecured                                                                  $0.00         $3,262.08          $3,262.08
70         20658 GREEN VALLEY ROAD
7100       REE HEIGHTS, SD 57371                              (214-1) Certificate Investor




215        LAUREN L & ALMA A                  Unsecured                                                                  $0.00        $13,265.28         $13,265.28
70         THOMPSON
7100       c/o Steven Thompson                                (215-1) Certificate Investor(215-2) Certificate Investor
           36988 223rd St.
           Wessington Springs, SD 57382




216        LAUREN L & ALMA A                  Unsecured                                                                  $0.00        $12,747.74         $12,747.74
70         THOMPSON
7100       c/o Steven Thompson                                (216-1) Certificate Investor(216-2) Certificate Investor
           36988 223rd St.
           Wessington Springs, SD 57382




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
217        BEVERLY J & GERALD M               Unsecured                                                $0.00         $8,027.43          $8,027.43
70         HORSLEY
7100       204 Slocum Ave #9                                  (217-1) Certificate Investor
           Wessington Springs, SD 57382




218        BEVERLY J & GERALD M               Unsecured                                                $0.00         $7,901.52          $7,901.52
70         HORSLEY
7100       204 Slocum Ave #9                                  (218-1) Certificate Investor
           Wessington Springs, SD 57382




219        BEVERLY J & GERALD M               Unsecured                                                $0.00         $9,385.07          $9,385.07
70         HORSLEY
7100       204 Slocum Ave #9                                  (219-1) Certificate Investor
           Wessington Springs, SD 57382




220        KOISTINEN KENNETH                  Unsecured                                                $0.00        $99,273.07         $99,273.07
70         403 N HARRISON
7100       PIERRE, SD 57501                                   (220-1) Certificate Investor




221        SWARTZ DOLORES                     Unsecured                                                $0.00        $28,787.87         $28,787.87
70         PO BOX 267
7100       WESSINGTON, SD 57381                               (221-1) Certificate Investor




222        SWARTZ DOLORES                     Unsecured                                                $0.00         $6,672.96          $6,672.96
70         PO BOX 267
7100       WESSINGTON, SD 57381                               (222-1) Certificate Investor




223        SWARTZ DOLORES                     Unsecured                                                $0.00         $8,270.85          $8,270.85
70         PO BOX 267
7100       WESSINGTON, SD 57381                               (223-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
224        SWARTZ DOLORES                     Unsecured                                                         $0.00         $3,438.34          $3,438.34
70         PO BOX 267
7100       WESSINGTON, SD 57381                               (224-1) Certificate Investor




225        RITA M & MARVIN                    Unsecured                                                         $0.00         $2,975.10          $2,975.10
70         MATTHEWS
7100       345 N Wessington Street                            (225-1) Certificate Investor
           WESSINGTON, SD 57381




226        PHYLLIS KOHLMEYER                  Unsecured                                                         $0.00         $6,281.00          $6,281.00
70         240 Sunrise Drive
7100       Huron, SD 57350                                    (226-1) Account Number (last 4 digits):8210




227        PHYLLIS KOHLMEYER                  Unsecured                                                         $0.00         $8,465.00          $8,465.00
70         240 Sunrise Drive
7100       Huron, SD 57350                                    (227-1) Account Number (last 4 digits):8263




228        PHYLLIS KOHLMEYER                  Unsecured                                                         $0.00         $2,402.00          $2,402.00
70         240 Sunrise Drive
7100       Huron, SD 57350                                    (228-1) Account Number (last 4 digits):0032




229        PHYLLIS KOHLMEYER                  Unsecured                                                         $0.00        $13,803.00         $13,803.00
70         240 Sunrise Drive
7100       Huron, SD 57350                                    (229-1) Account Number (last 4 digits):0376




230        PHYLLIS KOHLMEYER                  Unsecured                                                         $0.00         $3,775.00          $3,775.00
70         240 Sunrise Drive
7100       Huron, SD 57350                                    (230-1) Account Number (last 4 digits):1648




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
231        EUGENE MCMILLAN                    Unsecured                                                           $0.00        $19,029.00         $19,029.00
70         37 Pennington SW
7100       Huron, SD 57350                                    (231-1) Account Number (last 4 digits):8347




232        EUGENE MCMILLAN                    Unsecured                                                           $0.00        $22,354.00         $22,354.00
70         37 Pennington SW
7100       Huron, SD 57350                                    (232-1) Account Number (last 4 digits):1112




233        EUGENE MCMILLAN                    Unsecured                                                           $0.00        $17,929.00         $17,929.00
70         37 Pennington SW
7100       Huron, SD 57350                                    (233-1) Account Number (last 4 digits):1317




234        UNION CEMETERY                     Unsecured                                                           $0.00        $12,389.00         $12,389.00
70         C/O Eugen McMillan Treasurer
7100       37 Pennington SW                                   (234-1) Account Number (last 4 digits):1211
           Huron, SD 57350




235        MARY MYERS                         Unsecured                                                           $0.00         $2,366.00          $2,366.00
70         P.O. Box 44
7100       Cavour, SD 57324                                   (235-1) Account Number (last 4 digits):0881




236        SAVAGE DEWARD                      Unsecured                                                           $0.00        $15,523.69         $15,523.69
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (236-1) Investment Certificate and Interest




237        STEVEN T & MAUREEN H               Unsecured                                                           $0.00        $24,025.00         $24,025.00
70         BRAND
7100       16544 Diamonte Path                                (237-1) Certificate Investor
           Lakeville, MN 55044-6162




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
238        STEVEN T & MAUREEN H               Unsecured                                                                 $0.00         $25,804.00         $25,804.00
70         BRAND
7100       16544 Diamonte Path                                (238-1) Certificate Investor
           Lakeville, MN 55044-6162




239        SARGENT FLORENCE                   Unsecured                                                                  $0.00         $8,285.01          $8,285.01
70         559 22nd Street SW
7100       Huron, SD 57350                                    (239-1) Certificate Investor




240        MILLER DOREEN                      Unsecured                                                                  $0.00         $9,924.02          $9,924.02
70         20488 Pheasant Place
7100       Pierre, SD 57501                                   (240-1) Certificate Investor




241        SNYDER POLLY ELIZABETH             Unsecured                                                                  $0.00         $1,758.76          $1,758.76
70         c/o Kim Newman
7100       5504 Kerr Drive                                    (241-1) Certificate Investor(241-2) Certificate Investor
           Helena, MT 59602




242        DUTOIT ELSIE                       Unsecured                                                                  $0.00        $85,643.72         $85,643.72
70         102 W MADISON STREET
7100       TOLEDO, IA 52342                                   (242-1) 3 Certificates




243        LEHTOLA WALTER                     Unsecured                                                                  $0.00        $15,605.95         $15,605.95
70         P O BOX 53
7100       FRANKFORT, SD 57440                                (243-1) Certificate Investor




244        LEHTOLA WALTER                     Unsecured                                                                  $0.00         $9,323.60          $9,323.60
70         P O BOX 53
7100       FRANKFORT, SD 57440                                (244-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled           Claimed           Allowed
245        TUPPER KIRK                        Unsecured                                                           $0.00           $754.45           $754.45
70         2341 N 53RD ST
7100       PHOENIX, AZ 85008                                  (245-1) Certificate Investor




246        MARY S & ROBERT O BREN             Unsecured                                                           $0.00        $10,774.52         $10,774.52
70         46754 US Hwy 212
7100       Goodwin, SD 57238                                  (246-1) Certificate Investor




247        CORNETT RENEE                      Unsecured                                                           $0.00         $2,862.36          $2,862.36
70         320 MIDDLE GROUND COVE
7100       AUSTIN, TX 78748                                   (247-1) Certificate Investor




248        SAVAGE DEWARD                      Unsecured                                                           $0.00        $15,359.28         $15,359.28
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (248-1) Investment Certificate and Interest




249        OTTO MILDRED                       Unsecured                                                           $0.00        $11,237.30         $11,237.30
70         C/O PEGGY D KUCK
7100       1209 N Penn. Street                                (249-1) Certificate Investor
           Aberdeen, SD 57401




250        OTTO MILDRED                       Unsecured                                                           $0.00         $4,552.86          $4,552.86
70         C/O PEGGY D KUCK
7100       1209 N Penn. Street                                (250-1) Certificate Owner
           Aberdeen, SD 57401




251        SAVAGE VIOLET                      Unsecured                                                           $0.00         $7,984.74          $7,984.74
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (251-1) Investment Certificate and Interest




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
252        SAVAGE VIOLET                      Unsecured                                                           $0.00        $15,523.69         $15,523.69
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (252-1) Investment Certificate and Interest




253        SAVAGE VIOLET                      Unsecured                                                           $0.00        $15,359.28         $15,359.28
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (253-1) Investment Certificate and Interest




254        SAVAGE DEWARD                      Unsecured                                                           $0.00         $7,984.74          $7,984.74
70         720 OTTAWA ROAD
7100       LE SUEUR, MN 56058                                 (254-1) Investment Certificate and Interest




255        LONGTIN-CHRISTENSEN                Unsecured                                                           $0.00        $13,427.12         $13,427.12
70         MARY
7100       1120 330TH STREET                                  (255-1) Money Invested
           TAUNTON, MN 56291




256        OTTO MILDRED                       Unsecured                                                           $0.00         $5,986.05          $5,986.05
70         C/O PEGGY D KUCK
7100       1209 N Penn. Street                                (256-1) Certificate Investor
           Aberdeen, SD 57401




257        JIMMIE & LURDENE                   Unsecured                                                           $0.00        $13,205.50         $13,205.50
70         ANDERSON TRU
7100       c/o Jimmie Anderson                                (257-1) Certificate Investor
           204 15th Street SE
           Huron, SD 57350




258        SCHAPER HERBERT                    Unsecured                                                           $0.00         $6,078.98          $6,078.98
70         1435 10TH SOUTH
7100       NEW ULM, MN 56073                                  (258-1) IRA Account




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled             Claimed            Allowed
259        THOMPSON CHARLES                   Unsecured                                                              $0.00             $754.45            $754.45
70         221 ROSS ST
7100       SANTA CRUZ, CA 95060                               (259-1) Certificate Investor




260        HECK TIMOTHY                       Unsecured                                                              $0.00           $2,862.36           $2,862.36
70         22701 QUEENSBURY CT
7100       WILDOMAR, CA 92595                                 (260-1) Certificate Investor




262        EDWARD BACSIK                      Unsecured                                                              $0.00           $7,857.26           $7,857.26
70         5815 Grand River Drive
7100       Grand Ledge, MI 48837-8959                         (262-1) Account Number (last 4 digits):1439 (262-2) Account Number (last 4 digits):1439




263        EDWARD J. AND MICHELE K            Unsecured                                                              $0.00          $15,633.24          $15,633.24
70         BACSIK
7100       5815 Grand River Drive                             (263-1) Account Number (last 4 digits):1440 (263-2) Account Number (last 4 digits):1440 (263-3)
           Grand Ledge, MI 48837-8959                         Account Number (last 4 digits):1440




264        LINDA VANDENBERG                   Unsecured                                                              $0.00           $8,636.38           $8,636.38
70         1246 CAMERON CIRCLE
7100       NEENAH, WI 54956-9808




265        VERLA M HOING                      Unsecured                                                              $0.00          $17,112.42          $17,112.42
70         PO Box 77
7100       Kimball, SD 57355                                  (265-1) Certificate Investor




266        INVESTMENT & INSURANCE             Unsecured                                                              $0.00          $32,085.16          $32,085.16
70         SERVICE
7100       of New Ulm, Ltd.                                   (266-1) Unpaid Commissions
           c/o Laurie A. Braulick
           One South Minnesota St., PO Box
           62
           New Ulm, MN 56073



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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed              Allowed
267        CHRISTOPHER L. CHRISTON            Unsecured                                                              $0.00         $114,391.01          $114,391.01
70         7 Waterbury Court
7100       Stafford, VA 22554                                 (267-1) Account Number (last 4 digits):1827 (267-2) Account Number (last 4 digits):9493




268        CLAY T & CARLA C AMICK             Unsecured                                                              $0.00          $16,269.92           $16,269.92
70         40168 240th St
7100       Letcher, SD 57359                                  (268-1) Certificate Investor




269        CLAY T & CARLA C AMICK             Unsecured                                                              $0.00          $16,501.81           $16,501.81
70         40168 240th St
7100       Letcher, SD 57359                                  (269-1) Certificate Investor




270        CLARK HOPE                         Unsecured                                                              $0.00           $8,664.96            $8,664.96
70         19047 453RD AVE
7100       HAYTI, SD 57241                                    (270-1) Certificate Investor




271        ROGERS ROD                         Unsecured                                                              $0.00          $51,642.74           $51,642.74
70         21210 349th Ave
7100       Ree Heights, SD 57371                              (271-1) Certificate Investor




272        MARY P. LIGGETT                    Unsecured                                                              $0.00          $96,293.16           $96,293.16
70         116 Cumberland Drive
7100       Locust Grove, VA 22508                             (272-1) Non-payment of Investment Certificate




273        HAGMAN DONNA                       Unsecured                                                              $0.00             $754.45             $754.45
70         981 CANNON RD
7100       PACKWOOD, WA 98361                                 (273-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
274        CARSON ROSE                        Unsecured                                                $0.00         $2,888.22          $2,888.22
70         1121 WILLIAMS
7100       MITCHELL, SD 57301                                 (274-1) Certificate Investor




275        BRIDGMAN VALINDA                   Unsecured                                                $0.00         $4,193.01          $4,193.01
70         22899 380TH AVENUE
7100       WESSINGTON SPRINGS, SD                             (275-1) Certificate Investor
           57382




276        BRIDGMAN CASEY                     Unsecured                                                $0.00         $8,228.66          $8,228.66
70         22899 380TH AVENUE
7100       WESSINGTON SPRINGS, SD                             (276-1) Certificate Investor
           57382




277        BRIDGMAN CASEY                     Unsecured                                                $0.00         $4,193.01          $4,193.01
70         22899 380TH AVENUE
7100       WESSINGTON SPRINGS, SD                             (277-1) Certificate Investor
           57382




278        SCHNEIDER JAMES                    Unsecured                                                $0.00         $2,862.36          $2,862.36
70         305 Cedar Trl
7100       York, NE 68467                                     (278-1) Certificate Investor




279        KURT MELVIN                        Unsecured                                                $0.00         $3,200.00          $3,200.00
70         301 MONROE
7100       CASCADE, IA 52033




280        MORGAN ROBERT                      Unsecured                                                $0.00       $302,941.99        $302,941.99
70         c/o Glenn J. Boomsma
7100       Breit Law Office, PC                               (280-1) Money Invested
           606 East Tan Tara Circle
           Sioux Falls, SD 57108




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
281        BARNES ROWLAND, Sr.                Unsecured                                                              $0.00         $4,759.51          $4,759.51
70         1015 BENTON AVENUE EAST
7100       ALBIA, IA 52531                                    (281-1) IRA 209298 Custodial Account




282        BARNES ROWLAND, Sr.                Unsecured                                                              $0.00         $3,464.37          $3,464.37
70         1015 BENTON AVENUE EAST
7100       ALBIA, IA 52531                                    (282-1) IRA 210011 Custodial Account




283        DUANE M. REINEKE                   Unsecured                                                              $0.00         $7,288.00          $7,288.00
70         c/o Kakeldey & Koberoski PA
7100       1400 Madison Ave., Ste. 628                        (283-1) Owner of Certificate 162375-3 & 162196-3
           Mankato, MN 56001




284        GLORIA M. SEIFERT                  Unsecured                                                              $0.00         $7,288.00          $7,288.00
70         c/o Kakeldey & Koberoski, PA
7100       1400 Madison Ave., Ste. 628                        (284-1) Owner of Certificate 162375-4 & 162196-4
           Mankato, MN 56001




285        MELVIN R REINEKE                   Unsecured                                                              $0.00         $7,288.00          $7,288.00
70         c/o Kakeldey & Koberoski, PA
7100       1400 Madison Ave., Ste. 628                        (285-1) Owner of Certificate 162375-2 & 162196-2
           Mankato, MN 56001




286        STANLEY R REINEKE                  Unsecured                                                              $0.00         $7,288.00          $7,288.00
70         c/o Kakeldey & Koberoski, PA
7100       1400 Madison Ave., Ste. 628                        (286-1) Owner of Certificate 162375-1 & 162196-1
           Mankato, MN 56001




287        HEILMAN DOUGLAS                    Unsecured                                                              $0.00         $1,991.83          $1,991.83
70         403 WEST 2ND AVENUE
7100       MILLER, SD 57362                                   (287-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
288        BOYD D SCHILTZ FAMILY              Unsecured                                                              $0.00         $9,560.41          $9,560.41
70         TRUST
7100       c/o Douglas Schiltz                                (288-1) Certificate Investor
           19951 369th Ave
           Wessington, SD 57381




289        BOYD D SCHILTZ FAMILY              Unsecured                                                              $0.00         $9,815.76          $9,815.76
70         TRUST
7100       c/o Douglas Schiltz                                (289-1) Certificate Investor
           19951 369th Ave
           Wessington, SD 57381




290        BEVERLEY A DEMING                  Unsecured                                                              $0.00         $7,288.00          $7,288.00
70         c/o Kakeldey & Koberoski, PA
7100       1400 Madison Ave., Ste. 628                        (290-1) Owner of Certificate 162375-5 & 162196-5
           Mankato, MN 56001




291        JOHN C & LINDA D PALMER            Unsecured                                                              $0.00         $1,991.83          $1,991.83
70         1103 Anchor Street
7100       Billings, MT 59105                                 (291-1) Certificate Investor




292        BECKMAN DENNIS                     Unsecured                                                              $0.00         $3,387.33          $3,387.33
70         38040 South Ridge Drive
7100       WESSINGTON SPRINGS, SD                             (292-1) Certificate Investor
           57382




293        PHAIR LUCYNA                       Unsecured                                                              $0.00         $4,698.79          $4,698.79
70         15107 Interlachen Drive.
7100       Apt. 505                                           (293-1) 10 year CD
           SILVER SPRING, MD 20905




294        FRANDSEN BANK & TRUST              Unsecured                                                              $0.00         $3,397.67          $3,397.67
70         CFBO Anne Granitz IRA
7100       PO Box 189                                         (294-1) IRA Investment Certificate
           NEW ULM, MN 56073-0189




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
295        FRANDSEN BANK & TRUST              Unsecured                                                            $0.00        $17,631.81         $17,631.81
70         CFBO Anne Granitz IRA
7100       PO Box 189                                         (295-1) IRA Investment Certificate
           NEW ULM, MN 56073-0189




296        CONNIE R HIRSCHY                   Unsecured                                                            $0.00        $13,700.83         $13,700.83
70         51503 - 234th Trail
7100       Chariton, IA 50049                                 (296-1) Account Number (last 4 digits):8915




297A       LAW OFFICE OF JOHN M.              Unsecured                                                            $0.00        $99,013.29         $99,013.29
70         FEDDERS
7100       1914 SUnderland Place, NW                          (297-1) Legal Services Performed and Disbursements
           Washington, DC 20036




298        JOSEPH MCGUIRE                     Unsecured                                                            $0.00         $5,643.25          $5,643.25
70         c/o Charles W. Ries, Attorney
7100       PO Box 7                                           (298-1) Account Number (last 4 digits):1849
           Mankato, MN 56002-0007




299        BARBARA MCGUIRE                    Unsecured                                                            $0.00         $5,643.25          $5,643.25
70         c/o Charles W. Ries, Attorney
7100       PO Box 7                                           (299-1) Account Number (last 4 digits):1850
           Mankato, MN 56002-0007




300        ROGER J HUISENGA                   Unsecured                                                            $0.00         $9,200.99          $9,200.99
70         403 N Holland St.
7100       BLUE EARTH, MN 56013-1234




301        LEE M. NOLZ                        Unsecured                                                            $0.00        $25,165.90         $25,165.90
70         18642 348TH AVENUE
7100       MILLER, SD 57362                                   (301-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled             Claimed            Allowed
302        LEE M. NOLZ                        Unsecured                                                              $0.00           $24,234.39         $24,234.39
70         18642 348TH AVENUE
7100       MILLER, SD 57362                                   (302-1) Certificate Investor




303        RILEY MADONNA                      Unsecured                                                                 $0.00         $2,878.05          $2,878.05
70         306 W 12TH ST
7100       MOBRIDGE, SD 57601                                 (303-1) Investment in Savings Certificate issued by SBM




304        CARMAN GINGER                      Unsecured                                                                 $0.00         $2,675.81          $2,675.81
70         2317 E 17TH ST
7100       SIOUX FALLS, SD 57103                              (304-1) Certificate Investor




305        JAMES M. DELANEY                   Unsecured                                                                 $0.00        $48,506.58         $48,506.58
70         22210 DRAWBRIDGE DR
7100       LEESBURG, FL 34748                                 (305-1) Annual Statement - IRA Roth




306        MILES LORI                         Unsecured                                                                 $0.00         $6,907.98          $6,907.98
70         7320 N 150TH EAST AVE
7100       OWASSO, OK 74055                                   (306-1) Certificate Owner




307        PHYLLIS M MIEDEMA LIVING           Unsecured                                                                 $0.00        $48,542.78         $48,542.78
70         TRUST
7100       224 Sunrise Dr.
           Huron, SD 57350


308        PHYLLIS M MIEDEMA LIVING           Unsecured                                                                 $0.00        $91,861.14         $91,861.14
70         TRUST
7100       224 Sunrise Dr.
           Huron, SD 57350




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
309        RANDY & ADELE JACOBSON             Unsecured                                                            $0.00        $16,616.72         $16,616.72
70         224 Sunrise Dr.
7100       Huron, SD 57350




310        RENAE E SAMAAN                     Unsecured                                                            $0.00         $5,347.92          $5,347.92
70         11279 Oakbrook Ct.
7100       Alta Loma, CA 91737                                (310-1) Certificate Investor Beneficiary




311        FADEL A SAMAAN                     Unsecured                                                            $0.00         $5,347.92          $5,347.92
70         11279 Oakbrook Ct.
7100       Alta Loma, CA 91737                                (311-1) Certificate Investor Beneficiary




312        HARDIE PATRICIA                    Unsecured                                                            $0.00         $2,862.36          $2,862.36
70         3082 SERENITY RIDGE PL
7100       SPEARFISH, SD 57783                                (312-1) Certificate Investor Beneficiary




313        RASMUSSEN SHIRLEY                  Unsecured                                                            $0.00         $2,701.56          $2,701.56
70         57 3RD AVENUE NW
7100       WATERTOWN, SD 57201                                (313-1) Certificate Investor




314        PHILLIPS KAY                       Unsecured                                                            $0.00         $6,907.98          $6,907.98
70         2408 HICKORY NUT CT
7100       LITTLE ROCK, AR 72211                              (314-1) Certificate Investor




315        LYNN R DYE                         Unsecured                                                            $0.00         $6,907.98          $6,907.98
70         3721 Spring Hill Drive
7100       Edmond, OK 73013                                   (315-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
316        PHYLLIS M MIEDEMA LIVING           Unsecured                                                $0.00        $76,545.89         $76,545.89
70         TRUST
7100       224 Sunrise Dr.
           Huron, SD 57350


317        JACOBSON ADELE                     Unsecured                                                $0.00        $21,565.09         $21,565.09
70         224 SUNRISE DRIVE
7100       HURON, SD 57350




318        PAUL ARDOLF                        Unsecured                                                $0.00        $34,799.66         $34,799.66
70         C/O Senior Options
7100       PO Box 49097                                       (318-1) Certificate Investor
           Blaine, MN 55449




319        BUCHHOLZ RONALD                    Unsecured                                                $0.00        $11,893.14         $11,893.14
70         c/o Murray & Murray, PLC
7100       530 Erie Street
           Storm Lake, IA 50588


320        BUCHHOLZ RONALD                    Unsecured                                                $0.00        $24,206.64         $24,206.64
70         c/o Murray & Murray, PLC
7100       530 Erie Street
           Storm Lake, IA 50588


321        BUCHHOLZ RONALD                    Unsecured                                                $0.00        $13,535.08         $13,535.08
70         c/o Murray & Murray, PLC
7100       530 Erie Street
           Storm Lake, IA 50588


322        BUCHHOLZ RONALD                    Unsecured                                                $0.00        $10,031.82         $10,031.82
70         c/o Murray & Murray, PLC
7100       530 Erie Street
           Storm Lake, IA 50588


323        ESTATE OF HERBIE AUGUST            Unsecured                                                $0.00        $11,705.96         $11,705.96
70         BLOCK
7100       Emil Block Jr.
           25553 Co. Rd. 34
           Paynesville, MN 56362

324        STUBBE MARLYN                      Unsecured                                                $0.00         $2,878.05          $2,878.05
70         112 LEIGHTON ST
7100       BRANDON, SD 57005




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Code #     Creditor Name And Address           Claim Class     Notes                                         Scheduled          Claimed            Allowed
325A       DIANNE KLUDT                        Unsecured                                                         $0.00        $16,833.00         $16,833.00
70         24028 474th Avenue
7100       Dell Rapids, SD 57022                               (325-1) Account Number (last 4 digits):1761




326        MARY C. OBERTI                      Unsecured                                                         $0.00        $13,147.42         $13,147.42
70         Tr of Mary C. Oberti Survivors Tr
7100       c/o Lang, Richert & Patch                           (326-1) Investment Certificate 208375
           5200 N. Palm Ave., Ste. 401
           Fresno, CA 93704




327        MARY C. OBERTI                      Unsecured                                                         $0.00        $12,469.47         $12,469.47
70         Tr of Mary C. Oberti Survivors Tr
7100       c/o Lang, Richert & Patch                           (327-1) Investment Certificate 209119
           5200 N. Palm Ave., Ste. 401
           Fresno, CA 93704




328        MARY C. OBERTI                      Unsecured                                                         $0.00        $19,336.67         $19,336.67
70         Tr of Mary C. Oberti Survivors Tr
7100       c/o Lang, Richert & Patch                           (328-1) Investment Certificate 211634
           5200 N. Palm Ave., Ste. 401
           Fresno, CA 93704




329        MARY C. OBERTI                      Unsecured                                                         $0.00        $13,917.93         $13,917.93
70         Tr of Mary C. Oberti Survivors Tr
7100       c/o Lang, Richert & Patch                           (329-1) Investment Certificate 208160
           5200 N. Palm Ave., Ste. 401
           Fresno, CA 93704




330        MARY C. OBERTI                      Unsecured                                                         $0.00        $15,100.86         $15,100.86
70         Tr of Mary C. Oberti Survivors Tr
7100       c/o Lang, Richert & Patch                           (330-1) Investment Certificate 208942
           5200 N. Palm Ave., Ste. 401
           Fresno, CA 93704




331        BOUILLON CAROLYN                    Unsecured                                                         $0.00        $14,109.50         $14,109.50
70         BOUILLON JEROME
7100       BOUILLON CARIANNE                                   (331-1) Investment Certificate Owner
           2003 ROOSEVELT CIRCLE
           AMES, IA 50010




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
332        JO MARIE AND KEITH G.              Unsecured                                                $0.00         $9,795.04          $9,795.04
70         BRUSS
7100       911 CORTLAND DRIVE SOUTH                           (332-1) Money Invested
           APPLE VALLEY, MN 55124




333        PETERSON KATHLEEN                  Unsecured                                                $0.00         $3,683.15          $3,683.15
70         39007 236th Street
7100       Woonsocket, SD 57385                               (333-1) Certificate Investor




334        PETERSON KATHLEEN                  Unsecured                                                $0.00         $3,683.15          $3,683.15
70         39007 236th Street
7100       Woonsocket, SD 57385                               (334-1) Certificate Owner




335        PETERSON KATHLEEN                  Unsecured                                                $0.00         $6,372.64          $6,372.64
70         39007 236th Street
7100       Woonsocket, SD 57385                               (335-1) Certificate Investor




336        PETERSON KATHLEEN                  Unsecured                                                $0.00         $3,485.92          $3,485.92
70         39007 236th Street
7100       Woonsocket, SD 57385                               (336-1) Certificate Investor




337        PETERSON KATHLEEN                  Unsecured                                                $0.00         $2,413.63          $2,413.63
70         39007 236th Street
7100       Woonsocket, SD 57385                               (337-1) Certificate Investor




338        THOMPSON BYRON                     Unsecured                                                $0.00        $11,481.50         $11,481.50
70         4025 N 157TH ST
7100       OMAHA, NE 68116                                    (338-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
339        SHIRLEY M MEHLOW                   Unsecured                                                        $0.00        $61,570.00         $61,570.00
70         Shirley M Mehlot Trust
7100       Charles L Hannahs Trustee                          (339-1) Invested in SBM Co for Retirement
           105 Main St.
           Union, IA 50258




340        HANNAHS CHARLES                    Unsecured                                                        $0.00        $20,000.00         $20,000.00
70         105 MAIN
7100       PO BOX 180                                         (340-1) Back Commission
           UNION, IA 50258




341        HANNAHS CHARLES                    Unsecured                                                        $0.00         $2,325.46          $2,325.46
70         105 MAIN
7100       PO BOX 180                                         (341-1) Invested SEP Money for Retirement
           UNION, IA 50258




342        HENDERSON MYRNA                    Unsecured                                                        $0.00        $25,294.59         $25,294.59
70         1152 49TH STREET #1
7100       WEST DES MOINES, IA 50266                          (342-1) Certificate Investment




343        CHELSVIG GENEVA                    Unsecured                                                        $0.00        $18,310.48         $18,310.48
70         401 SE DELAWARE AVE, #302
7100       ANKENY, IA 50021                                   (343-1) Investment Certicate




344        ERIN S POWELL                      Unsecured                                                        $0.00         $2,193.25          $2,193.25
70         28880 Clover Road
7100       Pierre, SD 57501                                   (344-1) Certificate Investor




345        NEMEC ANASTASIA                    Unsecured                                                        $0.00         $2,193.25          $2,193.25
70         622 N. 5th Street
7100       Spearfish, SD 57783                                (345-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
346        NEMEC BRIGETTE                     Unsecured                                                           $0.00         $2,193.25          $2,193.25
70         19757 327TH AVE
7100       HOLABIRD, SD 57540                                 (346-1) Certificate Investor




347        BYRON B & KAREN                    Unsecured                                                           $0.00        $15,829.34         $15,829.34
70         THOMPSON
7100       4025 N. 157th Street                               (347-1) Certificate Investor
           Omaha, NE 68116




348        REDMANN LORRAINE                   Unsecured                                                           $0.00        $14,943.27         $14,943.27
70         401 MAIN STREET WEST
7100       WESSINGTON SPRINGS, SD                             (348-1) Certificate Investor
           57382




349        LORRAINE REDMANN                   Unsecured                                                           $0.00        $11,876.40         $11,876.40
70         401 MAIN STREET WEST
7100       WESSINGTON SPRINGS, SD                             (349-1) Certificate Owner
           57382




350        BLEEKER MARJORIE                   Unsecured                                                           $0.00        $20,560.82         $20,560.82
70         % LEE BLEEKER, POA
7100       610 3RD AVE S                                      (350-1) Certificate Investor
           RAYMOND, MN 56282




351        KENNETH L LARSON                   Unsecured                                                           $0.00         $7,841.71          $7,841.71
70         2233 Hamilton Drive
7100       AMES, IA 50014-8210                                (351-1) Owner of Investment Certificate




352        SMITH BARBRA                       Unsecured                                                           $0.00        $56,451.54         $56,451.54
70         750 W. Alluvial Ave
7100       #1088                                              (352-1) Invested in Certificates
           Colvis, CA 93611




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
353        KOLODZIEJ ELAINE                   Unsecured                                                         $0.00        $17,039.18         $17,039.18
70         1012 C STREET
7100       FLORESVILLE, TX 78114                              (353-1) Investment




354        G&H MANDERSCHEID LLP               Unsecured                                                         $0.00        $10,000.00         $10,000.00
70         EUGENE D. MAILANDER
7100       ATTORNEY AT LAW
           PO BOX 256
           SLAYTON, MN 56172-0256

355        GRABNEGGER ELEANOR                 Unsecured                                                         $0.00         $6,923.24          $6,923.24
70         3803 ELBY COURT
7100       SILVER SPRING, MD 20906                            (355-1) Certificate Account




356        LOREN ZARUBA                       Unsecured                                                         $0.00        $92,475.61         $92,475.61
70         Thomas L. Flynn
7100       Belin McCormick                                    (356-1) Account Number (last 4 digits):2761
           The Financial Center
           666 Walnut Street, Suite 2000
           Des Moines, IA 50309


357        REX L. SCHOONOVER                  Unsecured                                                         $0.00        $64,643.83         $64,643.83
70         Thomas L. Flynn
7100       Belin McCormick                                    (357-1) Account Number (last 4 digits):1637
           The Financial Center
           666 Walnut Stree, Suite 2000
           Des Moines, IA 50309


358        CHAD BERG, CUST FOR                Unsecured                                                         $0.00         $1,967.14          $1,967.14
70         JACOB BERG
7100       19294 280th Ave                                    (358-1) Account Number (last 4 digits):1568
           SLEEPY EYE, MN 56085




359        SCHELLER DONALD                    Unsecured                                                         $0.00         $2,862.36          $2,862.36
70         S.I.L.
7100       P O BOX, 81439                                     (359-1) Certificate Investor
           8000 DAVAO CITY
           PHILLIPINES




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled             Claimed            Allowed
360        WESSELMANN PAUL                    Unsecured                                                              $0.00            $5,164.50          $5,164.50
70         409 SOUTH JEFFERSON
7100       NEW ULM, MN 56073                                  (360-1) SBM Certificate No. 201759




361        WESSELMANN DEBRA                   Unsecured                                                               $0.00           $5,164.50          $5,164.50
70         409 SOUTH JEFFERSON
7100       NEW ULM, MN 56073                                  (361-1) SBM Certificate No. 210760




362        BECK LUCILE                        Unsecured                                                               $0.00          $33,891.24         $33,891.24
70         1710 14TH AVENUE W
7100       SPENCER, IA 51301                                  (362-1) SBM Investment Certificate 211102




363        RICKETTS ASHLEY                    Unsecured                                                               $0.00          $13,185.00         $13,185.00
70         2209 Fillmore Ave
7100       Ames, IA 50010                                     (363-1) Owner of Investment Certificate




364        ROBERSON ESTHER                    Unsecured                                                               $0.00           $7,209.82          $7,209.82
70         c/o Jeff S. Shepard, Esq.
7100       PO BOX 407                                         (364-1) Investment Certificate 208579(364-2) Investment Certificate 208579
           SELMA, CA 93662




365        PAMELA JOHNSON-MARTIN              Unsecured                                                               $0.00          $31,640.62         $31,640.62
70         9779 Yalta St. NE
7100       Circle Pines, MN 55014                             (365-1) Purchase of SBM Certificate




366        JOHNSON BRENT                      Unsecured                                                               $0.00          $31,640.62         $31,640.62
70         4111 - 3RD ST NE, UNIT 101
7100       COLUMBIA HEIGHTS, MN                               (366-1) Purchase of SBM Certificate
           55421




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled             Claimed             Allowed
367        JOHNSON REX                        Unsecured                                                                $0.00           $31,640.62          $31,640.62
70         250 W EAGLE LAKE DR
7100       MAPLE GROVE, MN 55369                              (367-1) Purchase of SBM Certificate




368        HUSTED CONNIE                      Unsecured                                                                $0.00            $5,481.77            $5,481.77
70         1165 HWY 14
7100       KNOXVILLE, IA 50138                                (368-1) Inherited From Father




369        SCOTT HELGEMO                      Unsecured                                                                $0.00           $57,018.79          $57,018.79
70         139 Baldwin Court
7100       Westfield, IN 46074                                (369-1) Investment - Certificate of Deposits(369-2) Investment - Certificate of Deposits -204042, 204043,
                                                              204058, 208000




370        KENNETH E OR MARYANN               Unsecured                                                                $0.00            $9,401.01            $9,401.01
70         THORN
7100       2201 NO BROADWAY #105                              (370-1) SBM Certificate No. 211004
           NEW ULM, MN 56073




371        TERRY J. BURTON                    Unsecured                                                                $0.00            $5,000.00            $5,000.00
70         Attorney Terrence J. Byrne
7100       P.O. Box 1566
           Wausau, WI 54402-1566


372        JOAN APITZ                         Unsecured                                                                $0.00            $9,951.12            $9,951.12
70         420 N FRONT STREET
7100       NEW ULM, MN 56073                                  (372-1) SBM Certificate No. 510907




373        COREY SANBORN                      Unsecured                                                                $0.00            $3,291.60            $3,291.60
70         17065 Everest Path
7100       Farmington, MN 55024




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
374        PERRY C. SAND AND/OR               Unsecured                                                         $0.00         $8,544.00          $8,544.00
70         WENDY K. SAND
7100       PO Box 93                                          (374-1) Account Number (last 4 digits):2968
           DeSmet, SD 57231




375        WURTZBERGER CYNTHIA                Unsecured                                                         $0.00        $61,711.79         $61,711.79
70         1400 SOUTH WASHINGTON
7100       STREET                                             (375-1) SBM Certificate No. 210782
           NEW ULM, MN 56073




376        WURTZBERGER CYNTHIA                Unsecured                                                         $0.00        $10,329.01         $10,329.01
70         1400 SOUTH WASHINGTON
7100       STREET                                             (376-1) SBM Certificate No. 210783
           NEW ULM, MN 56073




377        WURTZBERGER CYNTHIA                Unsecured                                                         $0.00         $4,995.01          $4,995.01
70         1400 SOUTH WASHINGTON
7100       STREET                                             (377-1) SBM Certificate No. 212126
           NEW ULM, MN 56073




378        WURTZBERGER CYNTHIA                Unsecured                                                         $0.00        $12,441.09         $12,441.09
70         1400 SOUTH WASHINGTON
7100       STREET                                             (378-1) SBM Certificate No. 212015
           NEW ULM, MN 56073




379        KENNETH E OR MARYANN               Unsecured                                                         $0.00         $8,406.21          $8,406.21
70         THORN
7100       2201 NO BROADWAY #105                              (379-1) SBM Certificate No. 211003
           NEW ULM, MN 56073




380        KENNETH E OR MARYANN               Unsecured                                                         $0.00         $8,227.53          $8,227.53
70         THORN
7100       2201 NO BROADWAY #105                              (380-1) SBM Certificate No. 211002
           NEW ULM, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
381        PAUL NOLLEN                        Unsecured                                                         $0.00        $31,479.40         $31,479.40
70         7835 E. 1000th Street
7100       Macomb, IL 61455                                   (381-1) Account Number (last 4 digits):8445




382        GRONAU ROLAND                      Unsecured                                                         $0.00         $6,484.91          $6,484.91
70         42388 660TH AVE
7100       FRANKLIN, MN 55333                                 (382-1) SBM Certificate No. 212114




383        SHROG FRANKLIN                     Unsecured                                                         $0.00        $40,921.64         $40,921.64
70         311 WEST 24TH STREET
7100       NEW YORK, NY 10011                                 (383-1) Face Amount Certificate




384        EMIL RIECK RESIDUARY               Unsecured                                                         $0.00        $19,178.62         $19,178.62
70         TRUST
7100       c/o Allan C. Reick                                 (384-1) Money Loaned(384-2) Money Loaned
           Successor Co-Trustee
           20125 443rd Avenue
           Lake Preston, SD 57249


385        HEILMAN CRAIG                      Unsecured                                                         $0.00         $6,196.95          $6,196.95
70         129 15TH SE
7100       HURON, SD 57350                                    (385-1) Certificate Investor




386        HEILMAN CRAIG                      Unsecured                                                         $0.00         $1,989.55          $1,989.55
70         129 15TH SE
7100       HURON, SD 57350                                    (386-1) Certificate Investor




387        DUEA JAMES                         Unsecured                                                         $0.00        $10,679.21         $10,679.21
70         2707 PIERCE
7100       AMES, IA 50010                                     (387-1) Investment




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
388        GARBES MARY                        Unsecured                                                            $0.00        $21,970.00         $21,970.00
70         21951 TERRACE AVENUE
7100       CLARKSVILLE, IA 50619nbsp;                         (388-1) Certificate




389        LAVON E. YANGTUM                   Unsecured                                                            $0.00         $7,725.00          $7,725.00
70         307 W. 11th
7100       Sumner, IA 50674                                   (389-1) Certificate




390        DENNIS D AND EILEEN A              Unsecured                                                            $0.00         $6,382.00          $6,382.00
70         LINDEMA
7100       17857 230th St.                                    (390-1) Certificate
           Allison, IA 50602




391        DENNIS D AND EILEEN A              Unsecured                                                            $0.00        $11,905.68         $11,905.68
70         LINDEMA
7100       17857 230th St.                                    (391-1) Certificate
           Allison, IA 50602




392        LINDEMAN DENNIS                    Unsecured                                                            $0.00         $7,834.00          $7,834.00
70         17857 230TH STREET
7100       ALLISON, IA 50602                                  (392-1) Certificate




393        STOBBE DAVID                       Unsecured                                                            $0.00        $17,036.00         $17,036.00
70         817 N PUBLIC ROAD
7100       SHELL ROCK, IA 50670                               (393-1) Certificate(393-2) SBM Certificate No.




394        STOBBE DAVID                       Unsecured                                                            $0.00        $15,923.57         $15,923.57
70         817 N PUBLIC ROAD
7100       SHELL ROCK, IA 50670                               (394-1) Certificate(394-2) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
395        FORRY HARRIET                      Unsecured                                                            $0.00         $4,525.00          $4,525.00
70         509 No. Main
7100       CLARKSVILLE, IA 50619                              (395-1) Certificate(395-2) Certificate




396        BRANDOS LOIS                       Unsecured                                                            $0.00         $5,327.00          $5,327.00
70         308 SOUTH WALNUT #333
7100       SHELL ROCK, IA 50670                               (396-1) Certificate(396-2) SBM Certificate No.




397        BRANDOS LOIS                       Unsecured                                                            $0.00         $2,441.92          $2,441.92
70         308 SOUTH WALNUT #333
7100       SHELL ROCK, IA 50670                               (397-1) Certificate(397-2) SBM Certificate No.




398        HARDY DALE                         Unsecured                                                            $0.00             $0.00              $0.00
70         BOX 221
7100       GREENE, IA 50636                                   (398-1) Certificate




399        BRUNSMA STEVEN                     Unsecured                                                            $0.00             $0.00              $0.00
70         307 NORTH 5TH
7100       GREENE, IA 50636                                   (399-1) Certificate




400        BONE HARRISON                      Unsecured                                                            $0.00         $3,248.95          $3,248.95
70         408 NO HIGH STREET
7100       GREENE, IA 50636                                   (400-1) Certificate




401        BORCHERDING LOIS                   Unsecured                                                            $0.00         $5,000.00          $5,000.00
70         712 W 1ST STREET
7100       SUMNER, IA 50674                                   (401-1) Certificate(401-2) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
402        BESSIE BAKER                       Unsecured                                                            $0.00        $22,406.13         $22,406.13
70         103 Ilgenfrits
7100       Clarksville, IA 50619                              (402-1) Certificate




403        BESSIE BACKER                      Unsecured                                                            $0.00        $15,669.37         $15,669.37
70         900 7th St West
7100       Allison, IA 50602                                  (403-1) Certificate(403-2) SBM Certificate No.




404        REIMLER LEON                       Unsecured                                                            $0.00         $5,349.00          $5,349.00
70         816 W 4TH ST
7100       SUMNER, IA 50674                                   (404-1) Certificate




405        LINDA CONNOR, I                    Unsecured                                                            $0.00         $5,988.53          $5,988.53
70         313 South Agora St
7100       Marathon, IA 50565                                 (405-1) Certificate




406        SCHEWE SUSAN                       Unsecured                                                            $0.00         $4,948.28          $4,948.28
70         24627 STATE HWY 4
7100       SLEEPY EYE, MN 56085                               (406-1) Certificate




407        SCHEWE THOMAS                      Unsecured                                                            $0.00         $4,948.28          $4,948.28
70         24627 STATE HWY 4
7100       SLEEPY EYE, MN 56085                               (407-1) Certificate




408        BESSIE BACKER                      Unsecured                                                            $0.00        $13,752.43         $13,752.43
70         900 7th St West
7100       Allison, IA 50602                                  (408-1) Certificate(408-2) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
409        REIMLER LEON                       Unsecured                                                $0.00         $4,404.00          $4,404.00
70         816 W 4TH ST
7100       SUMNER, IA 50674                                   (409-1) Certificate




410        GARBES MARY                        Unsecured                                                $0.00         $1,600.18          $1,600.18
70         21951 TERRACE AVENUE
7100       CLARKSVILLE, IA 50619                              (410-1) Certificate




411        DEETTE BLOMBERG                    Unsecured                                                $0.00        $10,080.19         $10,080.19
70         108 5th Street
7100       Sioux Rapids, IA 50585-7724                        (411-1) Certificate holder.




412        MARTENS DARLENE                    Unsecured                                                $0.00        $17,828.04         $17,828.04
70         RR 1 BOX 182C
7100       LAFAYETTE, MN 56054                                (412-1) Certificate




413        SCHOW KRISTY                       Unsecured                                                $0.00         $3,270.98          $3,270.98
70         520 188TH AVENUE SE
7100       BLOMKEST, MN 56216                                 (413-1) Certificate




414        SCHOW KRISTY                       Unsecured                                                $0.00        $12,765.21         $12,765.21
70         520 188TH AVENUE SE
7100       BLOMKEST, MN 56216                                 (414-1) Certificate




415        SCHOW KRISTY                       Unsecured                                                $0.00         $7,180.75          $7,180.75
70         520 188TH AVENUE SE
7100       BLOMKEST, MN 56216                                 (415-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                      Scheduled          Claimed            Allowed
416        SCHOW KRISTY                       Unsecured                                                      $0.00         $8,595.89          $8,595.89
70         520 188TH AVENUE SE
7100       BLOMKEST, MN 56216                                 (416-1) Certificate




417        KRISTY AND NATHAN                  Unsecured                                                      $0.00        $43,549.32         $43,549.32
70         SCHOW
7100       520 188th Ave                                      (417-1) Certificate
           Blomkest, MN 56216




418        KRISTY AND NATHAN                  Unsecured                                                      $0.00        $37,964.91         $37,964.91
70         SCHOW
7100       520 188th Ave                                      (418-1) Certificate
           Blomkest, MN 56216




419        JEANETTE ZIMDAHL                   Unsecured                                                      $0.00        $21,132.14         $21,132.14
70         821 CENTER STREET
7100       NEW ULM, MN 56073                                  (419-1) SBM Certificate No. 211539




420        JEANETTE ZIMDAHL                   Unsecured                                                      $0.00        $15,348.35         $15,348.35
70         821 CENTER STREET
7100       NEW ULM, MN 56073                                  (420-1) SBM Certificate No. 211807




421        PRAIRIE VIEW CEMETERY              Unsecured                                                      $0.00        $10,007.00         $10,007.00
70         P O BOX 146
7100       CANTRIL, IA 52542                                  (421-1) Certificate




422        SLYE KAREN                         Unsecured                                                      $0.00       $162,161.07        $162,161.07
70         46433 320TH AVE
7100       RUSSELL, IA 50238                                  (422-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
423        SCHNEIDER MARY                     Unsecured                                                $0.00         $3,585.91          $3,585.91
70         1710 S FRANKLIN
7100       NEW ULM, MN 56073                                  (423-1) Certificate




424        MENNENGA DARLYS                    Unsecured                                                $0.00        $32,679.97         $32,679.97
70         122 W ILGENFRITZ
7100       BOX 335                                            (424-1) Certificate
           CLARKSVILLE, IA 50619




425        HOOGESTRAAT MARY                   Unsecured                                                $0.00         $3,869.00          $3,869.00
70         805 FLORENCE
7100       BOX 237                                            (425-1) Certificate
           PARKERSBURG, IA 50665




426        DELBERT HOCKEN                     Unsecured                                                $0.00        $51,880.00         $51,880.00
70         7501 UNIVERSITY AVE, 8C
7100       CEDAR FALLS, IA 50613                              (426-1) Certificate




427        VIRGINIA HOCKEN                    Unsecured                                                $0.00        $31,150.00         $31,150.00
70         7517 University Avenue
7100       Sena Rownd #27                                     (427-1) Certificate
           Cedar Falls, IA 50613-5074




428        SCHWAKE-HOCKEN VIRGINIA            Unsecured                                                $0.00        $38,569.00         $38,569.00
70         7517 University Avenue
7100       Sena Rownd #27                                     (428-1) Certificate
           Cedar Falls, IA 50613-5074




429        KOLTHOFF EDITH                     Unsecured                                                $0.00         $5,000.00          $5,000.00
70         2174 270TH STREET
7100       NEW HAMPTON, IA 50659                              (429-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
430        DELBERT HOCKEN                     Unsecured                                                            $0.00        $33,910.00         $33,910.00
70         7501 UNIVERSITY AVE, 8C
7100       CEDAR FALLS, IA 50613                              (430-1) Certificate




431        JENN NORBERT                       Unsecured                                                            $0.00        $12,757.00         $12,757.00
70         207 E IOWA ST
7100       IONIA, IA 50645                                    (431-1) Certificate(431-2) SBM Certificate No.




432        JENN NORBERT                       Unsecured                                                            $0.00         $5,851.78          $5,851.78
70         207 E IOWA ST
7100       IONIA, IA 50645                                    (432-1) Certificate(432-2) SBM Certificate No.




433        JENN NORBERT                       Unsecured                                                            $0.00         $3,092.14          $3,092.14
70         207 E IOWA ST
7100       IONIA, IA 50645                                    (433-1) Certificate(433-2) SBM Certificate No.




434        MARKEE LORETTA JEWELL              Unsecured                                                            $0.00        $10,006.32         $10,006.32
70         1865 Rosser Lane
7100       Winchester, VA 22601                               (434-1) Certificate




435        MCALPINE LARRY                     Unsecured                                                            $0.00         $5,323.66          $5,323.66
70         206 14TH AVE N
7100       PRINCETON, MN 55371                                (435-1) Certificate




436        DOLORES BAIER                      Unsecured                                                            $0.00        $23,260.88         $23,260.88
70         1306 S GERMAN ST
7100       NEW ULM, MN 56073                                  (436-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
437        VINCENT L SAUER TRUST              Unsecured                                                $0.00        $68,863.20         $68,863.20
70         611 W NORTH STREET
7100       CALMAR, IA 52132                                   (437-1) Certificate




438        YOUNG ROBIN                        Unsecured                                                $0.00        $51,111.41         $51,111.41
70         3881 20TH STREET
7100       GRINNELL, IA 50112                                 (438-1) Certificate




439        YOUNG ROBIN                        Unsecured                                                $0.00        $15,659.64         $15,659.64
70         3881 20TH STREET
7100       GRINNELL, IA 50112                                 (439-1) Certificate




440        WENDEL VIOLET OR KAREN             Unsecured                                                $0.00        $92,833.50         $92,833.50
70         CARLSON
7100       600 Park Ave S                                     (440-1) Certificate
           Lake Preston, SD 57249




441        SCHEFUS RALPH                      Unsecured                                                $0.00        $64,556.30         $64,556.30
70         45427 640TH AVENUE
7100       FAIRFAX, MN 55332                                  (441-1) SBM Certificate No. 210802
                                                              (441-1) CORRECTIVE ENTRY: CORRECTED DOLLAR AMOUNT




442        SCHEFUS RALPH                      Unsecured                                                $0.00        $16,888.35         $16,888.35
70         45427 640TH AVENUE
7100       FAIRFAX, MN 55332                                  (442-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled           Claimed            Allowed
443        LAVERNA BERG                       Unsecured                                                                $0.00        $182,138.28        $182,138.28
70         1109 S STATE ST
7100       NEW ULM, MN 56073                                  (443-1) Investment rolled over retirement fund to IRA




444        BERG GEORGE                        Unsecured                                                                 $0.00        $16,226.28         $16,226.28
70         1109 S STATE ST
7100       NEW ULM, MN 56073                                  (444-1) Investment rollover retirement fund to IRA




445        KRAUS RANDY                        Unsecured                                                                 $0.00        $62,593.39         $62,593.39
70         18164 1ST AVENUE
7100       NEW ULM, MN 56073                                  (445-1) Certificate




446        PLOCHER RONALD                     Unsecured                                                                 $0.00         $8,812.77          $8,812.77
70         7041 WILLOW WOOD TRAIL
7100       ROCKFORD, MN 55373                                 (446-1) Certificate(446-2) Certificate Investment Owner




447        JOHN AND SHARON SPRAGLE            Unsecured                                                                 $0.00         $7,912.22          $7,912.22
70         35 Lido Road
7100       Clear Lake, IA 50428                               (447-1) Certificate




448        LUNEMANN DONNA                     Unsecured                                                                 $0.00        $22,276.54         $22,276.54
70         6605 MALONEY AVENUE
7100       HOPKINS, MN 55343                                  (448-1) Certificate




449        CUMMINGS LARRY                     Unsecured                                                                 $0.00         $5,532.49          $5,532.49
70         657 NEVADA ST
7100       KNOXVILLE, IA 50138                                (449-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
450        CUMMINGS DONALD                    Unsecured                                                              $0.00          $5,532.49          $5,532.49
70         608 LIBSON ST
7100       PLEASANTVILLE, IA 50225                            (450-1) Certificate




451        CINDY AND FERNANDO                 Unsecured                                                               $0.00         $8,595.89          $8,595.89
70         ALVARADO
7100       809 Monongalia Ave SW                              (451-1) Certificate(451-2) SBM Certificate No. 205009
           Willmar, MN 56201




452        CINDY ALVARADO                     Unsecured                                                               $0.00         $7,180.00          $7,180.00
70         809 MONONGALIA AVE SW
7100       WILLMAR, MN 56021                                  (452-1) Certificate(452-2) SBM Certificate No. 212077




453        MATALONI AND SUZANNE R.            Unsecured                                                               $0.00         $8,783.79          $8,783.79
70         MATA ALFRED
7100       9114 Tanglewood Dr.                                (453-1) Account Number (last 4 digits):1246
           Urbandale, IA 50322




454        ALFRED MATALONI AND                Unsecured                                                               $0.00        $38,658.31         $38,658.31
70         BETTY MATALONI
7100       9114 Tanglewood Drive                              (454-1) Account Number (last 4 digits):1373
           Urbandale, IA 50322




455        JOANN C DENBESTE                   Unsecured                                                               $0.00        $31,209.06         $31,209.06
70         1107 8th Street
7100       Sheldon, IA 51201                                  (455-1) Account Number (last 4 digits):1630




456        JOANN C DENBESTE                   Unsecured                                                               $0.00         $8,001.69          $8,001.69
70         1107 8th Street
7100       Sheldon, IA 51201                                  (456-1) Account Number (last 4 digits):1636




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
457        PHILLIP D. FLORES                  Unsecured                                                          $0.00        $33,027.25         $33,027.25
70         68309 233rd Street
7100       Dassel, MN 55325                                   (457-1) Account Number (last 4 digits):1994




458        ALEXANDER VANCE                    Unsecured                                                          $0.00        $16,759.17         $16,759.17
70         PO BOX 372
7100       NEW SHARON, IA 50207                               (458-1) Money Invested.




459        DOCKERY RITA                       Unsecured                                                          $0.00         $9,266.17          $9,266.17
70         20734 SUNSHINE LANE
7100       SPRING, TX 77388                                   (459-1) Certificate




460        KIRLIN VERNON                      Unsecured                                                          $0.00         $6,057.00          $6,057.00
70         INVALID ADDRESS PROVIDED
7100                                                          (460-1) Certificate




461        BOGAN ROBERT                       Unsecured                                                          $0.00        $31,249.00         $31,249.00
70         525 RIVERVIEW LANE
7100       BLUE EARTH, MN 56013                               (461-1) Certificate




462        JENN JOYCE                         Unsecured                                                          $0.00        $21,800.00         $21,800.00
70         2508 UNION RD, #46
7100       CEDAR FALLS, IA 50613                              (462-1) Certificate




463        TRELOAR MARY                       Unsecured                                                          $0.00        $23,732.92         $23,732.92
70         23745 ROSE ROAD
7100       HAWKEYE, IA 52147                                  (463-1) Certificate(463-2) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
464        ADAMS ELLA                         Unsecured                                                         $0.00         $3,528.54          $3,528.54
70         274 LOCUST
7100       NEW HAMPTON, IA 50659                              (464-1) Certificate




465        BERNAL TERESA                      Unsecured                                                         $0.00        $17,326.21         $17,326.21
70         11601 ELKIN ST APT 102
7100       WHEATON, MD 20902                                  (465-1) Certificate




466        SCHELLER DAVID                     Unsecured                                                         $0.00         $2,862.36          $2,862.36
70         116 CENTRAL AVE
7100       ROCHELLE PARK, NJ 07662                            (466-1) Certificate




467        GUEST SYDNEY                       Unsecured                                                         $0.00        $13,297.17         $13,297.17
70         381 E ROCHESTER ROAD
7100       OTTUMWA, IA 52501                                  (467-1) Individual Retirement Account




468        NANCY GUEST                        Unsecured                                                         $0.00        $13,297.17         $13,297.17
70         381 E ROCHESTER ROAD
7100       OTTUMWA, IA 52501                                  (468-1) Individual Retirement Account




469        NANCY GUEST                        Unsecured                                                         $0.00         $3,341.83          $3,341.83
70         381 E ROCHESTER ROAD
7100       OTTUMWA, IA 52501                                  (469-1) Individual Retirement Account




470        GUEST SYDNEY                       Unsecured                                                         $0.00         $3,341.83          $3,341.83
70         381 E ROCHESTER ROAD
7100       OTTUMWA, IA 52501                                  (470-1) Individual Retirement Account




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
471        RENA K ARJES                       Unsecured                                                              $0.00        $14,568.51         $14,568.51
70         c/o Siltsema Funeral Home
7100       308 Birch St.                                      (471-1) SBM Certificate No.
           Allison, IA 50602




472        HUART JOAN                         Unsecured                                                              $0.00        $16,210.42         $16,210.42
70         9330 BRIDGEPORT DR
7100       W PALM BEACH, FL 33411                             (472-1) Investment Purchased, Certificate 211731




473        KOLBE DUANE                        Unsecured                                                              $0.00        $20,523.54         $20,523.54
70         12929 102ND AVE
7100       MADELIA, MN 56062                                  (473-1) Investment/Certificate




474        DOMIER RANDALL                     Unsecured                                                              $0.00        $48,066.94         $48,066.94
70         1526 NORTH BROADWAY
7100       NEW ULM, MN 56073                                  (474-1) Investments/Certificates




475        MACY ESTHER                        Unsecured                                                              $0.00        $22,023.02         $22,023.02
70         514 CLEMENS AVE
7100       KIRKWOOD, MO 63122                                 (475-1) Bankruptcy




476        WINTHEISER DEAN                    Unsecured                                                              $0.00         $6,375.75          $6,375.75
70         18135 COUNTY RD #27
7100       NEW ULM, MN 56073                                  (476-1) SBM Certificate No. 211262




477        REINARTS LESTER                    Unsecured                                                              $0.00       $242,187.63        $242,187.63
70         504 3RD AVENUE NE
7100       SLEEPY EYE, MN 56085                               (477-1) Investments - IRA's




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
478        ROBERT L. BUSHMAN                  Unsecured                                                         $0.00        $11,526.87         $11,526.87
70         Clifton E. Katz
7100       Katz Law Office, Prof. L.L.C.
           Huron, SD 57350-1813


479        BETTY POST                         Unsecured                                                         $0.00        $25,706.57         $25,706.57
70         3014 Stevenson Drive
7100       Pebble Beach, CA 93953                             (479-1) Account Number (last 4 digits):2013




480        ROBERT L. BUSHMAN                  Unsecured                                                         $0.00        $11,235.29         $11,235.29
70         Clifton E. Katz
7100       Katz Law Office, Prof. L.L.C.
           Huron, SD 57350-1813


481        ROBERT L. BUSHMAN                  Unsecured                                                         $0.00        $10,497.46         $10,497.46
70         Clifton E. Katz
7100       Katz Law Office, Prof. L.L.C.
           Huron, SD 57350-1813


482        GALEN ELGERSMA                     Unsecured                                                         $0.00        $25,706.57         $25,706.57
70         710 25th Avenue
7100       Sheldon, IA 51201                                  (482-1) Account Number (last 4 digits):2013




483        ROBERT L. BUSHMAN                  Unsecured                                                         $0.00        $12,621.74         $12,621.74
70         Clifton E. Katz
7100       Katz Law Office, Prof. L.L.C.
           Huron, SD 57350-1813


484        JANE YERGLER                       Unsecured                                                         $0.00        $25,706.57         $25,706.57
70         2111 Blake Blvd S E
7100       Cedar Rapids, IA 52403-2823                        (484-1) Account Number (last 4 digits):2013




485        LAVONNE ANDRINGA                   Unsecured                                                         $0.00        $25,706.57         $25,706.57
70         422 9th Street
7100       Sibley, IA 51249-1818                              (485-1) Account Number (last 4 digits):2013




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled             Claimed               Allowed
486        STEVEN H NESSETH                   Unsecured                                                               $0.00            $9,200.00             $9,200.00
70         JANE A NESSETH JTWRUS
7100       2205 KENNEDY DR                                    (486-1) Certificate Investor
           FARIBAULT, MN 55021-2275




487        POULIOT FRANCIS                    Unsecured                                                                $0.00          $27,614.47            $27,614.47
70         60 MISSISSIPPI RIVER BLVD S
7100       ST PAUL, MN 55105                                  (487-1) Certificate Investor(487-2) Certificate Investor(487-3) SBM Certificate No. 557864




488        BERIT L ANFINSON                   Unsecured                                                                $0.00          $77,569.85            $77,569.85
70         1416 Presidential Dr
7100       Northfiled, MN 55057                               (488-1) Certificate Investor




489        MILLER ELIZABETH                   Unsecured                                                                $0.00          $12,045.00            $12,045.00
70         c/o Daniel J. Miller
7100       610 West Quince Street                             (489-1) Certificate Investor(489-2) SBM Certificate No. 555068
           Duluth, MN 55811




490        HILLMAN MARTHA                     Unsecured                                                                $0.00           $2,993.52             $2,993.52
70         206 NICHOLAS DR, APT 56
7100       MARSHALLTOWN, IA 50158                             (490-1) Invested Money with SBM Certificate Co.




491        RICHARD D. PIPPERT                 Unsecured                                                                $0.00         $254,315.88           $254,315.88
70         3135 210TH ST
7100       DYSART, IA 52224                                   (491-1) Account Number (last 4 digits):9493




492        RICHARD D. PIPPERT                 Unsecured                                                                $0.00          $42,318.00            $42,318.00
70         3135 210TH ST
7100       DYSART, IA 52224                                   (492-1) Account Number (last 4 digits):9493




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
493        FELLOWSHIP BAPTIST                 Unsecured                                                             $0.00        $14,408.59         $14,408.59
70         CHURCH
7100       1008 EAST OLIVE                                    (493-1) Invested Money with SBM Certificate Co.
           MARSHALLTOWN, IA 50158




494        OCONE EILEEN                       Unsecured                                                             $0.00        $10,753.30         $10,753.30
70         9767 WEDGEWOOD CIRCLE
7100       WOODBURY, MN 55125                                 (494-1) SBM Certificate No. 211227




495        OCONE EILEEN                       Unsecured                                                             $0.00         $5,131.07          $5,131.07
70         9767 WEDGEWOOD CIRCLE
7100       WOODBURY, MN 55125                                 (495-1) SBM Certificate No. 210901




496        OCONE EILEEN                       Unsecured                                                             $0.00         $4,180.98          $4,180.98
70         9767 WEDGEWOOD CIRCLE
7100       WOODBURY, MN 55125                                 (496-1) SBM Certificate No. 211452




497        OCONE EILEEN                       Unsecured                                                             $0.00         $3,352.58          $3,352.58
70         9767 WEDGEWOOD CIRCLE
7100       WOODBURY, MN 55125                                 (497-1) SBM Certificate No. 212050




498        HOFFMAN CLEMENT                    Unsecured                                                             $0.00         $3,584.43          $3,584.43
70         1512 NORTH MINNESOTA
7100       NEW ULM, MN 56073                                  (498-1) SBM Certificate No. 211219




499        HOFFMAN RHONELDA                   Unsecured                                                             $0.00         $4,164.26          $4,164.26
70         1512 NORTH MINNESOTA
7100       NEW ULM, MN 56073                                  (499-1) SBM Certificate No. 211220




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Code #     Creditor Name And Address          Claim Class     Notes                                      Scheduled          Claimed            Allowed
500        CLEM AND RHONELDA                  Unsecured                                                      $0.00        $25,483.45         $25,483.45
70         HOFFMAN
7100       1512 N Minnesota St.                               (500-1) SBM Certificate No. 211200
           New Ulm, MN 56073




501        CLEM AND RHONELDA                  Unsecured                                                      $0.00        $21,744.95         $21,744.95
70         HOFFMAN
7100       1512 N Minnesota St.                               (501-1) SBM Certificate No. 211124
           New Ulm, MN 56073




502        CLEM AND RHONELDA                  Unsecured                                                      $0.00        $12,756.30         $12,756.30
70         HOFFMAN
7100       1512 N Minnesota St.                               (502-1) SBM Certificate No. 211123
           New Ulm, MN 56073




503        RODRIGUES MOSES                    Unsecured                                                      $0.00         $4,732.19          $4,732.19
70         11601 ELKIN ST APT 102
7100       Silver Spring, MD 20902                            (503-1) Certificate 211810




504        RICKI M AND CONNIE J               Unsecured                                                      $0.00         $6,022.75          $6,022.75
70         KOTTWITZ
7100       N4397 Whispering Pines Lane                        (504-1) Investment Purchased
           Cambridge, WI 53523




505        RICKI M AND CONNIE J               Unsecured                                                      $0.00         $7,357.58          $7,357.58
70         KOTTWITZ
7100       N4397 Whispering Pines Lane                        (505-1) Investment Purchased
           Cambridge, WI 53523




506        RICKI M AND CONNIE J               Unsecured                                                      $0.00         $7,503.65          $7,503.65
70         KOTTWITZ
7100       N4397 Whispering Pines Lane                        (506-1) Investment Purchased
           Cambridge, WI 53523




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
507        RICKI M AND CONNIE J               Unsecured                                                        $0.00         $6,546.73          $6,546.73
70         KOTTWITZ
7100       N4397 Whispering Pines Lane                        (507-1) Investment Purchased
           Cambridge, WI 53523




508        RICKI M AND CONNIE J               Unsecured                                                        $0.00         $6,408.21          $6,408.21
70         KOTTWITZ
7100       N4397 Whispering Pines Lane                        (508-1) Investment Purchased
           Cambridge, WI 53523




509        WINTHEISER JOANN                   Unsecured                                                        $0.00         $2,004.94          $2,004.94
70         1419 S VALLEY
7100       NEW ULM, MN 56073                                  (509-1) SBM Certificate No. 210794




510        WINTHEISER JOANN                   Unsecured                                                        $0.00         $7,714.67          $7,714.67
70         1419 S VALLEY
7100       NEW ULM, MN 56073                                  (510-1) SBM Certificate No. 208537




511        WADLE CECELIA                      Unsecured                                                        $0.00       $177,940.32        $177,940.32
70         c/o Sherry Loughran
7100       28302 Granite Ave                                  (511-1) SBM Certificates 204549 and 205707
           Manning, IA 51455




512        CECELIA A. LAMPE WADLE             Unsecured                                                        $0.00       $177,940.32        $177,940.32
70         REVOCABLE TR
7100       c/o Sherry Loughran                                (512-1) SBM Certificates 204549 and 205707
           28302 Granite Ave
           Manning, IA 51455




513        SCHEWE JEROME                      Unsecured                                                        $0.00         $7,858.24          $7,858.24
70         2782 DELLWOOD AVENUE
7100       NORTH                                              (513-1) SBM Certificate No. 2210811
           ROSEVILLE, MN 55113




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled             Claimed            Allowed
514        EASTSIDE TIRE & AUTO               Unsecured                                                               $0.00            $9,758.19          $9,758.19
70         SERVICE
7100       1206 East Main St.                                 (514-1) Invested Money with SBM Certificate Co.
           MARSHALLTOWN, IA 50158




515        DUANE W AND JANE                   Unsecured                                                                $0.00           $2,733.57          $2,733.57
70         STOHLMANN
7100       2133 NN Avenue                                     (515-1) Failure to Pay Cash Value of Purchased Certificate
           Williamsburg, IA 52361




516        CARLBLOM LIVING TRUST              Unsecured                                                                $0.00          $12,658.65         $12,658.65
70         ELMER
7100       c/o Timothy R. Carlblom, Trustee                   (516-1) Investment/Certificate
           41188 State Highway 30
           JEFFERS, MN 56145




517        CARLBLOM LIVING TRUST              Unsecured                                                                $0.00          $21,775.00         $21,775.00
70         LEONA
7100       c/o Timothy R. Carlblom, Trustee                   (517-1) Investment/Certificate
           41188 State Highway 30
           JEFFERS, MN 56145




518        CARLSON KATHLEEN                   Unsecured                                                                $0.00          $20,523.54         $20,523.54
70         12504 ST HWY 68
7100       NEW ULM, MN 56073                                  (518-1) Investment/Certificate




519        BERNICE A GOBLIRSCH                Unsecured                                                                $0.00          $20,822.07         $20,822.07
70         c/o Brenda Runck
7100       47101 Co Rd 39                                     (519-1) SBM Certificate No. 556244
           Fairfax, MN 55332




520        DALE M & MARTENS NANCY             Unsecured                                                                $0.00          $39,757.69         $39,757.69
70         A. NELSON
7100       JTWROS                                             (520-1) Purchase of SBM Certificate
           1422 Southridge Road
           New Ulm, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
521        PATRICK R. MARONEY                 Unsecured                                                             $0.00        $80,020.58         $80,020.58
70         Gregory A. Protsch
7100       PO Box 189                                         (521-1) Account Number (last 4 digits):0728
           Howard, SD 57349




522        TRUSTEE OF P. R PATRICK R.         Unsecured                                                             $0.00        $38,524.97         $38,524.97
70         MARONEY
7100       Maroney Trust                                      (522-1) Account Number (last 4 digits):0725
           Gregory A. Protsch
           PO Box 189
           Howard, SD 57349


523        TRUSTEE OF P. R PATRICK R.         Unsecured                                                             $0.00        $12,185.42         $12,185.42
70         MARONEY
7100       Maroney Trust                                      (523-1) Account Number (last 4 digits):0726
           Gregory A. Protsch
           PO Box 189
           Howard, SD 57349


524        TRUSTEE OF P. R PATRICK R.         Unsecured                                                             $0.00        $13,451.78         $13,451.78
70         MARONEY
7100       Maroney Trust                                      (524-1) Account Number (last 4 digits):0727
           Gregory A. Protsch
           PO Box 189
           Howard, SD 57349


525        BRAD DAVIS BETTY                   Unsecured                                                             $0.00        $76,751.14         $76,751.14
70         (DECEASED) DAVIS
7100       2262 E. Fremont                                    (525-1) Account Number (last 4 digits):3982
           Fresno, CA 93710




526        VANDORIN DOROTHY                   Unsecured                                                             $0.00         $9,475.61          $9,475.61
70         215 4TH AVENUE EAST
7100       ALBIA, IA 52531                                    (526-1) SBM Certificate No. 205493




527        PRINCIPAL TRUST CO TTEE            Unsecured                                                             $0.00         $2,457.79          $2,457.79
70         Nancy L. Grimes
7100       2210 Summit St.                                    (527-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
528        PRINCIPAL TRUST CO TTEE            Unsecured                                                              $0.00          $2,457.79          $2,457.79
70         John W. Grimes
7100       2210 Summit St.                                    (528-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




529        EIMERS DOROTHY                     Unsecured                                                               $0.00        $25,000.00         $25,000.00
70         1321 S MAIN
7100       REDFIELD, SD 57469                                 (529-1) Investments




530        MEHLOW SHIRLEY                     Unsecured                                                               $0.00        $76,418.32         $76,418.32
70         Shirley Mehlow Trust
7100       105 Main St.                                       (530-1) Invested Money with SBM Certificate Co.
           Union, IA 50258




531        STANLEY LORRAINE                   Unsecured                                                               $0.00         $7,385.28          $7,385.28
70         53105 310TH STREET
7100       KELLEY, IA 50134                                   (531-1) Investment Certificate Owner




532        BRECHT MARIAN                      Unsecured                                                               $0.00        $23,493.95         $23,493.95
70         353 W WASHINGTON STREET
7100       MARENGO, IA 52301                                  (532-1) Invested Money with SBM Certificate Co.




533        DENNIS D AND DELORES M             Unsecured                                                               $0.00        $36,900.10         $36,900.10
70         PERKINS
7100       JTWROS                                             (533-1) Certificate Investor(533-2) SBM Certificate No. 200125
           c/o Dennis D. Perkins
           4824 SW 18th St
           Owatonna, MN 55060


534        JOHN DEAN AND JACQUELINE           Unsecured                                                               $0.00        $20,332.12         $20,332.12
70         OLSON
7100       JTWROS                                             (534-1) Certificate Investor
           John Dean Olson
           321 4th St SW
           Blooming Prarie, MN 55917



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Code #     Creditor Name And Address          Claim Class     Notes                                       Scheduled          Claimed            Allowed
535        PAUL E AND BERNICE                 Unsecured                                                       $0.00         $9,405.18          $9,405.18
70         STENDER
7100       JTWROS                                             (535-1) Certificate Investor
           Paul E. Stender
           435 3rd St NW
           Blooming Prarie, MN 55917


536        STOCKWELL ANDREA                   Unsecured                                                       $0.00         $5,263.55          $5,263.55
70         240 E PHELPS
7100       OWATONNA, MN 55060                                 (536-1) Certificate Investor




537        JAMES S AND SUZANNE M              Unsecured                                                       $0.00         $8,268.60          $8,268.60
70         REUVERS
7100       JTWROS                                             (537-1) Certificate Investor
           James S. Reuvers
           13864 Baseline Rd
           Dundas, MN 55019


538        MICHAEL E AND CAROLE J             Unsecured                                                       $0.00         $3,708.21          $3,708.21
70         PERRON
7100       JTWROS                                             (538-1) Certificate Investor
           Michael E Perron
           818 E Division St
           Faribault, MN 55021


539        MICHAEL E AND CAROLE J             Unsecured                                                       $0.00        $20,524.73         $20,524.73
70         PERRON
7100       JTWROS                                             (539-1) Certificate Investor
           Michael E Perron
           818 E Division St
           Faribault, MN 55021


540        NORMAN C AND ELEANOR               Unsecured                                                       $0.00        $33,638.54         $33,638.54
70         HALVORSON
7100       JTWROS                                             (540-1) Certificate Investor
           Norman C Halvorson
           206 E Fremont
           Northfield, MN 55057


541        MILLER ROBERT                      Unsecured                                                       $0.00        $34,400.00         $34,400.00
70         2111 GARNET LANE
7100       EAGAN, MN 55122                                    (541-1) Certificate Investor - IRA




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Code #     Creditor Name And Address          Claim Class     Notes                                       Scheduled          Claimed            Allowed
542        MILLER ROBERT                      Unsecured                                                       $0.00        $34,400.00         $34,400.00
70         2111 GARNET LANE
7100       EAGAN, MN 55122                                    (542-1) Certificate Investor - IRA




543        MILLER JAMES                       Unsecured                                                       $0.00         $7,992.09          $7,992.09
70         16486 HAVELOCK WAY
7100       LAKEVILLE, MN 55044                                (543-1) Certificate Investor




544        HARTMANN RUTH                      Unsecured                                                       $0.00        $14,008.02         $14,008.02
70         3030 BOONE AVENUE
7100       ST LOUIS PARK, MN 55426                            (544-1) Certificate Investor




545        DANIEL H MILLER                    Unsecured                                                       $0.00         $2,554.50          $2,554.50
70         CUSTODIAN FOR GARRETT
7100       MILLER                                             (545-1) Certificate Investor
           60300 N Cty Rd 14
           Kellogg, MN 55945




546        DANIEL H AND KAREN S               Unsecured                                                       $0.00         $3,681.66          $3,681.66
70         MILLER
7100       JTWROS                                             (546-1) Certificate Investor
           60300 N Cty Rd 14
           Kellogg, MN 55945




547        DANIEL H AND KAREN S               Unsecured                                                       $0.00         $3,244.65          $3,244.65
70         MILLER
7100       JTWROS                                             (547-1) Certificate Investor
           60300 N Cty Rd 14
           Kellogg, MN 55945




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548        KATHRYN J MILLER                   Unsecured                                                              $0.00         $10,265.56         $10,265.56
70         Custodian Tagen Miller
7100       60503 Hwy 42                                       (548-1) Certificate Investor (FOR CUSTODIAN TAGEN MILLER)
           Kellogg, MN 55945                                  (548-1) CORECTIVE ENTRY; CORRECTED DESCRIPTION - MMR-9/10/2013




549        RYAN PATRICK                       Unsecured                                                               $0.00        $32,091.17         $32,091.17
70         2122 N TWIN LAKES ST
7100       ST CROIX FALLS, WI 54024                           (549-1) Certificate Investor




550        FRANK J AND M CARMEN               Unsecured                                                               $0.00        $92,875.47         $92,875.47
70         ALEXANDER
7100       JTWROS                                             (550-1) Certificate Investor
           1101 Feltl Court
           Apt 306
           HOPKINS, MN 55343


551        HENRY F CARL                       Unsecured                                                               $0.00        $25,904.61         $25,904.61
70         610 E 3rd St
7100       Northfield, MN 55057                               (551-1) Certificate Investor Beneficiary




552        WELTER THOMAS                      Unsecured                                                               $0.00        $28,750.23         $28,750.23
70         c/o Laura M. Welyrt
7100       9460 SHADY LANE                                    (552-1) Certificate Investor(552-2) SBM Certificate No. 555560
           CHASKA, MN 55318




553        GATHJE BONNIE                      Unsecured                                                               $0.00         $2,456.61          $2,456.61
70         16 ISLAND HTS NE
7100       PINE ISLAND, MN 55963                              (553-1) Certificate Investor - IRA




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
554        GATHJE BONNIE                      Unsecured                                                                 $0.00          $3,275.48          $3,275.48
70         16 ISLAND HTS NE
7100       PINE ISLAND, MN 55963                              (554-1) Certificate Investor - IRA




555        DENNIS W. RABEHL                   Unsecured                                                                  $0.00        $17,553.94         $17,553.94
70         4624 7TH STREET NW
7100       ROCHESTER, MN 55901                                (555-1) Certificate Investor(555-2) Certificate Investor




556        DELORES A HOEHN                    Unsecured                                                                  $0.00        $12,919.97         $12,919.97
70         PO Box 175
7100       Madison Lake, MN 56063                             (556-1) Certificate Investor(556-2) Certificate Investor




557        LONNIE C MISGEN                    Unsecured                                                                  $0.00        $18,655.47         $18,655.47
70         PO Box 147
7100       Ellendale, MN 56026                                (557-1) Certificate Investor




558        KUEKER LAURA                       Unsecured                                                                  $0.00        $63,320.29         $63,320.29
70         110 S 4TH AVE W
7100       TRUMAN, MN 56088                                   (558-1) Certificate Investor




559        EDWARD J AND JOAN TTEES            Unsecured                                                                  $0.00        $33,752.42         $33,752.42
70         BREIMHORST
7100       Edward J. Breimhorst                               (559-1) Certificate Investor
           20189 SAND CREEK DRIVE
           JORDAN, MN 55352




560        MEULENERS HARRIET                  Unsecured                                                                  $0.00         $6,988.62          $6,988.62
70         8500 130TH ST
7100       COLOGNE, MN 55322                                  (560-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
561        DANNY L. REIN                      Unsecured                                                                 $0.00          $3,361.22          $3,361.22
70         3650 Longfellow Ave. S
7100       Minneapolis, MN 55407-2922                         (561-1) Certificate Investor(561-2) Certificate Investor




562        CEMENSKY ALICE                     Unsecured                                                                  $0.00        $14,231.76         $14,231.76
70         20367 330TH STREET
7100       NEW PRAGUE, MN 56071                               (562-1) Certificate Investor




563        BORCHARDT ALLEN, Jr.               Unsecured                                                                  $0.00        $20,187.49         $20,187.49
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (563-1) Certificate Investor




564        BORCHARDT ALLEN, Jr.               Unsecured                                                                  $0.00        $19,215.68         $19,215.68
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (564-1) Certificate Investor




565        BORCHARDT ALLEN, Jr.               Unsecured                                                                  $0.00        $24,019.61         $24,019.61
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (565-1) Certificate Investor




566        BORCHARDT ALLEN, Jr.               Unsecured                                                                  $0.00        $28,437.26         $28,437.26
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (566-1) Certificate Investor




567        BORCHARDT ALLEN, Jr.               Unsecured                                                                  $0.00        $23,913.84         $23,913.84
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (567-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
568        CAROL E AND WILLIAM R              Unsecured                                                             $0.00        $15,935.05         $15,935.05
70         WARWEG
7100       1880 Knox McRae Dr                                 (568-1) Beneficiary of Certificate Investor
           Apt 105 D
           Titusville, FL 32780




569        BORCHARDT ALLEN, Jr.               Unsecured                                                             $0.00        $23,913.84         $23,913.84
70         19001 110TH ST
7100       FORESTON, MN 56330                                 (569-1) Certificate Investor
                                                              (569-1) CORRECTIVE ENTRY: DUPLICATE OF PROOF OF CLAIM 567 - MMR-9/3/2013




570        REUBEN S AND BERNIECE M            Unsecured                                                             $0.00        $10,204.84         $10,204.84
70         MOHN
7100       JTWROS                                             (570-1) Certificate Investor
           9570 210TH STREET WEST
           LAKEVILLE, MN 55044




571        ERICKSON JENEAN                    Unsecured                                                             $0.00        $14,646.35         $14,646.35
70         30016 171ST AVENUE
7100       NEW PRAGUE, MN 56071                               (571-1) Certificate Investor




572        LARRY L FITZGERALD                 Unsecured                                                             $0.00        $23,640.00         $23,640.00
70         20298 554th St
7100       West Concord, MN 55985                             (572-1) Certificate Investor - Beneficiary




573        JERRY M AND SHERRILL E             Unsecured                                                             $0.00         $3,966.69          $3,966.69
70         VANWYK
7100       13675 HWY 225 EAST                                 (573-1) Invested Money with SBM Certificate Co.
           LYNNVILLE, IA 50153




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
574        JERRY M AND SHERRILL E             Unsecured                                                             $0.00         $8,544.56          $8,544.56
70         VANWYK
7100       13675 HWY 225 EAST                                 (574-1) Invested Money with SBM Certificate Co.
           LYNNVILLE, IA 50153




575        HANNAHS CHARLES                    Unsecured                                                             $0.00         $2,390.62          $2,390.62
70         105 MAIN
7100       PO BOX 180                                         (575-1) Invested Money for IRA
           UNION, IA 50258




576        ESTATE OF FREIDA C. RIECK          Unsecured                                                             $0.00        $27,105.21         $27,105.21
70         Allan C. Rieck-Co-Personal Rep
7100       20125 443rd Avenue                                 (576-1) Money Loaned(576-2) Money Loaned
           Lake Preston, SD 57249




577        EDNA BOOTON                        Unsecured                                                             $0.00        $44,355.06         $44,355.06
70         1520 WEST LOSEY STREET
7100       GALESBURG, IL 61401                                (577-1) SBM Certificate No. 203727




578        DEML JOSEPH                        Unsecured                                                             $0.00        $11,325.43         $11,325.43
70         900 5TH ST South
7100       NEW ULM, MN 56073                                  (578-1) SBM Certificate No. 212035




579        FOLLMUTH HARRY                     Unsecured                                                             $0.00        $21,877.73         $21,877.73
70         BOX 276
7100       HAYFIELD, MN 55940                                 (579-1) Certificate Investor




580        WILFAHRT JOANN                     Unsecured                                                             $0.00         $4,972.86          $4,972.86
70         1212 SOUTH WASHINGTON
7100       NEW ULM, MN 56073                                  (580-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
581        WILFAHRT JOANN                     Unsecured                                                             $0.00         $3,214.84          $3,214.84
70         1212 SOUTH WASHINGTON
7100       NEW ULM, MN 56073                                  (581-1) Invested Money with SBM Certificate Co.




582        DAVID BAUDOIN                      Unsecured                                                             $0.00         $6,572.35          $6,572.35
70         72598 STATE HWY 16
7100       GRAND MEADOW, MN 55936                             (582-1) Certificate Investor




583        OLINGER PHYLLIS                    Unsecured                                                             $0.00        $20,808.20         $20,808.20
70         700 AGENCY TR, APT 201
7100       MANKATO, MN 56001                                  (583-1) Invested Money with SBM Certificate Co.




584        BISSONETTE MARK                    Unsecured                                                             $0.00        $12,266.26         $12,266.26
70         413 5TH AVENUE SE
7100       STEWARTVILLE, MN 55976                             (584-1) Certificate Investor




585        PIPPING MARY                       Unsecured                                                             $0.00        $18,204.23         $18,204.23
70         801 ELM ST
7100       NICOLLET, MN 56074                                 (585-1) Invested Money with SBM Certificate Co.




586        THERESA E                          Unsecured                                                             $0.00        $32,832.10         $32,832.10
70         BROMENSHENKEL
7100       2125 7th St NW                                     (586-1) Certificate Investor
           Apt. 310
           FARIBAULT, MN 55021




587        IHRKE GERALDINE                    Unsecured                                                             $0.00        $19,630.49         $19,630.49
70         730 RICHLAND AVENUE
7100       SAINT CHARLES, MN 55972                            (587-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
588        SUSAN HIRTH LIVING TRUST           Unsecured                                                             $0.00         $2,187.25          $2,187.25
70         Susan Hirth
7100       PO BOX 6                                           (588-1) Invested Money with SBM Certificate Co.
           NEW ULM, MN 56073




589        DANIEL E. HIRTH LIVING             Unsecured                                                             $0.00         $1,814.51          $1,814.51
70         TRUST
7100       Daniel Hirth                                       (589-1) Invested Money with SBM Certificate Co.
           PO BOX 6
           NEW ULM, MN 56073




590        KATHRYN AND KENNETH                Unsecured                                                             $0.00        $30,037.78         $30,037.78
70         MOE
7100       P.O. Box 62                                        (590-1) Invested Money with SBM Certificate Co.
           Springfield, MN 56087




591        WULFF AND ANNETTE                  Unsecured                                                             $0.00        $22,423.38         $22,423.38
70         FREDERICK
7100       301 N FRANKLIN                                     (591-1) Invested Money with SBM Certificate Co.
           NEW ULM, MN 56073




592        ROY HOLST                          Unsecured                                                             $0.00         $7,016.41          $7,016.41
70         554 WISKOW WAY
7100       SAINT CHARLES, MN 55972                            (592-1) Certificate Investor




593        LEE VIRGINIA                       Unsecured                                                             $0.00        $15,183.45         $15,183.45
70         11813 48TH ST NE
7100       EYOTA, MN 55934                                    (593-1) Certificate Investor




594        SCHMITZ HEATHER                    Unsecured                                                             $0.00         $6,117.38          $6,117.38
70         807 Washington Memorial Dr.
7100       St Cloud, MN 56301                                 (594-1) SBM Certificate No. 211239




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Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled           Claimed            Allowed
595        LEE VIRGINIA                       Unsecured                                                                 $0.00         $11,784.99         $11,784.99
70         11813 48TH ST NE
7100       EYOTA, MN 55934                                    (595-1) Certificate Investor




596        BROWN PATRICK                      Unsecured                                                                  $0.00        $13,983.42         $13,983.42
70         31776 221ST AVE
7100       LE CENTER, MN 56057                                (596-1) Certificate Investor




597        SHIRLEY M. BRUNS ESTATE            Unsecured                                                                  $0.00        $17,798.84         $17,798.84
70         c/o Jeffrey A. Bruns
7100       1904 Pleasant Drive                                (597-1) Money Invested
           Cedar Falls, IA 50613




598        BERGER ROBERT                      Unsecured                                                                  $0.00        $18,723.23         $18,723.23
70         361 SOUTH PARK AVENUE
7100       LE CENTER, MN 56057                                (598-1) Certificate Investor




599        FELLOWSHIP BAPTIST                 Unsecured                                                                  $0.00         $3,960.25          $3,960.25
70         CHURCH
7100       1008 EAST OLIVE                                    (599-1) Invested Money with SBM Certificate Co.
           MARSHALLTOWN, IA 50158




600        BERGER HELEN TOD                   Unsecured                                                                  $0.00        $38,713.36         $38,713.36
70         361 South Park Avenue
7100       LeCenter, MN 56057                                 (600-1) Certificate Investor(600-2) Certificate Investor




601         JUNE AND HAROLD HELSEL            Unsecured                                                                  $0.00        $15,630.00         $15,630.00
70         305 MARTIN STREET
7100       CANTRIL, IA 52542                                  (601-1) Invested in Certificates




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled            Claimed            Allowed
602        TUREK ROBERT                       Unsecured                                                            $0.00          $11,515.71         $11,515.71
70         11300 140TH STREET W
7100       MONTGOMERY, MN 56069                               (602-1) Certificate Investor




603        BERNICE J. BERGSTROM               Unsecured                                                             $0.00         $18,142.06         $18,142.06
70         7743 209th Street N.
7100       Morristown, MN 55052-5056




604        TOOGOOD DIANE                      Unsecured                                                             $0.00         $28,422.37         $28,422.37
70         4725 WHITE PINE DR NW
7100       ROCHESTER, MN 55901




605        BORN ROLAND                        Unsecured                                                             $0.00          $2,553.62          $2,553.62
70         c/o Dean R. Born
7100       102 Athene Dr                                      (605-2) SBM Certificate No. 204304(605-3) SBM Certificate No. 204304(605-4) SBM Certificate No.
           Slidell, LA 70460                                  204304 (20% of Account)




606        ROLAND O. BORN                     Unsecured                                                             $0.00          $5,589.80          $5,589.80
70         c/o Dean R. Born
7100       102 Athene Dr                                      (606-2) SBM Certificate No. 210990(606-3) SBM Certificate No. 210990(606-4) SBM Certificate No.
           Slidell, LA 70460                                  210990 (20% of Account)




607        KATHRYN J MILLER                   Unsecured                                                             $0.00         $11,941.25         $11,941.25
70         Custodian Tagen Miller
7100       60503 Hwy 42                                       (607-1) Certificate No. 210816 (FOR CUSTODIAN DALON MILLER)
           Kellogg, MN 55945                                  (607-1) CORECTIVE ENTRY: CORRECTED DESCRIPTION - MMR-9/10/2013




608        KATHRYN J MILLER                   Unsecured                                                             $0.00         $23,882.50         $23,882.50
70         Custodian Tagen Miller
7100       60503 Hwy 42                                       (608-1) Certificate no. 210815 (FOR CUSTODIAN BRIANNA MILLER)
           Kellogg, MN 55945                                  (608-1) CORECTIVE ENTRY; CORRECTED DESCRIPTION - MMR-9/10/2013




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Code #     Creditor Name And Address          Claim Class     Notes                                   Scheduled          Claimed            Allowed
609        KATHRYN J MILLER                   Unsecured                                                   $0.00        $23,882.50         $23,882.50
70         Custodian Tagen Miller
7100       60503 Hwy 42                                       (609-1) Certificate no. 210814 (FOR CUSTODIAN BRYTON MILLER)
           Kellogg, MN 55945                                  (609-1) CORECTIVE ENTRY: CORRECTED DESCRIPTION - MMR-9/10/2013




610        MILLER KATHRYN                     Unsecured                                                   $0.00        $23,882.50         $23,882.50
70         60503 HWY 42
7100       KELLOGG, MN 55945                                  (610-1) Certificate no. 210814 (FOR CUSTODIAN BRYTON MILLER)
                                                              (610-1) CORRECTIVE ENTRY: CHANGED AMOUNT AND CERTIFICATE NO - DUPLICATE OF
                                                              POC 609 - MMR-9/10/2013




611        THOMAS H. KATHRYN J                Unsecured                                                   $0.00       $238,824.90        $238,824.90
70         MILLER
7100       60503 Hwy 42
           Kellogg, MN 55945


612        MILLER THOMAS                      Unsecured                                                   $0.00        $13,256.00         $13,256.00
70         60508 HWY 42
7100       KELLOGG, MN 55945




613        MILLER KATHRYN                     Unsecured                                                   $0.00        $49,534.00         $49,534.00
70         60503 HWY 42
7100       KELLOGG, MN 55945




614        KATHRYN J MILLER                   Unsecured                                                   $0.00        $23,882.50         $23,882.50
70         Custodian Tagen Miller
7100       60503 Hwy 42                                       (614-1) Certificate no. 210815
           Kellogg, MN 55945                                  (614-1) CORRECTIVE ENTRY: DUPLICATE OF PROOF OF CLAIM 608 - MMR-9/11/2013




615        THOMAS H. MILLER                   Unsecured                                                   $0.00        $13,256.00         $13,256.00
70         60503 Hwy 42
7100       Kellogg, MN 55945                                  (615-1) CORRECTIVE ENTRY: DUPLICATE OF PROOF OF CLAIM 612 - MMR-9/10/2013.




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Code #     Creditor Name And Address          Claim Class     Notes                                   Scheduled          Claimed            Allowed
616        THOMAS H. MILLER                   Unsecured                                                   $0.00        $16,607.93         $16,607.93
70         60503 Hwy 42
7100       Kellogg, MN 55945




617        ROSE MARY MILLER                   Unsecured                                                   $0.00        $45,683.78         $45,683.78
70         105 1st St SE
7100       Plainview, MN 55964




618        BLATTNER KENNETH                   Unsecured                                                   $0.00        $27,737.55         $27,737.55
70         30596 HWY 247
7100       ELGIN, MN 55932                                    (618-1) Certificate no. 210371




619        BLATTNER KENNETH                   Unsecured                                                   $0.00         $7,744.97          $7,744.97
70         30596 HWY 247
7100       ELGIN, MN 55932




620        KENNETH F. BLATTNER-               Unsecured                                                   $0.00        $58,087.62         $58,087.62
70         DEBRA BLATTNER
7100       JTWROS
           30596 Hwy 247
           Elgin, MN 55932

621        KENNETH F. BLATTNER-               Unsecured                                                   $0.00        $48,377.12         $48,377.12
70         DEBRA BLATTNER
7100       JTWROS
           30596 Hwy 247
           Elgin, MN 55932

622        BLATTNER DEBRA                     Unsecured                                                   $0.00        $49,618.01         $49,618.01
70         30596 HWY 247
7100       ELGIN, MN 55932




623        LIESKE LORRAINE                    Unsecured                                                   $0.00        $16,950.85         $16,950.85
70         209 1/2 NE 4TH AVENUE
7100       PO BOX 244
           ARLINGTON, MN 55307


624        LORINA R JESSE                     Unsecured                                                   $0.00        $15,610.00         $15,610.00
70         c/o Carolyn J Martha
7100       4001 Fox Hollow Dr
           Helena, MT 59602



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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
625        MARVIN C. CLAASEN                  Unsecured                                                         $0.00        $12,457.00         $12,457.00
70         940 Wisconsin S.W.
7100       Huron, SD 57350                                    (625-1) Account Number (last 4 digits):1571




626        LORINA R JESSE                     Unsecured                                                         $0.00        $27,656.00         $27,656.00
70         c/o Carolyn J Martha
7100       4001 Fox Hollow Dr
           Helena, MT 59602


627        LORINA R JESSE                     Unsecured                                                         $0.00        $13,732.00         $13,732.00
70         c/o Carolyn J Martha
7100       4001 Fox Hollow Dr
           Helena, MT 59602


628        GLADYS L WAVRIN                    Unsecured                                                         $0.00         $4,186.39          $4,186.39
70         PO Box 22
7100       Owatonna, MN 55060                                 (628-1) Certificate no. 505924




629        MARVIN C. CLAASSEN                 Unsecured                                                         $0.00        $10,449.00         $10,449.00
70         940 Wisconsin S.W.
7100       Huron, SD 57350                                    (629-1) Account Number (last 4 digits):0878




630        CORRINE RATZLOFF                   Unsecured                                                         $0.00         $2,958.28          $2,958.28
70         1520 Sunset Drive SW
7100       Owatonna, MN 55060




631        MARVIN C. CLAASSEN                 Unsecured                                                         $0.00         $6,138.00          $6,138.00
70         940 Wisconsin S.W.
7100       Huron, SD 57350                                    (631-1) Account Number (last 4 digits):4545




632        DIANE PENNY NORDHORN               Unsecured                                                         $0.00         $2,958.28          $2,958.28
70         270 Acorn Place NE
7100       Owatonna, MN 55060




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
633        JOANN M. CLAASSEN                  Unsecured                                                         $0.00         $5,224.00          $5,224.00
70         940 Wisconsin S.W.
7100       Huron, SD 57350                                    (633-1) Account Number (last 4 digits):0878




634        JOANN M. CLAASSEN                  Unsecured                                                         $0.00        $11,935.00         $11,935.00
70         940 Wisconsin S.W.
7100       Huron, SD 57350                                    (634-1) Account Number (last 4 digits):1570




635        STEVEN L NEWMAN                    Unsecured                                                         $0.00        $15,785.00         $15,785.00
70         1065 Arizona Ave. S.W.
7100       Huron, SD 57350                                    (635-1) Account Number (last 4 digits):0750




636        STEVEN L. NEWMAN                   Unsecured                                                         $0.00        $11,340.00         $11,340.00
70         1065 Arizona Ave. S.W
7100       Huron, SD 57350                                    (636-1) Account Number (last 4 digits):0751




637        STEVEN L. NEWMAN                   Unsecured                                                         $0.00         $8,792.00          $8,792.00
70         1065 Arizona Ave. S.W
7100       Huron, SD 57350                                    (637-1) Account Number (last 4 digits):0752




638        STEVEN L. NEWMAN                   Unsecured                                                         $0.00         $7,195.00          $7,195.00
70         1065 Arizona Ave. S.W
7100       Huron, SD 57350                                    (638-1) Account Number (last 4 digits):0767




639        STEVEN L. NEWMAN                   Unsecured                                                         $0.00         $8,489.00          $8,489.00
70         1065 Arizona Ave. S.W
7100       Huron, SD 57350                                    (639-1) Account Number (last 4 digits):1343




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address            Claim Class     Notes                                         Scheduled          Claimed            Allowed
640        STEVEN L. NEWMAN                     Unsecured                                                         $0.00         $5,008.00          $5,008.00
70         1065 Arizona Ave. S.W
7100       Huron, SD 57350                                      (640-1) Account Number (last 4 digits):8747




641        TOD MONICA A. PHELPS                 Unsecured                                                         $0.00       $107,071.00        $107,071.00
70         c/o Ericsson Law Office, Prof. LLC
7100       PO Box 406                                           (641-1) Account Number (last 4 digits):9678
           Madison, SD 57042                                    (641-1) CORRECTIVE ENTRY: REMOVED EXTRANEOUS PUNCTUATION FROM CREDITOR'S
                                                                ADDRESS - JY - 8/30/13




642        DONALD KASPERSON                     Unsecured                                                         $0.00         $5,885.00          $5,885.00
70         1265 9th S.W.
7100       Huron, SD 57350                                      (642-1) Account Number (last 4 digits):4200




643        DONALD KASPERSON                     Unsecured                                                         $0.00         $6,355.00          $6,355.00
70         1265 9th S.W.
7100       Huron, SD 57350                                      (643-1) Account Number (last 4 digits):5973




644        DONALD KASPERSON                     Unsecured                                                         $0.00         $5,009.00          $5,009.00
70         1265 9th S.W.
7100       Huron, SD 57350                                      (644-1) Account Number (last 4 digits):0031




645        DONALD KASPERSON                     Unsecured                                                         $0.00         $4,333.00          $4,333.00
70         1265 9th S.W.
7100       Huron, SD 57350                                      (645-1) Account Number (last 4 digits):0356




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
646        DONALD KASPERSON                   Unsecured                                                         $0.00       $124,164.00        $124,164.00
70         1265 9th S.W.
7100       Huron, SD 57350                                    (646-1) Account Number (last 4 digits):1158




647        MARY JANE KASPERSON                Unsecured                                                         $0.00         $4,705.00          $4,705.00
70         1265 9th S.W
7100       Huron, SD 57350




648        MARY JANE KASPERSON                Unsecured                                                         $0.00         $6,335.00          $6,335.00
70         1265 9th S.W
7100       Huron, SD 57350                                    (648-1) Account Number (last 4 digits):5972




649        MARY JANE KASPERSON                Unsecured                                                         $0.00         $5,009.00          $5,009.00
70         1265 9th S.W
7100       Huron, SD 57350                                    (649-1) Account Number (last 4 digits):0030




650        MARY JANE KASPERSON                Unsecured                                                         $0.00         $4,333.00          $4,333.00
70         1265 9th S.W
7100       Huron, SD 57350                                    (650-1) Account Number (last 4 digits):0357




651        KASPERSON OIL INC.                 Unsecured                                                         $0.00        $82,881.00         $82,881.00
70         1265 9th Street S.W.
7100       Huron, SD 57350                                    (651-1) Account Number (last 4 digits):1648




652        TEAL VENITA                        Unsecured                                                         $0.00         $4,318.00          $4,318.00
70         1109 5TH STREET
7100       PO BOX 183                                         (652-1) Invested in Certificate
           KEOSAUQUA, IA 52565




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed           Allowed
653        SHIRLEE L. MURPHY                  Unsecured                                                              $0.00         $109,810.27       $109,810.27
70         825 Lincoln Dr
7100       GRINNELL, IA 50112-2071                            (653-1) Investment Certificate Owner(653-2) Investment Certificate Owner




654        O'NEAL WILFORD                     Unsecured                                                              $0.00           $4,210.01         $4,210.01
70         995 213TH AVE
7100       ACKWORTH, IA 50001                                 (654-1) Invested Money with SBM Certificate Co.




655        BRENT AND SUSAN JAEKEL             Unsecured                                                              $0.00          $92,531.13        $92,531.13
70         62224 270TH ST
7100       GIBBON, MN 55335                                   (655-1) Invested Money with SBM Certificate Co.




656        LEO AND RUTH WAIBEL                Unsecured                                                              $0.00           $3,861.93         $3,861.93
70         1224 5th St. North
7100       Apt #120                                           (656-1) Invested Money with SBM Certificate Co.
           New Ulm, MN 56073




657        LOIS ANGERER                       Unsecured                                                              $0.00           $4,127.78         $4,127.78
70         257 13TH NW
7100       CEDAR RAPIDS, IA 52405                             (657-1) Invested Money with SBM Certificate Co.




658        NEE RITA                           Unsecured                                                              $0.00          $12,833.22        $12,833.22
70         2636 West Dorothea Ave.
7100       Visalia, CA 93277                                  (658-1) Invested Money with SBM Certificate Co.




659        VANWYK BRENT                       Unsecured                                                              $0.00          $19,137.42        $19,137.42
70         13675 Hwy F62E
7100       LYNNVILLE, IA 50153                                (659-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
660        FORTWENGLER ALYCE                  Unsecured                                                             $0.00         $2,196.55          $2,196.55
70         c/o Roger Fortwengler
7100       1239 3rd St So                                     (660-1) SBM Certificate No. 209851
           New Ulm, MN 56073




661        MICHAEL AND PATRICIA               Unsecured                                                             $0.00        $15,849.60         $15,849.60
70         SHARPSTEEN
7100       918 NORTH MINNESOTA                                (661-1) Invested Money with SBM Certificate Co.
           NEW ULM, MN 56073




662        MIKE SHARPSTEEN                    Unsecured                                                             $0.00        $20,938.43         $20,938.43
70         918 NORTH MINNESOTA
7100       STREET                                             (662-1) Invested Money with SBM Certificate Co.
           NEW ULM, MN 56073




663        BETHESDA ARC, LLC                  Unsecured                                                             $0.00       $116,951.85        $116,951.85
70         C/O MICHAEL R. COGAN, P.C.
7100       David P. Caravaggio, Esq.                          (663-1) enrolled judgment
           12 S. SUMMIT AVE, SUITE 250
           Gaithersburg, MD 20877




664        JOHNSON VALERIE                    Unsecured                                                             $0.00        $11,064.90         $11,064.90
70         808 Agate Avenue
7100       Brandon, SD 57005                                  (664-1) Certificate Owner




665        KRAIG C. JOHNSON                   Unsecured                                                             $0.00        $39,837.60         $39,837.60
70         6900 Peninsula Court, NE
7100       Rockford, MI 49341                                 (665-1) SBM Certificate No. 211148, 211445 & 211755




666        WALLACE JUDITH                     Unsecured                                                             $0.00         $6,646.12          $6,646.12
70         BOX 212
7100       RICEVILLE, IA 50466                                (666-1) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
667        WALLACE JUDITH                     Unsecured                                                $0.00         $4,440.02          $4,440.02
70         BOX 212
7100       RICEVILLE, IA 50466                                (667-1) SBM Certificate No.




668        ONSTOT JERROLD                     Unsecured                                                $0.00        $28,733.18         $28,733.18
70         7201 MAPLE DRIVE
7100       DES MOINES, IA 50322                               (668-1) SBM Certificate No.




669        REINKING LUCILLE                   Unsecured                                                $0.00        $31,193.68         $31,193.68
70         503 W 6TH STREET
7100       SUMNER, IA 50674                                   (669-1) SBM Certificate No.




670        CAIN JEAN                          Unsecured                                                $0.00         $7,894.54          $7,894.54
70         151 MAIN STREET
7100       DIKE, IA 50624                                     (670-1) SBM Certificate No.




671        BOGAN CAROL                        Unsecured                                                $0.00         $3,344.24          $3,344.24
70         1136 DOUGLAS AVE.
7100       DES MOINES, IA 50313                               (671-1) SBM Certificate No.




672        BOGAN CAROL                        Unsecured                                                $0.00         $3,264.32          $3,264.32
70         1136 DOUGLAS AVE.
7100       DES MOINES, IA 50313                               (672-1) SBM Certificate No.




673        BOGAN CAROL                        Unsecured                                                $0.00        $31,249.00         $31,249.00
70         1136 DOUGLAS AVE.
7100       DES MOINES, IA 50313                               (673-1) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                Scheduled          Claimed            Allowed
674        BOGAN CAROL                        Unsecured                                                $0.00         $4,164.93          $4,164.93
70         1136 DOUGLAS AVE.
7100       DES MOINES, IA 50313                               (674-1) SBM Certificate No.




675        TRENKAMP RAYMOND                   Unsecured                                                $0.00         $3,655.89          $3,655.89
70         BOX 71
7100       MAYNARD, IA 50655                                  (675-1) SBM Certificate No.




676        TRENKAMP BERNADETTE                Unsecured                                                $0.00         $7,277.71          $7,277.71
70         BOX 71
7100       MAYNARD, IA 50655                                  (676-1) SBM Certificate No.




677        TRENKAMP BERNADETTE                Unsecured                                                $0.00         $3,613.09          $3,613.09
70         BOX 71
7100       MAYNARD, IA 50655                                  (677-1) SBM Certificate No.




678        TRENKAMP MITCHELL                  Unsecured                                                $0.00         $4,543.00          $4,543.00
70         BOX 71
7100       MAYNARD, IA 50655                                  (678-1) SBM Certificate No.




679        FEUERHELM EDITH                    Unsecured                                                $0.00         $7,910.96          $7,910.96
70         540 WALNUT DRIVE
7100       POSTVILLE, IA 52162                                (679-1) SBM Certificate No.




680        FINK BONNIE                        Unsecured                                                $0.00         $1,539.52          $1,539.52
70         703 WEST 3RD STREET
7100       SUMNER, IA 50674                                   (680-1) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                       Scheduled          Claimed            Allowed
681        BAXTER CAROL                       Unsecured                                                       $0.00         $4,796.14          $4,796.14
70         PO BOX 403
7100       240 S 2nd St                                       (681-1) SBM Certificate No.
           SHEFFIELD, IA 50475




682        DIANN M STEINLAGE                  Unsecured                                                       $0.00         $5,396.72          $5,396.72
70         600 E. Main
7100       West Union, IA 52175                               (682-1) SBM Certificate No.




683        KRULL ELAINE                       Unsecured                                                       $0.00        $21,413.00         $21,413.00
70         1107 3RD ST SE
7100       ROCHESTER, MN 55904                                (683-1) SBM Certificate No.




684        GRAY VICKI                         Unsecured                                                       $0.00         $9,017.00          $9,017.00
70         266 Whispering Wind
7100       Georgetown, TX 78633                               (684-1) SBM Certificate No.




685        SALFER STEVEN                      Unsecured                                                       $0.00         $8,131.83          $8,131.83
70         23991 Laser Ave
7100       Wabasso, MN 56293                                  (685-1) SBM Certificate No. 211542




686        SALFER JULIA                       Unsecured                                                       $0.00         $3,169.92          $3,169.92
70         307 Lake Drive
7100       Redwood Falls, MN 56283                            (686-1) SBM Certificate No. 211477




687        BRYAN KRISTIN                      Unsecured                                                       $0.00         $6,419.51          $6,419.51
70         1809 WOODSTONE CT
7100       CEDAR PARK, TX 78613                               (687-1) SBM Certificate No. 212101




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Code #     Creditor Name And Address           Claim Class     Notes                                             Scheduled          Claimed            Allowed
688        BRYAN KRISTIN                       Unsecured                                                             $0.00        $12,736.23         $12,736.23
70         1809 WOODSTONE CT
7100       CEDAR PARK, TX 78613                                (688-1) SBM Certificate No. 212099




689        VICTORIA L. KINGSLIEN               Unsecured                                                             $0.00        $25,055.16         $25,055.16
70         Trustee of the Vergara Trust
7100       Law Offices of Joseph Gutterman                     (689-1) Bond Certificate
           1110 East Missouri Ave., Ste. 160
           Phoenix, AZ 85014




690        BRYAN BARTON                        Unsecured                                                             $0.00         $6,419.51          $6,419.51
70         1380 MABEN AVE
7100       GARNER, IA 50438                                    (690-1) SBM Certificate No. 212102




691        BRYAN BARTON                        Unsecured                                                             $0.00        $12,736.23         $12,736.23
70         1380 MABEN AVE
7100       GARNER, IA 50438                                    (691-1) SBM Certificate No. 212100




692        LILLIAN R AND DWAYNE E              Unsecured                                                             $0.00        $37,357.32         $37,357.32
70         SCHIRM
7100       1479 63RD STREET                                    (692-1) Invested Money with SBM Certificate Co.
           DYSART, IA 52224




693        MEYER MARJEAN                       Unsecured                                                             $0.00         $5,483.04          $5,483.04
70         2317 SOUTH 5TH AVENUE
7100       MARSHALLTOWN, IA 50158                              (693-1) Invested Money with SBM Certificate Co.




694        HANNER DARLENE                      Unsecured                                                             $0.00        $52,162.54         $52,162.54
70         915 W Merle Nibbs Blvd
7100       Apt 206                                             (694-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled          Claimed            Allowed
695        HENDERSON MARY                     Unsecured                                                                $0.00        $15,988.69         $15,988.69
70         411 BROAD STREET
7100       REINBECK, IA 50669                                 (695-1) Invested Money with SBM Certificate Co.




696        MCRAY C. AND KAREN K.              Unsecured                                                                $0.00         $5,954.86          $5,954.86
70         BRYANT
7100       2647 County RD 22 NW                               (696-1) Investment Certificate
           ALEXANDRIA, MN 56308




697        ROLFS MARY                         Unsecured                                                                $0.00        $20,523.54         $20,523.54
70         10940 32ND ST N
7100       LAKE ELMO, MN 55042                                (697-1) Investment/Certificate




698        GLEN D AND NOLA C                  Unsecured                                                                $0.00        $36,981.77         $36,981.77
70         CARLSON JTWROS
7100       Nola C. Carlson                                    (698-1) Certificate Investment Owner
           812 Pinecrest Drive
           Storm Lake, IA 50588




699        ARTHUR SIMON REV TRUST             Unsecured                                                                $0.00        $26,845.26         $26,845.26
70         c/o Denis Simon
7100       1615 So Washington                                 (699-1) SBM Certificate No. 210850(699-2) SBM Certificate No. 210850
           New Ulm, MN 56073




700        DELNA AND ARVID REDMAN             Unsecured                                                                $0.00        $30,451.64         $30,451.64
70         JTWROS
7100       46315 210TH ST                                     (700-1) SBM Certificate No. 209906
           SANBORN, MN 56083




701        FERNANDES AMINTA                   Unsecured                                                                $0.00        $10,719.14         $10,719.14
70         3111 ROSEMARY LANE
7100       HYATTSVILLE, MD 20783                              (701-1) Full Redemption of Certificates of Deposit




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled          Claimed            Allowed
702        DANIEL BALDWIN                     Unsecured                                                 $0.00        $14,426.51         $14,426.51
70         12748 COUNTRY RD
7100       HOT SPRINGS, SD 57747                              (702-1) Certificate Owner




703        TILLMA JERMOME                     Unsecured                                                 $0.00         $1,517.94          $1,517.94
70         120 Maple Street
7100       Apt 507                                            (703-1) Certificate Owner
           Watertown, SD 57201-3933




704        BENNETT RUSSELL                    Unsecured                                                 $0.00         $8,049.47          $8,049.47
70         11423 EAST 34TH STREET
7100       YUMA, AZ 85367                                     (704-1) Certificate Owner




705        HECKENLAIBLE BONNIE                Unsecured                                                 $0.00        $13,591.63         $13,591.63
70         210 GREY GOOSE RD
7100       PIERRE, SD 57501                                   (705-1) Certificate Investor




706        BENNETT RUSSELL                    Unsecured                                                 $0.00        $15,953.38         $15,953.38
70         11423 EAST 34TH STREET
7100       YUMA, AZ 85367                                     (706-1) Certificate Owner




707        EUNICE AND DONALD                  Unsecured                                                 $0.00         $7,261.75          $7,261.75
70         HAMPTON
7100       1140 Beach Ave SE                                  (707-1) Certificate Owner
           Huron, SD 57350




708        EUNICE AND DONALD                  Unsecured                                                 $0.00         $4,790.48          $4,790.48
70         HAMPTON
7100       1140 Beach Ave SE                                  (708-1) Certificate Owner
           Huron, SD 57350




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
709        JOHN AND MARLYS WAIBEL             Unsecured                                                             $0.00         $3,861.93          $3,861.93
70         1024 NORTH PAYNE
7100       NEW ULM, MN 56073                                  (709-1) Invested Money with SBM Certificate Co.




710        FAHEY THOMAS                       Unsecured                                                             $0.00        $19,850.66         $19,850.66
70         20969 407TH AVE
7100       CAVOUR, SD 57324                                   (710-1) Certificate Owner




711        LOTHER AND SHIRLEY KOST            Unsecured                                                             $0.00        $60,171.57         $60,171.57
70         622 W Palmer Circle
7100       Aberdeen, SD 57401                                 (711-1) Certificate Investor




712        BESSIE BACKER                      Unsecured                                                             $0.00        $22,406.00         $22,406.00
70         900 7th St West
7100       Allison, IA 50602                                  (712-1) SBM Certificate No.




713        LAVON YUNGTUM                      Unsecured                                                             $0.00         $7,725.00          $7,725.00
70         307 WEST 11TH
7100       SUMNER, IA 50674                                   (713-1) SBM Certificate No.




714        FROMM DEAN                         Unsecured                                                             $0.00         $3,880.01          $3,880.01
70         1812 CANYON BLVD #1E
7100       BOULDER, CO 80302                                  (714-1) SBM Certificate No. 198114




715        LAZOR JANE                         Unsecured                                                             $0.00        $12,833.23         $12,833.23
70         2751 Russell Avenue North
7100       Minneapolis, MN 55411                              (715-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed              Allowed
716        NESETH-THOMAS DEBRA                Unsecured                                                             $0.00        $19,367.47           $19,367.47
70         3118 ARBOR HILLS DRIVE
7100       DUBUQUE, IA 52001                                  (716-1) Certificate Investor




717        DOROTHY L STOLT                    Unsecured                                                             $0.00        $21,137.94           $21,137.94
70         PO BOx 96
7100       Gaylord, MN 55334                                  (717-1) SBM Certificate No. 211295




718        MEYERS RALPH                       Unsecured                                                             $0.00            $8,671.45         $8,671.45
70         17811 FISHER AVE
7100       HASTINGS, MN 55033-9638                            (718-1) Certificate Investor Beneficiary




719        NANCY N GOSS                       Unsecured                                                             $0.00            $5,198.01         $5,198.01
70         21275 Delaware Ave
7100       Jordan, MN 55352                                   (719-1) Certificate Investor - Beneficiary




720        NORMA L BENDZICK                   Unsecured                                                             $0.00            $5,198.01         $5,198.01
70         500 Timber Ridge Ct
7100       Jordan, MN 55352                                   (720-1) Certificate Investor - Beneficiary




721        KRZMARZICK LINUS                   Unsecured                                                             $0.00        $26,005.93           $26,005.93
70         24125 280th Ave
7100       SLEEPY EYE, MN 56085                               (721-1) SBM Certificate No. 205524




722        MARY MCGRAW                        Unsecured                                                             $0.00            $5,416.74         $5,416.74
70         608 Grove St. N
7100       Mora, MN 55051                                     (722-1) SBM Certificate No. 211698(722-2) SBM Certificate No. 211698




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled              Claimed           Allowed
723        MARY MCGRAW                        Unsecured                                                            $0.00             $6,497.01         $6,497.01
70         608 Grove St. N
7100       Mora, MN 55051                                     (723-1) SBM Certificate No. 211576(723-2) SBM Certificate No. 211576




724        ARTHUR H GURROLA                   Unsecured                                                            $0.00         $50,834.16           $50,834.16
70         390 W. Menlo Ave
7100       Fresno, CA 93704                                   (724-1) Account Number (last 4 digits):8099




725A       ALLAN J. & JUDITH M. FRANK         Unsecured                                                            $0.00         $11,628.00           $11,628.00
70         P.O Box 1354
7100       New York, NY 10013                                 (725-2) SBM Certificate No. 211662
                                                              (725-1) Account Number (last 4 digits):0984




726        BEVERLY AND EARL                   Unsecured                                                            $0.00             $9,566.87         $9,566.87
70         ZELLMANN
7100       P O Box 11                                         (726-1) Account Number (last 4 digits):7804
           Plato, MN 55370




727        GARY BAKER                         Unsecured                                                            $0.00             $5,252.56         $5,252.56
70         117 GARNET LANE
7100       MADISON, WI 53714                                  (727-1) Investment Purchased




728        GLORIA BAKER                       Unsecured                                                            $0.00             $5,252.56         $5,252.56
70         117 GARNET LANE
7100       MADISON, WI 53714                                  (728-1) Investment Purchased




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed              Allowed
729        MARY MCGRAW                        Unsecured                                                             $0.00        $16,387.73           $16,387.73
70         608 Grove St. N
7100       Mora, MN 55051                                     (729-1) SBM Certificate No. 210820(729-2) SBM Certificate No. 210820




730        MARY MCGRAW                        Unsecured                                                             $0.00            $9,924.06         $9,924.06
70         608 Grove St. N
7100       Mora, MN 55051                                     (730-1) SBM Certificate No. 210939(730-2) SBM Certificate No. 210939




731        OLSON LOREN, Sr.                   Unsecured                                                             $0.00            $9,757.27         $9,757.27
70         153 5th Adv SW
7100       Winnebago, MN 56098                                (731-1) Invested Money with SBM Certificate Co.




732        OLSON LOREN, Sr.                   Unsecured                                                             $0.00            $9,895.62         $9,895.62
70         153 5th Adv SW
7100       Winnebago, MN 56098                                (732-1) Invested Money with SBM Certificate Co.




733        OLSON LOREN, Sr.                   Unsecured                                                             $0.00        $10,729.30           $10,729.30
70         153 5th Adv SW
7100       Winnebago, MN 56098                                (733-1) Invested Money with SBM Certificate Co.




734        OLSON LOREN, Sr.                   Unsecured                                                             $0.00        $20,834.43           $20,834.43
70         153 5th Adv SW
7100       Winnebago, MN 56098                                (734-1) Invested Money with SBM Certificate Co.




735        RITA M AND GEORGE W                Unsecured                                                             $0.00        $11,360.22           $11,360.22
70         SCHMAHL JTWRO
7100       1926 Rock Ridge Ln                                 (735-1) Certificate Investor
           St Peter, MN 56082




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
736        DUANE L AND BERNITA M              Unsecured                                                             $0.00         $2,411.10          $2,411.10
70         BACON
7100       514 1ST ST                                         (736-1) Certificate Investor
           FOUNTAIN, MN 55935




737        SCHELLER DOUGLAS                   Unsecured                                                             $0.00         $2,862.36          $2,862.36
70         5567 WILDWOOD DR
7100       RAPID CITY, SD 57702                               (737-2) Certificate Owner




738        ELAINE L GERDES                    Unsecured                                                             $0.00         $5,198.01          $5,198.01
70         18926 NW 146th St.
7100       Elk River, MN 55330                                (738-1) Certificate Investor - Beneficiary




739        SCHUFT EDGAR                       Unsecured                                                             $0.00        $40,011.79         $40,011.79
70         23705 445TH AVENUE
7100       ARLINGTON, MN 55307                                (739-1) Invested Money with SBM Certificate Co.




740        BRUCE BATEMAN                      Unsecured                                                             $0.00         $6,679.98          $6,679.98
70         38124 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (740-1) SBM Certificate No. 211024




741        LARRY BATEMAN                      Unsecured                                                             $0.00        $15,922.95         $15,922.95
70         38215 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (741-1) SBM Certificate No. 211560




742        OTTO JEAN                          Unsecured                                                             $0.00         $6,679.98          $6,679.98
70         24160 631ST AVE
7100       MADISON LAKE, MN 56063                             (742-1) SBM Certificate No. 211011




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
743        BEVINS EILEEN                      Unsecured                                                             $0.00        $20,909.00         $20,909.00
70         PO BOX 177
7100       VAN HORNE, IA 52346                                (743-1) SBM Certificate No. 211745




744        JOHN AND KATHRYN GRIFFIN           Unsecured                                                             $0.00       $322,690.40        $322,690.40
70         105 RIVER RD
7100       CHERRY LOG, GA 30522-2817                          (744-1) Invested Money with SBM Certificate Co.




745        BEVINS EILEEN                      Unsecured                                                             $0.00        $17,042.00         $17,042.00
70         PO BOX 177
7100       VAN HORNE, IA 52346                                (745-1) SBM Certificate No. 210818




746        JERRY L HUNDERTMARK                Unsecured                                                             $0.00         $5,880.09          $5,880.09
70         12885 32nd St SO
7100       Afton, MN 55001                                    (746-1) Certificate Investor - Beneficiary




747        MARTIN BARBARA                     Unsecured                                                             $0.00         $6,679.98          $6,679.98
70         248 PINEWOOD DR
7100       APPLE VALLEY, MN 55124                             (747-1) SBM Certificate No. 211011




748        BESKE SHIRLEY                      Unsecured                                                             $0.00         $6,679.98          $6,679.98
70         119 S REDWOOD DR
7100       MANKATO, MN 56001                                  (748-1) SBM Certificate No. 211024




749        POC INVESTMENTS LLC                Unsecured                                                             $0.00       $152,551.96        $152,551.96
70         C/O George Thoresen,
7100       Mgr./Trustee                                       (749-1) Account Number (last 4 digits):1836
           931 Tahoe Blvd., Ste. 2
           Incline Village, NV 89451-9480




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
750        POC INVESTMENTS LLC                Unsecured                                                              $0.00        $154,580.93        $154,580.93
70         C/O George Thoresen,
7100       Mgr./Trustee                                       (750-1) Account Number (last 4 digits):1837
           931 Tahoe Blvd., Ste. 2
           Incline Village, NV 89451-9480




751        POC INVESTMENTS LLC                Unsecured                                                               $0.00       $163,535.78        $163,535.78
70         C/O George Thoresen,
7100       Mgr./Trustee                                       (751-1) Account Number (last 4 digits):1838
           931 Tahoe Blvd., Ste. 2
           Incline Village, NV 89451-9480




752        PATRICIA OCHELTREE CLAY            Unsecured                                                               $0.00       $146,000.00        $146,000.00
70         TRUST
7100       C/O George Thoresen, Trustee                       (752-1) Account Number (last 4 digits):1106
           931 Tahoe Blvd., Ste. 2
           Incline Village, NV 89451-9480




753        TILBURY MARY                       Unsecured                                                               $0.00        $13,647.26         $13,647.26
70         19817 GREENSIDE TERRACE
7100       GAITHERSBURG, MD 20886




754        BERNARD AND MARTHA H.              Unsecured                                                               $0.00         $7,305.43          $7,305.43
70         RIESGRAF JTWROS
7100       110 E 1st St.                                      (754-1) Certificate Investor(754-2) SBM Certificate No. 505887
           Apt. 208
           Chaska, MN 55318




755        KERBER STEVEN                      Unsecured                                                               $0.00         $9,381.00          $9,381.00
70         13975 CTY RD 53
7100       COLOGNE, MN 55322                                  (755-1) Certificate Investor




756        WICKERSHAM CAROL                   Unsecured                                                               $0.00        $32,098.14         $32,098.14
70         12 RIVERVIEW DRIVE
7100       WABASHA, MN 55981                                  (756-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled           Claimed           Allowed
757        MESHKE DAVID                       Unsecured                                                 $0.00           $578.20           $578.20
70         24395 Elmore Ave
7100       Morristown, MN 55052                               (757-1) Certificate Investor




758        JOHNSON LINDA                      Unsecured                                                 $0.00        $10,101.73         $10,101.73
70         43172 REEDS LAKE ROAD
7100       JANESVILLE, MN 56048                               (758-1) Certificate Investor




759        GERTRUDE BAER                      Unsecured                                                 $0.00         $4,963.00          $4,963.00
70         BOX 45
7100       PEMBERTON, MN 56078                                (759-1) Certificate Investor




760        MADISON DELORIS                    Unsecured                                                 $0.00        $27,068.84         $27,068.84
70         913 WESTON AVENUE
7100       SAINT JAMES, MN 56081                              (760-1) Certificate Investor




761        LINDE EVANGELINE                   Unsecured                                                 $0.00         $7,691.23          $7,691.23
70         c/o John Gardner POA
7100       216 N MAIN ST                                      (761-1) Certificate Investor
           P O BOX M
           JANESVILLE, MN 56048




762        ARTHUR AND LAVERNE                 Unsecured                                                 $0.00        $43,137.91         $43,137.91
70         ABRAHAM
7100       1760 Mount Hope Rd                                 (762-1) Certificate Investor
           Carver, MN 55315




763        LINDE EVANGELINE                   Unsecured                                                 $0.00        $15,855.84         $15,855.84
70         c/o John Gardner POA
7100       216 N MAIN ST                                      (763-1) Certificate Investor
           P O BOX M
           JANESVILLE, MN 56048




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled          Claimed            Allowed
764        LINDE EVANGELINE                   Unsecured                                                 $0.00        $23,657.65         $23,657.65
70         c/o John Gardner POA
7100       216 N MAIN ST                                      (764-1) Certificate Investor
           P O BOX M
           JANESVILLE, MN 56048




765        DENNIS AND JOAN M. PIEPER          Unsecured                                                 $0.00         $7,772.78          $7,772.78
70         JTWROS
7100       16480 MARYSTOWN ROAD                               (765-1) Certificate Investor
           SHAKOPEE, MN 55379




766        SUCHY DONNA                        Unsecured                                                 $0.00        $22,720.98         $22,720.98
70         BOX 121
7100       AVON, MN 56310                                     (766-1) Certificate Investor




767        CELESTINE AND LENORA               Unsecured                                                 $0.00        $16,098.81         $16,098.81
70         SCHMITT JTWROS
7100       241 MAIN STREET                                    (767-1) Certificate Investor
           ROSCOE, MN 56371




768        CELESTINE AND LENORA               Unsecured                                                 $0.00        $19,988.10         $19,988.10
70         SCHMITT JTWROS
7100       241 MAIN STREET                                    (768-1) Certificate Investor
           ROSCOE, MN 56371




769        HERBERT AND LORRAINE               Unsecured                                                 $0.00        $29,327.54         $29,327.54
70         FROEHLICH JTWROS
7100       309 CENTRAL AVENUE SO                              (769-1) Certificate Investor
           EAGLE BEND, MN 56446




770        RENAAS RODNEY                      Unsecured                                                 $0.00         $7,509.06          $7,509.06
70         810 WEST MAIN ST
7100       NUNDA, SD 57050                                    (770-1) Certificate Owner




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
771        ZUMBROM MAZEPPA SCHOOL             Unsecured                                                           $0.00        $11,105.14         $11,105.14
70         DIST 2805
7100       343 3rd Ave NE                                     (771-1) Certificate Investor - Beneficiary
           Mazeppa, MN 55956




772        FREDRICK D EBERHART                Unsecured                                                           $0.00        $20,237.08         $20,237.08
70         740 W 5th St
7100       Zumbrota, MN 55992                                 (772-1) Certificate Investor - Beneficiary




773        WILLARD L EBERHART                 Unsecured                                                           $0.00        $20,237.08         $20,237.08
70         984 West Ave
7100       Zumbrota, MN 55992                                 (773-1) Certificate Investor - Beneficiary




774        FREDRICK D EBERHART                Unsecured                                                           $0.00        $18,354.08         $18,354.08
70         740 W 5th St
7100       Zumbrota, MN 55992                                 (774-1) Certificate Investor - Beneficiary




775        WILLARD L EBERHART                 Unsecured                                                           $0.00        $18,354.08         $18,354.08
70         984 West Ave
7100       Zumbrota, MN 55992                                 (775-1) Certificate Investor - Beneficiary




776        DEBRA A VOGELSANG                  Unsecured                                                           $0.00         $4,193.81          $4,193.81
70         2659 320th Ave
7100       Janesville, MN 56048                               (776-1) Certificate Investor - Beneficiary




777        WILLIAM C KOPISCHKE                Unsecured                                                           $0.00         $4,193.81          $4,193.81
70         101 Meadow Ln
7100       Janesville, MN 56048                               (777-1) Certificate Investor - Beneficiary




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed             Allowed
778        BORCHARDT MILDRED                  Unsecured                                                              $0.00          $31,652.69          $31,652.69
70         4161 COLORADO STREET SE
7100       PRIOR LAKE, MN 55372                               (778-1) Certificate Investor




779        LAUDENBACH MARLENE                 Unsecured                                                              $0.00          $15,670.57          $15,670.57
70         22281 CTY RD 7
7100       ST AUGUSTA, MN 56301                               (779-1) Inherited Certificate From Brother




780        CHARLOTTE J OLSON                  Unsecured                                                              $0.00          $41,746.61          $41,746.61
70         407 Hwy 71 East
7100       Apt 103                                            (780-1) Certificate Investor
           Clarissa, MN 56440




781        KENNETH C AND JOANNE C             Unsecured                                                              $0.00          $33,408.59          $33,408.59
70         PIEPER
7100       c/o Joel K Pieper                                  (781-1) Certificate Investor
           2643 Monroe St NE
           Minneapolis, MN 55418




782        FRANA BEATRICE                     Unsecured                                                              $0.00          $34,421.96          $34,421.96
70         308 N MARYVILLE, PO BOX
7100       112                                                (782-1) SBM Certificate No.
           CALMAR, IA 52132




783        J. CARL MARIAN J. K.               Unsecured                                                              $0.00          $28,381.00          $28,381.00
70         KAHLER
7100       614 W. 17th St                                     (783-1) Account Number (last 4 digits):3180
           Vinton, IA 52346




784        HAROLD W. MIDDAUGH                 Unsecured                                                              $0.00           $6,787.00           $6,787.00
70         TRUST
7100       Dacotah Bank, Trustee                              (784-1) Account Number (last 4 digits):1613 (784-2) Account Number (last 4 digits):1613
           PO Box 1210
           Aberdeen, SD 57402-1210




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed             Allowed
785        HAROLD W. MIDDAUGH                 Unsecured                                                              $0.00          $17,510.00          $17,510.00
70         TRUST
7100       Dacotah Bank, Trustee                              (785-1) Account Number (last 4 digits):1895 (785-2) Account Number (last 4 digits):1895
           PO Box 1210
           Aberdeen, SD 57402-1210




786        WALKER MIRIAM                      Unsecured                                                              $0.00          $14,977.77          $14,977.77
70         4916 Bluebell Rd
7100       Cedar Falls, IA 50613                              (786-1) SBM Certificate No. 211001




787        PAMELA RIEDERER                    Unsecured                                                              $0.00          $16,576.23          $16,576.23
70         403 Sundial Ridge Circle
7100       Dammerson Valley, UT 84783                         (787-1) SBM Certificate No. 211139




788        RIEDERER JOHN                      Unsecured                                                              $0.00          $45,510.59          $45,510.59
70         403 Sundial Ridge Circle
7100       Dammeron Valley, UT 84783                          (788-1) SBM Certificate No. 211131




789        RIEDERER JOHN                      Unsecured                                                              $0.00          $10,046.68          $10,046.68
70         403 Sundial Ridge Circle
7100       Dammeron Valley, UT 84783                          (789-1) SBM Certificate No. 211136




790        JOHN RIEDERER                      Unsecured                                                              $0.00          $15,129.77          $15,129.77
70         Cust for Tavis J. Riederer
7100       403 Sundial Ridge Circle                           (790-1) SBM Certificate No. 209587
           Dammerson Valley, UT 84783




791        BERGHOFF VERNA                     Unsecured                                                              $0.00          $44,052.00          $44,052.00
70         8811 58th Ave Court E
7100       Puyallup, WA 98371                                 (791-1) Certificate Investor




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792        JEAN E AND STEPHEN T               Unsecured                                                             $0.00             $7,207.86          $7,207.86
70         NELSEN JTWR
7100       131 3rd Street                                     (792-1) 503 Certificate(792-2) SBM Certificate No. 200802
           CLEMENTS, MN 56224




793        SCHMITZ DONALD                     Unsecured                                                              $0.00            $7,153.61          $7,153.61
70         c/o Lyle J. Schmitz TOD
7100       13078 Main Street                                  (793-1) SBM Certificate No. 211812(793-2) SBM Certificate No. 211812 (50% = $3,576.81)(793-3)
           New Ulm, MN 56073                                  SBM Certificate No. 211812 (50% = $3,576.81)




794        SUSAN D SMITH                      Unsecured                                                              $0.00            $3,412.23          $3,412.23
70         3361 Roadrunner Drive
7100       Lake Havasu City, AZ 86406                         (794-1) SBM Certificate No. 206092(794-2) SBM Certificate No. 206092




795        PORTNER ELIZABETH                  Unsecured                                                              $0.00           $49,975.84         $49,975.84
70         1127 N GERMAN STREET
7100       NEW ULM, MN 56073                                  (795-1) SBM Certificate No. 211098




796        PORTNER ELIZABETH                  Unsecured                                                              $0.00           $63,495.23         $63,495.23
70         1127 N GERMAN STREET
7100       NEW ULM, MN 56073                                  (796-1) SBM Certificate No. 210826




797        ELANOR SHARP                       Unsecured                                                              $0.00            $6,271.99          $6,271.99
70         5045 S Sycamore
7100       Springfield, MO 65810                              (797-1) Certificate Investor - Beneficiary




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
798        GRAY STANLEY                       Unsecured                                                        $0.00         $9,816.34          $9,816.34
70         1605 140TH AVENUE
7100       MURRAY, IA 50174                                   (798-1) Purchase of 503 Certificate




799        MCGRAW JAMES                       Unsecured                                                        $0.00         $1,805.58          $1,805.58
70         10105 PLEASURE CREEK
7100       PKWY W                                             (799-1) SBM Certificate No. 211698
           BLAINE, MN 55434




800        MCGRAW JAMES                       Unsecured                                                        $0.00         $2,165.67          $2,165.67
70         10105 PLEASURE CREEK
7100       PKWY W                                             (800-1) SBM Certificate No. 211576
           BLAINE, MN 55434




801        MCGRAW JAMES                       Unsecured                                                        $0.00         $5,462.58          $5,462.58
70         10105 PLEASURE CREEK
7100       PKWY W                                             (801-1) SBM Certificate No. 210820
           BLAINE, MN 55434




802        BRAULICK ADELINE                   Unsecured                                                        $0.00        $19,013.64         $19,013.64
70         c/o Carol Lee
7100       6805 So. Braxton Circle                            (802-1) SBM Certificate No. 210792
           Sioux Falls, SD 57108




803        HILLESHEIM MYRON                   Unsecured                                                        $0.00        $35,319.41         $35,319.41
70         15859 215TH STREET
7100       NEW ULM, MN 56073                                  (803-1) Investment/Certificate




804        LOVISON RAYMOND                    Unsecured                                                        $0.00        $27,685.00         $27,685.00
70         19081 205th Ave.
7100       Centerville, IA 52544                              (804-1) SBM Certificate No. 211041




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Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                                 Scheduled          Claimed            Allowed
805        CLEMONS LUTHERAN                   Unsecured                                                                 $0.00        $22,644.68         $22,644.68
70         SCHOOL
7100       302 Bevin Street                                   (805-1) Betty Butler Estate Invested with SBM Certificate Co.
           Clemons, IA 50051




806        CLEMONS LUTHERAN                   Unsecured                                                                 $0.00         $7,019.03          $7,019.03
70         SCHOOL
7100       302 Bevin Street                                   (806-1) Betty Butler Estate Invested with SBM Certificate Co.
           Clemons, IA 50051




807        CENTRAL IOWA CHRISTIAN             Unsecured                                                                 $0.00        $22,644.67         $22,644.67
70         ACADEMY
7100       1008 E. Olive Street                               (807-1) Invested Money from Betty Butler Estate
           Marshalltown, IA 50158




808        CENTRAL IOWA CHRISTIAN             Unsecured                                                                 $0.00         $7,019.03          $7,019.03
70         ACADEMY
7100       1008 E. Olive Street                               (808-1) Invested Money from Elizabeth Butler Estate
           Marshalltown, IA 50158




809        PRINCIPAL TRUST CO                 Unsecured                                                                 $0.00        $54,479.80         $54,479.80
70         TRUSTEE
7100       Gerald G. Schulte                                  (809-1) Invested Money with SBM Certificate Co.
           2008 South 6th St.
           Marshalltown, IA 50158




810        WILLIAM J AND COLLENE K            Unsecured                                                                 $0.00         $5,871.58          $5,871.58
70         ANKSORUS
7100       c/o Collene K Anksorus                             (810-1) Invested Money with SBM Certificate Co.
           2743 PICKERING DRIVE
           MARSHALLTOWN, IA 50158




811        KEITH A AND JANET M SUHR           Unsecured                                                                 $0.00        $13,108.23         $13,108.23
70         JTWROS
7100       1204 N 10TH STSREET                                (811-1) SBM Certificate No. 210781
           DURANT, IA 52747




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Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed              Allowed
812        POULIOT EUGENE                     Unsecured                                                              $0.00          $16,128.50           $16,128.50
70         10902 Quebec Ave So
7100       Bloomington, MN 55438                              (812-1) Certificate Investor




813        TJADEN DONNA                       Unsecured                                                              $0.00          $17,541.00           $17,541.00
70         3735 BALFOUR PLACE
7100       IOWA CITY, IA 52240                                (813-1) SBM Certificate No. 162240




814        RONALD GEIGER                      Unsecured                                                              $0.00           $3,430.13            $3,430.13
70         23840 County Road 27
7100       Sleepy Eye, MN 56085                               (814-1) Account Number (last 4 digits):1511




815        RONALD GEIGER                      Unsecured                                                              $0.00          $12,911.26           $12,911.26
70         23840 County Road 27
7100       Sleepy Eye, MN 56085                               (815-1) Account Number (last 4 digits):0765 (815-2) Account Number (last 4 digits):0765




816        BEVERLY CHRISTOPHERSON             Unsecured                                                              $0.00         $101,411.94          $101,411.94
70         30377 Breezewood Road
7100       Paynesville, MN 56362                              (816-1) Account Number (last 4 digits):2079




817        JOHN A AND BARBARA                 Unsecured                                                              $0.00          $39,546.86           $39,546.86
70         KURTH JTWROS
7100       3816 BRUNSWICK AVENUE                              (817-1) Certificate Investment Owner
           MINNEAPOLIS, MN 55422




818        DONALD R AND COLLEEN F             Unsecured                                                              $0.00          $17,556.24           $17,556.24
70         SANDER
7100       512 Circle Drive                                   (818-1) Certificate Investment Owner
           ARNOLDS PARK, IA 51331




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
819        MILTON G AND KAREN A               Unsecured                                                         $0.00        $24,044.93         $24,044.93
70         JTWROS VOSS
7100       56273 100TH AVENUE                                 (819-1) Certificate Investment Owner
           FONDA, IA 50540




820        RICHARD ESSELMAN TRUST             Unsecured                                                         $0.00        $80,541.39         $80,541.39
70         c/o Guy S. Esselman, Trustee
7100       3470 Townhall NE                                   (820-1) Certificate Investment Owner
           Sauk Rapids, MN 56379




821        BUETOW LAVERNE                     Unsecured                                                         $0.00        $17,224.31         $17,224.31
70         213 E SAND STREET
7100       SHAKOPEE, MN 55379                                 (821-1) Certificate Investment Owner




822        BESSEL LESLIE                      Unsecured                                                         $0.00       $167,320.88        $167,320.88
70         10810 CTY RD 52
7100       BELLE PLAINE, MN 56011                             (822-1) Certificate Investment Owner




823        WALKER DISTRIBUTING                Unsecured                                                         $0.00        $96,420.40         $96,420.40
70         COMPANY
7100       C. Arnold Walker                                   (823-1) Certificate Investment Owner
           2 Grandview Blvd
           Spencer, IA 51301




824        LLOYD AND MARD STARR               Unsecured                                                         $0.00        $31,372.68         $31,372.68
70         JTWROS
7100       120 NORMAN AVE S, #205                             (824-1) Certificate Investment Owner
           FOLEY, MN 56329




825        RICHARD B. AND FREDETTE            Unsecured                                                         $0.00        $60,425.08         $60,425.08
70         D. WEST
7100       12050 Century Manor Drive                          (825-1) Purchased Investment Certificate
           Dunkirk, MD 20754




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
826        GREGORY WEIDAUER                   Unsecured                                                         $0.00         $4,013.69          $4,013.69
70         17624 340th Avenue
7100       Starbuck, MN 56381                                 (826-1) Account Number (last 4 digits):0397




827        BRAKE LOREN                        Unsecured                                                         $0.00         $3,612.28          $3,612.28
70         5045 110TH AVE
7100       REMBRANDT, IA 50576                                (827-1) Account Number (last 4 digits):2585




828        JOHNSON FAMILY REV                 Unsecured                                                         $0.00        $43,469.48         $43,469.48
70         LIVING TR 1/24/9
7100       1007 Oakwood Boulevard                             (828-1) Account Number (last 4 digits):8461
           Fairfield, IA 52556-4041




829        PLOCHER RICHARD                    Unsecured                                                         $0.00         $9,266.14          $9,266.14
70         5427 GORDON AVE NW
7100       CEDAR RAPIDS, IA 52405                             (829-1) Certificate Investment Owner




830        SANDERS LAWRENCE                   Unsecured                                                         $0.00        $56,686.69         $56,686.69
70         22 RENANN COURT
7100       MANKATO, MN 56001                                  (830-1) SBM Cert No 200144




831        ELLEN SMITH KING                   Unsecured                                                         $0.00           $217.78           $217.78
70         15081 Windsor Lane
7100       Noblesville, IN 46060




832        WALLACE & DORRAINE                 Unsecured                                                         $0.00        $43,240.57         $43,240.57
70         CARLSON JTW
7100       43197 236th St
           Arlington, MN 55307




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
833        DIANNE & THOMAS FRANTA             Unsecured                                               $0.00        $16,566.93         $16,566.93
70         38890 625th Ave
7100       New Ulm, MN 56073




834        TRACI DEGROAT                      Unsecured                                               $0.00           $217.78           $217.78
70         8595 Weems Road
7100       Manassas, VA 20110




835        BECK SUSAN                         Unsecured                                               $0.00         $2,468.17          $2,468.17
70         1301 N PAYNE
7100       NEW ULM, MN 56073




836        STEVE & HEIDI WERSAL               Unsecured                                               $0.00         $8,002.36          $8,002.36
70         JTWROS
7100       PO BOX 187
           Sanborn, MN 56083


837        STEVE & HEIDI WERSAL               Unsecured                                               $0.00        $10,277.70         $10,277.70
70         JTWROS
7100       PO BOX 187
           Sanborn, MN 56083


838        BULAU WAYNE                        Unsecured                                               $0.00         $8,384.33          $8,384.33
70         PO BOX 444
7100       GIBBON, MN 55335-0444




839        BULAU WAYNE                        Unsecured                                               $0.00        $20,711.59         $20,711.59
70         PO BOX 444
7100       GIBBON, MN 55335-0444




840        LYNN MOORE                         Unsecured                                               $0.00       $146,000.00        $146,000.00
70         Trustee for Hopkins Family Trust
7100       1596 W Sumner                                      (840-1) Investment
           Fresno, CA 93706




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Code #     Creditor Name And Address          Claim Class     Notes                                     Scheduled          Claimed            Allowed
841        VONDERHARR STANLEY                 Unsecured                                                     $0.00         $9,035.87          $9,035.87
70         C/O JAMES VONDERHARR,
7100       POA                                                (841-1) Investment
           P O BOX 5391                                       (841-1) CORRECTIVE ENTRY: 2 CLAIMS COMBINED, SEE CLAIM 1040 FOR 2ND CLAIM IN
           MANKATO, MN 56002                                  THE AMOUNT OF $8357.22




842        VONDERHARR STANLEY                 Unsecured                                                     $0.00         $7,944.48          $7,944.48
70         C/O JAMES VONDERHARR,
7100       POA                                                (842-1) Investment
           P O BOX 5391
           MANKATO, MN 56002




843        ROGER A. AND AVIS KEGLER           Unsecured                                                     $0.00         $2,063.04          $2,063.04
70         19607 State Hwy 371
7100       Brainerd, MN 56401                                 (843-1) Accumulative Certificate




844        STARITS JOYCE                      Unsecured                                                     $0.00        $21,196.76         $21,196.76
70         710 3RD
7100       GARWIN, IA 50632                                   (844-1) Investment




845        BOND GERALD                        Unsecured                                                     $0.00        $25,551.80         $25,551.80
70         206 S Pine St
7100       New Sharon, IA 50207                               (845-1) Investment




846        HIRSCHY CONNIE                     Unsecured                                                     $0.00        $16,331.59         $16,331.59
70         51503 234th Trail
7100       CHARITON, IA 50049                                 (846-1) Investment




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled           Claimed           Allowed
847        HILLSTROM CINDY                    Unsecured                                                 $0.00           $482.88           $482.88
70         100 OAKWOOD DR
7100       BELLE PLAINE, MN 56011                             (847-1) Investment




848        HERMANN DANIEL                     Unsecured                                                 $0.00           $482.88           $482.88
70         13725 CTY RD 153
7100       COLOGNE, MN 55322                                  (848-1) Investment




849        MATTER FRANK                       Unsecured                                                 $0.00         $6,211.29          $6,211.29
70         61935 ZEMPEL DRIVE
7100       NEW ULM, MN 56073




850        HERMANN GARY                       Unsecured                                                 $0.00           $482.22           $482.22
70         11710 CO RD 152
7100       COLOGNE, MN 55322                                  (850-1) Investment




851        GERALD M. AND JEAN Y.              Unsecured                                                 $0.00         $6,147.50          $6,147.50
70         PAQUETTE
7100       8313 Ox Borough Ave.                               (851-1) Certificate Investor
           Bloomington, MN 56437




852        HERMANN THOMAS                     Unsecured                                                 $0.00           $482.88           $482.88
70         17025 CTY RD 53
7100       COLOGNE, MN 55322                                  (852-1) Investment




853        EHALT RICHARD                      Unsecured                                                 $0.00         $3,482.64          $3,482.64
70         917 ORIOLE DR
7100       APPLE VALLEY, MN 55124                             (853-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled           Claimed           Allowed
854        MILLER JOYCE                       Unsecured                                                               $0.00           $482.88           $482.88
70         1025 UNITY AVE N
7100       GOLDEN VALLEY, MN 55422                            (854-1) Certificate investor - beneficiary




855        GLADYS M. BACHMANN                 Unsecured                                                               $0.00        $29,943.47         $29,943.47
70         Wayne I. Wilson, Attorney at Law
7100       4200 University Ave. 424                           (855-1) Loans
           West Des Moines, IA 50266




856        MISKE CAROLYN                      Unsecured                                                               $0.00           $482.88           $482.88
70         6282 ST HWY 55 SE
7100       ROCKFORD, MN 55373                                 (856-1) Certificate investor - beneficiary




857        HERMANN RANDY                      Unsecured                                                               $0.00           $482.88           $482.88
70         15125 CTY RD 50
7100       NORWOOD YOUNG AMERICA,                             (857-1) certificate investor - beneficiary
           MN 00055-6368




858        SCHAEFER BONNIE                    Unsecured                                                               $0.00           $482.88           $482.88
70         8050 81ST ST
7100       VICTORIA, MN 55386                                 (858-1) certificate investor - beneficiary




859        MCGRAW JOHN                        Unsecured                                                               $0.00         $5,462.58          $5,462.58
70         18 PUESTA DEL SOL
7100       PLACITAS, NM 87043                                 (859-1) SBM Certificate




860        MCGRAW JOHN                        Unsecured                                                               $0.00         $2,165.67          $2,165.67
70         18 PUESTA DEL SOL
7100       PLACITAS, NM 87043                                 (860-1) SBM Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                   Scheduled          Claimed            Allowed
861        MCGRAW JOHN                        Unsecured                                                   $0.00         $1,805.58          $1,805.58
70         18 PUESTA DEL SOL
7100       PLACITAS, NM 87043                                 (861-1) SBM Certificate




862        RAUB MERLIN                        Unsecured                                                   $0.00        $38,093.20         $38,093.20
70         2303 285th Street
7100       New London, IA 52645                               (862-1) Investment certificate




863        LEOPOLD MARY                       Unsecured                                                   $0.00        $37,071.80         $37,071.80
70         4445 Lynbrook Loop #1
7100       Redding, CA 96003                                  (863-1) SBM Certificate




864        GULDEN THEODORE                    Unsecured                                                   $0.00         $6,575.55          $6,575.55
70         730 CLEAR COVE DR
7100       GRANITE SHOALS, TX 78654                           (864-1) SBM Certificate




865        WILLIAM H BENSON                   Unsecured                                                   $0.00        $13,221.24         $13,221.24
70         2201 Co Rd 8 NE
7100       Kandiyohi, MN 56251                                (865-1) Certificate Investor




866        MUELLER JANE                       Unsecured                                                   $0.00         $3,252.72          $3,252.72
70         422 N FRANKLIN
7100       NEW ULM, MN 56073                                  (866-1) Investment




867        TRUSTEE OF THE GLADYS M.           Unsecured                                                   $0.00        $29,414.03         $29,414.03
70         BACHMANN
7100       Oscar Bachmann Residuary Trust                     (867-1) Loans
           c/o Wayne L. Wilson, Attorney at
           Law
           4200 University Ave., Ste. 424
           West Des Moines, IA 50266

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Code #     Creditor Name And Address          Claim Class     Notes                                  Scheduled          Claimed            Allowed
868        JOHN F. MILLER                     Unsecured                                                  $0.00         $5,000.00          $5,000.00
70         1025 Unity Av. N.
7100       Golden Valley, MN 55422                            (868-1) Investment




869        O & G BACHMANN LTD.                Unsecured                                                  $0.00        $81,544.64         $81,544.64
70         c/o Wayne I. Wilson, Attorney at
7100       Law                                                (869-1) Loans
           4200 University Ave., Ste. 424
           West Des Moines, IA 50266




870        MARGARET M. BRATSCH                Unsecured                                                  $0.00         $5,000.00          $5,000.00
70         7501 Izaak Walton Road
7100       Bloomington, MN 55438                              (870-1) Investment




871        MEYER JAMES                        Unsecured                                                  $0.00        $21,744.95         $21,744.95
70         24134 641ST AVENUE
7100       GIBBON, MN 55335                                   (871-1) Invested Money




872        EHALT EARL                         Unsecured                                                  $0.00         $3,482.64          $3,482.64
70         20 Kings Trail South
7100       PO Box 104                                         (872-1) Certificate Investor
           Sabin, MN 56580                                    (872-1) CORRECTIVE ENTRY: CORRECTED CREDITORS ADDRESS - MMR-9/11/2013




873        MEYER JAMES                        Unsecured                                                  $0.00        $16,615.63         $16,615.63
70         24134 641ST AVENUE
7100       GIBBON, MN 55335                                   (873-1) Invested Money




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
874        HERBERT GEIGER                     Unsecured                                                         $0.00         $3,583.38          $3,583.38
70         104 Sugar Loaf Drive
7100       Mankato, MN 56001                                  (874-1) Account Number (last 4 digits):1086




875        MEYER JAMES                        Unsecured                                                         $0.00        $18,204.23         $18,204.23
70         24134 641ST AVENUE
7100       GIBBON, MN 55335                                   (875-1) Invested Money




876        FLYGARE MARCUS                     Unsecured                                                         $0.00       $147,726.20        $147,726.20
70         1622 Clare Court
7100       North Mankato, MN 56003                            (876-1) Investment




877        MEYER JAMES                        Unsecured                                                         $0.00        $87,172.79         $87,172.79
70         24134 641ST AVENUE
7100       GIBBON, MN 55335                                   (877-1) Invested Money




878        MEYER LONNIE                       Unsecured                                                         $0.00         $4,180.98          $4,180.98
70         65427 240TH STREET
7100       GIBBON, MN 55335                                   (878-1) Invested Money




879        SCHUTLE FUNERAL SERVICES           Unsecured                                                         $0.00        $10,022.92         $10,022.92
70         214 Tilden
7100       PO Box 9                                           (879-1) SBM Certificate No.
           Postville, IA 52162




880        BREGEL VIRGIL                      Unsecured                                                         $0.00         $2,451.85          $2,451.85
70         65771 320TH ST
7100       GIBBON, MN 55335                                   (880-1) Investment




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
881        JOSEPH AND KATHLEEN                Unsecured                                               $0.00         $8,825.49          $8,825.49
70         SCHERBRING
7100       RR 3, BOX 227A                                     (881-1) SBM Certificate
           MANCHESTER, IA 52057




882        LANG DENNIS                        Unsecured                                               $0.00        $19,284.52         $19,284.52
70         701 NORTH PAYNE
7100       NEW ULM, MN 56073                                  (882-1) Invested money




883        MUELLER THOMAS                     Unsecured                                               $0.00        $25,480.43         $25,480.43
70         422 N FRANKLIN
7100       NEW ULM, MN 56073                                  (883-1) Invested Money




884        MARY L. ALEXANDER                  Unsecured                                               $0.00         $7,487.44          $7,487.44
70         219 W. 5th St.
7100       Hastings, MN 55033                                 (884-1) SBM Certificate




885        MUELLER THOMAS                     Unsecured                                               $0.00        $33,214.93         $33,214.93
70         422 N FRANKLIN
7100       NEW ULM, MN 56073                                  (885-1) Invested Money




886        MUELLER THOMAS                     Unsecured                                               $0.00         $3,252.72          $3,252.72
70         422 N FRANKLIN
7100       NEW ULM, MN 56073                                  (886-1) Invested Money




887        MUELLER JANE                       Unsecured                                               $0.00         $3,252.72          $3,252.72
70         422 N FRANKLIN
7100       NEW ULM, MN 56073                                  (887-1) Invested Money




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Code #     Creditor Name And Address          Claim Class     Notes                                 Scheduled          Claimed            Allowed
888        RAY AND MARGARET                   Unsecured                                                 $0.00         $6,835.36          $6,835.36
70         SALLSTROM
7100       909 OAK LANE                                       (888-1) Invested Money
           WINTHROP, MN 55396




889        JOHN F. MILLER                     Unsecured                                                 $0.00         $5,000.00          $5,000.00
70         1025 Unity Av. N.
7100       Golden Valley, MN 55422                            (889-1) Invested Money




890        REINHOLD AND MARGARET              Unsecured                                                 $0.00         $9,703.14          $9,703.14
70         SALLSTROM
7100       909 OAK LANE                                       (890-1) Invested Money
           WINTHROP, MN 55396




892        RAY AND MARGARET                   Unsecured                                                 $0.00        $12,833.58         $12,833.58
70         SALLSTROM
7100       909 OAK LANE                                       (892-1) Invested Money
           WINTHROP, MN 55396




894        RAY AND MARGARET                   Unsecured                                                 $0.00        $10,733.06         $10,733.06
70         SALLSTROM
7100       909 OAK LANE                                       (894-1) Invested Money
           WINTHROP, MN 55396




895        REVA HORTSCH                       Unsecured                                                 $0.00        $23,027.40         $23,027.40
70         800 Old Beach Lane
7100       Waconia, MN 55387                                  (895-1) Invested money




896        OMAN JEROME                        Unsecured                                                 $0.00        $13,412.74         $13,412.74
70         21031 KENYON ST NE
7100       CEDAR, MN 55011                                    (896-1) Certificate Investor




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
897        SAMPSON ORVILLE                    Unsecured                                                         $0.00        $16,249.12         $16,249.12
70         615 Pfau Street
7100       Mankato, MN 56001                                  (897-1) Invested money




898        ASHLEY MAHER                       Unsecured                                                         $0.00         $2,643.38          $2,643.38
70         400 Linden Street SE
7100       Sleepy Eye, MN 56085                               (898-1) Account Number (last 4 digits):1005




899        DUBBELS GLEN                       Unsecured                                                         $0.00         $7,428.21          $7,428.21
70         1043 260TH STREET E
7100       FARMINGTON, MN 55024                               (899-1) Invested Money




900        LORRAINE D. NOERENBERG             Unsecured                                                         $0.00        $19,378.55         $19,378.55
70         706 30th Ave NW
7100       Backus, MN 56435                                   (900-1) Invested Money




901        GREGG KEVIN                        Unsecured                                                         $0.00        $51,301.67         $51,301.67
70         209 SHADY OAK DRIVE
7100       COURTLAND, MN 56021                                (901-1) Invested Money




902        GULDEN DELMAR                      Unsecured                                                         $0.00         $6,575.55          $6,575.55
70         2613 Dunbar Ave
7100       The Villages, FL 32162                             (902-1) Invested Money




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
903        RUCKHEIM RICHARD                   Unsecured                                                          $0.00        $19,043.38         $19,043.38
70         315 S. CLAYBORN AVE.
7100       PARKERS PRAIRIE, MN 56361                          (903-1) Invested Money
                                                              (903-1) CORRECTIVE ENTRY; CORRECTED CREDITORS ADDRESS - MMR-9/10/2013




904        DEBRA JENSEN                       Unsecured                                                          $0.00        $23,619.58         $23,619.58
70         759 Curfew Street
7100       Saint Paul, MN 55114                               (904-1) Invested Money




905        MATHEWS EDWARD                     Unsecured                                                          $0.00        $10,940.80         $10,940.80
70         PO Box 60
7100       LAKE CRYSTAL, MN 56055                             (905-1) Invested Money(905-2) Invested Money
                                                              (905-2) SBM Certificate No. 205471




906        DANNY L. REIN                      Unsecured                                                          $0.00             $0.00              $0.00
70         3650 Longfellow Ave. S
7100       Minneapolis, MN 55407-2922                         (906-1) CORRECTIVE ENTRY: DISREGARD, INCORRECT CREDITOR, SEE CLAIM 1373 FOR
                                                              THE CORRECT ENTRY




907        PALMER KAELLEN                     Unsecured                                                          $0.00         $2,396.43          $2,396.43
70         1910 13TH AVENUE
7100       BELLE PLAINE, IA 52208                             (907-1) Invested Money




908        PALMER WILLIAM                     Unsecured                                                          $0.00         $2,396.43          $2,396.43
70         1910 13TH AVENUE
7100       BELLE PLAINE, IA 52208                             (908-1) Invested Money




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
913        REIN MICHAEL                       Unsecured                                                            $0.00        $21,994.27         $21,994.27
70         57889 STATE HIGHWAY 19
7100       WINTHROP, MN 55396                                 (913-1) Invested Money(913-2) SBM Certificate No. 211052




914        REIN MICHAEL                       Unsecured                                                            $0.00        $40,098.64         $40,098.64
70         57889 STATE HIGHWAY 19
7100       WINTHROP, MN 55396                                 (914-1) Invested Money(914-2) SBM Certificate No. 210848




915        LARRY C MCALPINE                   Unsecured                                                            $0.00         $5,323.66          $5,323.66
70         206 14th Avenue N.
7100       Princeton, MN 55371                                (915-1) Invested Money




916        TYSDALE DEBRA                      Unsecured                                                            $0.00         $8,064.82          $8,064.82
70         PO BOX 104
7100       HAVERHILL, IA 50120                                (916-1) Invested Money




917        TYSDALE DEBRA                      Unsecured                                                            $0.00        $10,329.01         $10,329.01
70         PO BOX 104
7100       HAVERHILL, IA 50120                                (917-1) Invested Money




918        BENSON JOHN HAROLD                 Unsecured                                                            $0.00        $31,822.36         $31,822.36
70         1654 Hwy 137
7100       Albia, IA 52531                                    (918-1) Invested Money




919        POTTHOFF ARDELLA                   Unsecured                                                            $0.00        $10,500.00         $10,500.00
70         448 10TH AVE
7100       DUNNELL, MN 56127                                  (919-1) Invested Money




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
920        SHEESLEY FLORENCE                  Unsecured                                               $0.00        $59,014.54         $59,014.54
70         705 2ND AVENUE NE
7100       ST JOSEPH, MN 56374                                (920-1) Invested money




921        SHEESLEY FLORENCE                  Unsecured                                               $0.00        $36,747.29         $36,747.29
70         705 2ND AVENUE NE
7100       ST JOSEPH, MN 56374                                (921-1) Invested Money




922        IRENE POPSON                       Unsecured                                               $0.00        $18,063.00         $18,063.00
70         1200 G AVENUE EAST
7100       ALBIA, IA 52531                                    (922-1) Invested Money




923        MARK A. & CINDY V.                 Unsecured                                               $0.00        $39,837.60         $39,837.60
70         JOHNSON
7100       16125 Wdd Mountain Road
           Taylors Falls, MN 55084


924        DREESSEN CHARLOTTE                 Unsecured                                               $0.00         $5,410.48          $5,410.48
70         RR 2, BOX 391
7100       LULING, TX 78648                                   (924-1) Invested Money




925        GODBERSEN TWYLA                    Unsecured                                               $0.00         $5,294.14          $5,294.14
70         6588 230TH ST
7100       ARTHUR, IA 51431                                   (925-1) Invested Money




926        SUSAN D SMITH                      Unsecured                                               $0.00         $3,412.23          $3,412.23
70         3361 Roadrunner Drive
7100       Lake Havasu City, AZ 86406                         (926-1) Invested Money




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Code #     Creditor Name And Address           Claim Class     Notes                                         Scheduled          Claimed            Allowed
927        ROSENDAHL GEORGIA                   Unsecured                                                         $0.00        $11,980.80         $11,980.80
70         21566 CTY 4
7100       SPRING GROVE, MN 55974




928        ACADEMY OF OUR LADY OF              Unsecured                                                         $0.00        $62,000.00         $62,000.00
70         LOURDES
7100       RE: Estate of Florence C. Swanker                   (928-1) Invested Money
           1001 14th St, NW
           Rochester, MN 55901




929        KLEBSCH SHIRLEY                     Unsecured                                                         $0.00         $4,714.40          $4,714.40
70         309 1ST STREET
7100       P O BOX 543                                         (929-1) Invested Money
           HIGHMORE, SD 57345




930        NORMA SPRINGER                      Unsecured                                                         $0.00        $15,538.22         $15,538.22
70         402 Sandra Terrace
7100       West Union, IA 52175                                (930-1) Account Number (last 4 digits):5301




931        MARILYNN D BOOTH                    Unsecured                                                         $0.00        $14,518.37         $14,518.37
70         65 N E 115th Street
7100       Spickard, MO 64679                                  (931-1) Account Number (last 4 digits):6263




932        KERR HOMER                          Unsecured                                                         $0.00         $7,809.61          $7,809.61
70         c/o John S. Kerr
7100       16333 Hwy 149                                       (932-1) SBM Certificate No. 211411
           Webster, IA 52355




933        BRO BERNICE                         Unsecured                                                         $0.00         $9,227.97          $9,227.97
70         1232 TRUMAN PL
7100       AMES, IA 50010                                      (933-1) Investment Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
934        GARY LEHTOLA                       Unsecured                                                             $0.00        $15,605.95         $15,605.95
70         2741 Old Center Road
7100       Alburnett, IA 52202                                (934-1) Certificate Owner




935        PRANGE CLIFTON                     Unsecured                                                             $0.00         $9,954.84          $9,954.84
70         c/o Darlene Prange
7100       908 FURMAN                                         (935-1) Investment/Certificate
           AMES, IA 50010




936        WILLIAM AND MARY                   Unsecured                                                             $0.00        $12,911.26         $12,911.26
70         SCHENDEL
7100       902 W Main St.                                     (936-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




937        WILLIAM AND MARY                   Unsecured                                                             $0.00        $86,463.41         $86,463.41
70         SCHENDEL
7100       902 W Main St.                                     (937-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




938        SCHENDEL MARY                      Unsecured                                                             $0.00       $103,283.13        $103,283.13
70         902 W MAIN ST
7100       MARSHALLTOWN, IA 50158                             (938-1) Invested Money with SBM Certificate Co.




939        SCHENDEL MARY                      Unsecured                                                             $0.00        $21,620.28         $21,620.28
70         902 W MAIN ST
7100       MARSHALLTOWN, IA 50158                             (939-1) Invested Money with SBM Certificate Co.




940        SCHENDEL MARY                      Unsecured                                                             $0.00        $15,071.88         $15,071.88
70         902 W MAIN ST
7100       MARSHALLTOWN, IA 50158                             (940-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                       Scheduled          Claimed            Allowed
941        MILLIS PAUL                        Unsecured                                                       $0.00         $8,372.11          $8,372.11
70         232 So Story St
7100       BOONE, IA 50036                                    (941-1) SBM Certificate No.




942        MILLIS PAUL                        Unsecured                                                       $0.00         $9,890.12          $9,890.12
70         232 So Story St
7100       BOONE, IA 50036                                    (942-1) SBM Certificate No.




943        JASPERSEN JILL                     Unsecured                                                       $0.00         $9,758.48          $9,758.48
70         P O BOX 422
7100       TYLER, MN 56178                                    (943-1) SBM Certificate No. 180857




944        SAND LEON                          Unsecured                                                       $0.00         $9,758.48          $9,758.48
70         P O BOX 85
7100       RUSSELL, MN 56169                                  (944-1) SBM Certificate No. 180857




945        SAND STEVEN                        Unsecured                                                       $0.00         $9,758.48          $9,758.48
70         PO Box 214
7100       Russell, MN 56169                                  (945-1) SBM Certificate No. 180857




946        MILLIS PAUL                        Unsecured                                                       $0.00        $10,435.20         $10,435.20
70         232 So Story St
7100       BOONE, IA 50036                                    (946-1) SBM Certificate No.




947        MILLIS PAUL                        Unsecured                                                       $0.00         $8,861.94          $8,861.94
70         232 So Story St
7100       BOONE, IA 50036                                    (947-1) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled            Claimed            Allowed
948        VERDON ANNA                        Unsecured                                                             $0.00           $6,513.92          $6,513.92
70         608 N GROVE
7100       MORA, MN 55051                                     (948-1) SBM Certificate No. 211754




949        DAVID ALBRECHT                     Unsecured                                                             $0.00         $61,974.40          $61,974.40
70         774 LIVINGSTON AVENUE
7100       SAINT PAUL, MN 55107                               (949-1) SBM Certificate IRA Investment




950        LANGBEHN MARLENE                   Unsecured                                                             $0.00           $3,960.25          $3,960.25
70         P O BOX 76
7100       ORR, MN 55771                                      (950-1) Invested Money with SBM Certificate Co.(950-2) Invested Money with SBM Certificate Co.,
                                                              Certificate 207167




951        JOSEPH D AND MARGARET              Unsecured                                                             $0.00         $15,368.89          $15,368.89
70         DUFFY
7100       505 Sunset Lane                                    (951-1) Invested Money with SBM Certificate Co.
           Marshalltown, IA 50158




952        DEBORAH HARVEY                     Unsecured                                                             $0.00           $8,382.14          $8,382.14
70         2869 Quarry Road
7100       Marshalltown, IA 50158                             (952-1) Invested Money with SBM Certificate Co.




953        GLORIA BRUNS                       Unsecured                                                             $0.00         $40,862.98          $40,862.98
70         1014 3RD AVENUE SW
7100       PIPESTONE, MN 56164                                (953-1) Account Number (last 4 digits):5551




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
954        GLORIA BRUNS                       Unsecured                                                         $0.00        $10,302.30         $10,302.30
70         1014 3RD AVENUE SW
7100       PIPESTONE, MN 56164                                (954-1) Account Number (last 4 digits):5551




955        JERRY BRUNS                        Unsecured                                                         $0.00        $10,302.30         $10,302.30
70         1014 3RD AVENUE SW
7100       PIPESTONE, MN 56164                                (955-1) Account Number (last 4 digits):6632




956        JERRY BRUNS                        Unsecured                                                         $0.00        $40,862.98         $40,862.98
70         1014 3RD AVENUE SW
7100       PIPESTONE, MN 56164                                (956-1) Account Number (last 4 digits):6632




957        ARDYCE STAGEBERG                   Unsecured                                                         $0.00         $4,866.50          $4,866.50
70         3204 S WESTBROOKE LANE
7100       APT 101                                            (957-1) Account Number (last 4 digits):8194
           SIOUX FALLS, SD 57106




958        LEROY AND GERTRUDE                 Unsecured                                                         $0.00         $6,745.69          $6,745.69
70         RATHMANN
7100       1001 SOUTH PAYNE                                   (958-1) SBM Certificate No. 211619
           NEW ULM, MN 56073




959        FORSTER SUSAN                      Unsecured                                                         $0.00         $3,298.85          $3,298.85
70         17307 COUNTY ROAD #25
7100       NEW ULM, MN 56073                                  (959-1) SBM Certificate No. 211461




960        FORSTER SUSAN                      Unsecured                                                         $0.00         $5,131.07          $5,131.07
70         17307 COUNTY ROAD #25
7100       NEW ULM, MN 56073                                  (960-1) SBM Certificate No. 210870




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
961        ROESER JOHN                        Unsecured                                                             $0.00        $96,250.55         $96,250.55
70         114 N WASHINGTON STREET
7100       SPRINGFIELD, MN 56087                              (961-1) SBM Certificate No. 211039




962        ROESER JOHN                        Unsecured                                                             $0.00        $13,607.47         $13,607.47
70         114 N WASHINGTON STREET
7100       SPRINGFIELD, MN 56087                              (962-1) SBM Certificate No. 211478




963        MOHS HILARY                        Unsecured                                                             $0.00         $1,396.85          $1,396.85
70         403 7TH AVE N
7100       SAINT CLOUD, MN 56301                              (963-1) Certificate Investor




964        DUANE AND PATRICIA DICK            Unsecured                                                             $0.00        $41,504.90         $41,504.90
70         303 CENTER AVENUE SOUTH
7100       MADELIA, MN 56062                                  (964-1) Invested Money with SBM Certificate Co.




965        MARVIN AND MARIE                   Unsecured                                                             $0.00        $41,218.04         $41,218.04
70         GRUNERT
7100       823 SOUTH FRANKLIN                                 (965-1) Invested Money with SBM Certificate Co.
           NEW ULM, MN 56073




966        KIRKWOOD M. CHARLENE               Unsecured                                                             $0.00        $11,121.69         $11,121.69
70         2002 Boardwalk Place Drive
7100       Apt 179                                            (966-1) Investment Certificate Owner
           O'Fallon, MO 63368




967        MADDEN PATRICIA                    Unsecured                                                             $0.00         $1,934.16          $1,934.16
70         2953 60TH ST NE
7100       MEDFORD, MN 55049                                  (967-1) Certificate Investor - Beneficiary




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
968        THOM KATHLEEN                      Unsecured                                                           $0.00         $1,934.16          $1,934.16
70         21105 CANBY AVE
7100       FARIBAULT, MN 55021                                (968-1) Certificate Investor - Beneficiary




969        MADDEN RICHARD                     Unsecured                                                           $0.00         $1,934.16          $1,934.16
70         12916 W 215TH ST
7100       WATERVILLE, MN 56096                               (969-1) Certificate Investor - Beneficiary




970        DOROTHY F MILLER                   Unsecured                                                           $0.00        $18,879.00         $18,879.00
70         43402 Road 409
7100       Mendocino, CA 95460                                (970-1) Account Number (last 4 digits):3834




971        RENAE C. BREKKEN                   Unsecured                                                           $0.00         $6,050.60          $6,050.60
70         12670 N. Shannon Drive
7100       Shakopee, MN 55379




972        SAMES LAURA                        Unsecured                                                           $0.00         $6,050.60          $6,050.60
70         12670 N SHANNON DRIVE
7100       SHAKOPEE, MN 55379




973        LONG CLAIR                         Unsecured                                                           $0.00         $7,832.83          $7,832.83
70         2450 233RD STREET
7100       MARSHALLTOWN, IA 50158




974        VONDERHARR KEN                     Unsecured                                                           $0.00        $35,950.32         $35,950.32
70         PO BOX 501
7100       NEW ULM, MN 56073                                  (974-1) Cert 211449




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975        VONDERHARR KEN                     Unsecured                                               $0.00        $35,518.47         $35,518.47
70         PO BOX 501
7100       NEW ULM, MN 56073                                  (975-1) Cert 211448




976        MARIAN P. WHITE                    Unsecured                                               $0.00         $8,768.61          $8,768.61
70         903 E. 1st Street
7100       Monticello, IA 52310




977        MARIAN P. WHITE                    Unsecured                                               $0.00         $2,990.19          $2,990.19
70         903 E. 1st Street
7100       Monticello, IA 52310                               (977-1) Cert 211063




978        MARIAN P. WHITE                    Unsecured                                               $0.00        $19,020.23         $19,020.23
70         903 E. 1st Street
7100       Monticello, IA 52310                               (978-1) Cert 211610




979        MARIAN P. WHITE                    Unsecured                                               $0.00         $6,307.86          $6,307.86
70         903 E. 1st Street
7100       Monticello, IA 52310                               (979-1) Cert 212061




980        CURT COSGROVE                      Unsecured                                               $0.00        $20,197.69         $20,197.69
70         c/o Craig Cosgrove
7100       6720 189th St
           Albia, IA 52531


981        ROBERTS PAUL                       Unsecured                                               $0.00         $5,164.50          $5,164.50
70         60501 VALLEY HILLS DR
7100       NEW ULM, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
982        ROBERTS PAUL                       Unsecured                                                           $0.00         $4,180.98          $4,180.98
70         60501 VALLEY HILLS DR
7100       NEW ULM, MN 56073                                  (982-1) Cert 211485




983        ELIZABETH WITTENBERG               Unsecured                                                           $0.00        $46,275.60         $46,275.60
70         763 Allen Avenue
7100       Gibbon, MN 55335




984        JEROME NORLUND                     Unsecured                                                           $0.00         $6,827.64          $6,827.64
70         228 West 6th Street
7100       Gibbon, MN 55335




985        KUBAL DONALD                       Unsecured                                                           $0.00         $6,444.98          $6,444.98
70         305 8TH AVE NW
7100       ARLINGTON, MN 55307




986        RATHMANN LEROY                     Unsecured                                                           $0.00        $15,242.95         $15,242.95
70         1001 S PAYNE
7100       NEW ULM, MN 56073




987        RATHMANN LEROY                     Unsecured                                                           $0.00        $12,914.63         $12,914.63
70         1001 S PAYNE
7100       NEW ULM, MN 56073                                  (987-1) Cert 211201




988        MADDEN PAUL                        Unsecured                                                           $0.00         $1,934.16          $1,934.16
70         10166 DODD RD
7100       KILKENNY, MN 56052                                 (988-1) Certificate Investor - Beneficiary




989        MADDEN ROGER                       Unsecured                                                           $0.00         $1,934.16          $1,934.16
70         10141 DODD RD
7100       KILKENNY, MN 56052                                 (989-1) Certificate Investor - Beneficiary




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled          Claimed            Allowed
990        ALVIN KAHNKE                       Unsecured                                                             $0.00         $7,773.53          $7,773.53
70         17610 628TH AVE
7100       JANESVILLE, MN 56048                               (990-1) SBM Certificate No. 162197




991        DONALD G AND DONNA M               Unsecured                                                             $0.00        $30,499.38         $30,499.38
70         SAMES
7100       12670 N SHANNON DRIVE                              (991-1) SBM Certificate No. 198652
           SHAKOPEE, MN 55379




992        SANDERS SUSAN                      Unsecured                                                             $0.00        $12,716.61         $12,716.61
70         6498 240TH ST
7100       ALBIA, IA 52531                                    (992-1) SBM Certificate No. 205569




993        KRABER LINDA                       Unsecured                                                             $0.00        $11,285.14         $11,285.14
70         325 E MAPLE ST
7100       OTTUMWA, IA 52501                                  (993-1) SBM Certificate No. 204144 and 210855




994        SLETTEN SANDRA KAY                 Unsecured                                                             $0.00         $1,024.76          $1,024.76
70         105 Main Street West
7100       Twin Lakes, MN 56089                               (994-1) SBM Certificate No. 198166




995        SLETTEN SANDRA KAY                 Unsecured                                                             $0.00           $467.70           $467.70
70         105 Main Street West
7100       Twin Lakes, MN 56089                               (995-1) SBM Certificate No. 211109




996        MCCOMBS MARY                       Unsecured                                                             $0.00        $15,300.00         $15,300.00
70         C/O MCCOMBS RICHARD
7100       5868 HIGHLAND HILLS CIR                            (996-1) Invested Money with SBM Certificate Co.
           FORT COLLINS, CO 80528




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Code #     Creditor Name And Address          Claim Class     Notes                                      Scheduled          Claimed            Allowed
997        BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $3,127.35          $3,127.35
70         375 Dakota Avenue South
7100       Apt M1                                             (997-1) SBM Certificate Type IRA 210834
           Huron, SD 57350




998        BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $4,310.99          $4,310.99
70         375 Dakota Avenue South
7100       Apt M1                                             (998-1) SBM Certificate Type IRA 210833
           Huron, SD 57350




999        BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $3,470.66          $3,470.66
70         375 Dakota Avenue South
7100       Apt M1                                             (999-1) SBM Certificate Type IRA 209280
           Huron, SD 57350




1000       BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $5,720.40          $5,720.40
70         375 Dakota Avenue South
7100       Apt M1                                             (1000-1) SBM Certificate Type IRA 207286
           Huron, SD 57350




1001       BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $3,127.35          $3,127.35
70         375 Dakota Avenue South
7100       Apt M1                                             (1001-1) SBM Certificate Type IRA 210835
           Huron, SD 57350




1002       BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $4,247.25          $4,247.25
70         375 Dakota Avenue South
7100       Apt M1                                             (1002-1) SBM Certificate Type IRA 210832
           Huron, SD 57350




1003       BORKOWSKI ESTHER                   Unsecured                                                      $0.00         $3,429.07          $3,429.07
70         375 Dakota Avenue South
7100       Apt M1                                             (1003-1) SBM Certificate Type IRA 209279
           Huron, SD 57350&nnbsp;




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1004       BORKOWSKI ESTHER                   Unsecured                                                               $0.00         $5,720.40          $5,720.40
70         375 Dakota Avenue South
7100       Apt M1                                             (1004-1) SBM Certificate Type IRA 207285
           Huron, SD 57350




1005       RAYMOND R AND ANNE J               Unsecured                                                               $0.00        $16,390.05         $16,390.05
70         RINN
7100       3121 Famborough Court                              (1005-1) Funds Deposited in Four (4) Certificates
           Silver Spring, MD 20906




1006       KEHOE DEBRA                        Unsecured                                                               $0.00         $2,972.00          $2,972.00
70         7293 BREN LANE
7100       EDEN PRAIRIE, MN 55346                             (1006-1) Certificate Investor - Beneficiary




1007       MORENO DIANE                       Unsecured                                                               $0.00         $2,972.00          $2,972.00
70         5437 SHINGLE CREEK DR
7100       ORLANDO, FL 32821                                  (1007-1) Certificate Investor - Beneficiary




1008       M JOHNSTON                         Unsecured                                                               $0.00        $46,664.58         $46,664.58
70         106 E WASHINGTON ST
7100       KNOXVILLE, IA 50138                                (1008-1) Certificates Purchased




1009       M JOHNSTON                         Unsecured                                                               $0.00        $11,899.63         $11,899.63
70         106 E WASHINGTON ST
7100       KNOXVILLE, IA 50138                                (1009-1) Certificate Purchased




1010       M JOHNSTON                         Unsecured                                                               $0.00        $26,389.15         $26,389.15
70         106 E WASHINGTON ST
7100       KNOXVILLE, IA 50138                                (1010-1) Certificate Purchased




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1011       ETHEL M TOD REECK                  Unsecured                                                              $0.00         $5,268.05          $5,268.05
70         Martin Reeck
7100       711 NORTH 3RD STREET                               (1011-1) SBM Certificate No. 210921
           FORT DODGE, IA 50501




1012       RICHARDS ELDON                     Unsecured                                                              $0.00         $3,801.94          $3,801.94
70         3020 E AVENUE
7100       MONTOUR, IA 50173                                  (1012-1) Invested Money with SBM Certificate Co.




1013       ELY KAREN                          Unsecured                                                              $0.00         $4,650.88          $4,650.88
70         309 25TH ST
7100       W DES MOINES, IA 50265                             (1013-1) SBM Certificate No. 212106




1014       KRUSE NEIL                         Unsecured                                                              $0.00        $44,123.90         $44,123.90
70         7750 SILVER LAKE ROAD #23
7100       MOUNDS VIEW, MN 55112                              (1014-1) SBM Certificate No. 211493




1015       KRUSE NEIL                         Unsecured                                                              $0.00        $21,090.24         $21,090.24
70         7750 SILVER LAKE ROAD #23
7100       MOUNDS VIEW, MN 55112                              (1015-1) SBM Certificate No. 211631




1016       MORKEL JAMES                       Unsecured                                                              $0.00         $1,354.35          $1,354.35
70         1715 PLYMOUTH AVE
7100       WATERLOO, IA 50702                                 (1016-1) Invested Money with SBM Certificate Co.




1017       C. WADE & KATHRYN JO               Unsecured                                                              $0.00        $13,809.87         $13,809.87
70         JOHNSON
7100       900 Army Navy Dr                                   (1017-1) Account Number (last 4 digits):9309
           #1525
           Arlington, VA 22202-4934




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1018       GERALD MEYER                       Unsecured                                                              $0.00         $7,359.81          $7,359.81
70         Exec Estage of Roland Meyer
7100       P.O. Box 212                                       (1018-1) Invested Money with SBM Certificate Co.
           Postville, IA 52162




1019       LEONA M AND RICHARD G              Unsecured                                                              $0.00         $6,246.39          $6,246.39
70         HESSE JTWR
7100       323 NORTH PAYNE STREET                             (1019-1) Purchase of SBM Certificate
           NEW ULM, MN 56073




1020       HAUSER KENNETH                     Unsecured                                                              $0.00         $3,483.73          $3,483.73
70         21860 Heritage Road
7100       Sleepy Eye, MN 56085                               (1020-1) SBM Certificate No. 203702




1021       PAMELA REECK                       Unsecured                                                              $0.00         $6,164.25          $6,164.25
70         2015 DEER RUN LANE
7100       HUMBOLDT, IA 50548                                 (1021-1) SBM Certificate No. 208764




1022       PALMGREN ALLEN                     Unsecured                                                              $0.00         $6,357.25          $6,357.25
70         1001 Office Park Rd
7100       Suite 319                                          (1022-1) Invested Money with SBM Certificate Co.
           WEST DES MOINES, IA 50265




1023       STERNHAGEN ANGELA                  Unsecured                                                              $0.00         $6,564.73          $6,564.73
70         3515 MAPLE DRIVE, S.E.
7100       ALEXANDRIA, MN 56308-9287                          (1023-1) Stock Investment




1024       SHEESLEY FLORENCE                  Unsecured                                                              $0.00        $65,234.84         $65,234.84
70         705 2ND AVENUE NE
7100       ST JOSEPH, MN 56374                                (1024-1) IRA Deposit Account(1024-2) IRA Deposit Account




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Code #     Creditor Name And Address          Claim Class     Notes                                                  Scheduled             Claimed           Allowed
1025       ELY KAREN                          Unsecured                                                                  $0.00           $13,625.89        $13,625.89
70         309 25TH ST
7100       W DES MOINES, IA 50265                             (1025-1) SBM Certificate No. 212108




1026       KRUSE ALLEN D TOD                  Unsecured                                                                   $0.00          $44,123.90        $44,123.90
70         2758 Lockland Hills Dr
7100       Marshall, MN 56258                                 (1026-1) SBM Certificate No. 211493




1027       JUDITH HARRIS                      Unsecured                                                                   $0.00         $184,595.25      $184,595.25
70         539 - 13TH AVE
7100       NEW BRIGHTON, MN 55112                             (1027-1) Certificate Investment Owner




1028       KRENZ LYNN                         Unsecured                                                                   $0.00           $5,164.50         $5,164.50
70         26673 280TH AVENUE
7100       SLEEPY EYE, MN 56085                               (1028-1) SBM Certificate No. 210803




1029       KRENZ JOYCE                        Unsecured                                                                   $0.00           $5,164.50         $5,164.50
70         26673 280TH AVENUE
7100       SLEEPY EYE, MN 56085                               (1029-1) SBM Certificate No. 210795




1030       C RICHERS                          Unsecured                                                                   $0.00            $436.75           $436.75
70         2935 SWEET BRIAR AVE
7100       IOWA CITY, IA 52245                                (1030-1) Invested Money with SBM Certificate Co.




1031       PEGGY ILENE SMITH                  Unsecured                                                                   $0.00           $1,606.84         $1,606.84
70         605 West Market Street
7100       New Sharon, IA 50207                               (1031-1) Fractional Interest in Certificate of Lester F. Full, Deceased




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled           Claimed           Allowed
1032       HAROLD MEANS                       Unsecured                                                        $0.00           $676.97           $676.97
70         301 Crestview Drive
7100       Marcus, IA 51035                                   (1032-1) Purchased Investment




1033       ROBERT N JENSEN                    Unsecured                                                        $0.00         $5,853.39          $5,853.39
70         218 N Fulton
7100       P O BOX 317                                        (1033-1) SBM Certificate No. 212113
           NEWELL, IA 50568




1034       MOUNT CALVARY LUTHERAN             Unsecured                                                        $0.00         $9,770.32          $9,770.32
70         CHURCH
7100       688 Dakota Avenue S                                (1034-1) SBM Certificate Type 503 #204254
           Huron, SD 57350




1035       MOUNT CALVARY LUTHERAN             Unsecured                                                        $0.00        $10,185.93         $10,185.93
70         CHURCH
7100       688 Dakota Avenue S                                (1035-1) SBM Certificate Type 503 #198814
           Huron, SD 57350




1036       MOUNT CALVARY LUTHERAN             Unsecured                                                        $0.00        $12,861.24         $12,861.24
70         CHURCH
7100       688 Dakota Avenue S                                (1036-1) SBM Certificate Type 503 #203627
           Huron, SD 57350




1037       DUANE M GEHRKE                     Unsecured                                                        $0.00        $11,505.08         $11,505.08
70         602 N. Brown St.
7100       Winthrop, MN 55396                                 (1037-1) SBM Certificate No. 211015




1038       HARLEN C GEHRKE                    Unsecured                                                        $0.00        $14,772.62         $14,772.62
70         102 N. Brown
7100       WINTHROP, MN 55396                                 (1038-1) SBM Certificate No. 211127




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1039       WENDY OWENS                        Unsecured                                                              $0.00         $4,776.96          $4,776.96
70         407 Oak Street
7100       Keosauqua, IA 52565                                (1039-1) Account Number (last 4 digits):1808




1040       VONDERHARR STANLEY                 Unsecured                                                              $0.00         $8,357.22          $8,357.22
70         C/O JAMES VONDERHARR,
7100       POA                                                (1040-1) Invested Money
           P O BOX 5391
           MANKATO, MN 56002




1041       MARLENE AND RO FUNKE               Unsecured                                                              $0.00        $10,747.23         $10,747.23
70         JTWROS
7100       65121 CTY RD 4                                     (1041-1) Investment Account
           LAKE CITY, MN 55041




1042       MARLENE AND RO FUNKE               Unsecured                                                              $0.00        $83,807.14         $83,807.14
70         JTWROS
7100       65121 CTY RD 4                                     (1042-1) Investment Account
           LAKE CITY, MN 55041




1043       EILTS RANDALL                      Unsecured                                                              $0.00         $5,052.96          $5,052.96
70         621 ONYX
7100       AMES, IA 50010                                     (1043-1) SBM Certificate No. 211958




1044       DANIEL L. POTTER ESTATE            Unsecured                                                              $0.00        $77,791.00         $77,791.00
70         and the Legally Determined Heirs
7100       c/o Diane Thomas
           511 SE 8th St., Apt. C
           Madison, SD 57042

1045       CUMMINGS RANDY                     Unsecured                                                              $0.00         $2,649.86          $2,649.86
70         800 CRESTVIEW AVE
7100       STORY CITY, IA 50248                               (1045-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1046       CUMMINGS RANDY                     Unsecured                                                              $0.00         $2,882.63          $2,882.63
70         800 CRESTVIEW AVE
7100       STORY CITY, IA 50248                               (1046-1) Invested Money with SBM Certificate Co.




1047       SUSIE GRAHAM                       Unsecured                                                              $0.00         $2,959.96          $2,959.96
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1047-1) Account Number (last 4 digits):4166




1048       SUSIE GRAHAM                       Unsecured                                                              $0.00         $2,959.96          $2,959.96
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1048-1) Account Number (last 4 digits):4166




1049       SUSIE GRAHAM                       Unsecured                                                              $0.00         $2,171.66          $2,171.66
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1049-1) Account Number (last 4 digits):4166




1050       SUSIE GRAHAM                       Unsecured                                                              $0.00         $2,171.66          $2,171.66
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1050-1) Account Number (last 4 digits):4166




1051       SUSIE GRAHAM                       Unsecured                                                              $0.00         $5,241.07          $5,241.07
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1051-1) Account Number (last 4 digits):4166




1052       SUSIE GRAHAM                       Unsecured                                                              $0.00         $5,241.07          $5,241.07
70         41083 258TH STREET
7100       MITCHELL, SD 57301                                 (1052-1) Account Number (last 4 digits):4166




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1053       EILTS RANDALL                      Unsecured                                                            $0.00          $8,034.93          $8,034.93
70         621 ONYX
7100       AMES, IA 50010                                     (1053-1) SBM Certificate No. 211956(1053-2) SBM Certificate No. 211956




1054       EILTS RANDALL                      Unsecured                                                            $0.00          $3,985.99          $3,985.99
70         621 ONYX
7100       AMES, IA 50010                                     (1054-1) SBM Certificate No. 211960(1054-2) SBM Certificate No. 211960




1055       GERTIE BRUNS (DATE OF              Unsecured                                                            $0.00         $10,302.30         $10,302.30
70         DEATH 10-24-2
7100       Transfer on Death to LeRoy Bruns                   (1055-1) Account Number (last 4 digits):8028
           Karen Thomas, Jerry Bruns and
           Allen
           Bruns
           32 Cathrine Lane
           Lake Crystal, MN 56055
1056       GERTIE BRUNS (DATE OF              Unsecured                                                            $0.00         $40,862.98         $40,862.98
70         DEATH 10-24-2
7100       Transfer on Death to LeRoy Bruns                   (1056-1) Account Number (last 4 digits):8028
           Karen Thomas, Jerry Bruns and
           Allen
           Bruns
           32 Cathrine Lane
           Lake Crystal, MN 56055
1057       DOUGLAS URBAN                      Unsecured                                                            $0.00          $5,428.00          $5,428.00
70         531 Dakota Ave. North
7100       Huron, SD 57350                                    (1057-1) Account Number (last 4 digits):4490




1058       DOUGLAS URBAN                      Unsecured                                                            $0.00          $9,104.00          $9,104.00
70         531 Dakota Ave. North
7100       Huron, SD 57350                                    (1058-1) Account Number (last 4 digits):1497




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1059       RONA URBAN                         Unsecured                                                              $0.00         $5,428.00          $5,428.00
70         531 Dakota Ave. North
7100       Huron, SD 57350                                    (1059-1) Account Number (last 4 digits):4491




1060       RONA URBAN                         Unsecured                                                              $0.00         $9,104.00          $9,104.00
70         531 Dakota Ave. North
7100       Huron, SD 57350                                    (1060-1) Account Number (last 4 digits):1496




1061       GLADYS D. SCHILLING TOD            Unsecured                                                              $0.00        $12,610.00         $12,610.00
70         1251 Arizona S.W.
7100       APT. 20                                            (1061-1) Account Number (last 4 digits):9854
           Huron, SD 57350




1062       GLADYS D. SCHILLING TOD            Unsecured                                                              $0.00        $10,780.00         $10,780.00
70         1251 Arizona S.W.
7100       APT. 20                                            (1062-1) Account Number (last 4 digits):0344
           Huron, SD 57350




1063       BODE LILLIAN                       Unsecured                                                              $0.00        $20,441.44         $20,441.44
70         712 MAIN
7100       COURTLAND, MN 56021                                (1063-1) SBM Certificate Co. 210875




1064       LEONARD DONAHUE TRUST              Unsecured                                                              $0.00         $1,288.25          $1,288.25
70         617 5th N St
7100       New Ulm, MN 56073                                  (1064-1) SBM Certificate Co. 211407




1065       ELTON AND MARVEL                   Unsecured                                                              $0.00        $25,370.33         $25,370.33
70         VORWERK
7100       1000 1ST ST SE, #4                                 (1065-1) Invested Money with SBM Certificate Co.
           FAIRFAX, MN 55332




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1066       HIMES CHERYLE                      Unsecured                                                          $0.00         $3,522.05          $3,522.05
70         319 Elm Street, #3
7100       Manning, IA 51455-1069                             (1066-1) Investment Certificate Owner




1067       COLLEEN TALLMAN                    Unsecured                                                          $0.00         $8,614.82          $8,614.82
70         1650 Maple
7100       Guthrie Center, IA 50115                           (1067-1) Investment Certificate Owner




1068       JAKEL LORRAINE                     Unsecured                                                          $0.00         $7,655.25          $7,655.25
70         318 Chickasaw St
7100       Nashua, IA 50658                                   (1068-1) SBM Certificate No.




1069       COTA LOUIS                         Unsecured                                                          $0.00        $15,600.63         $15,600.63
70         507 7TH ST
7100       MASON CITY, IA 50401                               (1069-1) SBM Certificate No.




1070       COTA LOUIS                         Unsecured                                                          $0.00        $74,080.86         $74,080.86
70         507 7TH ST
7100       MASON CITY, IA 50401                               (1070-1) SBM Certificate No.




1071       COTA LOUIS                         Unsecured                                                          $0.00         $4,469.19          $4,469.19
70         504 7TH STREET SE
7100       MASON CITY, IA 50401                               (1071-1) SBM Certificate No.




1072       COTA LOUIS                         Unsecured                                                          $0.00        $16,849.85         $16,849.85
70         504 7TH STREET SE
7100       MASON CITY, IA 50401                               (1072-1) SBM Certificate No.




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1073       COTA LOUIS                         Unsecured                                                              $0.00        $15,599.71         $15,599.71
70         504 7TH STREET SE
7100       MASON CITY, IA 50401                               (1073-1) SBM Certificate No.




1074       COTA LOUIS                         Unsecured                                                              $0.00         $4,312.37          $4,312.37
70         504 7TH STREET SE
7100       MASON CITY, IA 50401                               (1074-1) SBM Certificate No.




1075       PAM BAIRD                          Unsecured                                                              $0.00        $28,450.00         $28,450.00
70         628 GRANT STREET
7100       FORT ATKINSON, WI 53538                            (1075-1) Investment Purchased




1076       PAM BAIRD                          Unsecured                                                              $0.00        $27,670.00         $27,670.00
70         628 GRANT STREET
7100       FORT ATKINSON, WI 53538                            (1076-1) Investment Purchased




1077       PAM BAIRD                          Unsecured                                                              $0.00        $27,995.00         $27,995.00
70         628 GRANT STREET
7100       FORT ATKINSON, WI 53538                            (1077-1) Investment Purchased




1078       PAM BAIRD                          Unsecured                                                              $0.00        $27,085.00         $27,085.00
70         628 GRANT STREET
7100       FORT ATKINSON, WI 53538                            (1078-1) Investment Purchased




1079       LAVALLEY DAVID                     Unsecured                                                              $0.00        $12,900.67         $12,900.67
70         6232 E 24TH STREET
7100       TUCSON, AZ 85711                                   (1079-1) Invested Money with SBM Certificate Co.




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1080       THOMAS W. ARRAS                    Unsecured                                                              $0.00        $15,387.30         $15,387.30
70         521 Bayberry Lane
7100       Slinger, WI 53086                                  (1080-1) SBM Certificate No. 211071(1080-2) SBM Certificate No. 211071




1081       STADICK DELROSE                    Unsecured                                                              $0.00         $3,483.73          $3,483.73
70         1521 N MINNESOTA ST
7100       NEW ULM, MN 56073                                  (1081-1) SBM Certificate No. 203702




1082       WEDEMEIER GARRETT                  Unsecured                                                              $0.00         $3,528.06          $3,528.06
70         223 BROADMORE RD NW
7100       CEDAR RAPIDS, IA 52405                             (1082-1) Invested Money with SBM Certificate Co.




1083       LOUIS F. COSTA                     Unsecured                                                              $0.00        $15,600.63         $15,600.63
70         507 7th St.
7100       Mason City, IA 50401                               (1083-1) Certificate




1084       LOUIS F. COSTA                     Unsecured                                                              $0.00        $15,599.71         $15,599.71
70         507 7th St.
7100       Mason City, IA 50401                               (1084-1) Certificate




1085       LOUIS F. COSTA                     Unsecured                                                              $0.00         $4,312.37          $4,312.37
70         507 7th St.
7100       Mason City, IA 50401                               (1085-1) Certificate




1086       LOUIS F. COSTA                     Unsecured                                                              $0.00        $16,849.85         $16,849.85
70         507 7th St.
7100       Mason City, IA 50401                               (1086-1) Claim




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
1087       LOUIS F. COSTA                     Unsecured                                               $0.00         $4,469.19          $4,469.19
70         507 7th St.
7100       Mason City, IA 50401                               (1087-1) Certificate




1088       LOUIS F. COSTA                     Unsecured                                               $0.00        $74,080.36         $74,080.36
70         507 7th St.
7100       Mason City, IA 50401                               (1088-1) Certificate




1089       MILLER GEORGE                      Unsecured                                               $0.00        $16,437.16         $16,437.16
70         1820 S LAKE IRVING DRIVE
7100       BEMIDJI, MN 56601                                  (1089-1) Certificate




1090       GIEFER RONALD                      Unsecured                                               $0.00        $10,979.78         $10,979.78
70         48388 FORT RD
7100       NICOLLET, MN 56074                                 (1090-1) Certificate




1091       BETSY S AND BEN PIESER             Unsecured                                               $0.00        $13,656.76         $13,656.76
70         JTWROS
7100       16 N GERMAN STREET                                 (1091-1) Certificate
           NEW ULM, MN 56073




1092       PHILIP LENDT                       Unsecured                                               $0.00        $10,837.74         $10,837.74
70         1625 N Washington
7100       New Ulm, MN 56073                                  (1092-1) Certificate




1093       PHILIP LENDT                       Unsecured                                               $0.00         $6,435.20          $6,435.20
70         1625 N Washington
7100       New Ulm, MN 56073                                  (1093-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled              Claimed            Allowed
1094       PHILIP LENDT                       Unsecured                                                             $0.00             $9,017.74          $9,017.74
70         1625 N Washington
7100       New Ulm, MN 56073                                  (1094-1) Certificate




1095       KUCK JOHN                          Unsecured                                                                 $0.00        $54,575.74         $54,575.74
70         13864 COUNTY ROAD 25
7100       NEW ULM, MN 56073                                  (1095-1) Certificate




1096       KUCK JOHN                          Unsecured                                                                 $0.00        $52,288.36         $52,288.36
70         13864 COUNTY ROAD 25
7100       NEW ULM, MN 56073                                  (1096-1) Certificate




1097       JENSEN JOANN                       Unsecured                                                                 $0.00         $8,861.94          $8,861.94
70         1220 ALDRICH AVE
7100       BOONE, IA 50036                                    (1097-1) Certificate




1098       JENSEN JOANN                       Unsecured                                                                 $0.00         $9,890.12          $9,890.12
70         1220 ALDRICH AVE
7100       BOONE, IA 50036                                    (1098-1) Certificate(1098-2) SBM Certificate No. 212010




1099       JENSEN JOANN                       Unsecured                                                                 $0.00         $8,886.38          $8,886.38
70         1220 ALDRICH AVE
7100       BOONE, IA 50036                                    (1099-1) Certificate(1099-2) SBM Certificate No. 212008




1100       JENSEN JOANN                       Unsecured                                                                 $0.00        $10,435.20         $10,435.20
70         1220 ALDRICH AVE
7100       BOONE, IA 50036                                    (1100-1) Certificate(1100-2) SBM Certificate No. 212011




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
1101       MARQUARD MARY                      Unsecured                                               $0.00         $3,802.65          $3,802.65
70         215 S FEDERAL STREET
7100       HAMPTON, IA 50441                                  (1101-1) Roth IRA




1102       MEAD NELDA                         Unsecured                                               $0.00       $285,663.71        $285,663.71
70         PO BOX 137
7100       CENTER JUNCTION, IA 52212                          (1102-1) Certificate




1103       CUMMINGS DONALD                    Unsecured                                               $0.00         $2,649.86          $2,649.86
70         608 LIBSON ST
7100       PLEASANTVILLE, IA 50225                            (1103-1) Certificate




1104       HUSTED CONNIE                      Unsecured                                               $0.00         $2,857.37          $2,857.37
70         1165 HWY 14
7100       KNOXVILLE, IA 50138                                (1104-1) Certificate




1105       HUSTED CONNIE                      Unsecured                                               $0.00         $2,624.40          $2,624.40
70         1165 HWY 14
7100       KNOXVILLE, IA 50138                                (1105-1) Certificate




1106       CUMMINGS LARRY                     Unsecured                                               $0.00         $2,649.86          $2,649.86
70         657 NEVADA ST
7100       KNOXVILLE, IA 50138                                (1106-1) Certificate




1107       CUMMINGS LARRY                     Unsecured                                               $0.00         $2,882.63          $2,882.63
70         657 NEVADA ST
7100       KNOXVILLE, IA 50138                                (1107-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
1108       CUMMINGS DONALD                    Unsecured                                               $0.00         $2,882.63          $2,882.63
70         608 LIBSON ST
7100       PLEASANTVILLE, IA 50225                            (1108-1) Certificate




1109       HILL DEBRA                         Unsecured                                               $0.00         $5,758.92          $5,758.92
70         264 NW GEORGETOWN BLVD
7100       ANKENY, IA 50021                                   (1109-1) Certificate




1110       BEHRENS CAROL                      Unsecured                                               $0.00         $7,200.31          $7,200.31
70         1300 N PAYNE ST
7100       NEW ULM, MN 56073                                  (1110-1) Certificate




1111       BEHRENS CAROL                      Unsecured                                               $0.00         $6,766.80          $6,766.80
70         1300 N PAYNE ST
7100       NEW ULM, MN 56073                                  (1111-1) Certificate




1112       BOENDER GERALD                     Unsecured                                               $0.00        $17,566.05         $17,566.05
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1112-1) Certificate




1113       BOENDER GERALD                     Unsecured                                               $0.00        $17,566.05         $17,566.05
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1113-1) Certificate




1114       BOENDER GERALD                     Unsecured                                               $0.00        $18,910.48         $18,910.48
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1114-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
1115       BOENDER GERALD                     Unsecured                                               $0.00        $16,904.14         $16,904.14
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1115-1) Certificate




1116       BOENDER GERALD                     Unsecured                                               $0.00        $25,655.33         $25,655.33
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1116-1) Certificate




1117       BOENDER GERALD                     Unsecured                                               $0.00        $25,655.33         $25,655.33
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1117-1) Certificate




1118       BOENDER GERALD                     Unsecured                                               $0.00        $76,966.00         $76,966.00
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1118-1) Certificate




1119       BOENDER GERALD                     Unsecured                                               $0.00        $76,966.00         $76,966.00
70         1287 702ND AVENUE
7100       EDDYVILLE, IA 52553                                (1119-1) Certificate




1120       DALEIDEN ARCHIE                    Unsecured                                               $0.00        $15,742.77         $15,742.77
70         17 LINCOLN LANE
7100       NEW ULM, MN 56073                                  (1120-1) Certificate




1121       DALEIDEN ARCHIE                    Unsecured                                               $0.00        $21,165.08         $21,165.08
70         17 LINCOLN LANE
7100       NEW ULM, MN 56073                                  (1121-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                  Scheduled          Claimed            Allowed
1122       FENSKE SHIRLEY                     Unsecured                                                  $0.00        $18,190.63         $18,190.63
70         1115 SOUTH BROADWAY
7100       NEW ULM, MN 56073                                  (1122-1) Certificate




1123       FENSKE SHIRLEY                     Unsecured                                                  $0.00         $6,216.63          $6,216.63
70         1115 SOUTH BROADWAY
7100       NEW ULM, MN 56073                                  (1123-1) Certificate




1124       ARNOLD MEYER                       Unsecured                                                  $0.00        $47,239.99         $47,239.99
70         RR 1 Box 29
7100       Gibbon, MN 55335                                   (1124-1) Certificate




1125       HELGET DELORES                     Unsecured                                                  $0.00         $8,667.29          $8,667.29
70         1408 SOUTH WASHINGTON
7100       NEW ULM, MN 56073                                  (1125-1) Certificate




1126       WEILAGE JAMES                      Unsecured                                                  $0.00        $14,831.56         $14,831.56
70         c/o Lori K. Weiss
7100       26998 James DR                                     (1126-1) Certificate(1126-2) Certificate(1126-3) Certificate
           Sleepy Eye, MN 56085                               (1126-2) CERTIFICATE OF DEATH FOR JAMES GERALD WEILAGE(1126-3) CERTIFICATE OF
                                                              DEATH FOR JAMES GERALD WEILAGE




1127       WEBER DONNA                        Unsecured                                                  $0.00        $16,004.71         $16,004.71
70         416 SOUTH WASHINGTON
7100       NEW ULM, MN 56073                                  (1127-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled          Claimed            Allowed
1128       GIEFER MARY                        Unsecured                                                            $0.00        $12,865.50         $12,865.50
70         PO BOX 143
7100       NICOLLET, MN 56074                                 (1128-1) Certificate




1129       DOROTHEA W. PAUL                   Unsecured                                                            $0.00        $16,044.75         $16,044.75
70         71725 360th Street
7100       Morton, MN 56270                                   (1129-1) Certificate




1130       RATHMANN LARRY                     Unsecured                                                            $0.00        $12,535.64         $12,535.64
70         1017 2ND SOUTH
7100       NEW ULM, MN 56073                                  (1130-1) Certificate




1131       JAMES WESTLAKE                     Unsecured                                                            $0.00        $38,538.59         $38,538.59
70         BOX 34
7100       LONE TREE, IA 52755                                (1131-1) Certificate




1132       FETZER DONALD                      Unsecured                                                            $0.00         $5,055.14          $5,055.14
70         2200 U AVENUE
7100       WILLIAMSBURG, IA 52361                             (1132-1) Certificate(1132-2) Certificate No. 20096
                                                              (1132-2) AMENDED TO ADD SIGNATURE PAGE




1133       RAYMOND CHERRY                     Unsecured                                                            $0.00         $5,819.53          $5,819.53
70         Box 105
7100       Troy Mills, IA 52344                               (1133-1) Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1134       ALEXANDER VANCE                    Unsecured                                                              $0.00        $16,675.97         $16,675.97
70         PO BOX 372
7100       NEW SHARON, IA 50207                               (1134-1) Certificate




1135       SCHERER BRENDA                     Unsecured                                                              $0.00         $8,131.83          $8,131.83
70         66539 270TH STREET
7100       GIBBON, MN 55335                                   (1135-1) Certificate




1136       RUCKHEIM DAVID                     Unsecured                                                              $0.00        $14,000.97         $14,000.97
70         52107 100TH STREET
7100       PARKERS PRAIRIE, MN 56361                          (1136-1) Certificate




1137       DALLMANN LAURI                     Unsecured                                                              $0.00        $20,295.83         $20,295.83
70         P O BOX 592
7100       WINTHROP, MN 55396                                 (1137-1) Certificate(1137-2) Certificate
                                                              (1137-2) AMENDED TO INCLUDE SIGNATURE PAGE




1138       SAVOY BRUCE                        Unsecured                                                              $0.00         $3,711.08          $3,711.08
70         41504 593RD AVENUE
7100       NEW ULM, MN 56073                                  (1138-1) Purchase of SBM Certificate held in IRA




1139       SAVOY LINDA                        Unsecured                                                              $0.00         $3,711.08          $3,711.08
70         41504 593RD AVENUE
7100       NEW ULM, MN 56073                                  (1139-1) Purchase of SBM Certificate held in IRA




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1140       DAVID BOZENA                       Unsecured                                                        $0.00        $19,499.66         $19,499.66
70         607 5TH AVENUE SE
7100       STEWARTVILLE, MN 55976                             (1140-1) SBM Certificate No. 210846




1141       SYVERSON CARLYLE                   Unsecured                                                        $0.00         $1,610.31          $1,610.31
70         1610 Sunset Ave., Apt 145
7100       New Ulm, MN 56073                                  (1141-1) SBM Certificate No. 211370




1142       SYVERSON GARY                      Unsecured                                                        $0.00         $1,610.31          $1,610.31
70         209 S Payne St
7100       New Ulm, MN 56073                                  (1142-1) SBM Certificate No. 211370




1143       VANDEVOORT MICHAEL                 Unsecured                                                        $0.00         $7,471.32          $7,471.32
70         19641 BIRDSLEY RD
7100       COUNCIL BLUFFS, IA 51503                           (1143-1) SBM Certificate No. 204482




1144       WEGNER KAREN                       Unsecured                                                        $0.00         $4,834.70          $4,834.70
70         8159 MAPLE LANE NORTH
7100       MAPLE GROVE, MN 55311                              (1144-1) Certificate Investor IRA




1145       WEGNER CLAYTON                     Unsecured                                                        $0.00         $4,834.70          $4,834.70
70         8159 MAPLE LANE NORTH
7100       MAPLE GROVE, MN 55311                              (1145-1) Certificate Investor IRA




1146       PETERSEN EULA                      Unsecured                                                        $0.00        $14,408.59         $14,408.59
70         218 N East 2nd St
7100       PO BOX 104                                         (1146-1) SBM Certificate No. 204312
           NEWELL, IA 50568




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1147       DANIELS ETHEL                      Unsecured                                                        $0.00         $5,458.39          $5,458.39
70         602 Kenyon Road
7100       #4215                                              (1147-1) SBM Certificate No. 205096
           Fort Dodge, IA 50501




1148       ETHEL L. DANIELS                   Unsecured                                                        $0.00         $8,805.12          $8,805.12
70         c/o Jane Richter, POA
7100       1015 Messiah Drive                                 (1148-1) SBM Certificate No. 210864
           Burlington, IA 52601




1149       DANIELS ETHEL                      Unsecured                                                        $0.00         $2,802.00          $2,802.00
70         602 Kenyon Road
7100       #4215                                              (1149-1) SBM Certificate No. 208271
           Fort Dodge, IA 50501




1150       RICHARD AND SANDRA                 Unsecured                                                        $0.00        $42,163.41         $42,163.41
70         YOUNG
7100       1390 MABEN AVENUE                                  (1150-1) SBM Certificate No. 210888
           GARNER, IA 50438




1151       RICHARD AND SANDRA                 Unsecured                                                        $0.00        $16,250.82         $16,250.82
70         YOUNG
7100       1390 MABEN AVENUE                                  (1151-1) SBM Certificate No. 205759
           GARNER, IA 50438




1152       PRESTON HELEN                      Unsecured                                                        $0.00        $63,094.00         $63,094.00
70         c/o Robert Preston
7100       2053 Lick Creek Drive                              (1152-1) Securities Owned
           Wentzville, MO 63385




1153       HAUSER GERALD                      Unsecured                                                        $0.00         $3,483.73          $3,483.73
70         19765 150th Ave
7100       NEW ULM, MN 56073                                  (1153-1) SBM Certificate No. 203702




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1154       PRESTON HELEN                      Unsecured                                                              $0.00        $63,094.00         $63,094.00
70         c/o Karen K. Preston
7100       2053 Lick Creek Drive                              (1154-1) Securities Owned
           Wentzville, MO 63385




1155       FOSS HAROLD                        Unsecured                                                              $0.00        $14,259.80         $14,259.80
70         Harold R Foss & Kathleen H. Foss
7100       c/o Chris Foss & Diane Hall,                       (1155-1) Invested Money with SBM Certificate Co.
           Trustees
           305 9th St SW
           Oelwein, IA 50662-2966


1156       ALAN V. BAKKE                      Unsecured                                                              $0.00        $41,529.07         $41,529.07
70         1450 Bay Drive
7100       Forest Lake, MN 55025                              (1156-1) SBM Certificate No. 211111(1156-2) SBM Certificate No. 211111




1157       BAKKE KATHLEEN                     Unsecured                                                              $0.00        $13,636.00         $13,636.00
70         1450 BAY DRIVE SE
7100       FOREST LAKE, MN 55025                              (1157-1) SBM Certificate No. 211752(1157-2) SBM Certificate No. 211752




1158       BAKKE KATHLEEN                     Unsecured                                                              $0.00        $10,640.00         $10,640.00
70         1450 BAY DRIVE SE
7100       FOREST LAKE, MN 55025                              (1158-1) SBM Certificate No. 211753(1158-2) SBM Certificate No. 211753




1159       EVENSON BARBARA                    Unsecured                                                              $0.00        $22,633.55         $22,633.55
70         1999 DAKOTA AVE N
7100       HURON, SD 57350                                    (1159-1) 2 IRAS 198496 and 204498




1160       CASEY RACHEL                       Unsecured                                                              $0.00         $1,574.28          $1,574.28
70         424 North 4th St
7100       LeSveir, MN 56058                                  (1160-1) SBM Certificate No. 211252




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
1161       CASEY RACHEL                       Unsecured                                                              $0.00          $1,622.63          $1,622.63
70         424 North 4th St
7100       LeSveir, MN 56058                                  (1161-1) SBM Certificate No. 211287




1162       PHYLLIS L ANDERSON                 Unsecured                                                              $0.00         $54,070.69         $54,070.69
70         4210 Colfax Ave
7100       Lincoln, NE 68504                                  (1162-1) Certificate Investor(1162-2) SBM Certificate No. 203355




1163       WRAY LINDA                         Unsecured                                                              $0.00          $1,366.01          $1,366.01
70         511 E 133 COURT
7100       THORNTON, CO 80241                                 (1163-1) SBM Certificate No. 212124




1164       WRAY LINDA                         Unsecured                                                              $0.00          $1,345.56          $1,345.56
70         511 E 133 COURT
7100       THORNTON, CO 80241                                 (1164-1) SBM Certificate No. 212119




1165       CHRISTIAN WILLARD                  Unsecured                                                              $0.00          $9,236.45          $9,236.45
70         1040 KIEWERT STREET
7100       WATERTOWN, WI 53098                                (1165-1) Investment IRA




1166       CHRISTIAN WILLARD                  Unsecured                                                              $0.00          $8,628.84          $8,628.84
70         1040 KIEWERT STREET
7100       WATERTOWN, WI 53098                                (1166-1) Investment IRA




1167       CHRISTIAN WILLARD                  Unsecured                                                              $0.00          $8,628.84          $8,628.84
70         1040 KIEWERT STREET
7100       WATERTOWN, WI 53098                                (1167-1) Investment IRA




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled             Claimed            Allowed
1168       CHRISTIAN WILLARD                  Unsecured                                                                $0.00            $9,236.45          $9,236.45
70         1040 KIEWERT STREET
7100       WATERTOWN, WI 53098                                (1168-1) Investment IRA




1169       KOHLMEYER BEVERLY                  Unsecured                                                                   $0.00         $6,281.67          $6,281.67
70         1980 Meadowlark Lane #303
7100       Huron, SD 57350                                    (1169-1) IRA Investment




1170       SHARP CLAUDIA                      Unsecured                                                                   $0.00         $2,370.02          $2,370.02
70         292 MUSE DRIVE
7100       Eldorado Hills, CA 95762                           (1170-1) Invested in Certificate with SBM Certificate Co.




1171       JOHNSON EUNICE                     Unsecured                                                                   $0.00        $21,231.92         $21,231.92
70         1000 S 9TH ST, APT 114
7100       SAINT JAMES, MN 56081                              (1171-1) SBM Certificate No. 210144




1172       GUTSHALL TIMOTHY                   Unsecured                                                                   $0.00        $78,265.39         $78,265.39
70         4021 BAYBERRY COURT
7100       URBANDALE, IA 50322                                (1172-1) Certificate Holder/Investment Certificate




1173       MARTIN KATHLEEN                    Unsecured                                                                   $0.00         $8,526.32          $8,526.32
70         PO BOX 139
7100       HATFIELD, IN 47617                                 (1173-1) Certificate Owner




1174       LEANDER L AND JANICE M             Unsecured                                                                   $0.00         $4,946.58          $4,946.58
70         SEURER JTWRO
7100       4537 COLORADO STREET                               (1174-1) Single Payment Certificate Bought
           PO Box 15
           PRIOR LAKE, MN 55372




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled              Claimed           Allowed
1176       CHRISTIAN WILLARD                  Unsecured                                                             $0.00             $6,696.82         $6,696.82
70         1040 KIEWERT STREET
7100       WATERTOWN, WI 53098                                (1176-1) Investment IRA




1177       BONNIE GOEHRING                    Unsecured                                                              $0.00           $32,907.00        $32,907.00
70         1150 Iowa S.E.
7100       Huron, SD 57350                                    (1177-1) Account Number (last 4 digits):8973




1178       BERNARD SCHLEDER                   Unsecured                                                              $0.00            $4,728.00         $4,728.00
70         c/o Sheila Roeber
7100       1141 South Dakota Hwy 26                           (1178-1) Account Number (last 4 digits):4215
           Redfield, SD 57469




1179       HELEN MAY                          Unsecured                                                              $0.00           $10,207.59        $10,207.59
70         4872 Quall Ave
7100       Stacyville, IA 50476                               (1179-1) Certificate(1179-2) Invested Money with SBM Certificate Co.




1180       BERNARD SCHLEDER                   Unsecured                                                              $0.00            $4,423.00         $4,423.00
70         c/o Sheila Roeber
7100       1141 South Dakota Hwy 26                           (1180-1) Account Number (last 4 digits):4588
           Redfield, SD 57469




1181       BERNARD SCHLEDER                   Unsecured                                                              $0.00            $4,450.00         $4,450.00
70         c/o Sheila Roeber
7100       1141 South Dakota Hwy 26                           (1181-1) Account Number (last 4 digits):5556
           Redfield, SD 57469




1182       BERNARD SCHLEDER                   Unsecured                                                              $0.00            $6,134.00         $6,134.00
70         c/o Sheila Roeber
7100       1141 South Dakota Hwy 26                           (1182-1) Account Number (last 4 digits):8022
           Redfield, SD 57469




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1183       BERNARD SCHLEDER                   Unsecured                                                            $0.00          $8,557.00          $8,557.00
70         c/o Sheila Roeber
7100       1141 South Dakota Hwy 26                           (1183-1) Account Number (last 4 digits):9798
           Redfield, SD 57469




1184       TAMASSEE DAUGHTERS OF              Unsecured                                                            $0.00         $11,322.34         $11,322.34
70         THE
7100       American Revolution School                         (1184-1) Betty Butler Estate
           1925 Bumgardner Drive
           Tamassee, SC 29686




1185       BEEKHUIZEN MARIE                   Unsecured                                                            $0.00          $3,275.87          $3,275.87
70         c/o Marilyn Dean
7100       601 Colonial                                       (1185-1) SBM Certificate No. 211087
           Sioux Center, IA 52553




1186       ELMER V. AND ADELINE HOF           Unsecured                                                            $0.00          $1,700.93          $1,700.93
70         BERG
7100       C/O HOFFMANN DAVID                                 (1186-1) SBM Certificate No. 211470(1186-2) SBM Certificate No. 211470
           19995 200th Ave
           New Ulm, MN 56073




1187       MARY A AND KENNETH JT              Unsecured                                                            $0.00          $3,456.88          $3,456.88
70         TOD ARNOLDI
7100       P O BOX 202                                        (1187-1) SBM Certificate No. 212016
           LAMBERTON, MN 56152




1188       WINDSCHITL MARILYN                 Unsecured                                                            $0.00          $3,267.28          $3,267.28
70         40494 US HWY 14
7100       SPRINGFIELD, MN 56087                              (1188-1) SBM Certificate No. 211985




1189       MELVIN L. AND LOIS DAHLKE          Unsecured                                                            $0.00         $21,367.02         $21,367.02
70         JTWROS
7100       43980 190TH ST                                     (1189-1) SBM Certificate No. 557849
           ARLINGTON, MN 55307




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1190       VERNON AND MARSHA                  Unsecured                                                        $0.00         $4,609.01          $4,609.01
70         CHRISTENSON
7100       PO BOX 616                                         (1190-1) SBM Certificate No. 556883
           WINSTED, MN 55395




1191       LEROY AFFOLTER                     Unsecured                                                        $0.00        $24,552.10         $24,552.10
70         302 JEAN AVENUE
7100       MARSHALL, MN 56258                                 (1191-1) SBM Certificate No. 210941




1192       MONTOYA CYNTHIA                    Unsecured                                                        $0.00         $1,366.01          $1,366.01
70         9359 JACKSON ST
7100       THORNTON, CO 80229                                 (1192-1) SBM Certificate No. 212123




1193       MONTOYA CYNTHIA                    Unsecured                                                        $0.00         $1,345.56          $1,345.56
70         9359 JACKSON ST
7100       THORNTON, CO 80229                                 (1193-1) SBM Certificate No. 212118




1194       WICKHAM PATRICIA                   Unsecured                                                        $0.00        $46,919.34         $46,919.34
70         877 FORREST HOME ROAD
7100       MONTEZUMA, IA 50171                                (1194-1) SBM Certificate No. 211514




1195       WIERING AGNES                      Unsecured                                                        $0.00         $6,370.11          $6,370.11
70         2593 CTY RD 117
7100       TYLER, MN 56178                                    (1195-1) SBM Certificate No. 211350




1196       WIERING AGNES                      Unsecured                                                        $0.00         $6,826.25          $6,826.25
70         2593 CTY RD 117
7100       TYLER, MN 56178                                    (1196-1) SBM Certificate No. 211351




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1197       WIERING AGNES                      Unsecured                                                              $0.00         $7,421.66          $7,421.66
70         2593 CTY RD 117
7100       TYLER, MN 56178                                    (1197-1) SBM Certificate No. 211352




1198       WIERING AGNES                      Unsecured                                                              $0.00         $6,441.24          $6,441.24
70         2593 CTY RD 117
7100       TYLER, MN 56178                                    (1198-1) SBM Certificate No. 211353




1199       ZAMASTIL VIRGINIA                  Unsecured                                                              $0.00        $14,733.71         $14,733.71
70         Virginia L. Zamastil Trust
7100       Jane Bostian Trustee                               (1199-1) Invested Money with SBM Certificate Co.
           532 N Prairie St.
           Wapello, IA 52653




1200       OLSON DOUG                         Unsecured                                                              $0.00         $1,366.01          $1,366.01
70         1542 COOK ST
7100       DENVER, CO 80206                                   (1200-1) SBM Certificate No. 212121




1201       OLSON DOUG                         Unsecured                                                              $0.00         $1,345.56          $1,345.56
70         1542 COOK ST
7100       DENVER, CO 80206                                   (1201-1) SBM Certificate No. 212116




1202       POPPEN HAROLD                      Unsecured                                                              $0.00         $9,838.68          $9,838.68
70         1320 2ND ST
7100       BROOKINGS, SD 57006




1203       ARNOLD J. AND CAROL L. LA          Unsecured                                                              $0.00        $15,778.26         $15,778.26
70         LANG
7100       PO BOX 102                                         (1203-1) Certificate No. 205586
           COSMOS, MN 56228                                   (1203-1) CORRECTIVE ENTRY; CORRECTED CLAIM AMOUNT - MMR-9/23/2013




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1204       HELEN A. GORES                     Unsecured                                                        $0.00        $24,931.26         $24,931.26
70         c/o Susan M. Walker (signer of
7100       POC)                                               (1204-1) Certificate No. 209162
           P.O. Box 262
           Arlington, MN 55307




1205       ANNETTE TREML TOD                  Unsecured                                                        $0.00         $3,267.28          $3,267.28
70         318 ST MARY'S ST NE
7100       SLEEPY EYE, MN 56085                               (1205-1) SBM Certificate No. 211984




1206       DANIEL H. AND BARBARA H.           Unsecured                                                        $0.00         $2,802.38          $2,802.38
70         ZINS
7100       217 BIANCHI DRIVE                                  (1206-1) SBM Certificate No. 211256
           NEW ULM, MN 56073




1207       HILL KENZIE                        Unsecured                                                        $0.00        $22,259.00         $22,259.00
70         c/o Randall Hill (Custodian)
7100       709 ROYAL AVENUE                                   (1207-1) SBM Certificate No.210629
           CROOKS, SD 57020




1208       NEW ULM LEGION POST 132            Unsecured                                                        $0.00        $36,176.25         $36,176.25
70         c/o Gislason & Hunter LLP
7100       Attn: Michael S. Dove                              (1208-1) Certificate No. 202590
           P.O. Box 458
           New Ulm, MN 56073




1209       NEW ULM LEGION POST 132            Unsecured                                                        $0.00         $1,283.49          $1,283.49
70         c/o Gislason & Hunter LLP
7100       Attn: Michael S. Dove                              (1209-1) Certificate 198059
           P.O. Box 458
           New Ulm, MN 56073




1210       BEN J. SEIFERT AMERICAN            Unsecured                                                        $0.00        $12,682.03         $12,682.03
70         LEGION SCHO
7100       Scholarship                                        (1210-1) Certificate 210822
           Agency
           C/O Gislason & Hunter, LLP
           Attn: Michael S. Dove
           P.O. Box 458
           New Ulm, MN 56073
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1211       RAYMOND & ANN HILK                 Unsecured                                                             $0.00           $42,549.82          $42,549.82
70         IRREVOCABLE TRUST
7100       c/o Nancy Logelin, Trustee                         (1211-1) Certificate Investment Owner
           8925 County Road, 10E
           Waconia, MN 55387




1212       DOROTHY ERNST TRUST                Unsecured                                                              $0.00        $150,883.75         $150,883.75
70         c/o Anne Eisenzimmer, Executor
7100       21116 County Road 30                               (1212-1) Certificate Investment Owner
           Corcoran, MN 55340




1213       BOLLHOEFER HERMAN                  Unsecured                                                              $0.00          $52,301.32          $52,301.32
70         c/o Alta Bollhoefer
7100       502 Nicholas Drive                                 (1213-1) Certificate No. 1730
           Marshalltown, IA 50158




1214       HILSGEN ROSE                       Unsecured                                                              $0.00           $6,485.68           $6,485.68
70         508 7TH AVENUE NORTH
7100       COLD SPRING, MN 56320                              (1214-1) Certificate Investment Owner




1215       EISENZIMMER DONALD                 Unsecured                                                              $0.00           $5,261.53           $5,261.53
70         21116 COUNTY ROAD 30
7100       CORCORAN, MN 55340                                 (1215-1) Certificate Investment Owner




1216       MARY SUDHEIMER                     Unsecured                                                              $0.00        $209,151.16         $209,151.16
70         10525 10TH STREET
7100       WACONIA, MN 55387                                  (1216-1) Certificate Investment Owner




1217       ELIZABETH TTEE HAMMERS             Unsecured                                                              $0.00            $510.50             $510.50
70         c/o Kathleen A. Jerissen, POA
7100       949 Firesteed Ridge                                (1217-1) Certificate Investment Owner(1217-2) Certificate Investment Owner
           Waconia, MN 553887




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1218       FRANCIS HAMMERS                    Unsecured                                                             $0.00         $179,606.65         $179,606.65
70         c/o Michael Hammers, POA
7100       1558 Sunshine Circle                               (1218-1) Certificate Investment Owner(1218-2) Certificate Investment Owner
           Chaska, MN 55318




1219       BENNETT RUBY                       Unsecured                                                              $0.00           $9,266.17           $9,266.17
70         11138 Hastings Street NE
7100       Blaine, MN 55449                                   (1219-1) Certificate Investment Owner




1220       PATRICIA SMITH WELLES              Unsecured                                                              $0.00            $217.78             $217.78
70         1810 Jefferson Avenue
7100       St. Paul, MN 55105                                 (1220-1) Certificate Investor - Beneficiary




1221       BERG LEANDER                       Unsecured                                                              $0.00           $1,700.93           $1,700.93
70         117 BURNSIDE SE
7100       SLEEPY EYE, MN 56084                               (1221-1) SBM Certificate No. 211470




1222       BERG GEORGE                        Unsecured                                                              $0.00           $1,700.93           $1,700.93
70         1109 S STATE ST
7100       NEW ULM, MN 56073                                  (1222-1) SBM Certificate No. 211470




1223       RIEKE FLORENCE                     Unsecured                                                              $0.00          $16,743.85          $16,743.85
70         11 Park St., N
7100       Apt. 314                                           (1223-1) SBM Certificate No. 202924
           FAIRFAX, MN 55332-3137




1224       CARLA SMITH LIEBICH                Unsecured                                                              $0.00            $217.78             $217.78
70         6136 115th Avenue
7100       Kenosha, WI 53142                                  (1224-1) Certificate Investor - Beneficiary




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Code #     Creditor Name And Address          Claim Class     Notes                                                  Scheduled          Claimed            Allowed
1225       ALTON AND DOROTHY                  Unsecured                                                                  $0.00        $13,083.91         $13,083.91
70         BECKWITH
7100       120 TETON LANE                                     (1225-1) Invested Money with SBM Certificate Co.
           MANKATO, MN 56003




1226       WOLF DARLENE                       Unsecured                                                                  $0.00         $4,698.79          $4,698.79
70         12956 MAIN STREET
7100       SEARLES, MN 56073                                  (1226-1) SBM Certificate No. 211025




1227       DARWIN SIBELL                      Unsecured                                                                  $0.00        $21,672.00         $21,672.00
70         20826 Eagle Drive
7100       Osakis, MN 56360                                   (1227-1) Certificate Investor - Beneficiary




1228       WILLIAM J. HUNDERTMARK             Unsecured                                                                  $0.00         $5,880.09          $5,880.09
70         5470 144th Street W
7100       Apple Valley, MN 55124                             (1228-1) Certificate Investor - Beneficiary 510065-1




1229       GLORIA EPEMA LIVING                Unsecured                                                                  $0.00        $71,915.42         $71,915.42
70         TRUST
7100       6601 Highway 71 South                              (1229-1) SBM Certificate No. 208740
           Willmar, MN 56201




1230       CHRISTINE A. JUHNKE                Unsecured                                                                  $0.00         $2,255.60          $2,255.60
70         2201 N Broadway #88
7100       New Ulm, MN 56073                                  (1230-1) SBM Certificate No. 211147




1231       CHRISTINE A. JUHNKE                Unsecured                                                                  $0.00         $2,400.10          $2,400.10
70         2201 N Broadway #88
7100       New Ulm, MN 56073                                  (1231-1) SBM Certificate No. 211391




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled             Claimed             Allowed
1232       CHRISTINE A. JUHNKE                Unsecured                                                             $0.00               $0.00                $0.00
70         2201 N Broadway #88
7100       New Ulm, MN 56073                                  (1232-1) SBM Certificate No. 211147
                                                              (1232-1) CORRECTIVE ENTRY: DISREGARD, INCORRECT CREDITOR, SEE CLAIM 1233 FOR
                                                              THE CORRECT ENTRY




1233       JUHNKE GREGG                       Unsecured                                                              $0.00           $2,255.60           $2,255.60
70         2201 N Broadway #88
7100       New Ulm, MN 56073                                  (1233-1) SBM Certificate No. 211147




1234       JUHNKE GREGG                       Unsecured                                                              $0.00           $2,400.10           $2,400.10
70         2201 N Broadway #88
7100       New Ulm, MN 56073                                  (1234-1) SBM Certificate No. 211391




1235       JUHNKE TIMOTHY                     Unsecured                                                              $0.00           $2,400.10           $2,400.10
70         14975 County Road 114
7100       Hanska, MN 56041                                   (1235-1) SBM Certificate No. 211391




1236       JUHNKE TIMOTHY                     Unsecured                                                              $0.00           $2,255.60           $2,255.60
70         14975 County Road 114
7100       Hanska, MN 56041                                   (1236-1) SBM Certificate No. 211147




1237       RONALD WOOLRIDGE                   Unsecured                                                              $0.00         $41,891.17          $41,891.17
70         414 S. Howard St.
7100       Newell, IA 50568                                   (1237-1) Account Number (last 4 digits):0397 (1237-2) Account Number (last 4 digits):0397 (1237-3)
                                                              Account Number (last 4 digits):0397




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled          Claimed            Allowed
1238       DOROTHY EARHART                    Unsecured                                                           $0.00        $16,888.07         $16,888.07
70         820 Santa Vera Drive
7100       Apt. 303                                           (1238-1) Investment Certificate
           Chanhassen, MN 55317




1239       DOROTHY EARHART                    Unsecured                                                           $0.00        $16,263.64         $16,263.64
70         820 Santa Vera Drive
7100       Apt. 303                                           (1239-1) Investment Certificate
           Chanhassen, MN 55317




1240       DOROTHY EARHART                    Unsecured                                                           $0.00        $43,843.03         $43,843.03
70         820 Santa Vera Drive
7100       Apt. 303                                           (1240-1) Investment Certificate
           Chanhassen, MN 55317




1241       HAGEN LAURA LEE                    Unsecured                                                           $0.00           $467.70           $467.70
70         2823 Woodridge Lane
7100       Waukesha, WI 53188                                 (1241-1) SBM Certificate No. 211109




1242       SCHNOBRICH RONALD                  Unsecured                                                           $0.00         $3,494.13          $3,494.13
70         500 N FRANKLIN
7100       NEW ULM, MN 56073                                  (1242-1) Roth - IRA 211495




1243       SCHNOBRICH RONALD                  Unsecured                                                           $0.00         $5,285.77          $5,285.77
70         500 N FRANKLIN
7100       NEW ULM, MN 56073                                  (1243-1) Roth - IRA 211494




1244       SCHNOBRICH RONALD                  Unsecured                                                           $0.00        $52,515.16         $52,515.16
70         500 N FRANKLIN
7100       NEW ULM, MN 56073                                  (1244-1) Investment Certificate 211889




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1245       HAGEN LAURA LEE                    Unsecured                                                              $0.00         $1,024.76          $1,024.76
70         2823 Woodridge Lane
7100       Waukesha, WI 53188                                 (1245-1) SBM Certificate No. 198166




1246       KROGSTAD KATHLEEN                  Unsecured                                                              $0.00         $5,853.39          $5,853.39
70         413 N FULTON
7100       NEWELL, IA 50568                                   (1246-1) SBM Certificate No. 212111




1247       SHEARER JAMES                      Unsecured                                                              $0.00        $15,727.14         $15,727.14
70         Julia A. Black
7100       212 Roberta Dr.                                    (1247-1) Invested Money with SBM Certificate Co.
           Greenville, SC 29615




1248       PANKONIN SHARON                    Unsecured                                                              $0.00        $26,057.95         $26,057.95
70         P O BOX 304
7100       SANBORN, MN 56083                                  (1248-1) SBM Certificate No. 210217




1249       HONKEN SUSAN                       Unsecured                                                              $0.00        $17,280.26         $17,280.26
70         12440 105TH AVENUE SW
7100       RAYMOND, MN 56282                                  (1249-1) SBM Certificate No. 198583




1250       HONKEN SUSAN                       Unsecured                                                              $0.00        $44,123.90         $44,123.90
70         12440 105TH AVENUE SW
7100       RAYMOND, MN 56282                                  (1250-1) SBM Certificate No. 211493




1251       DAVIS DONNA                        Unsecured                                                              $0.00        $12,092.28         $12,092.28
70         920 TITUS AVE
7100       DES MOINES, IA 50315                               (1251-1) Certificate Investment Owner




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Code #     Creditor Name And Address          Claim Class     Notes                                             Scheduled            Claimed             Allowed
1252       SHIRLENE ALBRECHT                  Unsecured                                                             $0.00          $42,000.00          $42,000.00
70         132 19TH AVENUE NORTH
7100       SOUTH SAINT PAUL, MN                               (1252-1) SBM Certificate No. 211206(1252-2) SBM Certificate No. 211206
           55075




1253       VANENGELENBURG GARY                Unsecured                                                              $0.00          $3,319.41           $3,319.41
70         14843 130th Ave
7100       Indianola, IA 50125                                (1253-1) Investment Certificate Holder(1253-2) SBM Certificate No. 211909




1254       NICEWARNER ARDIS                   Unsecured                                                              $0.00          $8,182.29           $8,182.29
70         509 2ND AVENUE NW
7100       PO BOX 412                                         (1254-1) SBM Certificate No. 211688
           ROCKFORD, IA 50468




1255       HARDER LISA                        Unsecured                                                              $0.00          $1,574.28           $1,574.28
70         P.O. Box 151
7100       Henderson, MN 56044                                (1255-1) SBM Certificate No. 211251




1256       HARDER LISA                        Unsecured                                                              $0.00          $1,797.53           $1,797.53
70         P.O. Box 151
7100       Henderson, MN 56044                                (1256-1) SBM Certificate No. 211288




1257       VANENGELENBURG                     Unsecured                                                              $0.00         $17,698.75          $17,698.75
70         VICTORIA
7100       14843 130th Ave                                    (1257-1) Investment Certificate Holder
           Indianola, IA 50125




1258       VANENGELENBURG                     Unsecured                                                              $0.00         $18,106.35          $18,106.35
70         VICTORIA
7100       14843 130th Ave                                    (1258-1) Investment Certificate Holder
           Indianola, IA 50125




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1259       REHDER RANDY                       Unsecured                                                              $0.00         $3,370.90          $3,370.90
70         4134 CARIBBEAN ST
7100       OXNARD, CA 93035                                   (1259-1) SBM Certificate No. 209979




1260       KAREN BELL                         Unsecured                                                              $0.00           $217.78           $217.78
70         111 E Kellogg Blvd #1708
7100       St Paul, MN 55101                                  (1260-1) Certificate Investor - Beneficiary




1261       VOSS EVELYN                        Unsecured                                                              $0.00         $6,446.58          $6,446.58
70         BOX 187
7100       LEWISVILLE, MN 56060                               (1261-1) SBM Certificate No. 205877




1262       POSTEL DOROTHY                     Unsecured                                                              $0.00        $38,392.69         $38,392.69
70         917 1ST NORTH
7100       NEW ULM, MN 56073                                  (1262-1) Invested Money with SBM Certificate Co.




1263       JANET BARTELT                      Unsecured                                                              $0.00        $28,214.29         $28,214.29
70         3506 SW 12TH STREET PLACE
7100       DES MOINES, IA 50315                               (1263-1) SBM Certificate No. 211012




1264       JANET BARTELT                      Unsecured                                                              $0.00        $30,169.51         $30,169.51
70         3506 SW 12TH STREET PLACE
7100       DES MOINES, IA 50315                               (1264-1) SBM Certificate No. 210885




1265       JANET BARTELT                      Unsecured                                                              $0.00        $22,019.98         $22,019.98
70         3506 SW 12TH STREET PLACE
7100       DES MOINES, IA 50315                               (1265-1) SBM Certificate No. 210884




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1266       JANET BARTELT                      Unsecured                                                          $0.00        $18,178.71         $18,178.71
70         3506 SW 12TH STREET PLACE
7100       DES MOINES, IA 50315                               (1266-1) SBM Certificate No. 209265




1267       JANET BARTELT                      Unsecured                                                          $0.00        $19,085.28         $19,085.28
70         3506 SW 12TH STREET PLACE
7100       DES MOINES, IA 50315                               (1267-1) SBM Certificate No. 200767




1268       CARLSON NOLA                       Unsecured                                                          $0.00        $38,819.21         $38,819.21
70         c/o Donald H. Molstad
7100       701 Pierce St., Ste. 305
           Sioux City, IA 51101


1269       THOMAS J AND SHARON K              Unsecured                                                          $0.00         $8,188.62          $8,188.62
70         MAGES
7100       20637 STATE HWY 15                                 (1269-1) SBM Certificate No. 211126
           NEW ULM, MN 56073




1270       WALTER NICK, III                   Unsecured                                                          $0.00           $580.04           $580.04
70         943 SIERRA LANE
7100       ST CLOUD, MN 56303                                 (1270-1) SBM Certificate No. 203702




1271       WALTER NICK, III                   Unsecured                                                          $0.00         $1,741.87          $1,741.87
70         943 SIERRA LANE
7100       ST CLOUD, MN 56303                                 (1271-1) SBM Certificate No. 203702




1272       CELESTE A. RUSCONI                 Unsecured                                                          $0.00        $61,061.17         $61,061.17
70         3596 Scheel Drive
7100       Ellicott City, MD 21042-1230                       (1272-1) Money Loaned Investment Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1273       DOMEIER GARY                       Unsecured                                                          $0.00       $158,730.96        $158,730.96
70         19591 GRANDVIEW ROAD
7100       NEW ULM, MN 56073                                  (1273-1) Monies Invested




1274       JUANITA ANN COLBENSON              Unsecured                                                          $0.00         $3,619.00          $3,619.00
70         26355 240th Ave
7100       Holcombe, WI 54701                                 (1274-1) Account Number (last 4 digits):1699




1275       SPRATT ROSEMARY                    Unsecured                                                          $0.00         $1,438.50          $1,438.50
70         1105 PROSPECT
7100       WEBSTER CITY, IA 50595                             (1275-1) SBM Certificate No. 211997




1276       ELMER AURAND                       Unsecured                                                          $0.00         $8,768.61          $8,768.61
70         1801 20TH ST, APT B14
7100       AMES, IA 50010                                     (1276-1) SBM Certificate No. 210862




1277       CARLSON WILLIAM                    Unsecured                                                          $0.00         $9,008.36          $9,008.36
70         1502 LITTLE BLUE STEM
7100       COURT                                              (1277-1) SBM Certificate No. 204607
           AMES, IA 50014




1278       SPRATT ROSEMARY                    Unsecured                                                          $0.00         $1,472.12          $1,472.12
70         1105 PROSPECT
7100       WEBSTER CITY, IA 50595                             (1278-1) SBM Certificate No. 211998




1279       SPRATT ROSEMARY                    Unsecured                                                          $0.00         $1,728.64          $1,728.64
70         1105 PROSPECT
7100       WEBSTER CITY, IA 50595                             (1279-1) SBM Certificate No. 212000




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
1280       SPRATT ROSEMARY                    Unsecured                                                         $0.00         $1,638.35          $1,638.35
70         1105 PROSPECT
7100       WEBSTER CITY, IA 50595                             (1280-1) SBM Certificate No. 211999




1281       ALVIN AND ARDETTE TRUST            Unsecured                                                         $0.00         $7,885.59          $7,885.59
70         AASTRUP
7100       c/o Sibyl A Jorgensen, TTEE                        (1281-1) SBM Certificate No. 211378
           2866 Griuse Ave
           Thorton, IA 50479




1282       CARLSON WILLIAM                    Unsecured                                                         $0.00        $11,039.83         $11,039.83
70         1502 LITTLE BLUE STEM
7100       COURT                                              (1282-1) SBM Certificate No. 205943
           AMES, IA 50014




1283       KENNETH F. TRAUSCH                 Unsecured                                                         $0.00         $5,104.79          $5,104.79
70         1508 265th street
7100       Eagle Grove, IA 50533                              (1283-1) SBM Certificate No. 0406247




1284       MERSCH MATT                        Unsecured                                                         $0.00        $18,613.13         $18,613.13
70         % MATT MERSCH
7100       1473 285TH ST                                      (1284-1) SBM Certificate No. 210451
           EAGLE GROVE, IA 50533




1285       HANSEN MARY                        Unsecured                                                         $0.00        $15,717.50         $15,717.50
70         1000 BANK STREET
7100       WEBSTER CITY, IA 50595                             (1285-1) SBM Certificate No. 209958




1286       FIELD KATHLEEN                     Unsecured                                                         $0.00         $2,913.10          $2,913.10
70         8801 GLENHAVEN STREET
7100       SAN DIEGO, CA 92123                                (1286-1) SBM Certificate No. 209331




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1287       FIELD KATHLEEN                     Unsecured                                                        $0.00         $5,370.70          $5,370.70
70         8801 GLENHAVEN STREET
7100       SAN DIEGO, CA 92123                                (1287-1) SBM Certificate No. 209330




1288       FIELD KATHLEEN                     Unsecured                                                        $0.00         $4,521.27          $4,521.27
70         8801 GLENHAVEN STREET
7100       SAN DIEGO, CA 92123                                (1288-1) SBM Certificate No. 209328




1289       FIELD KATHLEEN                     Unsecured                                                        $0.00        $19,208.88         $19,208.88
70         8801 GLENHAVEN STREET
7100       SAN DIEGO, CA 92123                                (1289-1) SBM Certificate No. 209488




1290       FIELD KATHLEEN                     Unsecured                                                        $0.00        $12,628.95         $12,628.95
70         8801 GLENHAVEN STREET
7100       SAN DIEGO, CA 92123                                (1290-1) SBM Certificate No. 209329




1291       GIMSE JUNE                         Unsecured                                                        $0.00        $30,121.92         $30,121.92
70         616 JULII
7100       WILLMAR, MN 56201                                  (1291-1) SBM Certificate No. 208752




1292       DOTY MARVIN                        Unsecured                                                        $0.00         $6,931.69          $6,931.69
70         700 HAMPTON DR
7100       WILLIAMSBURG, IA 52361                             (1292-1) SBM Certificate No. 211115




1293       AMERICAN EXPRESS TRAVEL            Unsecured                                                        $0.00        $41,624.16         $41,624.16
70         RELATED SER
7100       Company, Inc.                                      (1293-1) CREDIT CARD DEBT
           c o Becket and Lee LLP
           POB 3001
           Malvern, PA 19355-0701



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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed               Allowed
1294       GALLIGER CAMDEN                    Unsecured                                                              $0.00           $8,267.00             $8,267.00
70         1009 COLORADO SW
7100       HURON, SD 57350                                    (1294-1) 503 Cert #21338




1295       GALLIGER MELBA                     Unsecured                                                              $0.00          $53,166.00            $53,166.00
70         1009 COLORADO SW
7100       HURON, SD 57350                                    (1295-1) 503 Cert #209632, Cert #209633, Cert #210747, Cert #211017, Cert #211978




1296       WALTER LARRY                       Unsecured                                                              $0.00             $580.04              $580.04
70         17842 HWY 71 NE
7100       NEW LONDON, MN 56273                               (1296-1) SBM Certificate No. 203702




1297       DAVID ALBRECHT                     Unsecured                                                              $0.00          $55,347.43            $55,347.43
70         774 LIVINGSTON AVENUE
7100       SAINT PAUL, MN 55107                               (1297-1) SBM Certificate No. 211291 - IRA(1297-2) SBM Certificate No. 211291 - IRA




1298       ELAINE A. ANDERSEN                 Unsecured                                                              $0.00          $24,725.00            $24,725.00
70         c/o Robert W. Andersen
7100       404 11th St. SE                                    (1298-1) Account Number (last 4 digits):0302 (1298-2) Account Number (last 4 digits):0302
           Waseca, MN 56093




1299       ELAINE A. ANDERSEN                 Unsecured                                                              $0.00          $14,603.13            $14,603.13
70         c/o Robert W. Andersen
7100       404 11th St. SE                                    (1299-1) Account Number (last 4 digits):0301 (1299-2) Account Number (last 4 digits):0301
           Waseca, MN 56093




1300       PHYLLIS M. TASCHNER                Unsecured                                                              $0.00           $5,196.00             $5,196.00
70         P.O. Box 392
7100       DeSmet, SD 57231                                   (1300-1) Account Number (last 4 digits):0993




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1301       PHYLLIS M. TASCHNER                Unsecured                                                          $0.00        $19,934.00         $19,934.00
70         P.O. Box 392
7100       DeSmet, SD 57231                                   (1301-1) Account Number (last 4 digits):5551




1302       JANICE L. WUSSOW                   Unsecured                                                          $0.00        $17,384.00         $17,384.00
70         c/o Wendy Schoolmeester
7100       715 Fairwat Drive                                  (1302-1) Account Number (last 4 digits):1886
           Pipestone, MN 56164




1303       MERRILL E. THOMAS                  Unsecured                                                          $0.00        $21,256.00         $21,256.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1303-1) Account Number (last 4 digits):5190
           Tea, SD 57064




1304       MERRILL E. THOMAS                  Unsecured                                                          $0.00         $9,792.00          $9,792.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1304-1) Account Number (last 4 digits):5873
           Tea, SD 57064




1305       MERRILL E. THOMAS                  Unsecured                                                          $0.00        $15,242.00         $15,242.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1305-1) Account Number (last 4 digits):0045
           Tea, SD 57064




1306       MERRILL E. THOMAS                  Unsecured                                                          $0.00        $30,416.00         $30,416.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1306-1) Account Number (last 4 digits):0053
           Tea, SD 57064




1307       MERRILL E. THOMAS                  Unsecured                                                          $0.00         $2,665.00          $2,665.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1307-1) Account Number (last 4 digits):0845
           Tea, SD 57064




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1308       MERRILL E. THOMAS                  Unsecured                                                               $0.00         $7,882.00          $7,882.00
70         Morgan Lane Village #201
7100       540 Morgan Lane                                    (1308-1) Account Number (last 4 digits):1278
           Tea, SD 57064




1309       SUSAN ANN AND PEGGY LEE            Unsecured                                                               $0.00        $32,315.79         $32,315.79
70         F BEAR
7100       SUCCESSORS                                         (1309-1) SBM Certificate No. 113976
           TO RALEIGH W. KING JR &
           BEATRICE M. KING
           c/o Peggy Lee Farrell
           PO Box 4
           Eldora, IA 50627
1310       PHILIPS WANDA                      Unsecured                                                               $0.00        $23,579.90         $23,579.90
70         16386 HWY 3
7100       AKRON, IA 51001                                    (1310-1) IRA Account Number 204502




1311       RAYMOND GRIMES                     Unsecured                                                               $0.00         $4,801.88          $4,801.88
70         26612 481st Avenue
7100       Brandon, SD 57005                                  (1311-1) Investments Sold




1312       HANSON ELAINE                      Unsecured                                                               $0.00        $13,000.00         $13,000.00
70         109 4th Avenue SE
7100       New London, MN 56273                               (1312-1) Annuity with SBM Co




1313       MARLIN ROBERT                      Unsecured                                                               $0.00        $15,034.80         $15,034.80
70         162 County Club Rd.
7100       PO BOX 658                                         (1313-1) Interest Bearing CD Issued by SBM 211509
           WILLIAMSBURG, IA 52361-
           0658




1314       MARLIN ROBERT                      Unsecured                                                               $0.00         $3,226.85          $3,226.85
70         162 County Club Rd.
7100       PO BOX 658                                         (1314-1) Interest Bearing CD Issued by SBM 210797
           WILLIAMSBURG, IA 52361-
           0658




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1315       MARLIN ROBERT                      Unsecured                                                               $0.00         $3,226.85          $3,226.85
70         162 County Club Rd.
7100       PO BOX 658                                         (1315-1) Interest Bearing CD Issued by SBM 210798
           WILLIAMSBURG, IA 52361-
           0658




1316       MARLIN CANDACE                     Unsecured                                                               $0.00        $27,613.26         $27,613.26
70         162 COUNTRY CLUB ROAD
7100       PO BOX 658                                         (1316-1) Interest Bearing CD Issued by SBM 210788
           WILLIAMSBURG, IA 52361




1317       MARLIN CANDACE                     Unsecured                                                               $0.00        $27,613.26         $27,613.26
70         162 COUNTRY CLUB ROAD
7100       PO BOX 658                                         (1317-1) Interest Bearing CD Issued by SBM 210787
           WILLIAMSBURG, IA 52361




1318       MARLIN CANDACE                     Unsecured                                                               $0.00         $2,955.35          $2,955.35
70         162 COUNTRY CLUB ROAD
7100       PO BOX 658                                         (1318-1) Interest Bearing CD Issued by SBM 210856
           WILLIAMSBURG, IA 52361




1319       MARLIN ANDRIA                      Unsecured                                                               $0.00         $2,955.34          $2,955.34
70         162 Country Club Rd.
7100       PO BOX 658                                         (1319-1) Interest Bearing CD Issued by SBM 210857
           WILLIAMSBURG, IA 52361




1320       MARLIN ANDRIA                      Unsecured                                                               $0.00         $2,787.33          $2,787.33
70         162 Country Club Rd.
7100       PO BOX 658                                         (1320-1) Interest Bearing CD Issued by SBM 211508
           WILLIAMSBURG, IA 52361




1321       MARLIN MAGGIE                      Unsecured                                                               $0.00         $2,955.34          $2,955.34
70         162 Country Club Rd
7100       PO BOX 658                                         (1321-1) Interest Bearing CD Issued by SBM 210858
           WILLIAMSBURG, IA 52361




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1322       MARLIN CANDACE                     Unsecured                                                               $0.00        $12,765.81         $12,765.81
70         162 COUNTRY CLUB ROAD
7100       PO BOX 658                                         (1322-1) Interest Bearing CD Issued by SBM 211674
           WILLIAMSBURG, IA 52361




1323       MARLIN CANDACE                     Unsecured                                                               $0.00        $19,429.18         $19,429.18
70         162 COUNTRY CLUB ROAD
7100       PO BOX 658                                         (1323-1) Interest Bearing CD Issued by SBM 203877
           WILLIAMSBURG, IA 52361




1324       PHILIPS RICHARD                    Unsecured                                                               $0.00        $12,784.65         $12,784.65
70         16386 HWY 3
7100       AKRON, IA 51001                                    (1324-1) IRA Account Number 204501




1325       SCHULTZ AMY                        Unsecured                                                               $0.00         $1,741.87          $1,741.87
70         14153 FINALE AVE N
7100       HUGO, MN 55038                                     (1325-1) SBM Certificate No. 203702




1326       SCHULTZ AMY                        Unsecured                                                               $0.00         $3,483.73          $3,483.73
70         14153 FINALE AVE N
7100       HUGO, MN 55038                                     (1326-1) SBM Certificate No. 203702




1327       YOUNG DONALD                       Unsecured                                                               $0.00        $14,299.45         $14,299.45
70         305 WEST GREEN STREET
7100       MOUNT PLEASANT, IA 52641                           (1327-1) SBM Certificate No. 0510786




1328       YOUNG DONALD                       Unsecured                                                               $0.00        $24,336.18         $24,336.18
70         305 WEST GREEN STREET
7100       MOUNT PLEASANT, IA 52641                           (1328-1) SBM Certificate No. 0456012




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1329       WALTER P AND CLARA                 Unsecured                                                               $0.00        $20,292.05         $20,292.05
70         (TTEES) KUECHLE
7100       c/o Sandra A. Jeurissen                            (1329-1) SBM Certificate No. 203345
           24655 Hickory Blvd
           Belle Plaine, MN 56011




1330       BOLLES KAREN                       Unsecured                                                               $0.00       $120,681.87        $120,681.87
70         7249 COURTLY ROAD
7100       WOODBURY, MN 55125                                 (1330-1) SBM Certificate No. 209795




1331       SCHNOBRICH STEVEN                  Unsecured                                                               $0.00         $1,345.56          $1,345.56
70         17 VERNDA BEACH DR
7100       FRIPP ISLAND, SC 29920                             (1331-1) SBM Certificate No. 212117




1332       SCHNOBRICH STEVEN                  Unsecured                                                               $0.00         $1,366.01          $1,366.01
70         17 VERNDA BEACH DR
7100       FRIPP ISLAND, SC 29920                             (1332-1) SBM Certificate No. 212122




1333       ELIADES JOHN                       Unsecured                                                               $0.00        $77,413.77         $77,413.77
70         PO BOX 1882
7100       GLEN BURNIE, MD 21061                              (1333-1) Opened a 5-year Certificate 211180




1334       JOHN AND VIVIAN ELIADES            Unsecured                                                               $0.00       $353,307.81        $353,307.81
70         PO Box 1882
7100       Glen Burnie, MD 21060                              (1334-1) Opened a 5-year Certificate 211179




1335       MARLIN MAGGIE                      Unsecured                                                               $0.00         $2,787.33          $2,787.33
70         162 Country Club Rd
7100       PO BOX 658                                         (1335-1) Interest Bearing CD Issued by SBM 211507
           WILLIAMSBURG, IA 52361




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1336       R SCHROEDER                        Unsecured                                                          $0.00        $12,074.75         $12,074.75
70         215 WEST 31ST STREET
7100       DAVENPORT, IA 52803                                (1336-1) SBM Certificate No. 210248




1337       FREITAG DENNIS                     Unsecured                                                          $0.00         $3,868.90          $3,868.90
70         BOX 101
7100       LEWISVILLE, MN 56060                               (1337-1) SBM Certificate No. 203741




1338       MILLER BETTY                       Unsecured                                                          $0.00        $39,935.35         $39,935.35
70         602 SOUTHWAITE CT
7100       REDWOOD FALLS, MN 56283                            (1338-1) SBM Certificate No. 199227




1339       MILLER BETTY                       Unsecured                                                          $0.00        $19,930.60         $19,930.60
70         602 SOUTHWAITE CT
7100       REDWOOD FALLS, MN 56283                            (1339-1) SBM Certificate No. 207611




1340       MORFORD JOANN                      Unsecured                                                          $0.00        $33,376.00         $33,376.00
70         1510 N Park View Place
7100       Miller, SD 57362                                   (1340-1) Sales Commissions Owed




1341       BRAND STEVEN                       Unsecured                                                          $0.00        $10,429.90         $10,429.90
70         928 BARRON ROAD
7100       FARIBAULT, MN 55021                                (1341-1) Unpaid Commission through 9-30-2008




1342       PHILLIPS ROSA                      Unsecured                                                          $0.00         $4,826.54          $4,826.54
70         810 S. Stove St. #1091
7100       Sigourney, IA 52591                                (1342-1) SBM Certificate No. 211169




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1343       JODY J. ELWELL                     Unsecured                                                              $0.00        $13,598.00         $13,598.00
70         1416 Northgate Sq.
7100       Apt #12-B                                          (1343-1) Account Number (last 4 digits):0397
           Reston, VA 20190




1344       YETZER EDWARD                      Unsecured                                                              $0.00           $695.09           $695.09
70         1974 NE 50TH STREET
7100       MEDFORD, MN 55049                                  (1344-1) Certificate Investor




1345       VOGT MARIE                         Unsecured                                                              $0.00           $580.04           $580.04
70         P O BOX 328
7100       ELY, MN 55731                                      (1345-1) SBM Certificate No. 203702




1346       SWANSON DEAN                       Unsecured                                                              $0.00        $12,572.03         $12,572.03
70         2421 18TH AVENUE NW
7100       ROCHESTER, MN 55901                                (1346-1) Certificate Investor




1347       KERSLAKE ALLEN                     Unsecured                                                              $0.00           $716.77           $716.77
70         Rural Route
7100       Lisbon, IA 52253                                   (1347-1) Invested Money with SBM Certificate Co.




1348       GEYER ERNEST                       Unsecured                                                              $0.00        $58,031.12         $58,031.12
70         20214 425TH AVE
7100       BANCROFT, SD 57353                                 (1348-1) Investment




1349       HERTHA BLOCK                       Unsecured                                                              $0.00         $1,651.91          $1,651.91
70         300 N Broadway
7100       Apt. 107                                           (1349-1) SBM Certificate No. 211305
           New Ulm, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled          Claimed            Allowed
1350       EDDY WILLIAM AND                   Unsecured                                                               $0.00        $14,245.00         $14,245.00
70         BARBARA J. NEAL
7100       c/o James G. Milani                                (1350-1) SBM Certificate No. 211042
           Orsborn Milani Mitchell et al
           105 West Van Buren St., PO Box
           518
           Centerville, IA 52544-0518

1351       WALLENSTEIN MARY                   Unsecured                                                               $0.00        $10,000.00         $10,000.00
70         208 6TH NE
7100       HURON, SD 57350                                    (1351-1) Failure to Pay on Investment Certificate




1352       WALTER CHRIS                       Unsecured                                                               $0.00           $580.04           $580.04
70         4736 CUMBERLAND ST
7100       SHOREVIEW, MN 55126                                (1352-1) SBM Certificate No. 203702




1353       ANGELIKA BEHROOZ                   Unsecured                                                               $0.00        $14,118.00         $14,118.00
70         3107 Kings Ridge Blvd.
7100       Boulder, CO 80301                                  (1353-1) Investment Certificate




1354       PAMELA GAIKOWSKI                   Unsecured                                                               $0.00       $131,403.39        $131,403.39
70         327 8th Street NE
7100       Watertown, SD 57201                                (1354-1) Account Number (last 4 digits):0992




1355       CAROL J. PAGAC                     Unsecured                                                               $0.00        $24,908.10         $24,908.10
70         Gary K. Luloff
7100       Chestnut Cambronne PA                              (1355-1) CORRECTIVE ENTRY: CORRECTED CREDITOR'S ADDRESS TO ADDRESS FOR
           17 N. Washington Avenue #300                       NOTICES SHOWN ON CLAIM - JY - 10/2/13
           Minneapolis, MN 55401




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1356       RACHEL JOHNSON HALL                Unsecured                                                          $0.00         $5,196.57          $5,196.57
70         456 E Orange Grove Blvd #315
7100       Pasadena, CA 91104                                 (1356-1) CORRECTIVE ENTRY: CORRECTED CREDITOR'S ADDRESS TO ADDRESS FOR
                                                              NOTICES SHOWN ON CLAIM - JY - 10/2/13




1357       MARY JANE DULIN                    Unsecured                                                          $0.00         $4,704.04          $4,704.04
70         7319 Castle Road
7100       Manassas, VA 20109                                 (1357-1) Account Number (last 4 digits):8870




1358       BESKE SHIRLEY                      Unsecured                                                          $0.00         $6,679.98          $6,679.98
70         119 S REDWOOD DR
7100       MANKATO, MN 56001                                  (1358-1) SBM Certificate Number 211011




1359       BRUCE BATEMAN                      Unsecured                                                          $0.00         $6,679.98          $6,679.98
70         38124 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (1359-1) SBM Certificate Number 211011




1360       LARRY BATEMAN                      Unsecured                                                          $0.00         $6,679.98          $6,679.98
70         38215 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (1360-1) SBM Certificate Number 211011




1361       MARTIN BARBARA                     Unsecured                                                          $0.00         $6,679.98          $6,679.98
70         248 PINEWOOD DR
7100       APPLE VALLEY, MN 55124                             (1361-1) SBM Certificate Number 211024




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Code #     Creditor Name And Address          Claim Class     Notes                                      Scheduled          Claimed            Allowed
1362       OTTO JEAN                          Unsecured                                                      $0.00         $6,679.98          $6,679.98
70         24160 631ST AVE
7100       MADISON LAKE, MN 56063                             (1362-1) SBM Certificate Number 211024




1363       LARRY BATEMAN                      Unsecured                                                      $0.00         $6,679.98          $6,679.98
70         38215 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (1363-1) SBM Certificate Number 211024




1364       MARTIN BARBARA                     Unsecured                                                      $0.00        $15,922.95         $15,922.95
70         248 PINEWOOD DR
7100       APPLE VALLEY, MN 55124                             (1364-1) SBM Certificate Number 211560




1365       BESKE SHIRLEY                      Unsecured                                                      $0.00        $15,922.95         $15,922.95
70         119 S REDWOOD DR
7100       MANKATO, MN 56001                                  (1365-1) SBM Certificate Number 211560




1366       BRUCE BATEMAN                      Unsecured                                                      $0.00        $15,922.95         $15,922.95
70         38124 HONEYSUCKLE LANE
7100       NORTH MANKATO, MN 56001                            (1366-1) SBM Certificate Number 211560




1367       OTTO JEAN                          Unsecured                                                      $0.00        $15,922.95         $15,922.95
70         24160 631ST AVE
7100       MADISON LAKE, MN 56063                             (1367-1) SBM Certificate Number 211560




1368       BETTIS SUZANNE                     Unsecured                                                      $0.00        $10,159.72         $10,159.72
70         2719 CAROLE CR
7100       URBANDALE, IA 50322




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed              Allowed
1369       JOAN M. CLOBES                     Unsecured                                                            $0.00          $2,751.46            $2,751.46
70         PO Box 135
7100       Lafayette, MN 56054                                (1369-1) SBM Certificate No. 210824(1369-2) SBM Certificate No. 210824




1370       JOAN M. CLOBES                     Unsecured                                                            $0.00          $2,606.41            $2,606.41
70         PO Box 135
7100       Lafayette, MN 56054                                (1370-1) SBM Certificate No. 210823(1370-2) SBM Certificate No. 210823




1371       JOAN M. CLOBES                     Unsecured                                                            $0.00               $856.42          $856.42
70         PO Box 135
7100       Lafayette, MN 56054                                (1371-1) SBM Certificate No. 210895(1371-2) SBM Certificate No. 210895




1372       JOAN M. CLOBES                     Unsecured                                                            $0.00          $3,978.00            $3,978.00
70         PO Box 135
7100       Lafayette, MN 56054                                (1372-1) SBM Certificate No. 211053(1372-2) SBM Certificate No. 211053




1373       JOAN M. CLOBES                     Unsecured                                                            $0.00          $2,094.65            $2,094.65
70         PO Box 135
7100       Lafayette, MN 56054                                (1373-1) SBM Certificate No. 211216(1373-2) SBM Certificate No. 211216




1374       PATRIN ELIZABETH                   Unsecured                                                            $0.00          $4,960.02            $4,960.02
70         PO BOX 353
7100       HOFFMAN, MN 56339                                  (1374-1) SBM Certificate No. 211737




1375       HARRISON COMMUNITY                 Unsecured                                                            $0.00          $3,963.22            $3,963.22
70         PRESBYTERIAN CHU
7100       c/o Sandy Christensen, Treasurer                   (1375-1) SBM Certificate No. 211248
           14211 Sperry Lake Road
           Atwater, MN 56209




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled             Claimed            Allowed
1376       BRYAN AND MARGARET                 Unsecured                                                               $0.00            $5,493.88          $5,493.88
70         FORST
7100       37144 615TH AVE                                    (1376-1) SBM Certificate No. 204541
           GIBBON, MN 55335




1377       SAUNDRA HAPPE                      Unsecured                                                                  $0.00        $28,188.48         $28,188.48
70         1513 Mary Mar Lane NE
7100       Longville, MN 56655                                (1377-1) Certificate Investor - Beneficiary Cert. 556991




1378       WEINZETL DONALD                    Unsecured                                                                  $0.00        $11,393.98         $11,393.98
70         3469 10TH AVENUE NORTH
7100       FORT DODGE, IA 50501                               (1378-1) SBM Certificate No. 210273




1379       WEINZETL DONALD                    Unsecured                                                                  $0.00         $8,050.28          $8,050.28
70         3469 10TH AVENUE NORTH
7100       FORT DODGE, IA 50501                               (1379-1) SBM Certificate No. 208444




1380       WEINZETL DONALD                    Unsecured                                                                  $0.00        $13,841.65         $13,841.65
70         3469 10TH AVENUE NORTH
7100       FORT DODGE, IA 50501                               (1380-1) SBM Certificate No. 210838




1381       WEINZETL DONALD                    Unsecured                                                                  $0.00         $9,663.55          $9,663.55
70         3469 10TH AVENUE NORTH
7100       FORT DODGE, IA 50501                               (1381-1) SBM Certificate No. 210216




1382       HINZ ELLIS                         Unsecured                                                                  $0.00         $5,674.19          $5,674.19
70         2673 110TH STREET
7100       LUVERNE, IA 50560                                  (1382-1) SBM Certificate No. 203795




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Code #     Creditor Name And Address          Claim Class     Notes                                         Scheduled          Claimed            Allowed
1383       JOHN AND ARDELLA D                 Unsecured                                                         $0.00        $57,212.78         $57,212.78
70         HANSON
7100       c/o JOHN A. HANSON                                 (1383-1) SBM Certificate No. 208634
           509 DAKOTA STREET
           KLEMME, IA 50449




1384       MILLER JOELLA                      Unsecured                                                         $0.00        $26,728.77         $26,728.77
70         106 S. ROAN ST.
7100       Algona, IA 50511                                   (1384-1) SBM Certificate No. 210165




1385       CROVISIER FRED                     Unsecured                                                         $0.00        $78,812.07         $78,812.07
70         2060 S KENTUCKY AVE, APT
7100       407                                                (1385-1) SBM Certificate No. 0208491
           MASON CITY, IA 50401-7100




1386       DANNER DAWNIE                      Unsecured                                                         $0.00        $21,519.34         $21,519.34
70         1927 NORTH 16TH STREET
7100       FORT DODGE, IA 50501                               (1386-1) SBM Certificate No. 210452




1387       DANNER DAWNIE                      Unsecured                                                         $0.00         $8,244.99          $8,244.99
70         1927 NORTH 16TH STREET
7100       FORT DODGE, IA 50501                               (1387-1) SBM Certificate No. 209341




1388       DANNER DAWNIE                      Unsecured                                                         $0.00        $13,130.68         $13,130.68
70         1927 NORTH 16TH STREET
7100       FORT DODGE, IA 50501                               (1388-1) SBM Certificate No. 208432




1389       DANNER DAWNIE                      Unsecured                                                         $0.00        $11,111.53         $11,111.53
70         1927 NORTH 16TH STREET
7100       FORT DODGE, IA 50501                               (1389-1) SBM Certificate No. 233710




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1390       DANNER DAWNIE                      Unsecured                                                        $0.00        $17,258.47         $17,258.47
70         1927 NORTH 16TH STREET
7100       FORT DODGE, IA 50501                               (1390-1) SBM Certificate No. 197322




1391       WILLIAM A. & ELSIE                 Unsecured                                                        $0.00         $9,714.05          $9,714.05
70         JOHNSON IRRVOC.
7100       c/o John M. Spratt - Trustee                       (1391-1) SBM Certificate No. 210878
           1105 Prospect Street
           Webster City, IA 50595




1392       WILLIAM A. & ELSIE                 Unsecured                                                        $0.00         $8,204.47          $8,204.47
70         JOHNSON IRRVOC.
7100       c/o John M. Spratt - Trustee                       (1392-1) SBM Certificate No. 210876
           1105 Prospect Street
           Webster City, IA 50595




1393       WILLIAM A. & ELSIE                 Unsecured                                                        $0.00         $9,881.79          $9,881.79
70         JOHNSON IRRVOC.
7100       c/o John M. Spratt - Trustee                       (1393-1) SBM Certificate No. 210879
           1105 Prospect Street
           Webster City, IA 50595




1394       WILLIAM A. & ELSIE                 Unsecured                                                        $0.00         $7,986.29          $7,986.29
70         JOHNSON IRRVOC.
7100       c/o John M. Spratt - Trustee                       (1394-1) SBM Certificate No. 210877
           1105 Prospect Street
           Webster City, IA 50595




1395       WILLIAM A. JOHNSON                 Unsecured                                                        $0.00         $8,095.04          $8,095.04
70         TESTAMENTARY TRU
7100       c/o John M. Spratt, Trustee                        (1395-1) SBM Certificate No. 210882
           1105 Prospect Street
           Webster City, IA 50595




1396       WILLIAM A. JOHNSON                 Unsecured                                                        $0.00         $6,837.06          $6,837.06
70         TESTAMENTARY TRU
7100       c/o John M. Spratt, Trustee                        (1396-1) SBM Certificate No. 210880
           1105 Prospect Street
           Webster City, IA 50595




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1397       WILLIAM A. JOHNSON                 Unsecured                                                        $0.00         $8,234.82          $8,234.82
70         TESTAMENTARY TRU
7100       c/o John M. Spratt, Trustee                        (1397-1) SBM Certificate No. 210883
           1105 Prospect Street
           Webster City, IA 50595




1398       WILLIAM A. JOHNSON                 Unsecured                                                        $0.00         $6,655.24          $6,655.24
70         TESTAMENTARY TRU
7100       c/o John M. Spratt, Trustee                        (1398-1) SBM Certificate No. 210881
           1105 Prospect Street
           Webster City, IA 50595




1399       CUSTODIAN SHELLEY K.               Unsecured                                                        $0.00         $2,819.33          $2,819.33
70         BARKER
7100       c/o Shelley K. Barker                              (1399-1) SBM Certificate No. 207878
           1302 Main Street
           Alta, IA 51002




1400       CUSTODIAN SHELLEY K.               Unsecured                                                        $0.00         $3,524.18          $3,524.18
70         BARKER
7100       c/o Shelley K. Barker                              (1400-1) SBM Certificate No. 207877
           1302 Main Street
           Alta, IA 51002




1401       CUSTODIAN SHELLEY K.               Unsecured                                                        $0.00         $3,603.08          $3,603.08
70         BARKER
7100       c/o Shelley K. Barker                              (1401-1) SBM Certificate No. 210034
           1302 Main Street
           Alta, IA 51002




1402       CUSTODIAN SHELLEY K.               Unsecured                                                        $0.00         $4,023.98          $4,023.98
70         BARKER
7100       c/o Shelley K. Barker                              (1402-1) SBM Certificate No. 210550
           1302 Main Street
           Alta, IA 51002




1403       CUSTODIAN SHELLEY K.               Unsecured                                                        $0.00         $4,023.98          $4,023.98
70         BARKER
7100       c/o Shelley K. Barker                              (1403-1) SBM Certificate No. 210549
           1302 Main Street
           Alta, IA 51002




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1404       CUSTODIAN SHELLEY K.               Unsecured                                                          $0.00         $3,603.08          $3,603.08
70         BARKER
7100       c/o Shelley K. Barker                              (1404-1) SBM Certificate No. 210035
           1302 Main Street
           Alta, IA 51002




1405       STRUCK JOAN                        Unsecured                                                          $0.00        $17,137.19         $17,137.19
70         274 TULIP AVENUE
7100       ACKLEY, IA 50601                                   (1405-1) SBM Certificate No. 556552




1406       FOTHERGILL KATHLEEN                Unsecured                                                          $0.00         $5,634.21          $5,634.21
70         10891 NE 77TH LANE
7100       BONDURANT, IA 50035                                (1406-1) SBM Certificate No. 210490




1407       FOTHERGILL KATHLEEN                Unsecured                                                          $0.00         $3,461.23          $3,461.23
70         10891 NE 77TH LANE
7100       BONDURANT, IA 50035                                (1407-1) SBM Certificate No. 210487




1408       PEGGY J DULIN (DECEASED)           Unsecured                                                          $0.00        $12,873.65         $12,873.65
70         Estate of Peggy J Dulin
7100       7319 Castle Road                                   (1408-1) Account Number (last 4 digits):8859
           Manassas, VA 20109




1409       PATTY KONECNY                      Unsecured                                                          $0.00        $22,625.22         $22,625.22
70         606 Palisades Access Rd
7100       Ely, IA 52227                                      (1409-1) Account Number (last 4 digits):1472




1410       HUART JOAN                         Unsecured                                                          $0.00        $16,210.42         $16,210.42
70         9330 BRIDGEPORT DR
7100       W PALM BEACH, FL 33411                             (1410-1) SBM Certificate No. 211732




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1411       MACDONALD LAURA                    Unsecured                                                        $0.00        $41,539.07         $41,539.07
70         P.O. Box 275
7100       Land O'Lakes, WI 54540                             (1411-1) SBM Certificate No. 211134




1412       WILSON NANCY LEE                   Unsecured                                                        $0.00         $6,576.90          $6,576.90
70         1502 BRENTWOOD TERRACE
7100       MARSHALLTOWN, IA 50158                             (1412-1) SBM Certificate No. 212063




1413       DAVID N. WILSON                    Unsecured                                                        $0.00         $4,325.35          $4,325.35
70         1502 BRENTWOOD TERRACE
7100       MARSHALLTOWN, IA 50158                             (1413-1) SBM Certificate No. 211465




1414       DAVID N. WILSON                    Unsecured                                                        $0.00        $27,895.88         $27,895.88
70         1502 BRENTWOOD TERRACE
7100       MARSHALLTOWN, IA 50158                             (1414-1) SBM Certificate No. 205977




1415       MCMENAMIN JOANN                    Unsecured                                                        $0.00         $5,622.00          $5,622.00
70         703 CARLUKE CT.
7100       CARY, NC 27511                                     (1415-1) SBM Certificate No. 211970




1416       RAYMOND J. AND CAROL N.            Unsecured                                                        $0.00         $5,425.45          $5,425.45
70         ARKELL
7100       P.O. Box 485                                       (1416-1) SBM Certificate No. 501431
           LAMBERTON, MN 56152




1417       WALTER DANIEL                      Unsecured                                                        $0.00           $580.04           $580.04
70         15255 TWINLAKES RD
7100       LITTLE FALLS, MN 56345                             (1417-1) SBM Certificate No. 203702




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1418       WEUVE CATHY                        Unsecured                                                          $0.00         $4,650.88          $4,650.88
70         14869 670TH AVE
7100       MCCALLSBURG, IA 50154                              (1418-1) SBM Certificate No. 212107




1419       WEUVE CATHY                        Unsecured                                                          $0.00        $13,625.90         $13,625.90
70         14869 670TH AVE
7100       MCCALLSBURG, IA 50154                              (1419-1) SBM Certificate No. 212109




1420       LEO E. OSBECK                      Unsecured                                                          $0.00        $68,201.90         $68,201.90
70         1709 Landcaster Lane
7100       Albert Lea, MN 56007                               (1420-1) Account Number (last 4 digits):1920




1421       DESEL CABOTH & SALLIE E.           Unsecured                                                          $0.00        $45,507.31         $45,507.31
70         CABOTH
7100       601 Johnson St.                                    (1421-1) Account Number (last 4 digits):4200
           Alta, IA 51002




1422       VANETTA STEPHENSON-                Unsecured                                                          $0.00        $49,000.00         $49,000.00
70         BROWN
7100       Lee H Schillinger
           4601 Sheridan Street
           Suite 202
           Hollywood, FL 33021
1423       DAVID PRIVIN                       Unsecured                                                          $0.00        $27,273.33         $27,273.33
70         86 huckleberry hollow
7100       Stamford, CT 06903                                 (1423-1) Account Number (last 4 digits):6382




1424       WELLE DALE                         Unsecured                                                          $0.00         $9,491.03          $9,491.03
70         24720 DENMARK
7100       FARMINGTON, MN 55024                               (1424-1) SBM Certificate No. 207702




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed           Allowed
1425       JUDY JOHNSON                       Unsecured                                                            $0.00           $816.50           $816.50
70         2016 Seton Drive
7100       Clearwater, FL 34623                               (1425-1) SBM Certificate




1426       DUBISHAR LAURINDA                  Unsecured                                                            $0.00         $1,250.00          $1,250.00
70         6317 SUMTER AVE N
7100       BROOKLYN PARK, MN 55428                            (1426-1) SBM Certificate No. 205732




1427       PARKER NANCY                       Unsecured                                                            $0.00         $1,250.00          $1,250.00
70         159 EASTVIEW DR NW
7100       CEDAR RAPIDS, IA 52405                             (1427-1) SBM Certificate No. 205732




1428       GINA WINDSCHITL                    Unsecured                                                            $0.00       $119,503.20        $119,503.20
70         25038 150th Street
7100       Sleepy Eye, MN 56085                               (1428-1) SBM Certificate No. 211210




1429       CHURCH OF THE JAPANESE             Unsecured                                                            $0.00        $14,789.04         $14,789.04
70         MARTYRS
7100       30881 County Road 24                               (1429-1) SBM Certificate No. 211032
           Sleepy Eye, MN 56085




1430       ST. MARY'S CATHOLIC                Unsecured                                                            $0.00         $7,394.52          $7,394.52
70         SCHOOL
7100       104 St. Mary's Street NW                           (1430-1) SBM Certificate No. 211032
           Sleepy Eye, MN 56085




1431       JUDY JOHNSON                       Unsecured                                                            $0.00           $741.57           $741.57
70         2016 Seton Drive
7100       Clearwater, FL 34623                               (1431-1) SBM Certificate No. 208105 and 208560




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Code #     Creditor Name And Address          Claim Class     Notes                                               Scheduled           Claimed            Allowed
1432       ST. MARYS CHURCH                   Unsecured                                                               $0.00          $7,394.52          $7,394.52
70         Attn: Matt Grausam
7100       104 St. Mary's Street NW                           (1432-1) SBM Certificate No. 211032
           Sleepy Eye, MN 56085




1433       KATE DUNCAN SMITH                  Unsecured                                                                $0.00        $11,322.34         $11,322.34
70         DAUGHTERS OF AMER
7100       Revolution School                                  (1433-1) Betty Butler Estate Invested in SBM Certificate Co.
           6077 Main Street
           Grant, AL 35747




1434       SCHMITT JUDY                       Unsecured                                                                $0.00         $5,675.87          $5,675.87
70         1840 INDIANA SE
7100       HURON, SD 57350                                    (1434-1) Traditional IRA 206046




1435       KASPERSON MERLE                    Unsecured                                                                $0.00        $51,048.99         $51,048.99
70         455 4TH ST NE
7100       HURON, SD 57350                                    (1435-1) Investment for Retirement Account




1436       KASPERSON MERLE                    Unsecured                                                                $0.00         $4,803.31          $4,803.31
70         455 4TH ST NE
7100       HURON, SD 57350                                    (1436-1) Investment for Retirement Account 208835 and 211228




1437       MCINTOSH MARIAN                    Unsecured                                                                $0.00        $34,793.27         $34,793.27
70         739 SOUTHLAWN CT
7100       OELWEIN, IA 50662                                  (1437-1) SBM Certificate




1438       TELLINGHUISEN GRACE                Unsecured                                                                $0.00        $78,018.13         $78,018.13
70         PO Box 13
7100       WILLOW LAKE, SD 57278                              (1438-1) Failure to Pay Investment Certificate Upon Maturity




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1439       DOROTHA HARTY                      Unsecured                                                            $0.00         $32,446.00         $32,446.00
70         209 2nd St
7100       PO Box 175                                         (1439-1) Purchased Securities
           De Smet, SD 57231




1440       WAYNE AND DOROTHA                  Unsecured                                                            $0.00         $43,677.00         $43,677.00
70         HARTY JTWROS
7100       209 2nd St                                         (1440-1) Purchased Securities
           PO Box 175
           DE SMET, SD 57231




1441       DONALD AND MARY                    Unsecured                                                            $0.00         $14,999.50         $14,999.50
70         WIDMAN
7100       21504 428TH AVENUE                                 (1441-1) Purchased Securities
           DE SMET, SD 57231




1442       BRADY GALYNN                       Unsecured                                                            $0.00         $15,504.47         $15,504.47
70         317 PORTOLA DRIVE
7100       SAN MATEO, CA 94403                                (1442-1) SBM Certificate No. 204122




1444       BUSS LOIS                          Unsecured                                                            $0.00          $5,891.01          $5,891.01
70         c/o Chad Peronto
7100       4307 Savage Lane                                   (1444-1) SBM Certificate No. 212040(1444-2) SBM Certificate No. 212040
           Manitowoc, WI 54220




1445       BUSS LOIS                          Unsecured                                                            $0.00          $2,189.53          $2,189.53
70         c/o Chad Peronto
7100       4307 Savage Lane                                   (1445-1) SBM Certificate No. 212039(1445-2) SBM Certificate No. 212039
           Manitowoc, WI 54220




1446       BUSS LOIS                          Unsecured                                                            $0.00          $9,732.33          $9,732.33
70         c/o Chad Peronto
7100       4307 Savage Lane                                   (1446-1) SBM Certificate No. 212036(1446-2) SBM Certificate No. 212036
           Manitowoc, WI 54220




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1447       BUSS LOIS                          Unsecured                                                            $0.00          $2,819.29          $2,819.29
70         c/o Chad Peronto
7100       4307 Savage Lane                                   (1447-1) SBM Certificate No. 212038(1447-2) SBM Certificate No. 212038
           Manitowoc, WI 54220




1448       LOIS BUSS                          Unsecured                                                            $0.00          $7,078.32          $7,078.32
70         c/o Cory A. McFall
7100       4563 Avery St.                                     (1448-1) SBM Certificate No. 212037(1448-2) SBM Certificate No. 212037
           Detroit, MI 48208




1451       NATIONAL UNION FIRE                Unsecured                                                            $0.00          $2,725.00          $2,725.00
70         INSURANCE COMPA
7100       of Pittsburg
           Ryan G. Foley, Authorized
           Representative
           175 Water Street, 15th Floor
           New York, New York 10038
1452       KAY A. SATTERLIE TRUST             Unsecured                                                            $0.00          $8,724.12          $8,724.12
70         DTD 3-21-11
7100       25279 DAVIDSON TRAIL NW                            (1452-1) SBM Certificate NO. 556717
           EVANSVILLE, MN 56326




1453       CURT AND MARILYN                   Unsecured                                                            $0.00         $47,706.31         $47,706.31
70         SHOEMAKER
7100       C/O CURT SHOEMAKER                                 (1453-1) SBM CERTIFICIATE NO. 211787
           1052 E BRANDYWINE LANE
           FRESNO, CA 93720-1301




1454       KULLMAN LUCILLE                    Unsecured                                                            $0.00          $5,099.22          $5,099.22
70         c/o Rodney Mahn
7100       2771-330th St                                      (1454-1) SBM CERTIFICATE NO. 203588
           Creston, IA 50801




1455       KULLMAN LUCILLE                    Unsecured                                                            $0.00          $6,457.48          $6,457.48
70         c/o Rodney Mahn
7100       2771-330th St                                      (1455-1) SBM CERTIFICATE NO. 202860
           Creston, IA 50801




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1456       KULLMAN LUCILLE                    Unsecured                                                        $0.00         $8,241.21          $8,241.21
70         c/o Rodney Mahn
7100       2771-330th St                                      (1456-1) SBM CERTIFICATE NO. 210113
           Creston, IA 50801




1457       KULLMAN LUCILLE                    Unsecured                                                        $0.00        $13,674.12         $13,674.12
70         c/o Rodney Mahn
7100       2771-330th St                                      (1457-1) SBM CERTIFICATE NO. 210954
           Creston, IA 50801




1458       MARILYN AND RON EARNEST            Unsecured                                                        $0.00        $29,677.32         $29,677.32
70         107 WILSON AVENUE DRIVE
7100       SW                                                 (1458-1) SBM Certificate No. 210604
           CEDAR RAPIDS, IA 52404




1459       RICHARD UBEL LIVING                Unsecured                                                        $0.00        $32,991.41         $32,991.41
70         TRUST
7100       47283 STATE HWY 68                                 (1459-1) SBM CERTIFICATE NO. 211051
           NEW ULM, MN 56073




1460       RICHARD UBEL LIVING                Unsecured                                                        $0.00         $9,017.74          $9,017.74
70         TRUST
7100       47283 STATE HWY 68                                 (1460-1) SBM CERTIFICATE NO. 211326
           NEW ULM, MN 56073




1461       DON AND LANA RIGGENBERG            Unsecured                                                        $0.00        $10,425.17         $10,425.17
70         2628 Boslanden Drive
7100       Pella, IA 50219                                    (1461-1) SBM Certificate No. 211996




1462       RICHARD UBEL LIVING                Unsecured                                                        $0.00         $7,829.82          $7,829.82
70         TRUST
7100       47283 STATE HWY 68                                 (1462-1) SBM CERTIFICATE NO. 210841
           NEW ULM, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1463       DOROTHY AND DENNIS                 Unsecured                                                        $0.00         $4,650.88          $4,650.88
70         WAGNER
7100       8265 Boulder Drive                                 (1463-1) SBM Certificate No. 210996
           West Des Moines, IA 50266




1464       RICHARD UBEL LIVING                Unsecured                                                        $0.00         $7,863.57          $7,863.57
70         TRUST
7100       47283 STATE HWY 68                                 (1464-1) SBM CERTIFICATE NO. 210849
           NEW ULM, MN 56073




1465       GODWIN TERRI                       Unsecured                                                        $0.00         $3,116.33          $3,116.33
70         25532 130TH STREET
7100       BOUTON, IA 50039                                   (1465-1) SBM Certificate No. 211436




1466       RICHARD UBEL LIVING                Unsecured                                                        $0.00        $15,727.14         $15,727.14
70         TRUST
7100       47283 STATE HWY 68                                 (1466-1) SBM CERTIFICATE NO. 210813
           NEW ULM, MN 56073




1467       GODWIN LARRY                       Unsecured                                                        $0.00         $3,116.33          $3,116.33
70         25532 130TH STREET
7100       BOUTON, IA 50039                                   (1467-1) SBM Certificate No. 211434




1468       GODWIN TERRI                       Unsecured                                                        $0.00         $3,116.33          $3,116.33
70         25532 130TH STREET
7100       BOUTON, IA 50039                                   (1468-1) SBM Certificate No. 211435




1469       SCHROEPFER ROSELLA                 Unsecured                                                        $0.00         $1,700.93          $1,700.93
70         13128 MAIN ST
7100       NEW ULM, MN 56073                                  (1469-1) SBM Certificate No. 211470




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1470       DIANNA UBEL LIVING TRUST           Unsecured                                                        $0.00        $43,739.22         $43,739.22
70         47283 STATE HWY 68
7100       NEW ULM, MN 56073                                  (1470-1) SBM CERTIFICATE NO. 211099




1471       LAURETTA SEIBERT TRUST             Unsecured                                                        $0.00        $40,735.45         $40,735.45
70         Sanford Seibert Trustee
7100       35252 State Hwy 15                                 (1471-1) SBM Certificate No. 212028
           Lewisville, MN 56060




1472       NOREEN ROBERT                      Unsecured                                                        $0.00        $29,077.05         $29,077.05
70         440 N WATER STREET
7100       NORTHFIELD, MN 55057                               (1472-1) SBM Certificate No. 206037




1473       RICHARD UBEL LIVING                Unsecured                                                        $0.00         $7,904.68          $7,904.68
70         TRUST
7100       47283 STATE HWY 68                                 (1473-1) SBM CERTIFICATE NO. 2109.86
           NEW ULM, MN 56073




1474       DOROTHY AND DENNIS                 Unsecured                                                        $0.00        $13,625.89         $13,625.89
70         WAGNER
7100       8265 Boulder Drive                                 (1474-1) SBM Certificate No. 210708
           West Des Moines, IA 50266




1475       BROWN IONA                         Unsecured                                                        $0.00        $16,824.26         $16,824.26
70         Linda L. Lara
7100       815 So 31st St                                     (1475-1) SBM Certificate No. 210922
           FORT DODGE, IA 50501




1476       SEVERSON ORDELL                    Unsecured                                                        $0.00         $4,815.67          $4,815.67
70         3250 Lyon Lincoln Road
7100       Minneota, MN 56264                                 (1476-1) SBM Certificate No. 209986




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1477       KOLESA AND STEPHEN KIER            Unsecured                                                          $0.00         $5,853.39          $5,853.39
70         470 East Jensen
7100       NEWELL, IA 50568                                   (1477-1) SBM Certificate No. 212112




1478       DON AND LANA RIGGENBERG            Unsecured                                                          $0.00         $6,072.40          $6,072.40
70         2628 Boslanden Drive
7100       Pella, IA 50219                                    (1478-1) SBM Certificate No. 211981




1479       KRULL ELAINE                       Unsecured                                                          $0.00        $22,224.57         $22,224.57
70         1107 3RD ST SE
7100       ROCHESTER, MN 55904                                (1479-1) Account Number (last 4 digits):2046




1480       DORTHA A. HARTY                    Unsecured                                                          $0.00         $6,220.00          $6,220.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1480-1) Account Number (last 4 digits):0984




1481       DORTHA A. HARTY                    Unsecured                                                          $0.00        $12,932.00         $12,932.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1481-1) Account Number (last 4 digits):1117




1482       DORTHA A. HARTY                    Unsecured                                                          $0.00        $33,774.00         $33,774.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1482-1) Account Number (last 4 digits):1118




1483       DORTHA A. HARTY                    Unsecured                                                          $0.00        $15,484.00         $15,484.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1483-1) Account Number (last 4 digits):0931




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1484       DORTHA A. HARTY                    Unsecured                                                          $0.00         $6,585.00          $6,585.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1484-1) Account Number (last 4 digits):0983




1485       DORTHA A. HARTY                    Unsecured                                                          $0.00         $7,040.00          $7,040.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1485-1) Account Number (last 4 digits):0997




1486       DORTHA A. HARTY                    Unsecured                                                          $0.00         $6,967.00          $6,967.00
70         26496 Landon Lane
7100       Sioux Falls, SD 57107                              (1486-1) Account Number (last 4 digits):0998




1487       ELSIE BLASE                        Unsecured                                                          $0.00        $70,784.45         $70,784.45
70         310 Kasan Avenue
7100       PO Box 337                                         (1487-1) Account Number (last 4 digits):0957
           Volga, SD 57071




1488       ELSIE BLASE                        Unsecured                                                          $0.00         $4,312.00          $4,312.00
70         310 Kasan Avenue
7100       PO Box 337                                         (1488-1) Account Number (last 4 digits):1450
           Volga, SD 57071




1489       ELSIE BLASE                        Unsecured                                                          $0.00         $5,055.00          $5,055.00
70         310 Kasan Avenue
7100       PO Box 337                                         (1489-1) Account Number (last 4 digits):1369
           Volga, SD 57071




1490       ELSIE BLASE                        Unsecured                                                          $0.00         $1,488.00          $1,488.00
70         310 Kasan Avenue
7100       PO Box 337                                         (1490-1) Account Number (last 4 digits):1243
           Volga, SD 57071




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1491       YOUNG GARY                         Unsecured                                                            $0.00          $4,518.55          $4,518.55
70         C/O ROBIN YOUNG
7100       903 BELL AVE.                                      (1491-1) SBM CERTIFICATE NO. 209544
           WEBSTER CITY, IA 50595




1492       PAUL J FROMM                       Unsecured                                                            $0.00          $3,880.01          $3,880.01
70         1218 Oak Street
7100       New Ulm, MN 56073                                  (1492-1) SBM CERTIFICATE NO. 198114




1493       JEANNETTE ZIMDAHL                  Unsecured                                                            $0.00          $3,522.28          $3,522.28
70         821 CENTER STREET
7100       NEW ULM, MN 56073                                  (1493-1) SBM CERTIFICATE NO 211413




1494       JOAN M. CLOBES                     Unsecured                                                            $0.00          $1,675.69          $1,675.69
70         PO Box 135
7100       Lafayette, MN 56054                                (1494-1) SBM Certificate No. 211217(1494-2) SBM Certificate No. 211217




1495       ROOT LEONARD                       Unsecured                                                            $0.00          $3,252.72          $3,252.72
70         Cherry R. Shogren
7100       4409 99th St                                       (1495-1) SBM Certificate No. 211550
           Urbandale, IA 50322




1496       NEW ULM AREA CATHOLIC              Unsecured                                                            $0.00         $12,525.15         $12,525.15
70         SCHOOLS
7100       514 N. Washington St.                              (1496-1) SBM Certificate No. 210757
           New Ulm, MN 56073




1497       NEW ULM AREA CATHOLIC              Unsecured                                                            $0.00         $12,149.25         $12,149.25
70         SCHOOLS
7100       514 N. Washington St.                              (1497-1) SBM Certificate No. 210985
           New Ulm, MN 56073




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled              Claimed           Allowed
1498       DAVID ALTHAUS                      Unsecured                                                           $0.00              $295.21           $295.21
70         BOX 78
7100       SIOUX RAPIDS, IA 50585                             (1498-1) SBM Certificate No. 512383




1499       WILLIAM R. AND MARY C.             Unsecured                                                            $0.00          $32,174.45         $32,174.45
70         MARTIN
7100       c/o Maureen G. Kenney
           Bradley & Riley PC
           2007 1st Avenue SE
           PO Box 2804
           Cedar Rapids, IA 52406-2804
1500       JOHNSON MARCELLA                   Unsecured                                                            $0.00           $4,682.19          $4,682.19
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1500-1) SBM Certificate No. 1861647
           4404




1501       JOHNSON MARCELLA                   Unsecured                                                            $0.00           $7,137.53          $7,137.53
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1501-1) SBM Certificate No. 1861649
           4404




1502       ROGER R. AND VALERIE A.            Unsecured                                                            $0.00          $34,252.61         $34,252.61
70         PIRLET
7100       Revocable Trust                                    (1502-1) SBM Certificate No. 212064, 212065 and 212066
           43420 205th Street
           De Smet, SD 57231




1503       JOHNSON MARCELLA                   Unsecured                                                            $0.00           $4,674.49          $4,674.49
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1503-1) SBM Certificate No. 1861650
           4404




1504       JOHNSON MARCELLA                   Unsecured                                                            $0.00           $4,649.64          $4,649.64
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1504-1) SBM Certificate No. 1861651
           4404




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled             Claimed            Allowed
1505       JOHNSON MARCELLA                   Unsecured                                                           $0.00            $7,636.72          $7,636.72
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1505-1) SBM Certificate No. 1861652
           4404




1506       JOHNSON MARCELLA                   Unsecured                                                            $0.00          $10,158.48         $10,158.48
70         6601 ASTAIR AVE NW
7100       ALBUQUERQUE, NM 87120-                             (1506-1) SBM Certificate No. 1861653
           4404




1507       KAMM MARK                          Unsecured                                                            $0.00          $38,323.52         $38,323.52
70         612 MAIN
7100       PO BOX 136                                         (1507-1) SBM Certificate No. 211828
           VAN METER, IA 50261




1508       KAMM JOYCE                         Unsecured                                                            $0.00           $1,931.15          $1,931.15
70         612 MAIN STREET
7100       PO BOX 136                                         (1508-1) SBM Certificate No. 211742
           VAN METER, IA 50261




1509       HOSE EDWARD                        Unsecured                                                            $0.00           $7,788.98          $7,788.98
70         27971 200TH STREET
7100       SLEEPY EYE, MN 56085                               (1509-1) SBM Certificate No. 211113




1510       ANDERSEN VICKI                     Unsecured                                                            $0.00          $31,839.34         $31,839.34
70         45756 207TH ST
7100       ARLINGTON, SD 57212                                (1510-1) SBM Certificate No. 210644, 210640 and 210650




1511       STOAKES W KEN                      Unsecured                                                            $0.00           $5,622.16          $5,622.16
70         P O BOX 236
7100       GOLDFIELD, IA 50542                                (1511-1) SBM Certificate No. 211972




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1512       GOSTONCZIK KATHLEEN                Unsecured                                                            $0.00         $16,624.25         $16,624.25
70         127 NORTH FRANKLIN
7100       NEW ULM, MN 56073                                  (1512-1) SBM Certificate No. 210930




1513       KENNETH RIEDEMANN                  Unsecured                                                            $0.00         $19,026.31         $19,026.31
70         21398 Alcott Lane
7100       Sauk Center, MN 56378                              (1513-1) SBM Certificate No. 556370




1514       MARTIN RICHARD                     Unsecured                                                            $0.00          $7,686.17          $7,686.17
70         225 SO RINGOLD
7100       BOONE, IA 50036                                    (1514-1) SBM Certificate No. 192684




1515       JUDY ARNOLDI                       Unsecured                                                            $0.00          $3,267.28          $3,267.28
70         111 S PAFFRATH
7100       SPRINGFIELD, MN 56087                              (1515-1) SBM Certificate No. 211986




1516       FRANK JESSE                        Unsecured                                                            $0.00          $8,349.81          $8,349.81
70         PO Box 1354
7100       New York, NY 10013                                 (1516-1) SBM Certificate No. 211643




1517       RYAN GLORIA                        Unsecured                                                            $0.00          $9,323.50          $9,323.50
70         The Maples at St. John
7100       Apt. 105                                           (1517-1) SBM Certificate No. 211729(1517-2) SBM Certificate No. 211729
           301 South County Road 5
           Springfield, MN 56087




1518       BUDDENHAGEN DAVID                  Unsecured                                                            $0.00          $5,434.59          $5,434.59
70         13508 SOUTH 127TH ST
7100       SPRINGFIELD, NE 68059                              (1518-1) SBM Certificate No. 211964




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled           Claimed            Allowed
1519       CINDY ALVARADO                     Unsecured                                                            $0.00          $3,270.98          $3,270.98
70         809 MONONGALIA AVE SW
7100       WILLMAR, MN 56021                                  (1519-1) SBM Certificate No. 211092




1520       CINDY ALVARADO                     Unsecured                                                            $0.00         $12,765.21         $12,765.21
70         809 MONONGALIA AVE SW
7100       WILLMAR, MN 56021                                  (1520-1) SBM Certificate No. 210994




1521       BETTY LILLEY                       Unsecured                                                            $0.00        $110,356.39       $110,356.39
70         313 N JEFFERSON
7100       PARIS, IL 61944-2879                               (1521-1) SBM Certificate No. 210959(1521-2) SBM Certificate No. 210959




1522       PAUL M AND MARGARET                Unsecured                                                            $0.00         $24,395.47         $24,395.47
70         BAUER
7100       921 SOUTH PAYNE                                    (1522-1) SBM Certificate No. 211498
           NEW ULM, MN 56073




1523       ESPE JAYNE                         Unsecured                                                            $0.00          $4,384.30          $4,384.30
70         21280 W 106TH ST
7100       OLATHE, KS 66061                                   (1523-1) SBM Certificate No. 211959




1524       PERROTTA ELIZABETH                 Unsecured                                                            $0.00          $3,895.06          $3,895.06
70         7919 WALNUT PLACE
7100       LIVERPOOL, NY 13090                                (1524-1) SBM Certificate No. 210558




1525       WILLOUGHBY MARK                    Unsecured                                                            $0.00          $6,981.82          $6,981.82
70         1885 HWY 28
7100       OWENSVILLE, MO 65066                               (1525-1) IRA for 1989 503 Certificate




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Code #     Creditor Name And Address          Claim Class     Notes                                                Scheduled              Claimed            Allowed
1526       WILLOUGHBY JUDY                    Unsecured                                                                $0.00             $6,981.82          $6,981.82
70         1885 HWY 28
7100       OWENSVILLE, MO 65066                               (1526-1) IRA for 1989 503 Certificate




1527       ST MARYS CHURCH                    Unsecured                                                                    $0.00        $37,880.51         $37,880.51
70         ALBIA, IA 52531
7100                                                          (1527-1) Account Number (last 4 digits):0305




1528       RUTH J. AND JAMES                  Unsecured                                                                    $0.00        $40,611.99         $40,611.99
70         EDWARDS
7100       Joint Tenants                                      (1528-1) Account Number (last 4 digits):0720
           Jeffrey A. Hulton, Esquire
           1109 Grant Building
           Pittsburgh, PA 15219


1529       PATTON JOYCE                       Unsecured                                                                    $0.00       $148,076.00        $148,076.00
70         30272 Kasten Ridge Lane
7100       Adel, IA 50003                                     (1529-1) SBM Certificate No. 211277




1530       DONALD R. SANDER                   Unsecured                                                                    $0.00         $6,375.00          $6,375.00
70         512 Circle Drive
7100       Arnolds Park, IA 51331                             (1530-1) SBM Certificate No. 506365




1531       THOM ANGELINE                      Unsecured                                                                    $0.00       $145,081.87        $145,081.87
70         2115 OAK HILL AVE
7100       ASHTON, IA 51232                                   (1531-1) Certificate Investment Owner (own four certificates)




1532       JOHN AND ROSANNE LANG              Unsecured                                                                    $0.00       $292,923.95        $292,923.95
70         18627 Cedar Island Lake Road
7100       Richmond, MN 56368-8169                            (1532-1) Certificate Investment Owner (three certificates)




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1533       PATTON JOYCE                       Unsecured                                                        $0.00        $21,855.99         $21,855.99
70         30272 Kasten Ridge Lane
7100       Adel, IA 50003                                     (1533-1) SBM Certificate No. 211304




1534       HORICK CLAUDIA                     Unsecured                                                        $0.00         $4,819.84          $4,819.84
70         217 Highway 30 West - #104
7100       Mt Vernon, IA 52314                                (1534-1) SBM Certificate No. 211917




1535       HORICK CLAUDIA                     Unsecured                                                        $0.00        $23,394.27         $23,394.27
70         217 Highway 30 West - #104
7100       Mt Vernon, IA 52314                                (1535-1) SBM Certificate No. 211919




1536       KEITH W. AND BEVERLY A.            Unsecured                                                        $0.00         $1,450.86          $1,450.86
70         SMITH
7100       1855 Silver Bell Rd                                (1536-1) SBM Certificate No. 506967
           Apt 213
           Eagan, MN 55122




1537       GARNETT H. PIERCE                  Unsecured                                                        $0.00        $19,737.40         $19,737.40
70         Paula Yost
7100       305 W. Ellery Way                                  (1537-1) SBM Certificate
           Fresno, CA 93704-1506




1538       GARNETT H. PIERCE                  Unsecured                                                        $0.00        $18,432.43         $18,432.43
70         Paula Yost
7100       305 W. Ellery Way                                  (1538-1) SBM Certificate
           Fresno, CA 93704-1506




1539       MARYLYN J. EARNEST                 Unsecured                                                        $0.00        $29,677.32         $29,677.32
70         Gary A. Earnest
7100       1210 20 Ave. SW                                    (1539-1) SBM Certificate No. 210604
           Cedar Rapids, IA 52404




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1540       EDWARD AND CAROL MEIDL             Unsecured                                                            $0.00        $32,021.95         $32,021.95
70         42187 180th St.
7100       Springfield, MN 56087                              (1540-1) SBM Certificate No. 199256




1541       EFFERTZ THOMAS                     Unsecured                                                            $0.00        $18,033.03         $18,033.03
70         2050 Raspberry Ridge Pl.
7100       OWATONNA, MN 55060                                 (1541-1) SBM Certificate No. 203911




1542       MARYLYN J. EARNEST                 Unsecured                                                            $0.00        $29,677.32         $29,677.32
70         Terry L. Earnest
7100       13904 North Point Rd.                              (1542-1) SBM Certificate No. 210604
           Midlothian, VA 23112




1543       HOPCRAFT MARIE                     Unsecured                                                            $0.00        $55,509.09         $55,509.09
70         8920 MILLSTONE CIRCLE
7100       LENEXA, KS 66210                                   (1543-1) SBM Certificate No. 200475




1544       DEVINE WILLIAM                     Unsecured                                                            $0.00        $54,392.99         $54,392.99
70         1703 W 25TH ST #212
7100       SIOUX CITY, IA 51103                               (1544-1) SBM Certificate No. 200438




1545       PAYSEN LILLIAN                     Unsecured                                                            $0.00        $10,191.83         $10,191.83
70         409 W 1ST ST
7100       BOX 533                                            (1545-2) SBM Certificate No. 0172393
           WALL LAKE, IA 51466




1546       DIOCESE OF NEW ULM                 Unsecured                                                            $0.00        $27,426.47         $27,426.47
70         1400 6th Street North
7100       New Ulm, MN 56073                                  (1546-1) SBM Certificate No. 211475 and 210985




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Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled             Claimed           Allowed
1547       GEORGE H. AND FRANCES V.           Unsecured                                                          $0.00            $6,122.00         $6,122.00
70         DANFORTH
7100       BOX 569                                            (1547-1) SBM Certificate No.
           HURON, SD 57350




1548       JENNIFER ANDERSON                  Unsecured                                                          $0.00             $821.02           $821.02
70         1390 Goldfinch Avenue
7100       Audubon, IA 50025                                  (1548-1) SBM Certificate No. 162211 & 198482




1549       ROGER SINOW                        Unsecured                                                          $0.00            $2,463.06         $2,463.06
70         PO Box 5
7100       Gray, IA 50110                                     (1549-1) SBM Certificate No. 162211 & 198482




1550       ELAYNE SINOW                       Unsecured                                                          $0.00            $2,463.06         $2,463.06
70         319 S Division Street
7100       Audubon, IA 50025                                  (1550-1) SBM Certificate No. 162211 & 198482




1551       BETTY SINOW                        Unsecured                                                          $0.00            $3,694.59         $3,694.59
70         410 Main Street
7100       Manning, IA 50025                                  (1551-1) SBM Certificate No. 162211 & 198482




1552       MISTRY FAMILY TRUST                Unsecured                                                          $0.00           $18,017.63        $18,017.63
70         3844 Glasgow Way
7100       Frederick, MD 21704                                (1552-1) SBM Certificate No. 211143




1553       HAYDEN PHILLIP BRADY               Unsecured                                                          $0.00          $538,533.00      $538,533.00
70         2311 M Street NW
7100       Apt 805                                            (1553-1) Net Wages Owed/Consulting Agreement to Company Officer
           Washington, DC 20037




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1554       OTTERBACH ARTHUR AND               Unsecured                                                        $0.00        $42,289.84         $42,289.84
70         FLORENCE TRUST
7100       305 N MIAMI St                                     (1554-1) SBM Certificate No. 210150
           FRESNO, CA 93727




1555       NISHIDA SUE                        Unsecured                                                        $0.00        $16,004.71         $16,004.71
70         297 BURGAN
7100       CLOVIS, CA 93611                                   (1555-1) SBM Certificate No. 208920




1556       WILLIAM R RANDALL                  Unsecured                                                        $0.00        $26,150.77         $26,150.77
70         RANDALL AIMEE
7100       416 W. Powers Ave                                  (1556-1) SBM Certificate No. 209102
           Clovis, CA 93619




1557       MASARU AND HINAKO                  Unsecured                                                        $0.00        $55,882.84         $55,882.84
70         SASAKI
7100       9688 SOUTH FRUIT AVE                               (1557-1) SBM Certificate No. 208147
           FRESNO, CA 93706




1558       ANDERSON ORRINE                    Unsecured                                                        $0.00        $40,309.31         $40,309.31
70         1350 NATIONAL DR
7100       LEMOORE, CA 93245                                  (1558-1) SBM Certificate No. 209095




1559       YAMADA AYAKO                       Unsecured                                                        $0.00       $128,705.84        $128,705.84
70         15808 E NEBRASKA
7100       KINGSBURG, CA 93631                                (1559-1) SBM Certificate No. 211914




1560       BROWNE-MCKEAN MARY                 Unsecured                                                        $0.00         $7,582.02          $7,582.02
70         PO BOX 73
7100       RIVERDALE, CA 93656                                (1560-1) SBM Certificate No. 209040




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1561       BROWNE-MCKEAN MARY                 Unsecured                                                        $0.00        $10,961.32         $10,961.32
70         PO BOX 73
7100       RIVERDALE, CA 93656                                (1561-1) SBM Certificate No. 204794




1562       BROWNE-MCKEAN MARY                 Unsecured                                                        $0.00         $7,881.18          $7,881.18
70         PO BOX 73
7100       RIVERDALE, CA 93656                                (1562-1) SBM Certificate No. 208473




1563       BROWNE-MCKEAN MARY                 Unsecured                                                        $0.00        $10,109.39         $10,109.39
70         PO BOX 73
7100       RIVERDALE, CA 93656                                (1563-1) SBM Certificate No. 209039




1564       CALDER JOAN                        Unsecured                                                        $0.00        $25,273.44         $25,273.44
70         102 E WILLIAMETTE
7100       FRESNO, CA 93706                                   (1564-1) SBM Certificate No. 209021




1565       CALDER JOAN                        Unsecured                                                        $0.00         $2,177.05          $2,177.05
70         102 E WILLIAMETTE
7100       FRESNO, CA 93706                                   (1565-1) SBM Certificate No. 210419




1566       CALDER JOAN                        Unsecured                                                        $0.00         $4,698.81          $4,698.81
70         102 E WILLIAMETTE
7100       FRESNO, CA 93706                                   (1566-1) SBM Certificate No. 210146




1567       HANSEN FAMILY REV. LIVING          Unsecured                                                        $0.00        $25,273.41         $25,273.41
70         TRUST
7100       HANSEN RICHARD AND GAIL                            (1567-1) SBM Certificate No. 209038
           6621 S MAPLE AVE
           FRESNO, CA 93725




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1568       HAZEL R. WALL 1998 TRUST           Unsecured                                                        $0.00        $50,794.58         $50,794.58
70         E.W. Musson, Jr. TTE
7100       74 E. Willamette Ave                               (1568-1) SBM Certificate No. 208787
           Fresno, CA 93706




1569       THE HOPKINS FAMILY TRUST           Unsecured                                                        $0.00        $94,399.73         $94,399.73
70         Lynn D. Moore, TTEE
7100       1596 W SUMNER                                      (1569-1) SBM Certificate No. 203975
           FRESNO, CA 93706




1570       THE HOPKINS FAMILY TRUST           Unsecured                                                        $0.00        $46,339.90         $46,339.90
70         Lynn D. Moore, TTEE
7100       1596 W SUMNER                                      (1570-1) SBM Certificate No. 207032
           FRESNO, CA 93706




1571       THE HOPKINS FAMILY TRUST           Unsecured                                                        $0.00        $12,636.73         $12,636.73
70         Lynn D. Moore, TTEE
7100       1596 W SUMNER                                      (1571-1) SBM Certificate No. 209028
           FRESNO, CA 93706




1572       IDETA FAMILY TRUST                 Unsecured                                                        $0.00       $119,722.87        $119,722.87
70         Sharon H. Fukushima, TTEE
7100       32703 Ray Ct.                                      (1572-1) SBM Certificate No. 209568
           Visalia, CA 93292-9347




1573       INOUYE KAZUYE                      Unsecured                                                        $0.00        $15,619.22         $15,619.22
70         474 E ALLUVIAL #158
7100       FRESNO, CA 93720                                   (1573-1) SBM Certificate No. 211393




1574       KOBAYASHI RUTH                     Unsecured                                                        $0.00        $24,868.09         $24,868.09
70         24113 E SOUTH AVE
7100       REEDLEY, CA 93654                                  (1574-1) SBM Certificate No. 207295




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1575       LADD DOVIE                         Unsecured                                                        $0.00        $16,263.64         $16,263.64
70         3404 N MILLBROOK AVE, SPC
7100       74                                                 (1575-1) SBM Certificate Bo. 211479
           FRESNO, CA 93726-5870




1576       ANN G. LEWIS                       Unsecured                                                        $0.00        $20,213.87         $20,213.87
70         268 E. Barstow Ave
7100       Apt. D                                             (1576-1) SBM Certificate No. 202554
           Fresno, CA 93710




1577       LIVINGSTON FAMILY                  Unsecured                                                        $0.00        $40,219.39         $40,219.39
70         REVOCABLE TRUST
7100       LIVINGSTON STANLEY AND                             (1577-1) SBM Certificate No. 212073
           Janet
           706 West LA Vida Ave
           Visalia, CA 93277


1578       LIVINGSTON FAMILY                  Unsecured                                                        $0.00        $50,546.92         $50,546.92
70         REVOCABLE TRUST
7100       LIVINGSTON STANLEY AND                             (1578-1) SBM Certificate No. 212074
           Janet
           706 West LA Vida Ave
           Visalia, CA 93277


1579       MATSUOKA FAMILY TRUST              Unsecured                                                        $0.00        $15,849.60         $15,849.60
70         John E. Matsuoka
7100       1328 W. Palo Alto Ave                              (1579-1) SBM Certificate No. 211423
           Fresno, CA 93711-1489




1580       LANNELL JO MENDES TRUST            Unsecured                                                        $0.00        $12,636.73         $12,636.73
70         Arthur Santiangelo, TTEE
7100       1124 2nd St.                                       (1580-1) SBM Certificate No. 209019
           Clovis, CA 93612




1581       LANNELL JO MENDES TRUST            Unsecured                                                        $0.00        $25,273.41         $25,273.41
70         Arthur Santiangelo, TTEE
7100       1124 2nd St.                                       (1581-1) SBM Certificate No. 209017
           Clovis, CA 93612




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1582       LANNELL JO MENDES TRUST            Unsecured                                                        $0.00         $9,438.67          $9,438.67
70         Arthur Santiangelo, TTEE
7100       1124 2nd St.                                       (1582-1) SBM Certificate No. 209272
           Clovis, CA 93612




1583       MUKAI ESTATE TOM                   Unsecured                                                        $0.00         $2,518.18          $2,518.18
70         % KAREN SHIMIZU
7100       1437 BURNHAM                                       (1583-1) SBM Certificate No. 209041
           SELMA, CA 93662




1584       OLESEN TRUST                       Unsecured                                                        $0.00        $23,494.08         $23,494.08
70         OLESEN ARTHUR E and
7100       MARIAN TTEES                                       (1584-1) SBM Certificate No. 210184
           8347 S EAST AVENUE
           FRESNO, CA 93725




1585       OTTERBACH ARTHUR AND               Unsecured                                                        $0.00        $30,328.14         $30,328.14
70         FLORENCE TRUST
7100       305 N MIAMI St                                     (1585-1) SBM Certificate No. 209037
           FRESNO, CA 93727




1586       HILDA SOUER                        Unsecured                                                        $0.00        $12,099.27         $12,099.27
70         22446 HWY 21
7100       DELTA, IA 52550




1587       MYRON L. NAMKEN                    Unsecured                                                        $0.00        $41,708.14         $41,708.14
70         3007 5th Avenue, N.W.
7100       Watertown, SD 57201-5851                           (1587-1) SBM Certificate No. 211006




1588       JOLICOEUR LISA                     Unsecured                                                        $0.00         $7,550.95          $7,550.95
70         111 DRESDEN LANE
7100       WAVERLY, MN 55390-5420                             (1588-1) SBM Certificate No. 211611




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1589       GUSTAFSON DENNIS                   Unsecured                                                        $0.00         $7,084.21          $7,084.21
70         6618 FLOUNDER CT
7100       FARMINGTON, MN 55024                               (1589-1) SBM Certificate No. 211492




1590       GUSTAFSON DENNIS                   Unsecured                                                        $0.00        $19,503.43         $19,503.43
70         6618 FLOUNDER CT
7100       FARMINGTON, MN 55024                               (1590-1) SBM Certificate No. 211606




1591       JOLICOEUR LISA                     Unsecured                                                        $0.00         $5,005.52          $5,005.52
70         111 DRESDEN LANE
7100       WAVERLY, MN 55390-5420                             (1591-1) SBM Certificate No. 211910




1592       FRANKE CAROLYN                     Unsecured                                                        $0.00        $22,133.65         $22,133.65
70         6271 EDGEMONT BLVD
7100       MINNEAPOLIS, MN 55428                              (1592-1) SBM Certificate No. 211786




1593       TIMM WILMA                         Unsecured                                                        $0.00        $45,855.18         $45,855.18
70         1483 WALNUT STREET
7100       PRESCOTT, WI 54021                                 (1593-1) SBM Certificate No. 212012




1594       DORA M. LAWRENCE                   Unsecured                                                        $0.00         $7,682.18          $7,682.18
70         5524 N. Dakota Ave
7100       Ames, IA 50014                                     (1594-1) SBM Certificate




1595       EVERETT AND PATRICIA               Unsecured                                                        $0.00        $83,078.15         $83,078.15
70         MUSSON, Jr.
7100       74 E WILLIAMETTE                                   (1595-1) SBM Certificate No. 211128
           FRESNO, CA 93706




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1596       EVERETT AND PATRICIA               Unsecured                                                        $0.00        $25,007.79         $25,007.79
70         MUSSON, Jr.
7100       74 E WILLIAMETTE                                   (1596-1) SBM Certificate No. 209324
           FRESNO, CA 93706




1597       WILCOX LARRY                       Unsecured                                                        $0.00         $7,750.57          $7,750.57
70         2766 MCNEIL ST
7100       DUPONT, WA 98327                                   (1597-1) SBM Certificate No. 200198




1598       WILCOX LARRY                       Unsecured                                                        $0.00         $6,096.46          $6,096.46
70         2766 MCNEIL ST
7100       DUPONT, WA 98327                                   (1598-1) SBM Certificate No. 207325




1599       WILCOX LARRY                       Unsecured                                                        $0.00         $6,152.85          $6,152.85
70         2766 MCNEIL ST
7100       DUPONT, WA 98327                                   (1599-1) SBM Certificate No. 207071




1600       YOSHIYE YAMAGIWA REV               Unsecured                                                        $0.00       $311,678.32        $311,678.32
70         LIVING TRUSTE
7100       Yoshive Yamagiwa                                   (1600-1) SBM Certificate No. 209987
           1372 W. Fremont
           Fresno, CA 93711




1601       JTWROS KAREN/RONALD                Unsecured                                                        $0.00        $12,581.81         $12,581.81
70         SAMSON
7100       516 Ohio Ave.
           York, NE 68467
           York, NE 68467

1602       JTWROS KAREN SAMSON                Unsecured                                                        $0.00        $85,594.18         $85,594.18
70         RONALD SAMSON
7100       516 Ohio Ave.
           York, NE 68467
           York, NE 68467




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1603       JTWROS KAREN SAMSON                Unsecured                                                              $0.00          $10,708.59             $10,708.59
70         RONALD SAMSON
7100       516 Ohio Ave.
           York, NE 68467
           York, NE 68467

1604       MARIBETH H. NISSEN                 Unsecured                                                              $0.00          $12,580.90             $12,580.90
70         4840 10th Avenue
7100       Aurelia, IA 51005                                  (1604-1) Account Number (last 4 digits):8828




1605A      HEIRS OF JOHN E. HUISENGA,         Unsecured                                                              $0.00          $31,953.91             $31,953.91
70         DECEASED
7100       3709 W. Canton St.                                 (1605-1) Account Number (last 4 digits):1794
           Broken Arrow, OK 74012




1606       ROBERT FENNER ESTATE               Unsecured                                                              $0.00         $159,192.16            $159,192.16
70         c/o Todd D. Wilkinson, Esq.
7100       103 Joliet Ave SE                                  (1606-1) Account Number (last 4 digits):4264 (1606-2) Account Number (last 4 digits):4264
           PO Box 29
           De Smet, SD 57231




1607       DEANNA SNYDER                      Unsecured                                                              $0.00          $47,568.28             $47,568.28
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1607-1) Account Number (last 4 digits):4264 (1607-2) Account Number (last 4 digits):4264
           PO Box 29
           De Smet, SD 57231




1608       DOROTHY REESE                      Unsecured                                                              $0.00          $14,936.63             $14,936.63
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1608-1) Account Number (last 4 digits):7041 (1608-2) Account Number (last 4 digits):7041
           PO Box 29
           De Smet, SD 57231




1609       DONALD WENDEL                      Unsecured                                                              $0.00           $2,516.97              $2,516.97
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1609-1) Account Number (last 4 digits):5497 (1609-2) Account Number (last 4 digits):5497
           PO Box 29
           De Smet, SD 57231




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed               Allowed
1610       LEONARD RAETHER                    Unsecured                                                              $0.00          $66,071.76            $66,071.76
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1610-1) Account Number (last 4 digits):9436 (1610-2) Account Number (last 4 digits):9436
           PO Box 29
           De Smet, SD 57231




1611       LOUISE ANDERSON ESTATE             Unsecured                                                              $0.00           $9,572.46             $9,572.46
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1611-1) Account Number (last 4 digits):8600 (1611-2) Account Number (last 4 digits):8600
           PO Box 29
           De Smet, SD 57231




1612       CLIFTON COREY                      Unsecured                                                              $0.00          $13,827.12            $13,827.12
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1612-1) Account Number (last 4 digits):0719 (1612-2) Account Number (last 4 digits):0719
           PO Box 29
           De Smet, SD 57231




1613       ALMA MELSBY                        Unsecured                                                              $0.00          $97,380.48            $97,380.48
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1613-1) Account Number (last 4 digits):7521 (1613-2) Account Number (last 4 digits):7521
           PO Box 29
           De Smet, SD 57231




1614       HELEN JACOBSON                     Unsecured                                                              $0.00          $13,997.06            $13,997.06
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1614-1) Account Number (last 4 digits):7066 (1614-2) Account Number (last 4 digits):7066
           PO Box 29
           De Smet, SD 57231




1615       RONALD COTHER                      Unsecured                                                              $0.00          $53,585.37            $53,585.37
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1615-1) Account Number (last 4 digits):4074 (1615-2) Account Number (last 4 digits):4074
           PO Box 29
           De Smet, SD 57231




1616       PHYLLIS TASCHNER                   Unsecured                                                              $0.00          $25,131.26            $25,131.26
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1616-1) Account Number (last 4 digits):2655 (1616-2) Account Number (last 4 digits):2655
           PO Box 29
           De Smet, SD 57231




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1617       ERDEMAN STEFFENSEN                 Unsecured                                                              $0.00          $31,994.28             $31,994.28
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1617-1) Account Number (last 4 digits):4538 (1617-2) Account Number (last 4 digits):4538
           PO Box 29
           De Smet, SD 57231




1618       DONALD WIDMAN                      Unsecured                                                              $0.00          $16,472.76             $16,472.76
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1618-1) Account Number (last 4 digits):2246 (1618-2) Account Number (last 4 digits):2246
           PO Box 29
           De Smet, SD 57231




1619       LARRY JANISH                       Unsecured                                                              $0.00          $20,562.31             $20,562.31
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1619-1) Account Number (last 4 digits):2066 (1619-2) Account Number (last 4 digits):2066
           PO Box 29
           De Smet, SD 57231




1620       VERNON VEDVEI                      Unsecured                                                              $0.00          $13,896.49             $13,896.49
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1620-1) Account Number (last 4 digits):2822 (1620-2) Account Number (last 4 digits):2822
           PO Box 29
           De Smet, SD 57231




1621       LEON JOSEPHSEN                     Unsecured                                                              $0.00           $2,542.97              $2,542.97
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1621-1) Account Number (last 4 digits):8161 (1621-2) Account Number (last 4 digits):8161
           PO Box 29
           De Smet, SD 57231




1622       GERALDINE WUBBENA                  Unsecured                                                              $0.00         $194,518.30            $194,518.30
70         106 SHERWOOD AVENUE SW
7100       DE SMET, SD 57231                                  (1622-1) Account Number (last 4 digits):6166
                                                              (1622-1) CORRECTIVE ENTRY: CORRECTED CREDITOR'S ADDRESS TO ADDRESS FOR
                                                              NOTICES SHOWN ON CLAIM - JY - 10/22/13(1622-2) Account Number (last 4 digits):6166




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed                Allowed
1623       CLIFFORD POPPEN                    Unsecured                                                              $0.00           $9,548.85              $9,548.85
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1623-1) Account Number (last 4 digits):1223 (1623-2) Account Number (last 4 digits):1223
           PO Box 29
           De Smet, SD 57231




1624       BERNICE KOESTER                    Unsecured                                                              $0.00          $36,676.60             $36,676.60
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1624-1) Account Number (last 4 digits):6007
           PO Box 29
           De Smet, SD 57231




1625       ESTHER STUBBE                      Unsecured                                                              $0.00          $37,456.72             $37,456.72
70         Attn: Todd D. Wilkinson, Esq.
7100       103 Joliet Ave. SE, PO Box 29
           De Smet, SD 57231


1626       POPPEN FARMS, INC                  Unsecured                                                              $0.00         $166,243.31            $166,243.31
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1626-1) Account Number (last 4 digits):4645 (1626-2) Account Number (last 4 digits):4645
           PO Box 29
           De Smet, SD 57231




1627       CARYL POPPEN                       Unsecured                                                              $0.00           $3,754.09              $3,754.09
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1627-1) Account Number (last 4 digits):4972 (1627-2) Account Number (last 4 digits):4972
           PO Box 29
           De Smet, SD 57231




1628       GRACE WALDOW                       Unsecured                                                              $0.00          $11,087.28             $11,087.28
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1628-1) Account Number (last 4 digits):5223 (1628-2) Account Number (last 4 digits):5223
           PO Box 29
           De Smet, SD 57231




1629       NORMA CECIL                        Unsecured                                                              $0.00           $7,507.65              $7,507.65
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1629-1) Account Number (last 4 digits):2217 (1629-2) Account Number (last 4 digits):2217
           PO Box 29
           De Smet, SD 57231




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled            Claimed                Allowed
1630       BENNIE WIDMAN                      Unsecured                                                              $0.00          $26,987.79             $26,987.79
70         42850 214th St
7100       De Smet, SD 57231                                  (1630-1) Account Number (last 4 digits):4429 (1630-2) Account Number (last 4 digits):4429




1631       HUGH EVANS                         Unsecured                                                              $0.00         $383,690.88            $383,690.88
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1631-1) Account Number (last 4 digits):2696 (1631-2) Account Number (last 4 digits):2696
           PO Box 29
           De Smet, SD 57231




1632       EILEEN DOMAGALA                    Unsecured                                                              $0.00         $109,157.22            $109,157.22
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1632-1) Account Number (last 4 digits):7731 (1632-2) Account Number (last 4 digits):7731
           PO Box 29
           De Smet, SD 57231




1633       DELVIN DOMAGALA                    Unsecured                                                              $0.00           $3,262.54              $3,262.54
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE                                  (1633-1) Account Number (last 4 digits):8365
           PO Box 29
           De Smet, SD 57231




1634       LOLA K. JOHNSON                    Unsecured                                                              $0.00           $1,360.92              $1,360.92
70         21648 471st Ave.
7100       Brookings, SD 57006                                (1634-1) Account Number (last 4 digits):1943




1635       LOLA K. JOHNSON                    Unsecured                                                              $0.00           $1,727.00              $1,727.00
70         21648 471st Ave.
7100       Brookings, SD 57006                                (1635-1) Account Number (last 4 digits):1945




1636       MICHAEL J. BAKER                   Unsecured                                                              $0.00           $1,727.00              $1,727.00
70         21152 449th Ave.
7100       Arlington, SD 57212                                (1636-1) Account Number (last 4 digits):1942




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1637       MARGARET SOREN                     Unsecured                                                          $0.00        $64,725.91         $64,725.91
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE
           PO Box 29
           De Smet, SD 57231

1638       MICHAEL J. BAKER                   Unsecured                                                          $0.00         $1,152.00          $1,152.00
70         21152 449th Ave.
7100       Arlington, SD 57212                                (1638-1) Account Number (last 4 digits):1944




1639       PAULETTE M. CALLEN                 Unsecured                                                          $0.00       $101,343.09        $101,343.09
70         1101 E. 7th Street, #11
7100       Webster, SD 57274                                  (1639-1) Investment Account #xx0825




1640       KATHLEEN GARLAND                   Unsecured                                                          $0.00        $23,118.99         $23,118.99
70         REVOCABLE LIVING T
7100       1410 West Church Street
           Marshalltown, IA 50158


1641       GARY L. & KATHY K.                 Unsecured                                                          $0.00        $11,160.00         $11,160.00
70         KASPERSON
7100       1465 Arizona S.W.                                  (1641-1) Account Number (last 4 digits):1250
           Huron, SD 57350




1642       PRINCIPAL TRUST COMPANY            Unsecured                                                          $0.00         $6,033.64          $6,033.64
70         TRUSTEE
7100       c/o Diane Yost (IRA)                               (1642-1) SBM Certificate Number 200745
           P.O. Box 1089
           Hanford, CA 93232




1643       PRINCIPAL TRUST COMPANY            Unsecured                                                          $0.00         $5,083.92          $5,083.92
70         TRUSTEE
7100       c/o Diane Yost (IRA)                               (1643-1) SBM Certificate Number 204539
           P.O. Box 1089
           Hanford, CA 93232




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Code #     Creditor Name And Address          Claim Class     Notes                                      Scheduled          Claimed            Allowed
1644       PRINCIPAL TRUST COMPANY            Unsecured                                                      $0.00         $5,362.82          $5,362.82
70         TRUSTEE
7100       c/o Diane Yost (IRA)                               (1644-1) SBM Certificate Number 205983
           P.O. Box 1089
           Hanford, CA 93232




1645       RANDALL WALTER/HELEN, Jr.          Unsecured                                                      $0.00        $26,150.77         $26,150.77
70         JULIE A. RANDALL CHUTE
7100       1235 FREMONT AVE                                   (1645-1) SBM Certificate Number 209102
           CLOVIS, CA 93612




1646       RANDALL WALTER/HELEN, Jr.          Unsecured                                                      $0.00       $125,982.22        $125,982.22
70         JULIE A. RANDALL CHUTE
7100       1235 FREMONT AVE                                   (1646-1) SBM Certificate Number 209043
           CLOVIS, CA 93612




1647       RANDALL WALTER/HELEN, Jr.          Unsecured                                                      $0.00        $72,801.14         $72,801.14
70         JULIE A. RANDALL CHUTE
7100       1235 FREMONT AVE                                   (1647-1) SBM Certificate Number 209231
           CLOVIS, CA 93612




1648       STOREY GARY                        Unsecured                                                      $0.00       $308,932.75        $308,932.75
70         3115 N.VANNESS BLVD
7100       FRESNO, CA 93704-5559                              (1648-1) SBM Certificate Number 207016




1649       GARY STOREY, INC.                  Unsecured                                                      $0.00        $97,048.84         $97,048.84
70         C/O GARY STOREY
7100       3115 N. VANNESS BLVD.                              (1649-1) SBM Certificate Number 210438
           FRESNO, CA 93704




1650       SCRAMSTAD FARMS, INC.              Unsecured                                                      $0.00        $26,270.68         $26,270.68
70         c/o Neal D. McCarter
7100       4808 W. Clayton Ave.                               (1650-1) SBM Certificate Number 208479
           Fresno, CA 93706




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1651       SINOPOLI GLORIA                    Unsecured                                                          $0.00         $3,265.98          $3,265.98
70         5033 W LOCUST
7100       FRESNO, CA 93722                                   (1651-1) SBM Certificate Number 210282




1652       BYXBE EDITH                        Unsecured                                                          $0.00        $26,834.00         $26,834.00
70         6510 GLADYS AVE.
7100       EL CERRITO, CA 94530-2210                          (1652-1) SBM Certificate Number 208493




1653       GEORGE AND GLADYS                  Unsecured                                                          $0.00       $110,950.25        $110,950.25
70         TOTOIANS TTEE
7100       C/O TOTOIAN GEORGE                                 (1653-1) SBM Certificate No 211009
           3139 W ADAMS AVE.
           FRESNO, CA 93706




1654       UMEYO MAE KOYANAGI                 Unsecured                                                          $0.00        $16,445.84         $16,445.84
70         TRUST
7100       C/O DENNIS ISAD KOYANAGI,                          (1654-1) SBM Certificate No 210188
           TTEE
           5768 E. CHRISTINE AVE.
           FRESNO, CA 93727


1655       SHIGEKI TAIRA TRUST                Unsecured                                                          $0.00        $11,972.30         $11,972.30
70         C/O HARVEY A. TAIRA
7100       2388 HAMPTON                                       (1655-1) SBM Certificate No 209569
           SIMI VALLEY, CA 93063




1656       SHIGEKI TAIRA TRUST                Unsecured                                                          $0.00        $38,196.01         $38,196.01
70         C/O HARVEY A. TAIRA
7100       2388 HAMPTON                                       (1656-1) SBM Certificate No 208904
           SIMI VALLEY, CA 93063




1657       ANTHONY S. BIAGIOTTI               Unsecured                                                          $0.00         $3,736.71          $3,736.71
70         ESTATE
7100       ANNA ORGERA                                        (1657-1) Account Number (last 4 digits):1650
           ADMINISTRATOR
           ANTHONY S. BIAGIOTTI
           ESTATE
           HARRISON, NY 10528

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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1658       ANTHONY S. BIAGIOTTI               Unsecured                                                          $0.00         $2,802.52          $2,802.52
70         ESTATE
7100       ANNA ORGERA                                        (1658-1) Account Number (last 4 digits):1684
           ADMINISTRATOR
           ANTHONY S. BIAGIOTTI
           ESTATE
           HARRISON, NY 10528

1659       JILL ZUPFER                        Unsecured                                                          $0.00         $7,696.60          $7,696.60
70         2526 S Bridge Street, Trlr 20
7100       New Ulm, MN 56073                                  (1659-1) Account Number (last 4 digits):0866




1660       LYDIA KOEHLMOOS ESTATE             Unsecured                                                          $0.00        $42,496.67         $42,496.67
70         c/o Norman Koehlmoos - P.R.
7100       LeRoy Koehlmoos - P.R.
           43480 205th St.
           De Smet, SD 57231

1661       NORMAN KOEHLMOOS                   Unsecured                                                          $0.00        $78,909.00         $78,909.00
70         43480 205th St.
7100       De Smet, SD 57231




1662       HANNAH LEIGH OVERSTAKE             Unsecured                                                          $0.00         $2,067.15          $2,067.15
70         521 Bowry St., Apt. 3
7100       Iowa City, IA 52240-4823




1663       BENNIE RUHL                        Unsecured                                                          $0.00        $29,081.16         $29,081.16
70         c/o Candace Winkler
7100       PO Box 870446
           Wasilla, AK 99687


1664       GEORGE A. JOHNSON ESTATE           Unsecured                                                          $0.00         $3,436.37          $3,436.37
70         c/o Stern Dichl Cornish & Jensen
7100       PO Box 86
           Albert City, IA 50510


1665       DARLENE M. JOHNSON                 Unsecured                                                          $0.00         $6,227.30          $6,227.30
70         ESTATE
7100       c/o Stern Dichl Cornish & Jensen
           PO Box 86
           Albert City, IA 50510




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled           Claimed           Allowed
1666       ANGELA MACE                        Unsecured                                                          $0.00           $821.02           $821.02
70         2614 Hemel Drive
7100       Pella, IA 50219




1667       VIRGINIA L. JOHNSON                Unsecured                                                          $0.00        $16,288.95         $16,288.95
70         c/o Robert Shaw
7100       2302 W. 1st Street, Ste. 201H
           Cedar Falls, IA 50613


1668       OKOBOJI LAKES BIBLE &              Unsecured                                                          $0.00         $5,497.67          $5,497.67
70         MISSIONARY CO
7100       Conference
           Attn: Richard Porter
           PO Box 709
           Arnolds Park, IA 51331
1669       CASEY N BRIDGMAN                   Unsecured                                                          $0.00         $8,080.70          $8,080.70
70         22899 380th Avenue
7100       Wessington Springs, SD 57382                       (1669-1) Account Number (last 4 digits):6111




1670       CASEY N BRIDGMAN                   Unsecured                                                          $0.00         $3,944.73          $3,944.73
70         22899 380th Avenue
7100       Wessington Springs, SD 57382                       (1670-1) Account Number (last 4 digits):6111




1671       VALINDA D BRIDGMAN                 Unsecured                                                          $0.00         $3,944.73          $3,944.73
70         22899 380th Avenue
7100       Wessington Springs, SD 57382                       (1671-1) Account Number (last 4 digits):3732




1672       JASON WILLIAM DEWITT               Unsecured                                                          $0.00         $9,800.00          $9,800.00
70         1028 East Main Street
7100       Ventura, CA 93001




1673       CLAREN L. RAWSON AND E.            Unsecured                                                          $0.00        $10,204.91         $10,204.91
70         RUTH RAWSON
7100       515 N.4th Street
           PO Box 486
           Carlisle, IA 50047




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1674       STEELE LAWRENCE                    Unsecured                                                          $0.00         $7,840.69          $7,840.69
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1674-1) SBM Certificate No. 3869
                                                              (1674-2) Account Number (last 4 digits):3869




1675       STEELE LAWRENCE                    Unsecured                                                          $0.00         $7,866.65          $7,866.65
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1675-1) SBM Certificate No. 8031
                                                              (1675-2) Account Number (last 4 digits):8031




1676       STEELE LAWRENCE                    Unsecured                                                          $0.00         $7,902.23          $7,902.23
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1676-1) SBM Certificate No. 2136
                                                              (1676-2) Account Number (last 4 digits):2136




1677       STEELE LAWRENCE                    Unsecured                                                          $0.00         $7,925.73          $7,925.73
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1677-1) SBM Certificate No. 2137




1678       STEELE LAWRENCE                    Unsecured                                                          $0.00        $83,624.05         $83,624.05
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1678-1) SBM Certificate No. 1223
                                                              (1678-2) Account Number (last 4 digits):1223




1679       STEELE LAWRENCE                    Unsecured                                                          $0.00        $84,908.09         $84,908.09
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1679-1) SBM Certificate No. 2135
                                                              (1679-2) Account Number (last 4 digits):2135




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Code #     Creditor Name And Address          Claim Class     Notes                                          Scheduled          Claimed            Allowed
1680       CATTANEO JOSEPH                    Unsecured                                                          $0.00        $16,004.71         $16,004.71
70         1513 EMERSON AVENUE
7100       MCLEAN, VA 22101                                   (1680-1) SBM Certificate No. 211767




1681       DALZELL LOIS                       Unsecured                                                          $0.00        $26,961.15         $26,961.15
70         C/O MARGARET WOLFE
7100       9523 DILLWOOD ROAD                                 (1681-1) SBM Certificate No. 208223
           OAKDALE, CA 95361




1682       SCHMIDT ADENA                      Unsecured                                                          $0.00        $40,558.14         $40,558.14
70         C/O DENNIS SCHMIDT
7100       1567 NORTH THESTA                                  (1682-1) SBM Certificate No. 211627
           FRESNO, CA 93703-3703




1683       SHARER SALLY                       Unsecured                                                          $0.00        $56,619.97         $56,619.97
70         14180 E SHEPHERD AVE
7100       CLOVIS, CA 93619                                   (1683-1) SBM Certificate No. 210193




1684       TTEE JOYCE COX                     Unsecured                                                          $0.00        $38,887.63         $38,887.63
70         C/O DAVID COX
7100       3244 SOUTH JOHNSON                                 (1684-1) SBM Certificate No.211642
           VISALIA, CA 93277-7425




1685       STEELE LAWRENCE                    Unsecured                                                          $0.00        $32,090.73         $32,090.73
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1685-1) SBM Certificate No. 211980
                                                              (1685-2) Account Number (last 4 digits):1980




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1686       STEELE LAWRENCE                    Unsecured                                                          $0.00        $32,090.73         $32,090.73
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1686-1) SBM Certificate No. 1979




1687       STEELE LAWRENCE                    Unsecured                                                          $0.00        $64,768.31         $64,768.31
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1687-1) SBM Certificate No. 1222
                                                              (1687-2) Account Number (last 4 digits):1222




1688       STEELE LAWRENCE                    Unsecured                                                          $0.00         $6,655.52          $6,655.52
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1688-1) SBM Certificate No. 8032
                                                              (1688-2) Account Number (last 4 digits):8032




1689       STEELE LAWRENCE                    Unsecured                                                          $0.00         $6,617.60          $6,617.60
70         6015 NORTH SPALDING
7100       FRESNO, CA 93710                                   (1689-1) SBM Certificate No. 3870
                                                              (1689-2) Account Number (last 4 digits):3870




1690       MADDOX DREW                        Unsecured                                                          $0.00         $2,952.55          $2,952.55
70         1150 E SIERRA
7100       FRESNO, CA 93710                                   (1690-1) SBM Certificate No. 208229




1691       RATMEYER CATHERINE                 Unsecured                                                          $0.00        $25,442.12         $25,442.12
70         1416 S CHURCH AVENUE
7100       PO BOX 1382 (must use)                             (1691-1) SBM Certificate No. 210114
           REEDLEY, CA 93654-1382




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1692       HELEN EGO AND SHUNKICHI            Unsecured                                                        $0.00        $18,387.04         $18,387.04
70         EGO JT
7100       ATTN: LEAH KAWAHARA                                (1692-1) SBM Certificate No. 208511
           4365 VALLEY DR.
           SANTA MARIA, CA 93455




1693       GRAVES LENORA                      Unsecured                                                        $0.00         $6,178.68          $6,178.68
70         c/o VIRGINIA L. MCKEE
7100       20440 AVENUE 380                                   (1693-1) SBM Certificate No.207094
           WOODLAKE, CA 93286




1694       GRAVES LENORA                      Unsecured                                                        $0.00        $19,588.09         $19,588.09
70         c/o VIRGINIA L. MCKEE
7100       20440 AVENUE 380                                   (1694-1) SBM Certificate No.199499
           WOODLAKE, CA 93286




1695       JOHNSON FAMILY REV                 Unsecured                                                        $0.00         $7,513.03          $7,513.03
70         LIFETIME TR
7100       C/O WALTER A. JOHNSON                              (1695-1) SBM Certificate No. 204961
           TRUSTEE
           9662 E CORTE TORRE DEL SOL
           TUSCON, AZ 85748


1696       JOHNSON FAMILY REV                 Unsecured                                                        $0.00         $8,023.29          $8,023.29
70         LIFETIME TR
7100       C/O WALTER A. JOHNSON                              (1696-1) SBM Certificate No. 204960
           TRUSTEE
           9662 E CORTE TORRE DEL SOL
           TUSCON, AZ 85748


1697       JOHNSON TRUST ELSIE                Unsecured                                                        $0.00        $20,376.85         $20,376.85
70         STEPHEN HELM & NANCY
7100       HELM, CO-TTEES                                     (1697-1) SBM Certificate No.210766
           12376 345TH ST
           FOREST CITY, IA 50436




1698       SCHWIERJOHANN EDWARD               Unsecured                                                        $0.00        $11,571.46         $11,571.46
70         C/O NORENE M.
7100       SCHWEIRIJOHANN                                     (1698-1) SBM Certificate No. 211784
           1000 GRANT STREET
           SHEFFIELD, IA 50475




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled            Claimed           Allowed
1699       DESMET CEMETERY ASSOC              Unsecured                                                           $0.00          $10,000.00        $10,000.00
70         C/O ROGER OSTHUS
7100       BOX 120                                            (1699-1) OTHER
           DE SMET, SD 57231




1700       BUDDENHAGEN JAMES                  Unsecured                                                            $0.00          $5,219.63         $5,219.63
70         1003 8TH ST S
7100       HUMBOLDT, IA 50548                                 (1700-1) SBM Certificate No.211966




1701       WILSON GAYLEN                      Unsecured                                                            $0.00          $1,373.33         $1,373.33
70         113 WILLOW ST, APT. 9
7100       THORNTON, IA 50479                                 (1701-1) SBM Certificate No. 0557036




1702       SECOR JANET                        Unsecured                                                            $0.00         $13,270.34        $13,270.34
70         1714 PARAGON AVE
7100       FORT DODGE, IA 50501                               (1702-1) SBM Certificate No.0511342




1703       LANGENESS DOROTHY                  Unsecured                                                            $0.00         $13,190.42        $13,190.42
70         805 FOREST AVE, APT. 116
7100       NORTHFIELD, MN 55057                               (1703-1) SBM Certificate No.7762(1703-2) SBM Certificate No.7762




1704       MICHAEL AND DEBORAH                Unsecured                                                            $0.00         $25,170.47        $25,170.47
70         LONG
7100       10199 N PONDEROSA                                  (1704-1) SBM Certificate No.209942
           FRESNO, CA 93720




1705       HAROLD AND MARY                    Unsecured                                                            $0.00         $50,970.47        $50,970.47
70         JOHNSON
7100       27836 DURANT ST NE                                 (1705-1) SBM Certificate No.7282
           ISANTI, MN 55040




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Code #     Creditor Name And Address          Claim Class     Notes                                            Scheduled             Claimed           Allowed
1706       DANIEL E. HIRTH CLFC CLU           Unsecured                                                            $0.00           $11,374.20        $11,374.20
70         C/O DANIEL E. HIRTH
7100       1515 NORTH BROADWAY                                (1706-1) REPRESENTATIVE FOR SBM UNPAID COMMISSIONS
           NEW ULM, MN 56073




1707       CHRISTIANSON LAVERN                Unsecured                                                            $0.00            $4,911.90         $4,911.90
70         685 VERONA AVENUE
7100       WINDOM, MN 56101                                   (1707-1) SBM Certificate No. 502547




1708       BLADES DOLORES                     Unsecured                                                            $0.00           $13,991.76        $13,991.76
70         c/o Keith J. Blades
7100       3324 E. Lansing way                                (1708-1) SBM Certificate No.209214
           Fresno, CA 93726




1709       MATA RICHARD                       Unsecured                                                            $0.00           $10,602.72        $10,602.72
70         c/o LISA GIEFER
7100       2106 PEREGRINE LN                                  (1709-1) SBM Certificate No.1424
           NORTH MANKATO, MN 56003




1710       NEUMANN BETTY                      Unsecured                                                            $0.00           $42,884.84        $42,884.84
70         c/o Paul Bucher
7100       PO Box 549                                         (1710-1) SBM Certificate No. 7450
           Rochester, MN 55903-0549




1711       WEISINGER SUSAN                    Unsecured                                                            $0.00            $5,961.79         $5,961.79
70         41301 135TH STREET
7100       WASECA, MN 56093                                   (1711-1) SBM Certificate No. 2331(1711-2) SBM Certificate No. 2331




1712       HANSON ANDREA                      Unsecured                                                            $0.00           $12,539.56        $12,539.56
70         C/O DAN HANSON
7100       2228 JESSICA LANE                                  (1712-1) SBM Certificate No.4688
           CORALVILLE, IA 52241-2890




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Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1713       DRAMSTAD LEANN                     Unsecured                                                        $0.00        $10,085.56         $10,085.56
70         BOX 337
7100       HURON, SD 57350




1714       DRAMSTAD RUSSEL                    Unsecured                                                        $0.00        $10,085.56         $10,085.56
70         BOX 337
7100       HURON, SD 57350




1715       DRAMSTAD RUSSEL                    Unsecured                                                        $0.00        $10,082.52         $10,082.52
70         BOX 337
7100       HURON, SD 57350




1716       ESTATE OF LUCILLE M GEIER          Unsecured                                                        $0.00        $20,000.00         $20,000.00
70         BY SON DE
7100       4510 Kathrene Drive
           Brooklyn Center, MN 55429


1717       HAZEL M. HARRIS                    Unsecured                                                        $0.00        $80,000.00         $80,000.00
70         1331 Glenwood Avenue
7100       Ottumwa, IA 52501-4922




1718       EVERETT AND PATRICIA               Unsecured                                                        $0.00        $26,456.23         $26,456.23
70         MUSSON, Jr.
7100       74 E WILLIAMETTE                                   (1718-1) SBM Certificate No. 208135
           FRESNO, CA 93706




1719       GROSS BRADLEY                      Unsecured                                                        $0.00         $4,369.79          $4,369.79
70         110 PLEASANT BLVD
7100       SPENCER, IA 51301




1720       WILCOX HELENA                      Unsecured                                                        $0.00        $17,377.66         $17,377.66
70         2348 WEST ALPINE
7100       STOCKTON, CA 95204




1721       RICHARD ARONSON AND                Unsecured                                                        $0.00        $57,911.03         $57,911.03
70         SANDRA ARONSON
7100       407 Elm St., PO Box 441
           Albert City, IA 50510



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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
1722       HAROLD W. THORESON                 Unsecured                                                              $0.00         $84,480.40         $84,480.40
70         100 28th Ave., SE, #114
7100       Watertown, SD 57201




1723       GERTRUDE THORESON                  Unsecured                                                              $0.00         $24,834.46         $24,834.46
70         c/o Harold Thoreson, Personal
7100       Representa
           100 28th Ave., SE, #114
           Watertown, SD 57201

1724       MYRON ANDERSEN                     Unsecured                                                              $0.00              $0.00              $0.00
70         BOX 123
7100       BADGER, SD 57214                                   (1724-1) Amount not indicated though exhibits indicate $5869.50




1725       MYRON ANDERSEN                     Unsecured                                                              $0.00         $10,400.00         $10,400.00
70         BOX 123
7100       BADGER, SD 57214




1726       CAROL OXENFORD                     Unsecured                                                              $0.00         $41,427.42         $41,427.42
70         820 Brighton Dr.
7100       Waukee, IA 50263




1727       MOLLY JACOBS                       Unsecured                                                              $0.00            $821.02           $821.02
70         732 17th Street SE
7100       Owatonna, MN 55060




1734       KOLBE DOUGLAS                      Unsecured                                                              $0.00         $20,523.54         $20,523.54
70         1014 ALMAR PL
7100       OWATONNA, MN 55060




1735       HYNES PATRICIA                     Unsecured                                                              $0.00          $5,433.14          $5,433.14
70         227 E 1ST STREET
7100       SPENCER, IA 51301




1736       KOLBE DOUGLAS                      Unsecured                                                              $0.00         $20,523.54         $20,523.54
70         1014 ALMAR PL
7100       OWATONNA, MN 55060




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Code #     Creditor Name And Address           Claim Class     Notes                               Scheduled          Claimed            Allowed
1737       HYNES JAMES                         Unsecured                                               $0.00         $5,433.14          $5,433.14
70         227 E 1ST STREET
7100       SPENCER, IA 51301




1738       CATHERINE KIRSCHBAUM                Unsecured                                               $0.00         $7,924.82          $7,924.82
70         1805 2nd Ave. East
7100       Spencer, IA 51301




1739       KOLBE DOUGLAS                       Unsecured                                               $0.00        $20,523.54         $20,523.54
70         1014 ALMAR PL
7100       OWATONNA, MN 55060




1740       BERNICE KOESLER                     Unsecured                                               $0.00        $36,676.60         $36,676.60
70         Attn: Todd D. Wilkinson, Attorney
7100       103 Joliet Ave SE, PO Box 29
           De Smet, SD 57231


1742       BERNICE BACK                        Unsecured                                               $0.00        $20,363.36         $20,363.36
70         905 9TH AVENUE W
7100       SPENCER, IA 51301




1743       ESTATE OF MILDRED SEECK             Unsecured                                               $0.00         $6,585.84          $6,585.84
70         c/o Abram V. Carls
7100       Day Rettig Peiffer, PC
           PO Box 2877
           Cedar Rapids, IA 52406-2877

1744       JOHANNSEN VICKI                     Unsecured                                               $0.00         $5,936.27          $5,936.27
70         1402 4TH AVENUE WEST
7100       SPENCER, IA 51301




1745       GEORGE K. SELZER                    Unsecured                                               $0.00        $10,643.70         $10,643.70
70         c/o Lance K. Selzer
7100       832 4th St. S.W.
           Spencer, IA 51301


1746       SCHIFERL DONALD                     Unsecured                                               $0.00        $96,864.02         $96,864.02
70         949 7TH STREET
7100       LAKE VIEW, IA 51450




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Code #     Creditor Name And Address          Claim Class     Notes                               Scheduled          Claimed            Allowed
1747       CARYL POPPEN                       Unsecured                                               $0.00         $9,548.85          $9,548.85
70         Wilkinson & Wilkinson
7100       103 Joliet Ave SE
           PO Box 29
           De Smet, SD 57231

1748       KRUMMEN LORY                       Unsecured                                               $0.00        $18,310.34         $18,310.34
70         5080 180TH AVENUE
7100       LINN GROVE, IA 51033




1749       DELANEY JANET                      Unsecured                                               $0.00        $13,262.61         $13,262.61
70         1858 130TH AVE
7100       LAKE PARK, IA 51347




1750       CABLE CONNIE                       Unsecured                                               $0.00        $13,262.61         $13,262.61
70         1979 190TH ST
7100       MILFORD, IA 51351




1751       HOFFMAN LESLIE                     Unsecured                                               $0.00        $13,262.61         $13,262.61
70         1502 8TH ST
7100       MILFORD, IA 51351




1752       WILLISON PERRY                     Unsecured                                               $0.00        $13,262.61         $13,262.61
70         1601 190TH ST
7100       MILFORD, IA 51351




1753       RYAN JOHANNSEN                     Unsecured                                               $0.00         $5,905.97          $5,905.97
70         1402 4th Ave., W
7100       Spencer, IA 51301




1754       TOSHIA JOHANNSEN-CASEY             Unsecured                                               $0.00         $8,111.64          $8,111.64
70         819 E 12th Street
7100       Spencer, IA 51301




1766       GEORGE AND CARONLINE               Unsecured                                               $0.00        $22,389.26         $22,389.26
70         KLOTZ
7100       216 HESS AVENUE
           HELLERTOWN, PA 18055




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Code #     Creditor Name And Address          Claim Class     Notes                                           Scheduled           Claimed            Allowed
1791       BRIAN KOSEL                        Unsecured                                                           $0.00         $10,550.66         $10,550.66
70         5825 NW 50th St.
7100       Owatonna, MN 55060                                 (1791-1) Amends Claim 1443 SBM Certificate 209703




1792       MARSHA RENNER                      Unsecured                                                           $0.00         $10,550.66         $10,550.66
70         9250 Charles Street
7100       Waconnia, MN 55387                                 (1792-1) Amends Claim 1443 SBM Certificate 209703




1793       KEVIN KOSEL                        Unsecured                                                           $0.00         $10,550.66         $10,550.66
70         CO 101 34098
7100       Redwood Falls, MD 56283                            (1793-1) Amends Claim 1443 SBM Certificate 209703




1794       LUCINA DUSCHER                     Unsecured                                                           $0.00          $9,923.76          $9,923.76
70         c/o Karen A. McCarthy TOD
7100       9716 6th St. NE                                    (1794-1) SBM Certificate No. 211027 - Also Amends Claim 1449
           Blaine, MN 55434




1795       LUCINA DUSCHER                     Unsecured                                                           $0.00         $20,555.40         $20,555.40
70         c/o Karen A. McCarthy TOD
7100       9716 6th St. NE                                    (1795-1) SBM Certificate No. 211713 - Also Amends Claim 1450
           Blaine, MN 55434




1796       LUCINA DUSCHER                     Unsecured                                                           $0.00         $20,555.40         $20,555.40
70         c/o John H. Duscher TOD
7100       635 Plum Avenue                                    (1796-1) SBM Certificate No. 211713 - Also Amends Claim 1450
           Windom, MN 56101




1797       LUCINA DUSCHER                     Unsecured                                                           $0.00          $9,923.76          $9,923.76
70         c/o John H. Duscher TOD
7100       635 Plum Avenue                                    (1797-1) SBM Certificate No. 211027 - Also Amends Claim 1449
           Windom, MN 56101




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Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled           Claimed            Allowed
1798       LUCINA DUSCHER                     Unsecured                                                              $0.00         $20,555.40         $20,555.40
70         c/o Gregory S. Duscher TOD
7100       3793 Blackbank Ridge Circle                        (1798-1) SBM Certificate No. 211713 - Also Amends Claim 1450
           Eagan, MN 55122




1799       LUCINA DUSCHER                     Unsecured                                                              $0.00          $9,923.76          $9,923.76
70         c/o Gregory S. Duscher TOD
7100       3793 Blackbank Ridge Circle                        (1799-1) SBM Certificate No. 211027 - Also Amends Claim 1449
           Eagan, MN 55122




1800       LUCINA DUSCHER                     Unsecured                                                              $0.00         $20,555.40         $20,555.40
70         c/o Joel W. Duscher TOD
7100       1008 N 2nd Ave                                     (1800-1) SBM Certificate No. 211713 - Also Amends Claim 1450
           Norton, KS 67654




1801       LUCINA DUSCHER                     Unsecured                                                              $0.00          $9,923.76          $9,923.76
70         c/o Joel W. Duscher TOD
7100       1008 N 2nd Ave                                     (1801-1) SBM Certificate No. 211027 - Also Amends Claim 1449
           Norton, KS 67654




1802       LUCINA DUSCHER                     Unsecured                                                              $0.00          $9,923.76          $9,923.76
70         c/o Susan K. Floodman TOD
7100       327 8th Ave SW                                     (1802-1) SBM Certificate No. 211027 - Also Amends Claim 1449
           Faribault, MN 55021




1803       LUCINA DUSCHER                     Unsecured                                                              $0.00         $20,555.40         $20,555.40
70         c/o Susan K. Floodman TOD
7100       327 8th Ave SW                                     (1803-1) SBM Certificate No. 211713 - Also Amends Claim 1450
           Faribault, MN 55021




1805       HENSHAW BELLENE                    Unsecured                                                              $0.00         $45,445.54         $45,445.54
70         15015 ILLINOIS ROAD
7100       WOODBRIDGE, VA 22191                               Claim added by court on 12/12/18; date stamped entered 6/24/13




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Code #     Creditor Name And Address          Claim Class        Notes                               Scheduled          Claimed            Allowed
           MERRILL COHEN                      Administrative                                             $0.00        $29,832.33         $29,832.33
100        2600 TOWER OAKS
2100       BOULEVARD
           ROCKVILLE, MD 20852


           MERRILL COHEN                      Administrative                                             $0.00        $14,200.34         $14,200.34
100        2600 TOWER OAKS
2200       BOULEVARD
           ROCKVILLE, MD 20852


A12        CITY OF NEW ULM                    Administrative                                             $0.00         $1,118.24          $1,118.24
100
2410




A21        BEYOND REAL ESTATE                 Administrative                                             $0.00           $170.00           $170.00
100        C/O SUE ROTHMEIER
2420       4 N MINNESOTA
           NEW ULM, MN 56073


A14        BANK MIDWEST INSURANCE-            Administrative                                             $0.00         $3,856.25          $3,856.25
100        NU
2420                                                             PROPERTY INS




A3         Clerk of the Circuit Court for     Administrative                                             $0.00           $222.00           $222.00
100        Montgomery County
2700       50 Maryland Avenue
           Rockville, MD 20850


A7         STATE OF NEW JERSEY -CBG           Administrative                                             $0.00           $519.00           $519.00
100
2820




A9         STATE OF NEW JERSEY -CBT           Administrative                                             $0.00         $1,917.82          $1,917.82
100        STATE OF NEW JERSEY, DIV
2820       OF TAXATION
           REVENUE PROCESSING
           CENTER

A10        STATE OF NEW JERSEY                Administrative                                             $0.00           $576.35           $576.35
100
2820




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A8         MINNESOTA REVENUE                  Administrative                                                $0.00         $3,700.00          $3,700.00
100        MAIL STATION 1250
2820       ST. PAUL, MN 55145                                    CK 13
                                                                 CK 15




A18        CHRIS L. BURMEISTER                Administrative                                                $0.00           $480.00           $480.00
100
2990




A16        GLOBAL DOCUMENT                    Administrative                                                $0.00         $2,405.95          $2,405.95
100        DESTRUCTION
2990       PO BOX 71411
           NEWMAN, GA


A20        MODUS EDISCOVERY INC               Administrative                                                $0.00         $1,535.57          $1,535.57
100        TWO RAVINIA DRIVE
2990       SUITE 1570
           ATLANTA, GA 30346


A5         BIENSTOCK LAW LLC                  Administrative                                                $0.00           $150.00           $150.00
100        401 EAST JEFFERSON STREET
2990       SUITE 208
           ROCKVILLE, MD


A15        THE PICKER-UPPERS LLC              Administrative                                                $0.00           $385.00           $385.00
100        PO BOX 638
2990       NEW ULM, MN




A11a       New Ulm Public Utilities           Administrative                                                $0.00         $1,631.62          $1,631.62
100
2990                                                             UTILITIES acct 02-205050-02




A11c       New Ulm Public Utilities           Administrative                                                $0.00         $2,009.52          $2,009.52
100
2990                                                             Utility Acct No. 02-205060-04




A11b       New Ulm Public Utilities           Administrative                                                $0.00        $11,432.91         $11,432.91
100
2990




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A17        SHRED RIGHT                        Administrative                                             $0.00           $447.72           $447.72
100        862 HERSEY STREET
2990       ST. PAUL, MN 55114




A19        PETER ROTHMEIER                    Administrative                                          $800.00            $800.00           $800.00
100        2404 LAKE AVENUE
2990       NEW ULM, MN




A13        RIVER VIEW SANITATION INC.         Administrative                                             $0.00           $447.96           $447.96
100        PO BOX 338
2990       NEW ULM, MN 56073




A4         ESQ PROCESS SERVERS                Administrative                                             $0.00            $65.00            $65.00
100
2990




A6         SUBURBAN REPORTING                 Administrative                                             $0.00           $412.25           $412.25
100        SERVICE
2990




           COHEN, BALDINGER &                 Administrative                                             $0.00        $13,419.70         $13,419.70
100        GREENFELD
3110       COHEN
           BALDINGER & GREENFELD,
           LLC

           WHITEFORD TAYLOR                   Administrative                                             $0.00        $46,056.00         $46,056.00
100        PRESTON LLP
3210




           ZUCKERMAN SPAEDER LLP              Administrative                                             $0.00       $158,156.15        $158,156.15
100        ZUCKERMAN SPAEDER LLP
3210




           WHITEFORD TAYLOR                   Administrative                                             $0.00           $601.30           $601.30
100        PRESTON LLP
3220




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Case Number: 0:13-17282-TJC                                                                                                           Date: December 12, 2018
Debtor Name: SBM CERTIFICATE COMPANY
Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class        Notes                                         Scheduled          Claimed            Allowed
           ZUCKERMAN SPAEDER LLP              Administrative                                                       $0.00         $3,890.31          $3,890.31
100        ZUCKERMAN SPAEDER LLP
3220




           MENDELSON & MENDELSON,             Administrative                                                       $0.00        $15,068.75         $15,068.75
100        CPA'S A PC
3410       12505 Park Potomac Place, Suite
           250
           Potomac, MD 20854

           MENDELSON & MENDELSON,             Administrative                                                       $0.00            $62.69            $62.69
100        CPA'S A PC
3420       12505 Park Potomac Place, Suite
           250
           Potomac, MD 20854

1733       ELMER THOM                         Unsecured                                                            $0.00        $19,959.56         $19,959.56
350        c/o Royce Ranniger
7200       The Catholic School Foundation
           PO Box 3379
           Sioux City, IA 51102

1741       KOESTNER RICHARD                   Unsecured                                                            $0.00         $1,313.11          $1,313.11
350        511 East 1st St - #61
7200       Huxley, IA 50124                                      (1741-1) SBM Certificate No. 0557456




1755       BRUCE ARTHERHOLT                   Unsecured                                                            $0.00         $5,557.69          $5,557.69
350        1116 E Corning Street
7200       Red Oak, IA 51566                                     (1755-1) SBM Certificate No. 510247




1756       HOFFMANN PHYLLIS TOD               Unsecured                                                            $0.00         $3,267.28          $3,267.28
350        19519 230th Ave
7200       Sleepy Eye, MN 56085                                  (1756-1) SBM Certificate No. 211983




1757       TARBELL LOAL                       Unsecured                                                            $0.00         $1,786.24          $1,786.24
350        1320 E GRANT
7200       CENTERVILLE, IA 52544                                 (1757-1) SBM Certificate No. 211990




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1758       WALTER NICK, Jr.                   Unsecured                                                        $0.00         $1,741.87          $1,741.87
350        37556 CTY HWY 16
7200       CLEMENTS, MN 56224                                 (1758-1) SBM Certificate No. 203702




1759       NETERVAL RUSSELL                   Unsecured                                                        $0.00         $8,828.51          $8,828.51
350        3874 320 St.
7200       Cushing, MN 56443                                  (1759-1) SBM Certificate 210906




1760       PARLET GENEVIEVE                   Unsecured                                                        $0.00        $16,417.37         $16,417.37
350        352 WATER OAK
7200       GOOSE CREEK, SC 29445                              (1760-1) SBM Certificate No. 198654




1761       PARLET GENEVIEVE                   Unsecured                                                        $0.00        $16,417.37         $16,417.37
350        352 WATER OAK
7200       GOOSE CREEK, SC 29445                              (1761-1) SBM Certificate No. 198653




1762       MARKUS J ZINNIKER                  Unsecured                                                        $0.00        $14,715.00         $14,715.00
350        N 7399 Bowers Rd
7200       Elkhorn, WI 53121                                  (1762-1) SBM Certificate No. 211591




1763       MARKUS J ZINNIKER                  Unsecured                                                        $0.00        $15,007.00         $15,007.00
350        N 7399 Bowers Rd
7200       Elkhorn, WI 53121                                  (1763-1) SBM Certificate No. 211592




1764       MARKUS J ZINNIKER                  Unsecured                                                        $0.00        $14,366.00         $14,366.00
350        N 7399 Bowers Rd
7200       Elkhorn, WI 53121                                  (1764-1) SBM Certificate No. 211590




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                              Scheduled          Claimed            Allowed
1765       SCHULTZ KENNETH                    Unsecured                                                              $0.00         $1,041.24          $1,041.24
350        907 1ST AVE W
7200       NEWTON, IA 50208                                   (1765-1) Invested Money with SBM Certificate Co.




1767       WOLTER DWAIN                       Unsecured                                                              $0.00         $1,314.28          $1,314.28
350        1719 T AVENUE
7200       SOUTH AMANA, IA 52334-8520                         (1767-1) Certificate Investor




1768       IRWIN AND FLORENCE                 Unsecured                                                              $0.00        $10,000.00         $10,000.00
350        CHRISTENSON
7200       Trust                                              (1768-1) Money Invested with SBM
           c/o Alice M. Butler, Trustee
           3767 Grey Dove Lane
           Eagan, MN 55122


1769       DEBBIE THOMAS                      Unsecured                                                              $0.00         $6,000.00          $6,000.00
350        5973 Piney Grove Way
7200       Gainesville, VA 20155




1770       DOUGLAS J. REIN                    Unsecured                                                              $0.00         $2,606.41          $2,606.41
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1770-1) SBM Certificate No. 210823




1771       NANCY J. HARDER TOD                Unsecured                                                              $0.00         $2,606.41          $2,606.41
350        1324 No. Court
7200       LeSueur, MN 56058                                  (1771-1) SBM Certificate No. 210823




1772       REIN MICHAEL                       Unsecured                                                              $0.00         $2,205.42          $2,205.42
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1772-1) SBM Certificate No. 210823




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1773       NANCY J. HARDER TOD                Unsecured                                                        $0.00         $3,978.00          $3,978.00
350        1324 No. Court
7200       LeSueur, MN 56058                                  (1773-1) SBM Certificate No. 211053




1774       REIN MICHAEL                       Unsecured                                                        $0.00         $3,366.00          $3,366.00
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1774-1) SBM Certificate No. 211053




1775       DOUGLAS J. REIN                    Unsecured                                                        $0.00         $3,978.00          $3,978.00
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1775-1) SBM Certificate No. 211053




1776       DOUGLAS J. REIN                    Unsecured                                                        $0.00         $2,751.46          $2,751.46
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1776-1) SBM Certificate No. 210824




1777       NANCY J. HARDER TOD                Unsecured                                                        $0.00         $2,751.46          $2,751.46
350        1324 No. Court
7200       LeSueur, MN 56058                                  (1777-1) SBM Certificate No. 210824




1778       REIN MICHAEL                       Unsecured                                                        $0.00         $2,328.16          $2,328.16
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1778-1) SBM Certificate No. 210824




1779       DOUGLAS J. REIN                    Unsecured                                                        $0.00         $2,094.65          $2,094.65
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1779-1) SBM Certificate No. 211216




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class     Notes                                        Scheduled          Claimed            Allowed
1780       REIN MICHAEL                       Unsecured                                                        $0.00         $1,772.40          $1,772.40
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1780-1) SBM Certificate No. 211216




1781       NANCY J. HARDER TOD                Unsecured                                                        $0.00         $2,094.65          $2,094.65
350        1324 No. Court
7200       LeSueur, MN 56058                                  (1781-1) SBM Certificate No. 211216




1782       DOUGLAS J. REIN                    Unsecured                                                        $0.00           $856.42           $856.42
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1782-1) SBM Certificate No. 210895




1783       REIN MICHAEL                       Unsecured                                                        $0.00           $724.66           $724.66
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1783-1) SBM Certificate No. 210895




1784       NANCY J. HARDER TOD                Unsecured                                                        $0.00           $856.42           $856.42
350        1324 No. Court
7200       LeSueur, MN 56058                                  (1784-1) SBM Certificate No. 210895




1785       DOUGLAS J. REIN                    Unsecured                                                        $0.00         $1,675.69          $1,675.69
350        5125 Meadow Ridge
7200       Edina, MN 55439                                    (1785-1) SBM Certificate No. 211217




1786       REIN MICHAEL                       Unsecured                                                        $0.00         $1,417.90          $1,417.90
350        57889 STATE HIGHWAY 19
7200       WINTHROP, MN 55396                                 (1786-1) SBM Certificate No. 211217




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Claims Bar Date: 10/15/2013


Code #     Creditor Name And Address          Claim Class        Notes                                               Scheduled           Claimed               Allowed
1787       NANCY J. HARDER TOD                Unsecured                                                                  $0.00          $1,675.69             $1,675.69
350        1324 No. Court
7200       LeSueur, MN 56058                                     (1787-1) SBM Certificate No. 211217




1788       NICHOLAS REIN                      Unsecured                                                                   $0.00         $3,361.22             $3,361.22
350        313 Holmes St
7200       Shakopee, MN                                          (1788-1) Claim 561 Split, SBM Certificate No. 198529




1789       REBECCA A. CARTWRIGHT              Unsecured                                                                   $0.00         $3,361.22             $3,361.22
350        33408 Dolphin St NW
7200       Princeton, MN 55371                                   (1789-1) Claim 561 Split, SBM Certificate No. 198529




1790       JEROME JOSEPH REIN                 Unsecured                                                                   $0.00         $3,361.22             $3,361.22
350        4448 28th Place SW
7200       Naples, FL 34116                                      (1790-1) Claim 561 Split, SBM Certificate No. 198529




1804       MARCIA DAVIS                       Unsecured                                                                   $0.00        $57,018.79           $57,018.79
350        16084 Oakwood Heights Road
7200       New Ulm, MN 56073                                     (1804-1) SBM Certificates




BOND       INSURANCE PARTNERS                 Administrative                                                              $0.00           $571.58              $571.58
999        AGENCY, INC.
2300       26865 Center Ridge Road                               Extended Check Description Notes from conversion:
           Westlake, OH 44145                                    INV. 90353




           Case Totals                                                                                                  $800.00    $38,721,293.69        $38,721,293.69
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                            TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 13-17282
     Case Name: SBM CERTIFICATE COMPANY
                 SBM INVESTMENT CERTIFICATES, INC.
     Trustee Name: MERRILL COHEN, TRUSTEE
                         Balance on hand                                               $            454,490.50

               Claims of secured creditors will be paid as follows:


                                                               NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                             Interim Payments Proposed
                         Reason/Applicant                 Total Requested    to Date          Payment
      Trustee Fees: MERRILL COHEN                      $         29,832.33 $               0.00 $    29,832.33
      Trustee Expenses: MERRILL COHEN                  $         14,200.34 $               0.00 $    14,200.34
      Attorney for Trustee Fees: COHEN,
      BALDINGER & GREENFELD                            $         13,419.70 $               0.00 $    13,419.70
      Accountant for Trustee Fees:
      MENDELSON & MENDELSON, CPA'S A
      PC                             $                           15,068.75 $               0.00 $    15,068.75
      Accountant for Trustee Expenses:
      MENDELSON & MENDELSON, CPA'S A
      PC                               $                              62.69 $              0.00 $          62.69
      Charges: Clerk of the Circuit Court for
      Montgomery County                                $            222.00 $          222.00 $              0.00
      Fees: OFFICE OF THE US TRUSTEE                   $            325.00 $               0.00 $         325.00
      Other: INSURANCE PARTNERS
      AGENCY, INC.                                     $            571.58 $          571.58 $              0.00
      Other: U. S. BANKRUPTCY COURT
      CLERK                                            $            723.00 $          723.00 $              0.00
      Other: ZUCKERMAN SPAEDER LLP                     $       158,156.15 $                0.00 $   158,156.15




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                                                                         Interim Payments Proposed
                         Reason/Applicant             Total Requested    to Date          Payment
      Other: ZUCKERMAN SPAEDER LLP                $           3,890.31 $            0.00 $       3,890.31
      Other: WHITEFORD TAYLOR PRESTON
      LLP                             $                      46,056.00 $            0.00 $      46,056.00
      Other: WHITEFORD TAYLOR PRESTON
      LLP                             $                         601.30 $            0.00 $           601.30
      Other: ESQ PROCESS SERVERS                  $              65.00 $           65.00 $             0.00
      Other: BIENSTOCK LAW LLC                    $             150.00 $          150.00 $             0.00
      Other: SUBURBAN REPORTING
      SERVICE                                     $             412.25 $          412.25 $             0.00
      Other: STATE OF NEW JERSEY -CBG             $             519.00 $          519.00 $             0.00
      Other: MINNESOTA REVENUE                    $           3,700.00 $        3,700.00 $             0.00
      Other: STATE OF NEW JERSEY -CBT             $           1,917.82 $        1,917.82 $             0.00
      Other: STATE OF NEW JERSEY                  $             576.35 $          576.35 $             0.00
      Other: New Ulm Public Utilities             $          15,074.05 $       15,074.05 $             0.00
      Other: CITY OF NEW ULM                      $           1,118.24 $        1,118.24 $             0.00
      Other: RIVER VIEW SANITATION INC.           $             447.96 $          447.96 $             0.00
      Other: BANK MIDWEST INSURANCE-
      NU                                          $           3,856.25 $        3,856.25 $             0.00
      Other: THE PICKER-UPPERS LLC                $             385.00 $          385.00 $             0.00
      Other: GLOBAL DOCUMENT
      DESTRUCTION                                 $           2,405.95 $        2,405.95 $             0.00
      Other: SHRED RIGHT                          $             447.72 $          447.72 $             0.00
      Other: CHRIS L. BURMEISTER                  $             480.00 $          480.00 $             0.00
      Other: PETER ROTHMEIER                      $             800.00 $          800.00 $             0.00
      Other: MODUS EDISCOVERY INC                 $           1,535.57 $        1,535.57 $             0.00
      Other: BEYOND REAL ESTATE                   $             170.00 $          170.00 $             0.00




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                Total to be paid for chapter 7 administrative expenses                $             281,612.57
                Remaining Balance                                                     $             172,877.93


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 38,159,528.61 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.5 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                      Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                    of Claim             to Date          Payment
                          RONALD D HOHNEKE
     1                    ROTH IRA                   $        5,432.17 $               0.00 $                24.61
                          RONALD D HOHNEKE
     2                    TRUST                      $       43,676.00 $               0.00 $            197.87
                          RONAND HOHNEKE
                          BETTY HOHNEKE
     3                    JTWROS                     $       21,350.31 $               0.00 $                96.73
     4                    GARY E ZWIEG               $        6,000.00 $               0.00 $                27.18
     5                    KENNETH F. TRAUSCH $                8,487.11 $               0.00 $                38.45




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     6                    SUSAN C TAYLOR          $      21,631.88 $              0.00 $            98.00
     7                    MARGARAET HALE          $       4,714.22 $              0.00 $            21.36
     8                    EULA VARNER ESTATE $           15,241.52 $              0.00 $            69.05
     9                    DARLENE D. WOLF         $       3,318.00 $              0.00 $            15.03
     10                   RAY A JOHNSON           $       5,395.10 $              0.00 $            24.44
     11                   LOVISON RAYMOND         $      20,000.00 $              0.00 $            90.61
                          DENNIS & VICKI
     12                   CHRISTIANSON            $       9,525.98 $              0.00 $            43.16
     13                   KAREN BAHR              $      14,094.00 $              0.00 $            63.85
     14                   WISDO MICHAEL           $       6,000.00 $              0.00 $            27.18
     15                   REYNOLDS VIOLET         $      11,046.55 $              0.00 $            50.05
     16                   CINDY HASELHUHN         $       9,425.80 $              0.00 $            42.70
     17                   CAROL ALLISON           $      15,412.46 $              0.00 $            69.82
     18                   HOWELL REBECCA          $      27,602.99 $              0.00 $           125.05
                          AGNES ANITA DECKER
     19                   REV TRUST          $           10,851.03 $              0.00 $            49.16
                          ETHEL FRANZEN
     20                   TRUST                   $      45,000.00 $              0.00 $           203.87
                          HOMER K. DECKER IRR
     21                   TRUST AGENCY        $          10,851.03 $              0.00 $            49.16
                          RAYMOND L. GRIMES
     22                   ROTH IRA                $       4,801.88 $              0.00 $            21.75
     23                   ROBERT M. SHERMAN       $     208,114.68 $              0.00 $           942.84
     24                   GERALD SCHULTE          $      49,572.38 $              0.00 $           224.58
     26                   JANET R. WALDEN         $      21,397.95 $              0.00 $            96.94
     27                   JACOB PHIPPS            $         762.00 $              0.00 $             3.45
     28                   GOBLISH KARI            $       5,398.58 $              0.00 $            24.46




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     29                   GOBLISH TROY            $       5,780.81 $              0.00 $            26.19
                          LYNDA & JOHN
     30                   GOBLISH                 $      12,884.43 $              0.00 $            58.37
     31                   GOBLISH LYNDA           $      12,581.14 $              0.00 $            57.00
     32                   GOBLISH LYNDA           $       7,003.46 $              0.00 $            31.73
     33                   GOBLISH LYNDA           $       6,278.65 $              0.00 $            28.44
                          LYNDA & JOHN
     34                   GOBLISH                 $      24,086.73 $              0.00 $           109.12
                          LYNDA & JOHN
     35                   GOBLISH                 $      27,298.29 $              0.00 $           123.67
     36                   GOBLISH JOHN            $       6,278.65 $              0.00 $            28.44
     37                   GOBLISH JOHN            $       6,832.64 $              0.00 $            30.95
     38                   EMILY PHIPPS            $         640.74 $              0.00 $             2.90
                          DEBORAH K.
     39                   WAGENER                 $      21,498.66 $              0.00 $            97.40
     40                   REITZEL GLADYS          $      71,445.01 $              0.00 $           323.67
     41                   TICKNER NANCY IRA       $       6,086.72 $              0.00 $            27.58
     42                   KRABER RONALD           $      11,285.14 $              0.00 $            51.13
     43                   HAWORTH SUSAN           $      10,277.87 $              0.00 $            46.56
                          SIOUX RURAL WATER
     44                   SYSTEM INC              $      73,824.90 $              0.00 $           334.46
                          ALVE D. & EMMA
     45                   HEAD                    $      24,484.11 $              0.00 $           110.92
     46                   KRABER GARY             $      11,285.14 $              0.00 $            51.13
     47                   CRAIG J. WESTENDORF $          21,345.20 $              0.00 $            96.70
                          KIMBERLY REHDER
     48                   AND DORIS T KEEGAN $           16,778.46 $              0.00 $            76.01
     49                   LOIS BEILKE             $       3,377.25 $              0.00 $            15.30




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     50                   SINCLAIR KEVIN          $      16,946.18 $              0.00 $            76.77
                          RICHARD TANG AND
     51                   GRACE TANG CHIN         $     116,812.67 $              0.00 $           529.21
     52                   GAIL KRABER MADDY $            11,285.14 $              0.00 $            51.13
     53                   DOROTHEA W. PAUL        $      16,597.27 $              0.00 $            75.19
     54                   WATIS LESANE            $      65,444.55 $              0.00 $           296.49
     55                   ELLEN ADELMAN           $      27,693.34 $              0.00 $           125.46
                          LAWRENCE A. FRIEND,
     56                   CPA                 $          94,643.38 $              0.00 $           428.77
                          WESLEY & JANE
     57                   DUEHR                   $      38,628.05 $              0.00 $           175.00
     58                   BAUMAN KENNETH          $       2,878.05 $              0.00 $            13.04
     59                   ELLEN A MADDISON        $       2,335.24 $              0.00 $            10.58
     60                   STANLEY HARCEY          $      13,517.94 $              0.00 $            61.24
     61                   KRABER-LENDT RUTH $            11,285.14 $              0.00 $            51.13
                          JOYCE & WESLEY
     62                   DUEHR JT                $      95,718.15 $              0.00 $           433.64
                          JOYCE & WESLEY
     63                   DUEHR                   $      38,628.05 $              0.00 $           175.00
     64                   WOLFF JEAN              $       3,466.35 $              0.00 $            15.70
     65                   LAUREL MORGAN           $       4,373.00 $              0.00 $            19.81
     66                   TODD MORGAN             $     129,948.52 $              0.00 $           588.72
     67                   BROCK MORGAN            $       4,373.00 $              0.00 $            19.81
                          STANARD FINANCIAL
     68                   SERVICES, LLC           $      29,596.55 $              0.00 $           134.08
     69                   WAYNE RISTY             $         791.13 $              0.00 $             3.58
                          JEANNINE F.
     70                   ANDERSON                $      13,784.00 $              0.00 $            62.45




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          JEANNINE F.
     71                   ANDERSON                $       9,204.00 $              0.00 $            41.70
     72                   JAMES A. ANDERSON       $      41,335.00 $              0.00 $           187.26
     73                   JAMES A. ANDERSON       $      52,553.00 $              0.00 $           238.09
     74                   JAMES A. ANDERSON       $       9,764.00 $              0.00 $            44.23
     75                   JAMES A. ANDERSON       $      18,116.02 $              0.00 $            82.07
     76                   ANN R. FISCHER          $       3,575.00 $              0.00 $            16.20
     77                   ANN R. FISCHER          $      14,927.00 $              0.00 $            67.63
     78                   ANN R. FISCHER          $      18,262.00 $              0.00 $            82.73
     79                   ANN R. FISCHER          $      18,032.00 $              0.00 $            81.69
     80                   ANN R. FISCHER          $       7,157.00 $              0.00 $            32.42
     81                   ANN R. FISCHER          $       8,534.00 $              0.00 $            38.66
     82                   ANN R. FISCHER          $       6,018.00 $              0.00 $            27.26
                          CLAYTON V.
     83                   NEWGARD                 $      39,010.00 $              0.00 $           176.73
     84                   DONALD OLSON            $       3,179.04 $              0.00 $            14.40
     85                   DONALD OLSON            $      67,022.91 $              0.00 $           303.64
     86                   DONALD OLSON            $       6,695.37 $              0.00 $            30.33
     87                   DONALD OLSON            $       7,509.06 $              0.00 $            34.02
                          GORDON W
     88                   HILLESTAD OR            $      23,091.97 $              0.00 $           104.62
                          GORDON W
     89                   HILLESTAD OR            $      32,908.98 $              0.00 $           149.09
     90                   HILLESTAD HALEY         $       7,867.26 $              0.00 $            35.64
     91                   HILLESTAD RICHARD       $      23,947.01 $              0.00 $           108.49
                          DANNIE AND MARCEE
     92                   STROMBERG         $            46,986.00 $              0.00 $           212.87




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     93                   JOSEPHSEN LEON          $       2,542.97 $              0.00 $            11.52
     94                   RISTY MELVIN            $      27,777.18 $              0.00 $           125.84
     95                   RISTY MELVIN            $      28,737.81 $              0.00 $           130.19
                          RAYMOND J. ZANE,
     96                   ESQ.                    $      23,720.93 $              0.00 $           107.47
     97                   MAVIS CROSS             $       5,006.00 $              0.00 $            22.68
     98                   MAVIS CROSS             $       7,286.00 $              0.00 $            33.01
     99                   MAVIS CROSS             $       3,983.00 $              0.00 $            18.04
     100                  HARLEY CROSS            $       5,006.00 $              0.00 $            22.68
     101                  HARLEY CROSS            $       7,286.00 $              0.00 $            33.01
     102                  HARLEY CROSS            $       1,962.00 $              0.00 $             8.89
     103                  BETTY HOFFMAN           $       5,266.00 $              0.00 $            23.86
     104                  BETTY HOFFMAN           $       5,047.00 $              0.00 $            22.86
     105                  BETTY HOFFMAN           $       5,588.00 $              0.00 $            25.32
                          DALE AND SHERYL
     106                  WAYMAN                  $      11,027.97 $              0.00 $            49.96
     107                  BAXTER HELEN            $      21,975.00 $              0.00 $            99.56
     108                  JAMES ANDREWS           $         716.48 $              0.00 $             3.25
     109                  STARKENBURG ALVIN $            10,344.15 $              0.00 $            46.86
                          MOLENGRAAF
     110                  ANDREW                  $       6,335.17 $              0.00 $            28.70
                          MOLENGRAAF
     111                  ANDREW                  $       7,825.36 $              0.00 $            35.45
                          MOLENGRAAF
     112                  ANDREW                  $       4,261.78 $              0.00 $            19.31
                          MOLENGRAAF
     113                  ANDREW                  $       3,655.32 $              0.00 $            16.56




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          MOLENGRAAF
     114                  ANDREW                  $       5,464.23 $              0.00 $            24.76
                          MOLENGRAAF
     115                  ANDREW                  $       4,891.26 $              0.00 $            22.16
                          MOLENGRAAF
     116                  ANDREW                  $       5,047.20 $              0.00 $            22.87
                          MOLENGRAAF
     117                  HENRIETTA               $       6,335.17 $              0.00 $            28.70
                          MOLENGRAAF
     118                  HENRIETTA               $       5,047.20 $              0.00 $            22.87
                          MOLENGRAAF
     119                  HENRIETTA               $       4,891.26 $              0.00 $            22.16
                          MOLENGRAAF
     120                  HENRIETTA               $       4,261.78 $              0.00 $            19.31
                          MOLENGRAAF
     121                  HENRIETTA               $       3,655.32 $              0.00 $            16.56
                          MOLENGRAAF
     122                  HENRIETTA               $       5,464.23 $              0.00 $            24.76
                          MOLENGRAAF
     123                  HENRIETTA               $       6,606.88 $              0.00 $            29.93
                          MOLENGRAAF
     124                  HENRIETTA               $       7,793.13 $              0.00 $            35.31
                          MOLENGRAAF
     125                  HENRIETTA               $       7,825.36 $              0.00 $            35.45
                          JOHN STEPHEN
     126                  DOLJAC ADM.             $      11,835.00 $              0.00 $            53.62
     127                  GRUVER DOROTHY          $       1,339.21 $              0.00 $             6.07
                          JOHN STEPHEN
     128                  DOLJAC                  $      29,636.00 $              0.00 $           134.26
                          CARL J. SINKIE TRUST
     129                  B ACCOUNT               $     201,741.69 $              0.00 $           913.97
     130                  LORRAINE REDMANN        $      14,943.27 $              0.00 $            67.70




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     131                  LORRAINE REDMANN        $      11,876.40 $              0.00 $            53.80
     132                  SCHNEIDER ROBERT        $       2,862.36 $              0.00 $            12.97
     133                  DALTON JAY              $      63,596.24 $              0.00 $           288.12
     134                  DALTON JAY              $      13,580.80 $              0.00 $            61.53
     135                  SEMMLER JANET           $      25,390.62 $              0.00 $           115.03
     136                  NAGELE JOANNE           $      13,815.45 $              0.00 $            62.59
     137                  BURG KIMBERLY           $       2,819.51 $              0.00 $            12.77
     138                  LOIS LADEJAARD          $       9,924.02 $              0.00 $            44.96
     139                  MOHLING ALMA            $      31,869.33 $              0.00 $           144.38
                          KEITH E & BETTY L
     140                  GUNDERSON               $      11,614.41 $              0.00 $            52.62
     141                  GUNDERSON BETTY         $       5,145.83 $              0.00 $            23.31
     142                  WARNKE ILA              $       2,478.80 $              0.00 $            11.23
                          STEVE L. & SHERRIE L.
     143                  REDMANN               $        20,057.19 $              0.00 $            90.87
                          VALLEY BUNGALOWS
     144                  C/O OBERLE, L    $             17,257.73 $              0.00 $            78.18
     145                  HURD SHERYL             $       3,986.75 $              0.00 $            18.06
     146                  HURD LARRY              $       3,986.75 $              0.00 $            18.06
     147                  JOHN & BETTY MCNEIL $          12,470.10 $              0.00 $            56.49
     148                  JOHN DOLJAC             $      49,975.00 $              0.00 $           226.41
     149                  KRULL BETTY             $       8,278.94 $              0.00 $            37.51
     150                  DOROTHY JOHNSON         $       5,654.00 $              0.00 $            25.61
     151                  DOROTHY JOHNSON         $       9,434.00 $              0.00 $            42.74
     152                  DOROTHY JOHNSON         $       5,741.00 $              0.00 $            26.01
     153                  DOROTHY JOHNSON         $       4,815.00 $              0.00 $            21.81




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     154                  DOROTHY JOHNSON         $       4,012.00 $              0.00 $            18.18
     155                  DOROTHY JOHNSON         $       5,654.00 $              0.00 $            25.61
     156                  DOROTHY JOHNSON         $       9,434.00 $              0.00 $            42.74
                          EUGENE & DOROTHY
     157                  JOHNSON LIVI            $      32,867.00 $              0.00 $           148.90
                          HELEN & SHUNKICH
     158                  EGO JTWROS              $      15,802.88 $              0.00 $            71.59
     159                  MCCOY WILLIAM           $      32,941.01 $              0.00 $           149.24
                          DANIEL & HARRIET
     160                  LAWLER                  $      16,541.71 $              0.00 $            74.94
     161                  JOY VERNON              $       3,999.93 $              0.00 $            18.12
     162                  JOY BEVERLY             $       3,999.03 $              0.00 $            18.12
     164                  RATZLAFF SKYLA          $      52,412.64 $              0.00 $           237.45
     165                  SWARTZ DOLORES          $       5,942.12 $              0.00 $            26.92
                          JAMES F. & BELLE A.
     166                  HINRICHS                $      49,737.25 $              0.00 $           225.33
                          JAMES F. & BELLE A.
     167                  HINRICHS                $      26,358.45 $              0.00 $           119.41
                          WEAVER FAMILY
     168                  TRUST                   $       6,241.21 $              0.00 $            28.28
     169                  LINDNER DELORIS         $      45,450.35 $              0.00 $           205.91
     170                  STRUCK BRENDA           $      20,311.07 $              0.00 $            92.02
     171                  STRUCK BRENDA           $      16,751.20 $              0.00 $            75.89
     172                  STRUCK BRENDA           $       9,884.66 $              0.00 $            44.78
     173                  MARTIN SCHNEIDER        $       2,862.36 $              0.00 $            12.97
     174                  JOHNSON MARY            $      48,513.40 $              0.00 $           219.79
     175                  LENARDS ROBERT          $      21,726.53 $              0.00 $            98.43
     176                  LENARDS LINDA           $       5,145.83 $              0.00 $            23.31




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          MARCELLA & GEORGE
     177                  MILLER            $             9,481.05 $              0.00 $            42.95
     178                  MILLER GEORGE           $       6,009.34 $              0.00 $            27.22
                          BONNIE M HEASLEY
     179                  LIVING TRUST            $      60,171.57 $              0.00 $           272.60
     180                  KAISER AMANDA           $      31,838.95 $              0.00 $           144.24
     181                  LOUISE K STREHLE        $       7,442.48 $              0.00 $            33.72
     182                  LOUISE K STREHLE        $       7,442.48 $              0.00 $            33.72
     183                  LOUISE K STREHLE        $       7,442.48 $              0.00 $            33.72
                          BONNIE M HEASLEY
     184                  LIVING TRUST            $      26,697.56 $              0.00 $           120.95
     185                  SCHNEIDER KATHLEEN $            2,862.36 $              0.00 $            12.97
     186                  LAUBE NEAL              $       9,924.02 $              0.00 $            44.96
     187                  SCHNEIDER MARTIN        $       2,862.36 $              0.00 $            12.97
     188                  SOPER DON               $      31,894.62 $              0.00 $           144.50
     189                  LEESMAN LORENA          $       6,988.86 $              0.00 $            31.66
     190                  LEESMAN LORENA          $       3,294.01 $              0.00 $            14.92
                          BARBARA S. NEMEC
     191                  LIVING TRUST            $      16,183.97 $              0.00 $            73.32
     192                  MORFORD CARROLL         $      35,493.31 $              0.00 $           160.80
     193                  JOHNSON MARY            $      11,884.24 $              0.00 $            53.84
                          JERRY & ARLISS M.
     194                  BENNETT                 $      15,934.67 $              0.00 $            72.19
                          ROBERT N & ROSE A
     195                  DUXBURY                 $       9,630.06 $              0.00 $            43.63
                          DANIEL & HARRIET
     196                  LAWLER                  $       8,351.48 $              0.00 $            37.84
                          RITA M & MARVIN
     197                  MATTHEWS                $       3,232.54 $              0.00 $            14.64




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          RITA M & MARVIN
     198                  MATTHEWS                $       3,786.82 $              0.00 $            17.16
     199                  MATTHEWS RITA           $      12,586.93 $              0.00 $            57.02
                          RITA M & MARVIN
     200                  MATTHEWS                $       2,511.76 $              0.00 $            11.38
                          DENNIS L & TAMMY
     201                  METTLER                 $       1,574.92 $              0.00 $             7.14
     202                  DONNA M SCHILTZ         $      34,556.55 $              0.00 $           156.55
     203                  DONNA M SCHILTZ         $       5,892.05 $              0.00 $            26.69
     204                  DONNA M SCHILTZ         $      11,228.43 $              0.00 $            50.87
     205                  HEITZMAN ARLETTE        $       1,602.03 $              0.00 $             7.26
     206                  DOROTHY SCHROOTEN $             6,945.00 $              0.00 $            31.46
                          JAMES F. & BELLE A.
     207                  HINRICHS                $      32,908.98 $              0.00 $           149.09
                          JAMES F. & BELLE A.
     208                  HINRICHS                $      16,454.48 $              0.00 $            74.55
                          JAMES F. & BELLE A.
     209                  HINRICHS                $      32,009.43 $              0.00 $           145.02
                          JAMES F. & BELLE A.
     210                  HINRICHS                $      32,452.56 $              0.00 $           147.02
     211                  DOROTHY SCHROOTEN $            10,516.00 $              0.00 $            47.64
     212                  IVERSON ELEANOR         $       7,510.88 $              0.00 $            34.03
                          TEMPLETON
     213                  CONSTANCE               $       3,262.08 $              0.00 $            14.78
     214                  TEMPLETON ROBERT        $       3,262.08 $              0.00 $            14.78
                          LAUREN L & ALMA A
     215                  THOMPSON                $      13,265.28 $              0.00 $            60.10
                          LAUREN L & ALMA A
     216                  THOMPSON                $      12,747.74 $              0.00 $            57.75




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          BEVERLY J & GERALD
     217                  M HORSLEY               $       8,027.43 $              0.00 $            36.37
                          BEVERLY J & GERALD
     218                  M HORSLEY               $       7,901.52 $              0.00 $            35.80
                          BEVERLY J & GERALD
     219                  M HORSLEY               $       9,385.07 $              0.00 $            42.52
     220                  KOISTINEN KENNETH       $      99,273.07 $              0.00 $           449.75
     221                  SWARTZ DOLORES          $      28,787.87 $              0.00 $           130.42
     222                  SWARTZ DOLORES          $       6,672.96 $              0.00 $            30.23
     223                  SWARTZ DOLORES          $       8,270.85 $              0.00 $            37.47
     224                  SWARTZ DOLORES          $       3,438.34 $              0.00 $            15.58
                          RITA M & MARVIN
     225                  MATTHEWS                $       2,975.10 $              0.00 $            13.48
     226                  PHYLLIS KOHLMEYER $             6,281.00 $              0.00 $            28.46
     227                  PHYLLIS KOHLMEYER $             8,465.00 $              0.00 $            38.35
     228                  PHYLLIS KOHLMEYER $             2,402.00 $              0.00 $            10.88
     229                  PHYLLIS KOHLMEYER $            13,803.00 $              0.00 $            62.53
     230                  PHYLLIS KOHLMEYER $             3,775.00 $              0.00 $            17.10
     231                  EUGENE MCMILLAN         $      19,029.00 $              0.00 $            86.21
     232                  EUGENE MCMILLAN         $      22,354.00 $              0.00 $           101.27
     233                  EUGENE MCMILLAN         $      17,929.00 $              0.00 $            81.23
     234                  UNION CEMETERY          $      12,389.00 $              0.00 $            56.13
     235                  MARY MYERS              $       2,366.00 $              0.00 $            10.72
     236                  SAVAGE DEWARD           $      15,523.69 $              0.00 $            70.33
                          STEVEN T & MAUREEN
     237                  H BRAND            $           24,025.00 $              0.00 $           108.84
                          STEVEN T & MAUREEN
     238                  H BRAND            $           25,804.00 $              0.00 $           116.90




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     239                  SARGENT FLORENCE        $       8,285.01 $              0.00 $            37.53
     240                  MILLER DOREEN           $       9,924.02 $              0.00 $            44.96
                          SNYDER POLLY
     241                  ELIZABETH               $       1,758.76 $              0.00 $             7.97
     242                  DUTOIT ELSIE            $      85,643.72 $              0.00 $           388.00
     243                  LEHTOLA WALTER          $      15,605.95 $              0.00 $            70.70
     244                  LEHTOLA WALTER          $       9,323.60 $              0.00 $            42.24
     245                  TUPPER KIRK             $         754.45 $              0.00 $             3.42
                          MARY S & ROBERT O
     246                  BREN                    $      10,774.52 $              0.00 $            48.81
     247                  CORNETT RENEE           $       2,862.36 $              0.00 $            12.97
     248                  SAVAGE DEWARD           $      15,359.28 $              0.00 $            69.58
     249                  OTTO MILDRED            $      11,237.30 $              0.00 $            50.91
     250                  OTTO MILDRED            $       4,552.86 $              0.00 $            20.63
     251                  SAVAGE VIOLET           $       7,984.74 $              0.00 $            36.17
     252                  SAVAGE VIOLET           $      15,523.69 $              0.00 $            70.33
     253                  SAVAGE VIOLET           $      15,359.28 $              0.00 $            69.58
     254                  SAVAGE DEWARD           $       7,984.74 $              0.00 $            36.17
                          LONGTIN-
     255                  CHRISTENSEN MARY        $      13,427.12 $              0.00 $            60.83
     256                  OTTO MILDRED            $       5,986.05 $              0.00 $            27.12
                          JIMMIE & LURDENE
     257                  ANDERSON TRU            $      13,205.50 $              0.00 $            59.83
     258                  SCHAPER HERBERT         $       6,078.98 $              0.00 $            27.54
     259                  THOMPSON CHARLES        $         754.45 $              0.00 $             3.42
     260                  HECK TIMOTHY            $       2,862.36 $              0.00 $            12.97
     262                  EDWARD BACSIK           $       7,857.26 $              0.00 $            35.60




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          EDWARD J. AND
     263                  MICHELE K BACSIK        $      15,633.24 $              0.00 $            70.82
     264                  LINDA VANDENBERG        $       8,636.38 $              0.00 $            39.13
     265                  VERLA M HOING           $      17,112.42 $              0.00 $            77.53
                          INVESTMENT &
     266                  INSURANCE SERVICE       $      32,085.16 $              0.00 $           145.36
                          CHRISTOPHER L.
     267                  CHRISTON                $     114,391.01 $              0.00 $           518.24
                          CLAY T & CARLA C
     268                  AMICK                   $      16,269.92 $              0.00 $            73.71
                          CLAY T & CARLA C
     269                  AMICK                   $      16,501.81 $              0.00 $            74.76
     270                  CLARK HOPE              $       8,664.96 $              0.00 $            39.26
     271                  ROGERS ROD              $      51,642.74 $              0.00 $           233.96
     272                  MARY P. LIGGETT         $      96,293.16 $              0.00 $           436.25
     273                  HAGMAN DONNA            $         754.45 $              0.00 $             3.42
     274                  CARSON ROSE             $       2,888.22 $              0.00 $            13.08
     275                  BRIDGMAN VALINDA        $       4,193.01 $              0.00 $            19.00
     276                  BRIDGMAN CASEY          $       8,228.66 $              0.00 $            37.28
     277                  BRIDGMAN CASEY          $       4,193.01 $              0.00 $            19.00
     278                  SCHNEIDER JAMES         $       2,862.36 $              0.00 $            12.97
     279                  KURT MELVIN             $       3,200.00 $              0.00 $            14.50
     280                  MORGAN ROBERT           $     302,941.99 $              0.00 $       1,372.45
     281                  BARNES ROWLAND, Sr. $           4,759.51 $              0.00 $            21.56
     282                  BARNES ROWLAND, Sr. $           3,464.37 $              0.00 $            15.69
     283                  DUANE M. REINEKE        $       7,288.00 $              0.00 $            33.02
     284                  GLORIA M. SEIFERT       $       7,288.00 $              0.00 $            33.02




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     Claim No.            Claimant                of Claim             to Date          Payment
     285                  MELVIN R REINEKE        $       7,288.00 $              0.00 $            33.02
     286                  STANLEY R REINEKE       $       7,288.00 $              0.00 $            33.02
     287                  HEILMAN DOUGLAS         $       1,991.83 $              0.00 $             9.02
                          BOYD D SCHILTZ
     288                  FAMILY TRUST            $       9,560.41 $              0.00 $            43.31
                          BOYD D SCHILTZ
     289                  FAMILY TRUST            $       9,815.76 $              0.00 $            44.47
     290                  BEVERLEY A DEMING       $       7,288.00 $              0.00 $            33.02
                          JOHN C & LINDA D
     291                  PALMER                  $       1,991.83 $              0.00 $             9.02
     292                  BECKMAN DENNIS          $       3,387.33 $              0.00 $            15.35
     293                  PHAIR LUCYNA            $       4,698.79 $              0.00 $            21.29
                          FRANDSEN BANK &
     294                  TRUST                   $       3,397.67 $              0.00 $            15.39
                          FRANDSEN BANK &
     295                  TRUST                   $      17,631.81 $              0.00 $            79.88
     296                  CONNIE R HIRSCHY        $      13,700.83 $              0.00 $            62.07
                          LAW OFFICE OF JOHN
     297A                 M. FEDDERS              $      99,013.29 $              0.00 $           448.57
     298                  JOSEPH MCGUIRE          $       5,643.25 $              0.00 $            25.57
     299                  BARBARA MCGUIRE         $       5,643.25 $              0.00 $            25.57
     300                  ROGER J HUISENGA        $       9,200.99 $              0.00 $            41.68
     301                  LEE M. NOLZ             $      25,165.90 $              0.00 $           114.01
     302                  LEE M. NOLZ             $      24,234.39 $              0.00 $           109.79
     303                  RILEY MADONNA           $       2,878.05 $              0.00 $            13.04
     304                  CARMAN GINGER           $       2,675.81 $              0.00 $            12.12
     305                  JAMES M. DELANEY        $      48,506.58 $              0.00 $           219.75
     306                  MILES LORI              $       6,907.98 $              0.00 $            31.30




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          PHYLLIS M MIEDEMA
     307                  LIVING TRUST            $      48,542.78 $              0.00 $           219.92
                          PHYLLIS M MIEDEMA
     308                  LIVING TRUST            $      91,861.14 $              0.00 $           416.17
                          RANDY & ADELE
     309                  JACOBSON                $      16,616.72 $              0.00 $            75.28
     310                  RENAE E SAMAAN          $       5,347.92 $              0.00 $            24.23
     311                  FADEL A SAMAAN          $       5,347.92 $              0.00 $            24.23
     312                  HARDIE PATRICIA         $       2,862.36 $              0.00 $            12.97
     313                  RASMUSSEN SHIRLEY       $       2,701.56 $              0.00 $            12.24
     314                  PHILLIPS KAY            $       6,907.98 $              0.00 $            31.30
     315                  LYNN R DYE              $       6,907.98 $              0.00 $            31.30
                          PHYLLIS M MIEDEMA
     316                  LIVING TRUST            $      76,545.89 $              0.00 $           346.78
     317                  JACOBSON ADELE          $      21,565.09 $              0.00 $            97.70
     318                  PAUL ARDOLF             $      34,799.66 $              0.00 $           157.66
     319                  BUCHHOLZ RONALD         $      11,893.14 $              0.00 $            53.88
     320                  BUCHHOLZ RONALD         $      24,206.64 $              0.00 $           109.67
     321                  BUCHHOLZ RONALD         $      13,535.08 $              0.00 $            61.32
     322                  BUCHHOLZ RONALD         $      10,031.82 $              0.00 $            45.45
                          ESTATE OF HERBIE
     323                  AUGUST BLOCK            $      11,705.96 $              0.00 $            53.03
     324                  STUBBE MARLYN           $       2,878.05 $              0.00 $            13.04
     325A                 DIANNE KLUDT            $      16,833.00 $              0.00 $            76.26
     326                  MARY C. OBERTI          $      13,147.42 $              0.00 $            59.56
     327                  MARY C. OBERTI          $      12,469.47 $              0.00 $            56.49
     328                  MARY C. OBERTI          $      19,336.67 $              0.00 $            87.60




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     329                  MARY C. OBERTI          $      13,917.93 $              0.00 $            63.05
     330                  MARY C. OBERTI          $      15,100.86 $              0.00 $            68.41
     331                  BOUILLON CAROLYN        $      14,109.50 $              0.00 $            63.92
                          JO MARIE AND KEITH
     332                  G. BRUSS                $       9,795.04 $              0.00 $            44.38
     333                  PETERSON KATHLEEN $             3,683.15 $              0.00 $            16.69
     334                  PETERSON KATHLEEN $             3,683.15 $              0.00 $            16.69
     335                  PETERSON KATHLEEN $             6,372.64 $              0.00 $            28.87
     336                  PETERSON KATHLEEN $             3,485.92 $              0.00 $            15.79
     337                  PETERSON KATHLEEN $             2,413.63 $              0.00 $            10.93
     338                  THOMPSON BYRON          $      11,481.50 $              0.00 $            52.02
     339                  SHIRLEY M MEHLOW        $      61,570.00 $              0.00 $           278.94
     340                  HANNAHS CHARLES         $      20,000.00 $              0.00 $            90.61
     341                  HANNAHS CHARLES         $       2,325.46 $              0.00 $            10.54
     342                  HENDERSON MYRNA         $      25,294.59 $              0.00 $           114.59
     343                  CHELSVIG GENEVA         $      18,310.48 $              0.00 $            82.95
     344                  ERIN S POWELL           $       2,193.25 $              0.00 $             9.94
     345                  NEMEC ANASTASIA         $       2,193.25 $              0.00 $             9.94
     346                  NEMEC BRIGETTE          $       2,193.25 $              0.00 $             9.94
                          BYRON B & KAREN
     347                  THOMPSON                $      15,829.34 $              0.00 $            71.71
     348                  REDMANN LORRAINE        $      14,943.27 $              0.00 $            67.70
     349                  LORRAINE REDMANN        $      11,876.40 $              0.00 $            53.80
     350                  BLEEKER MARJORIE        $      20,560.82 $              0.00 $            93.15
     351                  KENNETH L LARSON        $       7,841.71 $              0.00 $            35.53
     352                  SMITH BARBRA            $      56,451.54 $              0.00 $           255.75




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     353                  KOLODZIEJ ELAINE        $      17,039.18 $              0.00 $            77.19
                          G&H MANDERSCHEID
     354                  LLP                     $      10,000.00 $              0.00 $            45.30
                          GRABNEGGER
     355                  ELEANOR                 $       6,923.24 $              0.00 $            31.37
     356                  LOREN ZARUBA            $      92,475.61 $              0.00 $           418.95
     357                  REX L. SCHOONOVER       $      64,643.83 $              0.00 $           292.86
                          CHAD BERG, CUST FOR
     358                  JACOB BERG          $           1,967.14 $              0.00 $             8.91
     359                  SCHELLER DONALD         $       2,862.36 $              0.00 $            12.97
     360                  WESSELMANN PAUL         $       5,164.50 $              0.00 $            23.40
     361                  WESSELMANN DEBRA        $       5,164.50 $              0.00 $            23.40
     362                  BECK LUCILE             $      33,891.24 $              0.00 $           153.54
     363                  RICKETTS ASHLEY         $      13,185.00 $              0.00 $            59.73
     364                  ROBERSON ESTHER         $       7,209.82 $              0.00 $            32.66
                          PAMELA JOHNSON-
     365                  MARTIN                  $      31,640.62 $              0.00 $           143.34
     366                  JOHNSON BRENT           $      31,640.62 $              0.00 $           143.34
     367                  JOHNSON REX             $      31,640.62 $              0.00 $           143.34
     368                  HUSTED CONNIE           $       5,481.77 $              0.00 $            24.83
     369                  SCOTT HELGEMO           $      57,018.79 $              0.00 $           258.32
                          KENNETH E OR
     370                  MARYANN THORN           $       9,401.01 $              0.00 $            42.59
     371                  TERRY J. BURTON         $       5,000.00 $              0.00 $            22.65
     372                  JOAN APITZ              $       9,951.12 $              0.00 $            45.08
     373                  COREY SANBORN           $       3,291.60 $              0.00 $            14.91




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          PERRY C. SAND
                          AND/OR WENDY K.
     374                  SAND                    $       8,544.00 $              0.00 $            38.71
                          WURTZBERGER
     375                  CYNTHIA                 $      61,711.79 $              0.00 $           279.58
                          WURTZBERGER
     376                  CYNTHIA                 $      10,329.01 $              0.00 $            46.79
                          WURTZBERGER
     377                  CYNTHIA                 $       4,995.01 $              0.00 $            22.63
                          WURTZBERGER
     378                  CYNTHIA                 $      12,441.09 $              0.00 $            56.36
                          KENNETH E OR
     379                  MARYANN THORN           $       8,406.21 $              0.00 $            38.08
                          KENNETH E OR
     380                  MARYANN THORN           $       8,227.53 $              0.00 $            37.27
     381                  PAUL NOLLEN             $      31,479.40 $              0.00 $           142.61
     382                  GRONAU ROLAND           $       6,484.91 $              0.00 $            29.38
     383                  SHROG FRANKLIN          $      40,921.64 $              0.00 $           185.39
                          EMIL RIECK
     384                  RESIDUARY TRUST         $      19,178.62 $              0.00 $            86.89
     385                  HEILMAN CRAIG           $       6,196.95 $              0.00 $            28.07
     386                  HEILMAN CRAIG           $       1,989.55 $              0.00 $             9.01
     387                  DUEA JAMES              $      10,679.21 $              0.00 $            48.38
     388                  GARBES MARY             $      21,970.00 $              0.00 $            99.53
     389                  LAVON E. YANGTUM        $       7,725.00 $              0.00 $            35.00
                          DENNIS D AND EILEEN
     390                  A LINDEMA           $           6,382.00 $              0.00 $            28.91
                          DENNIS D AND EILEEN
     391                  A LINDEMA           $          11,905.68 $              0.00 $            53.94
     392                  LINDEMAN DENNIS         $       7,834.00 $              0.00 $            35.49




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     393                  STOBBE DAVID            $      17,036.00 $              0.00 $            77.18
     394                  STOBBE DAVID            $      15,923.57 $              0.00 $            72.14
     395                  FORRY HARRIET           $       4,525.00 $              0.00 $            20.50
     396                  BRANDOS LOIS            $       5,327.00 $              0.00 $            24.13
     397                  BRANDOS LOIS            $       2,441.92 $              0.00 $            11.06
     398                  HARDY DALE              $           0.00 $              0.00 $             0.00
     399                  BRUNSMA STEVEN          $           0.00 $              0.00 $             0.00
     400                  BONE HARRISON           $       3,248.95 $              0.00 $            14.72
     401                  BORCHERDING LOIS        $       5,000.00 $              0.00 $            22.65
     402                  BESSIE BAKER            $      22,406.13 $              0.00 $           101.51
     403                  BESSIE BACKER           $      15,669.37 $              0.00 $            70.99
     404                  REIMLER LEON            $       5,349.00 $              0.00 $            24.23
     405                  LINDA CONNOR, I         $       5,988.53 $              0.00 $            27.13
     406                  SCHEWE SUSAN            $       4,948.28 $              0.00 $            22.42
     407                  SCHEWE THOMAS           $       4,948.28 $              0.00 $            22.42
     408                  BESSIE BACKER           $      13,752.43 $              0.00 $            62.30
     409                  REIMLER LEON            $       4,404.00 $              0.00 $            19.95
     410                  GARBES MARY             $       1,600.18 $              0.00 $             7.25
     411                  DEETTE BLOMBERG         $      10,080.19 $              0.00 $            45.67
     412                  MARTENS DARLENE         $      17,828.04 $              0.00 $            80.77
     413                  SCHOW KRISTY            $       3,270.98 $              0.00 $            14.82
     414                  SCHOW KRISTY            $      12,765.21 $              0.00 $            57.83
     415                  SCHOW KRISTY            $       7,180.75 $              0.00 $            32.53
     416                  SCHOW KRISTY            $       8,595.89 $              0.00 $            38.94




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          KRISTY AND NATHAN
     417                  SCHOW                   $      43,549.32 $              0.00 $           197.30
                          KRISTY AND NATHAN
     418                  SCHOW                   $      37,964.91 $              0.00 $           172.00
     419                  JEANETTE ZIMDAHL        $      21,132.14 $              0.00 $            95.74
     420                  JEANETTE ZIMDAHL        $      15,348.35 $              0.00 $            69.53
                          PRAIRIE VIEW
     421                  CEMETERY                $      10,007.00 $              0.00 $            45.34
     422                  SLYE KAREN              $     162,161.07 $              0.00 $           734.65
     423                  SCHNEIDER MARY          $       3,585.91 $              0.00 $            16.25
     424                  MENNENGA DARLYS         $      32,679.97 $              0.00 $           148.05
     425                  HOOGESTRAAT MARY $              3,869.00 $              0.00 $            17.53
     426                  DELBERT HOCKEN          $      51,880.00 $              0.00 $           235.04
     427                  VIRGINIA HOCKEN         $      31,150.00 $              0.00 $           141.12
                          SCHWAKE-HOCKEN
     428                  VIRGINIA                $      38,569.00 $              0.00 $           174.73
     429                  KOLTHOFF EDITH          $       5,000.00 $              0.00 $            22.65
     430                  DELBERT HOCKEN          $      33,910.00 $              0.00 $           153.63
     431                  JENN NORBERT            $      12,757.00 $              0.00 $            57.79
     432                  JENN NORBERT            $       5,851.78 $              0.00 $            26.51
     433                  JENN NORBERT            $       3,092.14 $              0.00 $            14.01
                          MARKEE LORETTA
     434                  JEWELL                  $      10,006.32 $              0.00 $            45.33
     435                  MCALPINE LARRY          $       5,323.66 $              0.00 $            24.12
     436                  DOLORES BAIER           $      23,260.88 $              0.00 $           105.38
                          VINCENT L SAUER
     437                  TRUST                   $      68,863.20 $              0.00 $           311.98
     438                  YOUNG ROBIN             $      51,111.41 $              0.00 $           231.56




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     439                  YOUNG ROBIN             $      15,659.64 $              0.00 $            70.94
                          WENDEL VIOLET OR
     440                  KAREN CARLSON           $      92,833.50 $              0.00 $           420.57
     441                  SCHEFUS RALPH           $      64,556.30 $              0.00 $           292.47
     442                  SCHEFUS RALPH           $      16,888.35 $              0.00 $            76.51
     443                  LAVERNA BERG            $     182,138.28 $              0.00 $           825.16
     444                  BERG GEORGE             $      16,226.28 $              0.00 $            73.51
     445                  KRAUS RANDY             $      62,593.39 $              0.00 $           283.57
     446                  PLOCHER RONALD          $       8,812.77 $              0.00 $            39.93
                          JOHN AND SHARON
     447                  SPRAGLE                 $       7,912.22 $              0.00 $            35.85
     448                  LUNEMANN DONNA          $      22,276.54 $              0.00 $           100.92
     449                  CUMMINGS LARRY          $       5,532.49 $              0.00 $            25.06
     450                  CUMMINGS DONALD         $       5,532.49 $              0.00 $            25.06
                          CINDY AND
                          FERNANDO
     451                  ALVARADO                $       8,595.89 $              0.00 $            38.94
     452                  CINDY ALVARADO          $       7,180.00 $              0.00 $            32.53
                          MATALONI AND
                          SUZANNE R. MATA
     453                  ALFRED                  $       8,783.79 $              0.00 $            39.79
                          ALFRED MATALONI
                          AND BETTY
     454                  MATALONI                $      38,658.31 $              0.00 $           175.14
     455                  JOANN C DENBESTE        $      31,209.06 $              0.00 $           141.39
     456                  JOANN C DENBESTE        $       8,001.69 $              0.00 $            36.25
     457                  PHILLIP D. FLORES       $      33,027.25 $              0.00 $           149.63
     458                  ALEXANDER VANCE         $      16,759.17 $              0.00 $            75.93
     459                  DOCKERY RITA            $       9,266.17 $              0.00 $            41.98




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     460                  KIRLIN VERNON           $       6,057.00 $              0.00 $            27.44
     461                  BOGAN ROBERT            $      31,249.00 $              0.00 $           141.57
     462                  JENN JOYCE              $      21,800.00 $              0.00 $            98.76
     463                  TRELOAR MARY            $      23,732.92 $              0.00 $           107.52
     464                  ADAMS ELLA              $       3,528.54 $              0.00 $            15.99
     465                  BERNAL TERESA           $      17,326.21 $              0.00 $            78.49
     466                  SCHELLER DAVID          $       2,862.36 $              0.00 $            12.97
     467                  GUEST SYDNEY            $      13,297.17 $              0.00 $            60.24
     468                  NANCY GUEST             $      13,297.17 $              0.00 $            60.24
     469                  NANCY GUEST             $       3,341.83 $              0.00 $            15.14
     470                  GUEST SYDNEY            $       3,341.83 $              0.00 $            15.14
     471                  RENA K ARJES            $      14,568.51 $              0.00 $            66.00
     472                  HUART JOAN              $      16,210.42 $              0.00 $            73.44
     473                  KOLBE DUANE             $      20,523.54 $              0.00 $            92.98
     474                  DOMIER RANDALL          $      48,066.94 $              0.00 $           217.76
     475                  MACY ESTHER             $      22,023.02 $              0.00 $            99.77
     476                  WINTHEISER DEAN         $       6,375.75 $              0.00 $            28.88
     477                  REINARTS LESTER         $     242,187.63 $              0.00 $       1,097.21
     478                  ROBERT L. BUSHMAN       $      11,526.87 $              0.00 $            52.22
     479                  BETTY POST              $      25,706.57 $              0.00 $           116.46
     480                  ROBERT L. BUSHMAN       $      11,235.29 $              0.00 $            50.90
     481                  ROBERT L. BUSHMAN       $      10,497.46 $              0.00 $            47.56
     482                  GALEN ELGERSMA          $      25,706.57 $              0.00 $           116.46
     483                  ROBERT L. BUSHMAN       $      12,621.74 $              0.00 $            57.18
     484                  JANE YERGLER            $      25,706.57 $              0.00 $           116.46




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     485                  LAVONNE ANDRINGA        $      25,706.57 $              0.00 $           116.46
     486                  STEVEN H NESSETH        $       9,200.00 $              0.00 $            41.68
     487                  POULIOT FRANCIS         $      27,614.47 $              0.00 $           125.10
     488                  BERIT L ANFINSON        $      77,569.85 $              0.00 $           351.42
     489                  MILLER ELIZABETH        $      12,045.00 $              0.00 $            54.57
     490                  HILLMAN MARTHA          $       2,993.52 $              0.00 $            13.56
     491                  RICHARD D. PIPPERT      $     254,315.88 $              0.00 $       1,152.15
     492                  RICHARD D. PIPPERT      $      42,318.00 $              0.00 $           191.72
                          FELLOWSHIP BAPTIST
     493                  CHURCH                  $      14,408.59 $              0.00 $            65.28
     494                  OCONE EILEEN            $      10,753.30 $              0.00 $            48.72
     495                  OCONE EILEEN            $       5,131.07 $              0.00 $            23.25
     496                  OCONE EILEEN            $       4,180.98 $              0.00 $            18.94
     497                  OCONE EILEEN            $       3,352.58 $              0.00 $            15.19
     498                  HOFFMAN CLEMENT         $       3,584.43 $              0.00 $            16.24
     499                  HOFFMAN RHONELDA $              4,164.26 $              0.00 $            18.87
                          CLEM AND RHONELDA
     500                  HOFFMAN           $            25,483.45 $              0.00 $           115.45
                          CLEM AND RHONELDA
     501                  HOFFMAN           $            21,744.95 $              0.00 $            98.51
                          CLEM AND RHONELDA
     502                  HOFFMAN           $            12,756.30 $              0.00 $            57.79
     503                  RODRIGUES MOSES         $       4,732.19 $              0.00 $            21.44
                          RICKI M AND CONNIE J
     504                  KOTTWITZ             $          6,022.75 $              0.00 $            27.29
                          RICKI M AND CONNIE J
     505                  KOTTWITZ             $          7,357.58 $              0.00 $            33.33




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          RICKI M AND CONNIE J
     506                  KOTTWITZ             $          7,503.65 $              0.00 $            33.99
                          RICKI M AND CONNIE J
     507                  KOTTWITZ             $          6,546.73 $              0.00 $            29.66
                          RICKI M AND CONNIE J
     508                  KOTTWITZ             $          6,408.21 $              0.00 $            29.03
     509                  WINTHEISER JOANN        $       2,004.94 $              0.00 $             9.08
     510                  WINTHEISER JOANN        $       7,714.67 $              0.00 $            34.95
     511                  WADLE CECELIA           $     177,940.32 $              0.00 $           806.14
                          CECELIA A. LAMPE
                          WADLE REVOCABLE
     512                  TR                      $     177,940.32 $              0.00 $           806.14
     513                  SCHEWE JEROME           $       7,858.24 $              0.00 $            35.60
                          EASTSIDE TIRE &
     514                  AUTO SERVICE            $       9,758.19 $              0.00 $            44.21
                          DUANE W AND JANE
     515                  STOHLMANN               $       2,733.57 $              0.00 $            12.38
                          CARLBLOM LIVING
     516                  TRUST ELMER             $      12,658.65 $              0.00 $            57.35
                          CARLBLOM LIVING
     517                  TRUST LEONA             $      21,775.00 $              0.00 $            98.65
     518                  CARLSON KATHLEEN        $      20,523.54 $              0.00 $            92.98
     519                  BERNICE A GOBLIRSCH $          20,822.07 $              0.00 $            94.33
                          DALE M & MARTENS
     520                  NANCY A. NELSON         $      39,757.69 $              0.00 $           180.12
     521                  PATRICK R. MARONEY $           80,020.58 $              0.00 $           362.53
                          TRUSTEE OF P. R
     522                  PATRICK R. MARONEY $           38,524.97 $              0.00 $           174.53
                          TRUSTEE OF P. R
     523                  PATRICK R. MARONEY $           12,185.42 $              0.00 $            55.20




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          TRUSTEE OF P. R
     524                  PATRICK R. MARONEY $           13,451.78 $              0.00 $            60.94
                          BRAD DAVIS BETTY
     525                  (DECEASED) DAVIS        $      76,751.14 $              0.00 $           347.71
     526                  VANDORIN DOROTHY        $       9,475.61 $              0.00 $            42.93
                          PRINCIPAL TRUST CO
     527                  TTEE                    $       2,457.79 $              0.00 $            11.13
                          PRINCIPAL TRUST CO
     528                  TTEE                    $       2,457.79 $              0.00 $            11.13
     529                  EIMERS DOROTHY          $      25,000.00 $              0.00 $           113.26
     530                  MEHLOW SHIRLEY          $      76,418.32 $              0.00 $           346.21
     531                  STANLEY LORRAINE        $       7,385.28 $              0.00 $            33.46
     532                  BRECHT MARIAN           $      23,493.95 $              0.00 $           106.44
                          DENNIS D AND
     533                  DELORES M PERKINS       $      36,900.10 $              0.00 $           167.17
                          JOHN DEAN AND
     534                  JACQUELINE OLSON        $      20,332.12 $              0.00 $            92.11
                          PAUL E AND BERNICE
     535                  STENDER                 $       9,405.18 $              0.00 $            42.61
     536                  STOCKWELL ANDREA        $       5,263.55 $              0.00 $            23.85
                          JAMES S AND
     537                  SUZANNE M REUVERS $             8,268.60 $              0.00 $            37.46
                          MICHAEL E AND
     538                  CAROLE J PERRON         $       3,708.21 $              0.00 $            16.80
                          MICHAEL E AND
     539                  CAROLE J PERRON         $      20,524.73 $              0.00 $            92.99
                          NORMAN C AND
     540                  ELEANOR HALVORSON $            33,638.54 $              0.00 $           152.40
     541                  MILLER ROBERT           $      34,400.00 $              0.00 $           155.85
     542                  MILLER ROBERT           $      34,400.00 $              0.00 $           155.85




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     543                  MILLER JAMES            $       7,992.09 $              0.00 $            36.21
     544                  HARTMANN RUTH           $      14,008.02 $              0.00 $            63.46
     545                  DANIEL H MILLER         $       2,554.50 $              0.00 $            11.57
                          DANIEL H AND KAREN
     546                  S MILLER           $            3,681.66 $              0.00 $            16.68
                          DANIEL H AND KAREN
     547                  S MILLER           $            3,244.65 $              0.00 $            14.70
     548                  KATHRYN J MILLER        $      10,265.56 $              0.00 $            46.51
     549                  RYAN PATRICK            $      32,091.17 $              0.00 $           145.39
                          FRANK J AND M
     550                  CARMEN ALEXANDER $             92,875.47 $              0.00 $           420.76
     551                  HENRY F CARL            $      25,904.61 $              0.00 $           117.36
     552                  WELTER THOMAS           $      28,750.23 $              0.00 $           130.25
     553                  GATHJE BONNIE           $       2,456.61 $              0.00 $            11.13
     554                  GATHJE BONNIE           $       3,275.48 $              0.00 $            14.84
     555                  DENNIS W. RABEHL        $      17,553.94 $              0.00 $            79.53
     556                  DELORES A HOEHN         $      12,919.97 $              0.00 $            58.53
     557                  LONNIE C MISGEN         $      18,655.47 $              0.00 $            84.52
     558                  KUEKER LAURA            $      63,320.29 $              0.00 $           286.87
                          EDWARD J AND JOAN
     559                  TTEES BREIMHORST        $      33,752.42 $              0.00 $           152.91
     560                  MEULENERS HARRIET       $       6,988.62 $              0.00 $            31.66
     561                  DANNY L. REIN           $       3,361.22 $              0.00 $            15.23
     562                  CEMENSKY ALICE          $      14,231.76 $              0.00 $            64.48
     563                  BORCHARDT ALLEN, Jr. $         20,187.49 $              0.00 $            91.46
     564                  BORCHARDT ALLEN, Jr. $         19,215.68 $              0.00 $            87.05
     565                  BORCHARDT ALLEN, Jr. $         24,019.61 $              0.00 $           108.82




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     566                  BORCHARDT ALLEN, Jr. $         28,437.26 $              0.00 $           128.83
     567                  BORCHARDT ALLEN, Jr. $         23,913.84 $              0.00 $           108.34
                          CAROL E AND
     568                  WILLIAM R WARWEG        $      15,935.05 $              0.00 $            72.19
     569                  BORCHARDT ALLEN, Jr. $         23,913.84 $              0.00 $           108.34
                          REUBEN S AND
     570                  BERNIECE M MOHN         $      10,204.84 $              0.00 $            46.23
     571                  ERICKSON JENEAN         $      14,646.35 $              0.00 $            66.35
     572                  LARRY L FITZGERALD $           23,640.00 $              0.00 $           107.10
                          JERRY M AND
     573                  SHERRILL E VANWYK       $       3,966.69 $              0.00 $            17.97
                          JERRY M AND
     574                  SHERRILL E VANWYK       $       8,544.56 $              0.00 $            38.71
     575                  HANNAHS CHARLES         $       2,390.62 $              0.00 $            10.83
                          ESTATE OF FREIDA C.
     576                  RIECK                   $      27,105.21 $              0.00 $           122.80
     577                  EDNA BOOTON             $      44,355.06 $              0.00 $           200.95
     578                  DEML JOSEPH             $      11,325.43 $              0.00 $            51.31
     579                  FOLLMUTH HARRY          $      21,877.73 $              0.00 $            99.11
     580                  WILFAHRT JOANN          $       4,972.86 $              0.00 $            22.53
     581                  WILFAHRT JOANN          $       3,214.84 $              0.00 $            14.56
     582                  DAVID BAUDOIN           $       6,572.35 $              0.00 $            29.78
     583                  OLINGER PHYLLIS         $      20,808.20 $              0.00 $            94.27
     584                  BISSONETTE MARK         $      12,266.26 $              0.00 $            55.57
     585                  PIPPING MARY            $      18,204.23 $              0.00 $            82.47
                          THERESA E
     586                  BROMENSHENKEL           $      32,832.10 $              0.00 $           148.74
     587                  IHRKE GERALDINE         $      19,630.49 $              0.00 $            88.93




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          SUSAN HIRTH LIVING
     588                  TRUST                   $       2,187.25 $              0.00 $             9.91
                          DANIEL E. HIRTH
     589                  LIVING TRUST            $       1,814.51 $              0.00 $             8.22
                          KATHRYN AND
     590                  KENNETH MOE             $      30,037.78 $              0.00 $           136.08
                          WULFF AND ANNETTE
     591                  FREDERICK         $            22,423.38 $              0.00 $           101.59
     592                  ROY HOLST               $       7,016.41 $              0.00 $            31.79
     593                  LEE VIRGINIA            $      15,183.45 $              0.00 $            68.79
     594                  SCHMITZ HEATHER         $       6,117.38 $              0.00 $            27.71
     595                  LEE VIRGINIA            $      11,784.99 $              0.00 $            53.39
     596                  BROWN PATRICK           $      13,983.42 $              0.00 $            63.35
                          SHIRLEY M. BRUNS
     597                  ESTATE                  $      17,798.84 $              0.00 $            80.64
     598                  BERGER ROBERT           $      18,723.23 $              0.00 $            84.82
                          FELLOWSHIP BAPTIST
     599                  CHURCH                  $       3,960.25 $              0.00 $            17.94
     600                  BERGER HELEN TOD        $      38,713.36 $              0.00 $           175.39
                          JUNE AND HAROLD
     601                  HELSEL                  $      15,630.00 $              0.00 $            70.81
     602                  TUREK ROBERT            $      11,515.71 $              0.00 $            52.17
                          BERNICE J.
     603                  BERGSTROM               $      18,142.06 $              0.00 $            82.19
     604                  TOOGOOD DIANE           $      28,422.37 $              0.00 $           128.76
     605                  BORN ROLAND             $       2,553.62 $              0.00 $            11.57
     606                  ROLAND O. BORN          $       5,589.80 $              0.00 $            25.32
     607                  KATHRYN J MILLER        $      11,941.25 $              0.00 $            54.10
     608                  KATHRYN J MILLER        $      23,882.50 $              0.00 $           108.20




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     609                  KATHRYN J MILLER        $      23,882.50 $              0.00 $           108.20
     610                  MILLER KATHRYN          $      23,882.50 $              0.00 $           108.20
                          THOMAS H. KATHRYN
     611                  J MILLER                $     238,824.90 $              0.00 $       1,081.97
     612                  MILLER THOMAS           $      13,256.00 $              0.00 $            60.05
     613                  MILLER KATHRYN          $      49,534.00 $              0.00 $           224.41
     614                  KATHRYN J MILLER        $      23,882.50 $              0.00 $           108.20
     615                  THOMAS H. MILLER        $      13,256.00 $              0.00 $            60.05
     616                  THOMAS H. MILLER        $      16,607.93 $              0.00 $            75.24
     617                  ROSE MARY MILLER        $      45,683.78 $              0.00 $           206.97
     618                  BLATTNER KENNETH        $      27,737.55 $              0.00 $           125.66
     619                  BLATTNER KENNETH        $       7,744.97 $              0.00 $            35.09
                          KENNETH F.
                          BLATTNER- DEBRA
     620                  BLATTNER                $      58,087.62 $              0.00 $           263.16
                          KENNETH F.
                          BLATTNER- DEBRA
     621                  BLATTNER                $      48,377.12 $              0.00 $           219.17
     622                  BLATTNER DEBRA          $      49,618.01 $              0.00 $           224.79
     623                  LIESKE LORRAINE         $      16,950.85 $              0.00 $            76.79
     624                  LORINA R JESSE          $      15,610.00 $              0.00 $            70.72
     625                  MARVIN C. CLAASEN       $      12,457.00 $              0.00 $            56.44
     626                  LORINA R JESSE          $      27,656.00 $              0.00 $           125.29
     627                  LORINA R JESSE          $      13,732.00 $              0.00 $            62.21
     628                  GLADYS L WAVRIN         $       4,186.39 $              0.00 $            18.97
     629                  MARVIN C. CLAASSEN $           10,449.00 $              0.00 $            47.34
     630                  CORRINE RATZLOFF        $       2,958.28 $              0.00 $            13.40




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     631                  MARVIN C. CLAASSEN $            6,138.00 $              0.00 $            27.81
                          DIANE PENNY
     632                  NORDHORN                $       2,958.28 $              0.00 $            13.40
     633                  JOANN M. CLAASSEN       $       5,224.00 $              0.00 $            23.67
     634                  JOANN M. CLAASSEN       $      11,935.00 $              0.00 $            54.07
     635                  STEVEN L NEWMAN         $      15,785.00 $              0.00 $            71.51
     636                  STEVEN L. NEWMAN        $      11,340.00 $              0.00 $            51.37
     637                  STEVEN L. NEWMAN        $       8,792.00 $              0.00 $            39.83
     638                  STEVEN L. NEWMAN        $       7,195.00 $              0.00 $            32.60
     639                  STEVEN L. NEWMAN        $       8,489.00 $              0.00 $            38.46
     640                  STEVEN L. NEWMAN        $       5,008.00 $              0.00 $            22.69
                          TOD MONICA A.
     641                  PHELPS                  $     107,071.00 $              0.00 $           485.07
     642                  DONALD KASPERSON        $       5,885.00 $              0.00 $            26.66
     643                  DONALD KASPERSON        $       6,355.00 $              0.00 $            28.79
     644                  DONALD KASPERSON        $       5,009.00 $              0.00 $            22.69
     645                  DONALD KASPERSON        $       4,333.00 $              0.00 $            19.63
     646                  DONALD KASPERSON        $     124,164.00 $              0.00 $           562.51
                          MARY JANE
     647                  KASPERSON               $       4,705.00 $              0.00 $            21.32
                          MARY JANE
     648                  KASPERSON               $       6,335.00 $              0.00 $            28.70
                          MARY JANE
     649                  KASPERSON               $       5,009.00 $              0.00 $            22.69
                          MARY JANE
     650                  KASPERSON               $       4,333.00 $              0.00 $            19.63
     651                  KASPERSON OIL INC.      $      82,881.00 $              0.00 $           375.48
     652                  TEAL VENITA             $       4,318.00 $              0.00 $            19.56




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     653                  SHIRLEE L. MURPHY       $     109,810.27 $              0.00 $           497.48
     654                  O'NEAL WILFORD          $       4,210.01 $              0.00 $            19.07
                          BRENT AND SUSAN
     655                  JAEKEL                  $      92,531.13 $              0.00 $           419.20
                          LEO AND RUTH
     656                  WAIBEL                  $       3,861.93 $              0.00 $            17.50
     657                  LOIS ANGERER            $       4,127.78 $              0.00 $            18.70
     658                  NEE RITA                $      12,833.22 $              0.00 $            58.14
     659                  VANWYK BRENT            $      19,137.42 $              0.00 $            86.70
     660                  FORTWENGLER ALYCE $             2,196.55 $              0.00 $             9.95
                          MICHAEL AND
     661                  PATRICIA SHARPSTEEN $          15,849.60 $              0.00 $            71.81
     662                  MIKE SHARPSTEEN         $      20,938.43 $              0.00 $            94.86
     663                  BETHESDA ARC, LLC       $     116,951.85 $              0.00 $           529.84
     664                  JOHNSON VALERIE         $      11,064.90 $              0.00 $            50.13
     665                  KRAIG C. JOHNSON        $      39,837.60 $              0.00 $           180.48
     666                  WALLACE JUDITH          $       6,646.12 $              0.00 $            30.11
     667                  WALLACE JUDITH          $       4,440.02 $              0.00 $            20.12
     668                  ONSTOT JERROLD          $      28,733.18 $              0.00 $           130.17
     669                  REINKING LUCILLE        $      31,193.68 $              0.00 $           141.32
     670                  CAIN JEAN               $       7,894.54 $              0.00 $            35.77
     671                  BOGAN CAROL             $       3,344.24 $              0.00 $            15.15
     672                  BOGAN CAROL             $       3,264.32 $              0.00 $            14.79
     673                  BOGAN CAROL             $      31,249.00 $              0.00 $           141.57
     674                  BOGAN CAROL             $       4,164.93 $              0.00 $            18.87
     675                  TRENKAMP RAYMOND $              3,655.89 $              0.00 $            16.56




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          TRENKAMP
     676                  BERNADETTE              $       7,277.71 $              0.00 $            32.97
                          TRENKAMP
     677                  BERNADETTE              $       3,613.09 $              0.00 $            16.37
     678                  TRENKAMP MITCHELL $             4,543.00 $              0.00 $            20.58
     679                  FEUERHELM EDITH         $       7,910.96 $              0.00 $            35.84
     680                  FINK BONNIE             $       1,539.52 $              0.00 $             6.97
     681                  BAXTER CAROL            $       4,796.14 $              0.00 $            21.73
     682                  DIANN M STEINLAGE       $       5,396.72 $              0.00 $            24.45
     683                  KRULL ELAINE            $      21,413.00 $              0.00 $            97.01
     684                  GRAY VICKI              $       9,017.00 $              0.00 $            40.85
     685                  SALFER STEVEN           $       8,131.83 $              0.00 $            36.84
     686                  SALFER JULIA            $       3,169.92 $              0.00 $            14.36
     687                  BRYAN KRISTIN           $       6,419.51 $              0.00 $            29.08
     688                  BRYAN KRISTIN           $      12,736.23 $              0.00 $            57.70
                          VICTORIA L.
     689                  KINGSLIEN               $      25,055.16 $              0.00 $           113.51
     690                  BRYAN BARTON            $       6,419.51 $              0.00 $            29.08
     691                  BRYAN BARTON            $      12,736.23 $              0.00 $            57.70
                          LILLIAN R AND
     692                  DWAYNE E SCHIRM         $      37,357.32 $              0.00 $           169.24
     693                  MEYER MARJEAN           $       5,483.04 $              0.00 $            24.84
     694                  HANNER DARLENE          $      52,162.54 $              0.00 $           236.32
     695                  HENDERSON MARY          $      15,988.69 $              0.00 $            72.44
                          MCRAY C. AND KAREN
     696                  K. BRYANT          $            5,954.86 $              0.00 $            26.98
     697                  ROLFS MARY              $      20,523.54 $              0.00 $            92.98




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          GLEN D AND NOLA C
     698                  CARLSON JTWROS          $      36,981.77 $              0.00 $           167.54
                          ARTHUR SIMON REV
     699                  TRUST                   $      26,845.26 $              0.00 $           121.62
                          DELNA AND ARVID
     700                  REDMAN JTWROS           $      30,451.64 $              0.00 $           137.96
     701                  FERNANDES AMINTA        $      10,719.14 $              0.00 $            48.56
     702                  DANIEL BALDWIN          $      14,426.51 $              0.00 $            65.36
     703                  TILLMA JERMOME          $       1,517.94 $              0.00 $             6.88
     704                  BENNETT RUSSELL         $       8,049.47 $              0.00 $            36.47
                          HECKENLAIBLE
     705                  BONNIE                  $      13,591.63 $              0.00 $            61.58
     706                  BENNETT RUSSELL         $      15,953.38 $              0.00 $            72.28
                          EUNICE AND DONALD
     707                  HAMPTON                 $       7,261.75 $              0.00 $            32.90
                          EUNICE AND DONALD
     708                  HAMPTON                 $       4,790.48 $              0.00 $            21.70
                          JOHN AND MARLYS
     709                  WAIBEL                  $       3,861.93 $              0.00 $            17.50
     710                  FAHEY THOMAS            $      19,850.66 $              0.00 $            89.93
                          LOTHER AND SHIRLEY
     711                  KOST               $           60,171.57 $              0.00 $           272.60
     712                  BESSIE BACKER           $      22,406.00 $              0.00 $           101.51
     713                  LAVON YUNGTUM           $       7,725.00 $              0.00 $            35.00
     714                  FROMM DEAN              $       3,880.01 $              0.00 $            17.58
     715                  LAZOR JANE              $      12,833.23 $              0.00 $            58.14
                          NESETH-THOMAS
     716                  DEBRA                   $      19,367.47 $              0.00 $            87.74
     717                  DOROTHY L STOLT         $      21,137.94 $              0.00 $            95.76




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     718                  MEYERS RALPH            $       8,671.45 $              0.00 $            39.29
     719                  NANCY N GOSS            $       5,198.01 $              0.00 $            23.55
     720                  NORMA L BENDZICK        $       5,198.01 $              0.00 $            23.55
     721                  KRZMARZICK LINUS        $      26,005.93 $              0.00 $           117.82
     722                  MARY MCGRAW             $       5,416.74 $              0.00 $            24.54
     723                  MARY MCGRAW             $       6,497.01 $              0.00 $            29.43
     724                  ARTHUR H GURROLA        $      50,834.16 $              0.00 $           230.30
                          ALLAN J. & JUDITH M.
     725A                 FRANK                $         11,628.00 $              0.00 $            52.68
                          BEVERLY AND EARL
     726                  ZELLMANN                $       9,566.87 $              0.00 $            43.34
     727                  GARY BAKER              $       5,252.56 $              0.00 $            23.80
     728                  GLORIA BAKER            $       5,252.56 $              0.00 $            23.80
     729                  MARY MCGRAW             $      16,387.73 $              0.00 $            74.24
     730                  MARY MCGRAW             $       9,924.06 $              0.00 $            44.96
     731                  OLSON LOREN, Sr.        $       9,757.27 $              0.00 $            44.20
     732                  OLSON LOREN, Sr.        $       9,895.62 $              0.00 $            44.83
     733                  OLSON LOREN, Sr.        $      10,729.30 $              0.00 $            48.61
     734                  OLSON LOREN, Sr.        $      20,834.43 $              0.00 $            94.39
                          RITA M AND GEORGE
     735                  W SCHMAHL JTWRO         $      11,360.22 $              0.00 $            51.47
                          DUANE L AND
     736                  BERNITA M BACON         $       2,411.10 $              0.00 $            10.92
     737                  SCHELLER DOUGLAS        $       2,862.36 $              0.00 $            12.97
     738                  ELAINE L GERDES         $       5,198.01 $              0.00 $            23.55
     739                  SCHUFT EDGAR            $      40,011.79 $              0.00 $           181.27
     740                  BRUCE BATEMAN           $       6,679.98 $              0.00 $            30.26




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     741                  LARRY BATEMAN           $      15,922.95 $              0.00 $            72.14
     742                  OTTO JEAN               $       6,679.98 $              0.00 $            30.26
     743                  BEVINS EILEEN           $      20,909.00 $              0.00 $            94.73
                          JOHN AND KATHRYN
     744                  GRIFFIN                 $     322,690.40 $              0.00 $       1,461.92
     745                  BEVINS EILEEN           $      17,042.00 $              0.00 $            77.21
                          JERRY L
     746                  HUNDERTMARK             $       5,880.09 $              0.00 $            26.64
     747                  MARTIN BARBARA          $       6,679.98 $              0.00 $            30.26
     748                  BESKE SHIRLEY           $       6,679.98 $              0.00 $            30.26
                          POC INVESTMENTS
     749                  LLC                     $     152,551.96 $              0.00 $           691.12
                          POC INVESTMENTS
     750                  LLC                     $     154,580.93 $              0.00 $           700.31
                          POC INVESTMENTS
     751                  LLC                     $     163,535.78 $              0.00 $           740.88
                          PATRICIA OCHELTREE
     752                  CLAY TRUST         $          146,000.00 $              0.00 $           661.44
     753                  TILBURY MARY            $      13,647.26 $              0.00 $            61.83
                          BERNARD AND
                          MARTHA H. RIESGRAF
     754                  JTWROS             $            7,305.43 $              0.00 $            33.10
     755                  KERBER STEVEN           $       9,381.00 $              0.00 $            42.50
     756                  WICKERSHAM CAROL        $      32,098.14 $              0.00 $           145.42
     757                  MESHKE DAVID            $         578.20 $              0.00 $             2.62
     758                  JOHNSON LINDA           $      10,101.73 $              0.00 $            45.76
     759                  GERTRUDE BAER           $       4,963.00 $              0.00 $            22.48
     760                  MADISON DELORIS         $      27,068.84 $              0.00 $           122.63
     761                  LINDE EVANGELINE        $       7,691.23 $              0.00 $            34.84




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          ARTHUR AND
     762                  LAVERNE ABRAHAM         $      43,137.91 $              0.00 $           195.43
     763                  LINDE EVANGELINE        $      15,855.84 $              0.00 $            71.83
     764                  LINDE EVANGELINE        $      23,657.65 $              0.00 $           107.18
                          DENNIS AND JOAN M.
     765                  PIEPER JTWROS           $       7,772.78 $              0.00 $            35.21
     766                  SUCHY DONNA             $      22,720.98 $              0.00 $           102.94
                          CELESTINE AND
                          LENORA SCHMITT
     767                  JTWROS                  $      16,098.81 $              0.00 $            72.93
                          CELESTINE AND
                          LENORA SCHMITT
     768                  JTWROS                  $      19,988.10 $              0.00 $            90.55
                          HERBERT AND
                          LORRAINE FROEHLICH
     769                  JTWROS             $           29,327.54 $              0.00 $           132.87
     770                  RENAAS RODNEY           $       7,509.06 $              0.00 $            34.02
                          ZUMBROM MAZEPPA
     771                  SCHOOL DIST 2805        $      11,105.14 $              0.00 $            50.31
                          FREDRICK D
     772                  EBERHART                $      20,237.08 $              0.00 $            91.68
     773                  WILLARD L EBERHART $           20,237.08 $              0.00 $            91.68
                          FREDRICK D
     774                  EBERHART                $      18,354.08 $              0.00 $            83.15
     775                  WILLARD L EBERHART $           18,354.08 $              0.00 $            83.15
     776                  DEBRA A VOGELSANG $             4,193.81 $              0.00 $            19.00
                          WILLIAM C
     777                  KOPISCHKE               $       4,193.81 $              0.00 $            19.00
     778                  BORCHARDT MILDRED $            31,652.69 $              0.00 $           143.40
                          LAUDENBACH
     779                  MARLENE                 $      15,670.57 $              0.00 $            70.99




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     780                  CHARLOTTE J OLSON       $      41,746.61 $              0.00 $           189.13
                          KENNETH C AND
     781                  JOANNE C PIEPER         $      33,408.59 $              0.00 $           151.35
     782                  FRANA BEATRICE          $      34,421.96 $              0.00 $           155.95
                          J. CARL MARIAN J. K.
     783                  KAHLER                  $      28,381.00 $              0.00 $           128.58
                          HAROLD W.
     784                  MIDDAUGH TRUST          $       6,787.00 $              0.00 $            30.75
                          HAROLD W.
     785                  MIDDAUGH TRUST          $      17,510.00 $              0.00 $            79.33
     786                  WALKER MIRIAM           $      14,977.77 $              0.00 $            67.86
     787                  PAMELA RIEDERER         $      16,576.23 $              0.00 $            75.10
     788                  RIEDERER JOHN           $      45,510.59 $              0.00 $           206.18
     789                  RIEDERER JOHN           $      10,046.68 $              0.00 $            45.52
     790                  JOHN RIEDERER           $      15,129.77 $              0.00 $            68.54
     791                  BERGHOFF VERNA          $      44,052.00 $              0.00 $           199.57
                          JEAN E AND STEPHEN
     792                  T NELSEN JTWR           $       7,207.86 $              0.00 $            32.65
     793                  SCHMITZ DONALD          $       7,153.61 $              0.00 $            32.41
     794                  SUSAN D SMITH           $       3,412.23 $              0.00 $            15.46
     795                  PORTNER ELIZABETH       $      49,975.84 $              0.00 $           226.41
     796                  PORTNER ELIZABETH       $      63,495.23 $              0.00 $           287.66
     797                  ELANOR SHARP            $       6,271.99 $              0.00 $            28.41
     798                  GRAY STANLEY            $       9,816.34 $              0.00 $            44.47
     799                  MCGRAW JAMES            $       1,805.58 $              0.00 $             8.18
     800                  MCGRAW JAMES            $       2,165.67 $              0.00 $             9.81
     801                  MCGRAW JAMES            $       5,462.58 $              0.00 $            24.75




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     802                  BRAULICK ADELINE        $      19,013.64 $              0.00 $            86.14
     803                  HILLESHEIM MYRON        $      35,319.41 $              0.00 $           160.01
     804                  LOVISON RAYMOND         $      27,685.00 $              0.00 $           125.42
                          CLEMONS LUTHERAN
     805                  SCHOOL                  $      22,644.68 $              0.00 $           102.59
                          CLEMONS LUTHERAN
     806                  SCHOOL                  $       7,019.03 $              0.00 $            31.80
                          CENTRAL IOWA
     807                  CHRISTIAN ACADEMY $            22,644.67 $              0.00 $           102.59
                          CENTRAL IOWA
     808                  CHRISTIAN ACADEMY $             7,019.03 $              0.00 $            31.80
                          PRINCIPAL TRUST CO
     809                  TRUSTEE                 $      54,479.80 $              0.00 $           246.82
                          WILLIAM J AND
     810                  COLLENE K ANKSORUS $            5,871.58 $              0.00 $            26.60
                          KEITH A AND JANET M
     811                  SUHR JTWROS         $          13,108.23 $              0.00 $            59.39
     812                  POULIOT EUGENE          $      16,128.50 $              0.00 $            73.07
     813                  TJADEN DONNA            $      17,541.00 $              0.00 $            79.47
     814                  RONALD GEIGER           $       3,430.13 $              0.00 $            15.54
     815                  RONALD GEIGER           $      12,911.26 $              0.00 $            58.49
                          BEVERLY
     816                  CHRISTOPHERSON          $     101,411.94 $              0.00 $           459.44
                          JOHN A AND BARBARA
     817                  KURTH JTWROS       $           39,546.86 $              0.00 $           179.16
                          DONALD R AND
     818                  COLLEEN F SANDER        $      17,556.24 $              0.00 $            79.54
                          MILTON G AND KAREN
     819                  A JTWROS VOSS      $           24,044.93 $              0.00 $           108.93
                          RICHARD ESSELMAN
     820                  TRUST                   $      80,541.39 $              0.00 $           364.88




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     821                  BUETOW LAVERNE          $      17,224.31 $              0.00 $            78.03
     822                  BESSEL LESLIE           $     167,320.88 $              0.00 $           758.03
                          WALKER
                          DISTRIBUTING
     823                  COMPANY                 $      96,420.40 $              0.00 $           436.82
                          LLOYD AND MARD
     824                  STARR JTWROS            $      31,372.68 $              0.00 $           142.13
                          RICHARD B. AND
     825                  FREDETTE D. WEST        $      60,425.08 $              0.00 $           273.75
     826                  GREGORY WEIDAUER        $       4,013.69 $              0.00 $            18.18
     827                  BRAKE LOREN             $       3,612.28 $              0.00 $            16.37
                          JOHNSON FAMILY REV
     828                  LIVING TR 1/24/9   $           43,469.48 $              0.00 $           196.93
     829                  PLOCHER RICHARD         $       9,266.14 $              0.00 $            41.98
     830                  SANDERS LAWRENCE        $      56,686.69 $              0.00 $           256.81
     831                  ELLEN SMITH KING        $         217.78 $              0.00 $             0.99
                          WALLACE &
                          DORRAINE CARLSON
     832                  JTW                     $      43,240.57 $              0.00 $           195.90
                          DIANNE & THOMAS
     833                  FRANTA                  $      16,566.93 $              0.00 $            75.05
     834                  TRACI DEGROAT           $         217.78 $              0.00 $             0.99
     835                  BECK SUSAN              $       2,468.17 $              0.00 $            11.18
                          STEVE & HEIDI
     836                  WERSAL JTWROS           $       8,002.36 $              0.00 $            36.25
                          STEVE & HEIDI
     837                  WERSAL JTWROS           $      10,277.70 $              0.00 $            46.56
     838                  BULAU WAYNE             $       8,384.33 $              0.00 $            37.98
     839                  BULAU WAYNE             $      20,711.59 $              0.00 $            93.83
     840                  LYNN MOORE              $     146,000.00 $              0.00 $           661.44




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                                                  Allowed Amount       Interim Payments Proposed
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                          VONDERHARR
     841                  STANLEY                 $       9,035.87 $              0.00 $            40.94
                          VONDERHARR
     842                  STANLEY                 $       7,944.48 $              0.00 $            35.99
                          ROGER A. AND AVIS
     843                  KEGLER                  $       2,063.04 $              0.00 $             9.35
     844                  STARITS JOYCE           $      21,196.76 $              0.00 $            96.03
     845                  BOND GERALD             $      25,551.80 $              0.00 $           115.76
     846                  HIRSCHY CONNIE          $      16,331.59 $              0.00 $            73.99
     847                  HILLSTROM CINDY         $         482.88 $              0.00 $             2.19
     848                  HERMANN DANIEL          $         482.88 $              0.00 $             2.19
     849                  MATTER FRANK            $       6,211.29 $              0.00 $            28.14
     850                  HERMANN GARY            $         482.22 $              0.00 $             2.18
                          GERALD M. AND JEAN
     851                  Y. PAQUETTE             $       6,147.50 $              0.00 $            27.85
     852                  HERMANN THOMAS          $         482.88 $              0.00 $             2.19
     853                  EHALT RICHARD           $       3,482.64 $              0.00 $            15.78
     854                  MILLER JOYCE            $         482.88 $              0.00 $             2.19
                          GLADYS M.
     855                  BACHMANN                $      29,943.47 $              0.00 $           135.66
     856                  MISKE CAROLYN           $         482.88 $              0.00 $             2.19
     857                  HERMANN RANDY           $         482.88 $              0.00 $             2.19
     858                  SCHAEFER BONNIE         $         482.88 $              0.00 $             2.19
     859                  MCGRAW JOHN             $       5,462.58 $              0.00 $            24.75
     860                  MCGRAW JOHN             $       2,165.67 $              0.00 $             9.81
     861                  MCGRAW JOHN             $       1,805.58 $              0.00 $             8.18
     862                  RAUB MERLIN             $      38,093.20 $              0.00 $           172.58




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     863                  LEOPOLD MARY            $      37,071.80 $              0.00 $           167.95
     864                  GULDEN THEODORE         $       6,575.55 $              0.00 $            29.79
     865                  WILLIAM H BENSON        $      13,221.24 $              0.00 $            59.90
     866                  MUELLER JANE            $       3,252.72 $              0.00 $            14.74
                          TRUSTEE OF THE
                          GLADYS M.
     867                  BACHMANN                $      29,414.03 $              0.00 $           133.26
     868                  JOHN F. MILLER          $       5,000.00 $              0.00 $            22.65
                          O & G BACHMANN
     869                  LTD.                    $      81,544.64 $              0.00 $           369.43
                          MARGARET M.
     870                  BRATSCH                 $       5,000.00 $              0.00 $            22.65
     871                  MEYER JAMES             $      21,744.95 $              0.00 $            98.51
     872                  EHALT EARL              $       3,482.64 $              0.00 $            15.78
     873                  MEYER JAMES             $      16,615.63 $              0.00 $            75.28
     874                  HERBERT GEIGER          $       3,583.38 $              0.00 $            16.23
     875                  MEYER JAMES             $      18,204.23 $              0.00 $            82.47
     876                  FLYGARE MARCUS          $     147,726.20 $              0.00 $           669.26
     877                  MEYER JAMES             $      87,172.79 $              0.00 $           394.93
     878                  MEYER LONNIE            $       4,180.98 $              0.00 $            18.94
                          SCHUTLE FUNERAL
     879                  SERVICES                $      10,022.92 $              0.00 $            45.41
     880                  BREGEL VIRGIL           $       2,451.85 $              0.00 $            11.11
                          JOSEPH AND
                          KATHLEEN
     881                  SCHERBRING              $       8,825.49 $              0.00 $            39.98
     882                  LANG DENNIS             $      19,284.52 $              0.00 $            87.37
     883                  MUELLER THOMAS          $      25,480.43 $              0.00 $           115.44




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     Claim No.            Claimant                of Claim             to Date          Payment
     884                  MARY L. ALEXANDER       $       7,487.44 $              0.00 $            33.92
     885                  MUELLER THOMAS          $      33,214.93 $              0.00 $           150.48
     886                  MUELLER THOMAS          $       3,252.72 $              0.00 $            14.74
     887                  MUELLER JANE            $       3,252.72 $              0.00 $            14.74
                          RAY AND MARGARET
     888                  SALLSTROM               $       6,835.36 $              0.00 $            30.97
     889                  JOHN F. MILLER          $       5,000.00 $              0.00 $            22.65
                          REINHOLD AND
                          MARGARET
     890                  SALLSTROM               $       9,703.14 $              0.00 $            43.96
                          RAY AND MARGARET
     892                  SALLSTROM               $      12,833.58 $              0.00 $            58.14
                          RAY AND MARGARET
     894                  SALLSTROM               $      10,733.06 $              0.00 $            48.63
     895                  REVA HORTSCH            $      23,027.40 $              0.00 $           104.32
     896                  OMAN JEROME             $      13,412.74 $              0.00 $            60.77
     897                  SAMPSON ORVILLE         $      16,249.12 $              0.00 $            73.62
     898                  ASHLEY MAHER            $       2,643.38 $              0.00 $            11.98
     899                  DUBBELS GLEN            $       7,428.21 $              0.00 $            33.65
                          LORRAINE D.
     900                  NOERENBERG              $      19,378.55 $              0.00 $            87.79
     901                  GREGG KEVIN             $      51,301.67 $              0.00 $           232.42
     902                  GULDEN DELMAR           $       6,575.55 $              0.00 $            29.79
     903                  RUCKHEIM RICHARD        $      19,043.38 $              0.00 $            86.27
     904                  DEBRA JENSEN            $      23,619.58 $              0.00 $           107.01
     905                  MATHEWS EDWARD          $      10,940.80 $              0.00 $            49.57
     906                  DANNY L. REIN           $           0.00 $              0.00 $             0.00
     907                  PALMER KAELLEN          $       2,396.43 $              0.00 $            10.86




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     908                  PALMER WILLIAM          $       2,396.43 $              0.00 $            10.86
     913                  REIN MICHAEL            $      21,994.27 $              0.00 $            99.64
     914                  REIN MICHAEL            $      40,098.64 $              0.00 $           181.66
     915                  LARRY C MCALPINE        $       5,323.66 $              0.00 $            24.12
     916                  TYSDALE DEBRA           $       8,064.82 $              0.00 $            36.54
     917                  TYSDALE DEBRA           $      10,329.01 $              0.00 $            46.79
                          BENSON JOHN
     918                  HAROLD                  $      31,822.36 $              0.00 $           144.17
     919                  POTTHOFF ARDELLA        $      10,500.00 $              0.00 $            47.57
     920                  SHEESLEY FLORENCE       $      59,014.54 $              0.00 $           267.36
     921                  SHEESLEY FLORENCE       $      36,747.29 $              0.00 $           166.48
     922                  IRENE POPSON            $      18,063.00 $              0.00 $            81.83
                          MARK A. & CINDY V.
     923                  JOHNSON                 $      39,837.60 $              0.00 $           180.48
                          DREESSEN
     924                  CHARLOTTE               $       5,410.48 $              0.00 $            24.51
     925                  GODBERSEN TWYLA         $       5,294.14 $              0.00 $            23.98
     926                  SUSAN D SMITH           $       3,412.23 $              0.00 $            15.46
     927                  ROSENDAHL GEORGIA $            11,980.80 $              0.00 $            54.28
                          ACADEMY OF OUR
     928                  LADY OF LOURDES         $      62,000.00 $              0.00 $           280.88
     929                  KLEBSCH SHIRLEY         $       4,714.40 $              0.00 $            21.36
     930                  NORMA SPRINGER          $      15,538.22 $              0.00 $            70.39
     931                  MARILYNN D BOOTH        $      14,518.37 $              0.00 $            65.77
     932                  KERR HOMER              $       7,809.61 $              0.00 $            35.38
     933                  BRO BERNICE             $       9,227.97 $              0.00 $            41.81
     934                  GARY LEHTOLA            $      15,605.95 $              0.00 $            70.70




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     Claim No.            Claimant                of Claim             to Date          Payment
     935                  PRANGE CLIFTON          $       9,954.84 $              0.00 $            45.10
                          WILLIAM AND MARY
     936                  SCHENDEL                $      12,911.26 $              0.00 $            58.49
                          WILLIAM AND MARY
     937                  SCHENDEL                $      86,463.41 $              0.00 $           391.71
     938                  SCHENDEL MARY           $     103,283.13 $              0.00 $           467.91
     939                  SCHENDEL MARY           $      21,620.28 $              0.00 $            97.95
     940                  SCHENDEL MARY           $      15,071.88 $              0.00 $            68.28
     941                  MILLIS PAUL             $       8,372.11 $              0.00 $            37.93
     942                  MILLIS PAUL             $       9,890.12 $              0.00 $            44.81
     943                  JASPERSEN JILL          $       9,758.48 $              0.00 $            44.21
     944                  SAND LEON               $       9,758.48 $              0.00 $            44.21
     945                  SAND STEVEN             $       9,758.48 $              0.00 $            44.21
     946                  MILLIS PAUL             $      10,435.20 $              0.00 $            47.28
     947                  MILLIS PAUL             $       8,861.94 $              0.00 $            40.15
     948                  VERDON ANNA             $       6,513.92 $              0.00 $            29.51
     949                  DAVID ALBRECHT          $      61,974.40 $              0.00 $           280.77
     950                  LANGBEHN MARLENE        $       3,960.25 $              0.00 $            17.94
                          JOSEPH D AND
     951                  MARGARET DUFFY          $      15,368.89 $              0.00 $            69.63
     952                  DEBORAH HARVEY          $       8,382.14 $              0.00 $            37.97
     953                  GLORIA BRUNS            $      40,862.98 $              0.00 $           185.13
     954                  GLORIA BRUNS            $      10,302.30 $              0.00 $            46.67
     955                  JERRY BRUNS             $      10,302.30 $              0.00 $            46.67
     956                  JERRY BRUNS             $      40,862.98 $              0.00 $           185.13
     957                  ARDYCE STAGEBERG        $       4,866.50 $              0.00 $            22.05




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                          LEROY AND
                          GERTRUDE
     958                  RATHMANN                $       6,745.69 $              0.00 $            30.56
     959                  FORSTER SUSAN           $       3,298.85 $              0.00 $            14.95
     960                  FORSTER SUSAN           $       5,131.07 $              0.00 $            23.25
     961                  ROESER JOHN             $      96,250.55 $              0.00 $           436.05
     962                  ROESER JOHN             $      13,607.47 $              0.00 $            61.65
     963                  MOHS HILARY             $       1,396.85 $              0.00 $             6.33
                          DUANE AND PATRICIA
     964                  DICK               $           41,504.90 $              0.00 $           188.03
                          MARVIN AND MARIE
     965                  GRUNERT                 $      41,218.04 $              0.00 $           186.73
                          KIRKWOOD M.
     966                  CHARLENE                $      11,121.69 $              0.00 $            50.39
     967                  MADDEN PATRICIA         $       1,934.16 $              0.00 $             8.76
     968                  THOM KATHLEEN           $       1,934.16 $              0.00 $             8.76
     969                  MADDEN RICHARD          $       1,934.16 $              0.00 $             8.76
     970                  DOROTHY F MILLER        $      18,879.00 $              0.00 $            85.53
     971                  RENAE C. BREKKEN        $       6,050.60 $              0.00 $            27.41
     972                  SAMES LAURA             $       6,050.60 $              0.00 $            27.41
     973                  LONG CLAIR              $       7,832.83 $              0.00 $            35.49
     974                  VONDERHARR KEN          $      35,950.32 $              0.00 $           162.87
     975                  VONDERHARR KEN          $      35,518.47 $              0.00 $           160.91
     976                  MARIAN P. WHITE         $       8,768.61 $              0.00 $            39.73
     977                  MARIAN P. WHITE         $       2,990.19 $              0.00 $            13.55
     978                  MARIAN P. WHITE         $      19,020.23 $              0.00 $            86.17
     979                  MARIAN P. WHITE         $       6,307.86 $              0.00 $            28.58




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     980                  CURT COSGROVE           $      20,197.69 $              0.00 $            91.50
     981                  ROBERTS PAUL            $       5,164.50 $              0.00 $            23.40
     982                  ROBERTS PAUL            $       4,180.98 $              0.00 $            18.94
                          ELIZABETH
     983                  WITTENBERG              $      46,275.60 $              0.00 $           209.65
     984                  JEROME NORLUND          $       6,827.64 $              0.00 $            30.93
     985                  KUBAL DONALD            $       6,444.98 $              0.00 $            29.20
     986                  RATHMANN LEROY          $      15,242.95 $              0.00 $            69.06
     987                  RATHMANN LEROY          $      12,914.63 $              0.00 $            58.51
     988                  MADDEN PAUL             $       1,934.16 $              0.00 $             8.76
     989                  MADDEN ROGER            $       1,934.16 $              0.00 $             8.76
     990                  ALVIN KAHNKE            $       7,773.53 $              0.00 $            35.22
                          DONALD G AND
     991                  DONNA M SAMES           $      30,499.38 $              0.00 $           138.17
     992                  SANDERS SUSAN           $      12,716.61 $              0.00 $            57.61
     993                  KRABER LINDA            $      11,285.14 $              0.00 $            51.13
     994                  SLETTEN SANDRA KAY $            1,024.76 $              0.00 $             4.64
     995                  SLETTEN SANDRA KAY $              467.70 $              0.00 $             2.12
     996                  MCCOMBS MARY            $      15,300.00 $              0.00 $            69.32
     997                  BORKOWSKI ESTHER        $       3,127.35 $              0.00 $            14.17
     998                  BORKOWSKI ESTHER        $       4,310.99 $              0.00 $            19.53
     999                  BORKOWSKI ESTHER        $       3,470.66 $              0.00 $            15.72
     1000                 BORKOWSKI ESTHER        $       5,720.40 $              0.00 $            25.92
     1001                 BORKOWSKI ESTHER        $       3,127.35 $              0.00 $            14.17
     1002                 BORKOWSKI ESTHER        $       4,247.25 $              0.00 $            19.24
     1003                 BORKOWSKI ESTHER        $       3,429.07 $              0.00 $            15.54




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1004                 BORKOWSKI ESTHER        $       5,720.40 $              0.00 $            25.92
                          RAYMOND R AND
     1005                 ANNE J RINN             $      16,390.05 $              0.00 $            74.25
     1006                 KEHOE DEBRA             $       2,972.00 $              0.00 $            13.46
     1007                 MORENO DIANE            $       2,972.00 $              0.00 $            13.46
     1008                 M JOHNSTON              $      46,664.58 $              0.00 $           211.41
     1009                 M JOHNSTON              $      11,899.63 $              0.00 $            53.91
     1010                 M JOHNSTON              $      26,389.15 $              0.00 $           119.55
     1011                 ETHEL M TOD REECK       $       5,268.05 $              0.00 $            23.87
     1012                 RICHARDS ELDON          $       3,801.94 $              0.00 $            17.22
     1013                 ELY KAREN               $       4,650.88 $              0.00 $            21.07
     1014                 KRUSE NEIL              $      44,123.90 $              0.00 $           199.90
     1015                 KRUSE NEIL              $      21,090.24 $              0.00 $            95.55
     1016                 MORKEL JAMES            $       1,354.35 $              0.00 $             6.14
                          C. WADE & KATHRYN
     1017                 JO JOHNSON              $      13,809.87 $              0.00 $            62.56
     1018                 GERALD MEYER            $       7,359.81 $              0.00 $            33.34
                          LEONA M AND
                          RICHARD G HESSE
     1019                 JTWR                    $       6,246.39 $              0.00 $            28.30
     1020                 HAUSER KENNETH          $       3,483.73 $              0.00 $            15.78
     1021                 PAMELA REECK            $       6,164.25 $              0.00 $            27.93
     1022                 PALMGREN ALLEN          $       6,357.25 $              0.00 $            28.80
     1023                 STERNHAGEN ANGELA $             6,564.73 $              0.00 $            29.74
     1024                 SHEESLEY FLORENCE       $      65,234.84 $              0.00 $           295.54
     1025                 ELY KAREN               $      13,625.89 $              0.00 $            61.73
     1026                 KRUSE ALLEN D TOD       $      44,123.90 $              0.00 $           199.90




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1027                 JUDITH HARRIS           $     184,595.25 $              0.00 $           836.29
     1028                 KRENZ LYNN              $       5,164.50 $              0.00 $            23.40
     1029                 KRENZ JOYCE             $       5,164.50 $              0.00 $            23.40
     1030                 C RICHERS               $         436.75 $              0.00 $             1.98
     1031                 PEGGY ILENE SMITH       $       1,606.84 $              0.00 $             7.28
     1032                 HAROLD MEANS            $         676.97 $              0.00 $             3.07
     1033                 ROBERT N JENSEN         $       5,853.39 $              0.00 $            26.52
                          MOUNT CALVARY
     1034                 LUTHERAN CHURCH         $       9,770.32 $              0.00 $            44.26
                          MOUNT CALVARY
     1035                 LUTHERAN CHURCH         $      10,185.93 $              0.00 $            46.15
                          MOUNT CALVARY
     1036                 LUTHERAN CHURCH         $      12,861.24 $              0.00 $            58.27
     1037                 DUANE M GEHRKE          $      11,505.08 $              0.00 $            52.12
     1038                 HARLEN C GEHRKE         $      14,772.62 $              0.00 $            66.93
     1039                 WENDY OWENS             $       4,776.96 $              0.00 $            21.64
                          VONDERHARR
     1040                 STANLEY                 $       8,357.22 $              0.00 $            37.86
                          MARLENE AND RO
     1041                 FUNKE JTWROS            $      10,747.23 $              0.00 $            48.69
                          MARLENE AND RO
     1042                 FUNKE JTWROS            $      83,807.14 $              0.00 $           379.68
     1043                 EILTS RANDALL           $       5,052.96 $              0.00 $            22.89
                          DANIEL L. POTTER
     1044                 ESTATE                  $      77,791.00 $              0.00 $           352.42
     1045                 CUMMINGS RANDY          $       2,649.86 $              0.00 $            12.00
     1046                 CUMMINGS RANDY          $       2,882.63 $              0.00 $            13.06
     1047                 SUSIE GRAHAM            $       2,959.96 $              0.00 $            13.41




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1048                 SUSIE GRAHAM            $       2,959.96 $              0.00 $            13.41
     1049                 SUSIE GRAHAM            $       2,171.66 $              0.00 $             9.84
     1050                 SUSIE GRAHAM            $       2,171.66 $              0.00 $             9.84
     1051                 SUSIE GRAHAM            $       5,241.07 $              0.00 $            23.74
     1052                 SUSIE GRAHAM            $       5,241.07 $              0.00 $            23.74
     1053                 EILTS RANDALL           $       8,034.93 $              0.00 $            36.40
     1054                 EILTS RANDALL           $       3,985.99 $              0.00 $            18.06
                          GERTIE BRUNS (DATE
     1055                 OF DEATH 10-24-2        $      10,302.30 $              0.00 $            46.67
                          GERTIE BRUNS (DATE
     1056                 OF DEATH 10-24-2        $      40,862.98 $              0.00 $           185.13
     1057                 DOUGLAS URBAN           $       5,428.00 $              0.00 $            24.59
     1058                 DOUGLAS URBAN           $       9,104.00 $              0.00 $            41.24
     1059                 RONA URBAN              $       5,428.00 $              0.00 $            24.59
     1060                 RONA URBAN              $       9,104.00 $              0.00 $            41.24
                          GLADYS D. SCHILLING
     1061                 TOD                 $          12,610.00 $              0.00 $            57.13
                          GLADYS D. SCHILLING
     1062                 TOD                 $          10,780.00 $              0.00 $            48.84
     1063                 BODE LILLIAN            $      20,441.44 $              0.00 $            92.61
                          LEONARD DONAHUE
     1064                 TRUST                   $       1,288.25 $              0.00 $             5.84
                          ELTON AND MARVEL
     1065                 VORWERK                 $      25,370.33 $              0.00 $           114.94
     1066                 HIMES CHERYLE           $       3,522.05 $              0.00 $            15.96
     1067                 COLLEEN TALLMAN         $       8,614.82 $              0.00 $            39.03
     1068                 JAKEL LORRAINE          $       7,655.25 $              0.00 $            34.68
     1069                 COTA LOUIS              $      15,600.63 $              0.00 $            70.68




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1070                 COTA LOUIS              $      74,080.86 $              0.00 $           335.62
     1071                 COTA LOUIS              $       4,469.19 $              0.00 $            20.25
     1072                 COTA LOUIS              $      16,849.85 $              0.00 $            76.34
     1073                 COTA LOUIS              $      15,599.71 $              0.00 $            70.67
     1074                 COTA LOUIS              $       4,312.37 $              0.00 $            19.54
     1075                 PAM BAIRD               $      28,450.00 $              0.00 $           128.89
     1076                 PAM BAIRD               $      27,670.00 $              0.00 $           125.36
     1077                 PAM BAIRD               $      27,995.00 $              0.00 $           126.83
     1078                 PAM BAIRD               $      27,085.00 $              0.00 $           122.71
     1079                 LAVALLEY DAVID          $      12,900.67 $              0.00 $            58.45
     1080                 THOMAS W. ARRAS         $      15,387.30 $              0.00 $            69.71
     1081                 STADICK DELROSE         $       3,483.73 $              0.00 $            15.78
     1082                 WEDEMEIER GARRETT $             3,528.06 $              0.00 $            15.98
     1083                 LOUIS F. COSTA          $      15,600.63 $              0.00 $            70.68
     1084                 LOUIS F. COSTA          $      15,599.71 $              0.00 $            70.67
     1085                 LOUIS F. COSTA          $       4,312.37 $              0.00 $            19.54
     1086                 LOUIS F. COSTA          $      16,849.85 $              0.00 $            76.34
     1087                 LOUIS F. COSTA          $       4,469.19 $              0.00 $            20.25
     1088                 LOUIS F. COSTA          $      74,080.36 $              0.00 $           335.61
     1089                 MILLER GEORGE           $      16,437.16 $              0.00 $            74.47
     1090                 GIEFER RONALD           $      10,979.78 $              0.00 $            49.74
                          BETSY S AND BEN
     1091                 PIESER JTWROS           $      13,656.76 $              0.00 $            61.87
     1092                 PHILIP LENDT            $      10,837.74 $              0.00 $            49.10
     1093                 PHILIP LENDT            $       6,435.20 $              0.00 $            29.15




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1094                 PHILIP LENDT            $       9,017.74 $              0.00 $            40.85
     1095                 KUCK JOHN               $      54,575.74 $              0.00 $           247.25
     1096                 KUCK JOHN               $      52,288.36 $              0.00 $           236.89
     1097                 JENSEN JOANN            $       8,861.94 $              0.00 $            40.15
     1098                 JENSEN JOANN            $       9,890.12 $              0.00 $            44.81
     1099                 JENSEN JOANN            $       8,886.38 $              0.00 $            40.26
     1100                 JENSEN JOANN            $      10,435.20 $              0.00 $            47.28
     1101                 MARQUARD MARY           $       3,802.65 $              0.00 $            17.23
     1102                 MEAD NELDA              $     285,663.71 $              0.00 $       1,294.17
     1103                 CUMMINGS DONALD         $       2,649.86 $              0.00 $            12.00
     1104                 HUSTED CONNIE           $       2,857.37 $              0.00 $            12.95
     1105                 HUSTED CONNIE           $       2,624.40 $              0.00 $            11.89
     1106                 CUMMINGS LARRY          $       2,649.86 $              0.00 $            12.00
     1107                 CUMMINGS LARRY          $       2,882.63 $              0.00 $            13.06
     1108                 CUMMINGS DONALD         $       2,882.63 $              0.00 $            13.06
     1109                 HILL DEBRA              $       5,758.92 $              0.00 $            26.09
     1110                 BEHRENS CAROL           $       7,200.31 $              0.00 $            32.62
     1111                 BEHRENS CAROL           $       6,766.80 $              0.00 $            30.66
     1112                 BOENDER GERALD          $      17,566.05 $              0.00 $            79.58
     1113                 BOENDER GERALD          $      17,566.05 $              0.00 $            79.58
     1114                 BOENDER GERALD          $      18,910.48 $              0.00 $            85.67
     1115                 BOENDER GERALD          $      16,904.14 $              0.00 $            76.58
     1116                 BOENDER GERALD          $      25,655.33 $              0.00 $           116.23
     1117                 BOENDER GERALD          $      25,655.33 $              0.00 $           116.23
     1118                 BOENDER GERALD          $      76,966.00 $              0.00 $           348.69




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1119                 BOENDER GERALD          $      76,966.00 $              0.00 $           348.69
     1120                 DALEIDEN ARCHIE         $      15,742.77 $              0.00 $            71.32
     1121                 DALEIDEN ARCHIE         $      21,165.08 $              0.00 $            95.89
     1122                 FENSKE SHIRLEY          $      18,190.63 $              0.00 $            82.41
     1123                 FENSKE SHIRLEY          $       6,216.63 $              0.00 $            28.16
     1124                 ARNOLD MEYER            $      47,239.99 $              0.00 $           214.02
     1125                 HELGET DELORES          $       8,667.29 $              0.00 $            39.27
     1126                 WEILAGE JAMES           $      14,831.56 $              0.00 $            67.19
     1127                 WEBER DONNA             $      16,004.71 $              0.00 $            72.51
     1128                 GIEFER MARY             $      12,865.50 $              0.00 $            58.29
     1129                 DOROTHEA W. PAUL        $      16,044.75 $              0.00 $            72.69
     1130                 RATHMANN LARRY          $      12,535.64 $              0.00 $            56.79
     1131                 JAMES WESTLAKE          $      38,538.59 $              0.00 $           174.60
     1132                 FETZER DONALD           $       5,055.14 $              0.00 $            22.90
     1133                 RAYMOND CHERRY          $       5,819.53 $              0.00 $            26.36
     1134                 ALEXANDER VANCE         $      16,675.97 $              0.00 $            75.55
     1135                 SCHERER BRENDA          $       8,131.83 $              0.00 $            36.84
     1136                 RUCKHEIM DAVID          $      14,000.97 $              0.00 $            63.43
     1137                 DALLMANN LAURI          $      20,295.83 $              0.00 $            91.95
     1138                 SAVOY BRUCE             $       3,711.08 $              0.00 $            16.81
     1139                 SAVOY LINDA             $       3,711.08 $              0.00 $            16.81
     1140                 DAVID BOZENA            $      19,499.66 $              0.00 $            88.34
     1141                 SYVERSON CARLYLE        $       1,610.31 $              0.00 $             7.30
     1142                 SYVERSON GARY           $       1,610.31 $              0.00 $             7.30




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          VANDEVOORT
     1143                 MICHAEL                 $       7,471.32 $              0.00 $            33.85
     1144                 WEGNER KAREN            $       4,834.70 $              0.00 $            21.90
     1145                 WEGNER CLAYTON          $       4,834.70 $              0.00 $            21.90
     1146                 PETERSEN EULA           $      14,408.59 $              0.00 $            65.28
     1147                 DANIELS ETHEL           $       5,458.39 $              0.00 $            24.73
     1148                 ETHEL L. DANIELS        $       8,805.12 $              0.00 $            39.89
     1149                 DANIELS ETHEL           $       2,802.00 $              0.00 $            12.69
                          RICHARD AND
     1150                 SANDRA YOUNG            $      42,163.41 $              0.00 $           191.02
                          RICHARD AND
     1151                 SANDRA YOUNG            $      16,250.82 $              0.00 $            73.62
     1152                 PRESTON HELEN           $      63,094.00 $              0.00 $           285.84
     1153                 HAUSER GERALD           $       3,483.73 $              0.00 $            15.78
     1154                 PRESTON HELEN           $      63,094.00 $              0.00 $           285.84
     1155                 FOSS HAROLD             $      14,259.80 $              0.00 $            64.60
     1156                 ALAN V. BAKKE           $      41,529.07 $              0.00 $           188.14
     1157                 BAKKE KATHLEEN          $      13,636.00 $              0.00 $            61.78
     1158                 BAKKE KATHLEEN          $      10,640.00 $              0.00 $            48.20
     1159                 EVENSON BARBARA         $      22,633.55 $              0.00 $           102.54
     1160                 CASEY RACHEL            $       1,574.28 $              0.00 $             7.13
     1161                 CASEY RACHEL            $       1,622.63 $              0.00 $             7.35
     1162                 PHYLLIS L ANDERSON $           54,070.69 $              0.00 $           244.96
     1163                 WRAY LINDA              $       1,366.01 $              0.00 $             6.19
     1164                 WRAY LINDA              $       1,345.56 $              0.00 $             6.10
     1165                 CHRISTIAN WILLARD       $       9,236.45 $              0.00 $            41.84




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1166                 CHRISTIAN WILLARD       $       8,628.84 $              0.00 $            39.09
     1167                 CHRISTIAN WILLARD       $       8,628.84 $              0.00 $            39.09
     1168                 CHRISTIAN WILLARD       $       9,236.45 $              0.00 $            41.84
     1169                 KOHLMEYER BEVERLY $             6,281.67 $              0.00 $            28.46
     1170                 SHARP CLAUDIA           $       2,370.02 $              0.00 $            10.74
     1171                 JOHNSON EUNICE          $      21,231.92 $              0.00 $            96.19
     1172                 GUTSHALL TIMOTHY        $      78,265.39 $              0.00 $           354.57
     1173                 MARTIN KATHLEEN         $       8,526.32 $              0.00 $            38.63
                          LEANDER L AND
                          JANICE M SEURER
     1174                 JTWRO                   $       4,946.58 $              0.00 $            22.41
     1176                 CHRISTIAN WILLARD       $       6,696.82 $              0.00 $            30.34
     1177                 BONNIE GOEHRING         $      32,907.00 $              0.00 $           149.08
     1178                 BERNARD SCHLEDER        $       4,728.00 $              0.00 $            21.42
     1179                 HELEN MAY               $      10,207.59 $              0.00 $            46.24
     1180                 BERNARD SCHLEDER        $       4,423.00 $              0.00 $            20.04
     1181                 BERNARD SCHLEDER        $       4,450.00 $              0.00 $            20.16
     1182                 BERNARD SCHLEDER        $       6,134.00 $              0.00 $            27.79
     1183                 BERNARD SCHLEDER        $       8,557.00 $              0.00 $            38.77
                          TAMASSEE
     1184                 DAUGHTERS OF THE        $      11,322.34 $              0.00 $            51.29
     1185                 BEEKHUIZEN MARIE        $       3,275.87 $              0.00 $            14.84
                          ELMER V. AND
     1186                 ADELINE HOF BERG        $       1,700.93 $              0.00 $             7.71
                          MARY A AND
                          KENNETH JT TOD
     1187                 ARNOLDI                 $       3,456.88 $              0.00 $            15.66
     1188                 WINDSCHITL MARILYN $            3,267.28 $              0.00 $            14.80




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          MELVIN L. AND LOIS
     1189                 DAHLKE JTWROS           $      21,367.02 $              0.00 $            96.80
                          VERNON AND MARSHA
     1190                 CHRISTENSON       $             4,609.01 $              0.00 $            20.88
     1191                 LEROY AFFOLTER          $      24,552.10 $              0.00 $           111.23
     1192                 MONTOYA CYNTHIA         $       1,366.01 $              0.00 $             6.19
     1193                 MONTOYA CYNTHIA         $       1,345.56 $              0.00 $             6.10
     1194                 WICKHAM PATRICIA        $      46,919.34 $              0.00 $           212.56
     1195                 WIERING AGNES           $       6,370.11 $              0.00 $            28.86
     1196                 WIERING AGNES           $       6,826.25 $              0.00 $            30.93
     1197                 WIERING AGNES           $       7,421.66 $              0.00 $            33.62
     1198                 WIERING AGNES           $       6,441.24 $              0.00 $            29.18
     1199                 ZAMASTIL VIRGINIA       $      14,733.71 $              0.00 $            66.75
     1200                 OLSON DOUG              $       1,366.01 $              0.00 $             6.19
     1201                 OLSON DOUG              $       1,345.56 $              0.00 $             6.10
     1202                 POPPEN HAROLD           $       9,838.68 $              0.00 $            44.57
                          ARNOLD J. AND CAROL
     1203                 L. LA LANG          $          15,778.26 $              0.00 $            71.48
     1204                 HELEN A. GORES          $      24,931.26 $              0.00 $           112.95
     1205                 ANNETTE TREML TOD       $       3,267.28 $              0.00 $            14.80
                          DANIEL H. AND
     1206                 BARBARA H. ZINS         $       2,802.38 $              0.00 $            12.70
     1207                 HILL KENZIE             $      22,259.00 $              0.00 $           100.84
                          NEW ULM LEGION
     1208                 POST 132                $      36,176.25 $              0.00 $           163.89
                          NEW ULM LEGION
     1209                 POST 132                $       1,283.49 $              0.00 $             5.81




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          BEN J. SEIFERT
                          AMERICAN LEGION
     1210                 SCHO                    $      12,682.03 $              0.00 $            57.45
                          RAYMOND & ANN
                          HILK IRREVOCABLE
     1211                 TRUST                   $      42,549.82 $              0.00 $           192.77
                          DOROTHY ERNST
     1212                 TRUST                   $     150,883.75 $              0.00 $           683.56
     1213                 BOLLHOEFER HERMAN $            52,301.32 $              0.00 $           236.95
     1214                 HILSGEN ROSE            $       6,485.68 $              0.00 $            29.38
                          EISENZIMMER
     1215                 DONALD                  $       5,261.53 $              0.00 $            23.84
     1216                 MARY SUDHEIMER          $     209,151.16 $              0.00 $           947.54
                          ELIZABETH TTEE
     1217                 HAMMERS                 $         510.50 $              0.00 $             2.31
     1218                 FRANCIS HAMMERS         $     179,606.65 $              0.00 $           813.69
     1219                 BENNETT RUBY            $       9,266.17 $              0.00 $            41.98
                          PATRICIA SMITH
     1220                 WELLES                  $         217.78 $              0.00 $             0.99
     1221                 BERG LEANDER            $       1,700.93 $              0.00 $             7.71
     1222                 BERG GEORGE             $       1,700.93 $              0.00 $             7.71
     1223                 RIEKE FLORENCE          $      16,743.85 $              0.00 $            75.86
     1224                 CARLA SMITH LIEBICH $             217.78 $              0.00 $             0.99
                          ALTON AND DOROTHY
     1225                 BECKWITH          $            13,083.91 $              0.00 $            59.28
     1226                 WOLF DARLENE            $       4,698.79 $              0.00 $            21.29
     1227                 DARWIN SIBELL           $      21,672.00 $              0.00 $            98.18
                          WILLIAM J.
     1228                 HUNDERTMARK             $       5,880.09 $              0.00 $            26.64




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          GLORIA EPEMA LIVING
     1229                 TRUST               $          71,915.42 $              0.00 $           325.81
     1230                 CHRISTINE A. JUHNKE     $       2,255.60 $              0.00 $            10.22
     1231                 CHRISTINE A. JUHNKE     $       2,400.10 $              0.00 $            10.87
     1232                 CHRISTINE A. JUHNKE     $           0.00 $              0.00 $             0.00
     1233                 JUHNKE GREGG            $       2,255.60 $              0.00 $            10.22
     1234                 JUHNKE GREGG            $       2,400.10 $              0.00 $            10.87
     1235                 JUHNKE TIMOTHY          $       2,400.10 $              0.00 $            10.87
     1236                 JUHNKE TIMOTHY          $       2,255.60 $              0.00 $            10.22
     1237                 RONALD WOOLRIDGE        $      41,891.17 $              0.00 $           189.78
     1238                 DOROTHY EARHART         $      16,888.07 $              0.00 $            76.51
     1239                 DOROTHY EARHART         $      16,263.64 $              0.00 $            73.68
     1240                 DOROTHY EARHART         $      43,843.03 $              0.00 $           198.63
     1241                 HAGEN LAURA LEE         $         467.70 $              0.00 $             2.12
     1242                 SCHNOBRICH RONALD $             3,494.13 $              0.00 $            15.83
     1243                 SCHNOBRICH RONALD $             5,285.77 $              0.00 $            23.95
     1244                 SCHNOBRICH RONALD $            52,515.16 $              0.00 $           237.91
     1245                 HAGEN LAURA LEE         $       1,024.76 $              0.00 $             4.64
     1246                 KROGSTAD KATHLEEN $             5,853.39 $              0.00 $            26.52
     1247                 SHEARER JAMES           $      15,727.14 $              0.00 $            71.25
     1248                 PANKONIN SHARON         $      26,057.95 $              0.00 $           118.05
     1249                 HONKEN SUSAN            $      17,280.26 $              0.00 $            78.29
     1250                 HONKEN SUSAN            $      44,123.90 $              0.00 $           199.90
     1251                 DAVIS DONNA             $      12,092.28 $              0.00 $            54.78
     1252                 SHIRLENE ALBRECHT       $      42,000.00 $              0.00 $           190.28




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          VANENGELENBURG
     1253                 GARY                    $       3,319.41 $              0.00 $            15.04
     1254                 NICEWARNER ARDIS        $       8,182.29 $              0.00 $            37.07
     1255                 HARDER LISA             $       1,574.28 $              0.00 $             7.13
     1256                 HARDER LISA             $       1,797.53 $              0.00 $             8.14
                          VANENGELENBURG
     1257                 VICTORIA                $      17,698.75 $              0.00 $            80.18
                          VANENGELENBURG
     1258                 VICTORIA                $      18,106.35 $              0.00 $            82.03
     1259                 REHDER RANDY            $       3,370.90 $              0.00 $            15.27
     1260                 KAREN BELL              $         217.78 $              0.00 $             0.99
     1261                 VOSS EVELYN             $       6,446.58 $              0.00 $            29.21
     1262                 POSTEL DOROTHY          $      38,392.69 $              0.00 $           173.93
     1263                 JANET BARTELT           $      28,214.29 $              0.00 $           127.82
     1264                 JANET BARTELT           $      30,169.51 $              0.00 $           136.68
     1265                 JANET BARTELT           $      22,019.98 $              0.00 $            99.76
     1266                 JANET BARTELT           $      18,178.71 $              0.00 $            82.36
     1267                 JANET BARTELT           $      19,085.28 $              0.00 $            86.46
     1268                 CARLSON NOLA            $      38,819.21 $              0.00 $           175.87
                          THOMAS J AND
     1269                 SHARON K MAGES          $       8,188.62 $              0.00 $            37.10
     1270                 WALTER NICK, III        $         580.04 $              0.00 $             2.63
     1271                 WALTER NICK, III        $       1,741.87 $              0.00 $             7.89
     1272                 CELESTE A. RUSCONI      $      61,061.17 $              0.00 $           276.63
     1273                 DOMEIER GARY            $     158,730.96 $              0.00 $           719.11
                          JUANITA ANN
     1274                 COLBENSON               $       3,619.00 $              0.00 $            16.40




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1275                 SPRATT ROSEMARY         $       1,438.50 $              0.00 $             6.52
     1276                 ELMER AURAND            $       8,768.61 $              0.00 $            39.73
     1277                 CARLSON WILLIAM         $       9,008.36 $              0.00 $            40.81
     1278                 SPRATT ROSEMARY         $       1,472.12 $              0.00 $             6.67
     1279                 SPRATT ROSEMARY         $       1,728.64 $              0.00 $             7.83
     1280                 SPRATT ROSEMARY         $       1,638.35 $              0.00 $             7.42
                          ALVIN AND ARDETTE
     1281                 TRUST AASTRUP           $       7,885.59 $              0.00 $            35.72
     1282                 CARLSON WILLIAM         $      11,039.83 $              0.00 $            50.01
     1283                 KENNETH F. TRAUSCH $            5,104.79 $              0.00 $            23.13
     1284                 MERSCH MATT             $      18,613.13 $              0.00 $            84.32
     1285                 HANSEN MARY             $      15,717.50 $              0.00 $            71.21
     1286                 FIELD KATHLEEN          $       2,913.10 $              0.00 $            13.20
     1287                 FIELD KATHLEEN          $       5,370.70 $              0.00 $            24.33
     1288                 FIELD KATHLEEN          $       4,521.27 $              0.00 $            20.48
     1289                 FIELD KATHLEEN          $      19,208.88 $              0.00 $            87.02
     1290                 FIELD KATHLEEN          $      12,628.95 $              0.00 $            57.21
     1291                 GIMSE JUNE              $      30,121.92 $              0.00 $           136.46
     1292                 DOTY MARVIN             $       6,931.69 $              0.00 $            31.40
                          AMERICAN EXPRESS
     1293                 TRAVEL RELATED SER $           41,624.16 $              0.00 $           188.57
     1294                 GALLIGER CAMDEN         $       8,267.00 $              0.00 $            37.45
     1295                 GALLIGER MELBA          $      53,166.00 $              0.00 $           240.86
     1296                 WALTER LARRY            $         580.04 $              0.00 $             2.63
     1297                 DAVID ALBRECHT          $      55,347.43 $              0.00 $           250.75
     1298                 ELAINE A. ANDERSEN      $      24,725.00 $              0.00 $           112.01




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1299                 ELAINE A. ANDERSEN      $      14,603.13 $              0.00 $            66.16
     1300                 PHYLLIS M. TASCHNER $           5,196.00 $              0.00 $            23.54
     1301                 PHYLLIS M. TASCHNER $          19,934.00 $              0.00 $            90.31
     1302                 JANICE L. WUSSOW        $      17,384.00 $              0.00 $            78.76
     1303                 MERRILL E. THOMAS       $      21,256.00 $              0.00 $            96.30
     1304                 MERRILL E. THOMAS       $       9,792.00 $              0.00 $            44.36
     1305                 MERRILL E. THOMAS       $      15,242.00 $              0.00 $            69.05
     1306                 MERRILL E. THOMAS       $      30,416.00 $              0.00 $           137.80
     1307                 MERRILL E. THOMAS       $       2,665.00 $              0.00 $            12.07
     1308                 MERRILL E. THOMAS       $       7,882.00 $              0.00 $            35.71
                          SUSAN ANN AND
     1309                 PEGGY LEE F BEAR        $      32,315.79 $              0.00 $           146.40
     1310                 PHILIPS WANDA           $      23,579.90 $              0.00 $           106.83
     1311                 RAYMOND GRIMES          $       4,801.88 $              0.00 $            21.75
     1312                 HANSON ELAINE           $      13,000.00 $              0.00 $            58.90
     1313                 MARLIN ROBERT           $      15,034.80 $              0.00 $            68.11
     1314                 MARLIN ROBERT           $       3,226.85 $              0.00 $            14.62
     1315                 MARLIN ROBERT           $       3,226.85 $              0.00 $            14.62
     1316                 MARLIN CANDACE          $      27,613.26 $              0.00 $           125.10
     1317                 MARLIN CANDACE          $      27,613.26 $              0.00 $           125.10
     1318                 MARLIN CANDACE          $       2,955.35 $              0.00 $            13.39
     1319                 MARLIN ANDRIA           $       2,955.34 $              0.00 $            13.39
     1320                 MARLIN ANDRIA           $       2,787.33 $              0.00 $            12.63
     1321                 MARLIN MAGGIE           $       2,955.34 $              0.00 $            13.39
     1322                 MARLIN CANDACE          $      12,765.81 $              0.00 $            57.83




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1323                 MARLIN CANDACE          $      19,429.18 $              0.00 $            88.02
     1324                 PHILIPS RICHARD         $      12,784.65 $              0.00 $            57.92
     1325                 SCHULTZ AMY             $       1,741.87 $              0.00 $             7.89
     1326                 SCHULTZ AMY             $       3,483.73 $              0.00 $            15.78
     1327                 YOUNG DONALD            $      14,299.45 $              0.00 $            64.78
     1328                 YOUNG DONALD            $      24,336.18 $              0.00 $           110.25
                          WALTER P AND CLARA
     1329                 (TTEES) KUECHLE    $           20,292.05 $              0.00 $            91.93
     1330                 BOLLES KAREN            $     120,681.87 $              0.00 $           546.74
     1331                 SCHNOBRICH STEVEN       $       1,345.56 $              0.00 $             6.10
     1332                 SCHNOBRICH STEVEN       $       1,366.01 $              0.00 $             6.19
     1333                 ELIADES JOHN            $      77,413.77 $              0.00 $           350.72
                          JOHN AND VIVIAN
     1334                 ELIADES                 $     353,307.81 $              0.00 $       1,600.63
     1335                 MARLIN MAGGIE           $       2,787.33 $              0.00 $            12.63
     1336                 R SCHROEDER             $      12,074.75 $              0.00 $            54.70
     1337                 FREITAG DENNIS          $       3,868.90 $              0.00 $            17.53
     1338                 MILLER BETTY            $      39,935.35 $              0.00 $           180.92
     1339                 MILLER BETTY            $      19,930.60 $              0.00 $            90.29
     1340                 MORFORD JOANN           $      33,376.00 $              0.00 $           151.21
     1341                 BRAND STEVEN            $      10,429.90 $              0.00 $            47.25
     1342                 PHILLIPS ROSA           $       4,826.54 $              0.00 $            21.87
     1343                 JODY J. ELWELL          $      13,598.00 $              0.00 $            61.60
     1344                 YETZER EDWARD           $         695.09 $              0.00 $             3.15
     1345                 VOGT MARIE              $         580.04 $              0.00 $             2.63
     1346                 SWANSON DEAN            $      12,572.03 $              0.00 $            56.96




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1347                 KERSLAKE ALLEN          $         716.77 $              0.00 $             3.25
     1348                 GEYER ERNEST            $      58,031.12 $              0.00 $           262.90
     1349                 HERTHA BLOCK            $       1,651.91 $              0.00 $             7.48
                          EDDY WILLIAM AND
     1350                 BARBARA J. NEAL         $      14,245.00 $              0.00 $            64.54
     1351                 WALLENSTEIN MARY        $      10,000.00 $              0.00 $            45.30
     1352                 WALTER CHRIS            $         580.04 $              0.00 $             2.63
     1353                 ANGELIKA BEHROOZ        $      14,118.00 $              0.00 $            63.96
     1354                 PAMELA GAIKOWSKI        $     131,403.39 $              0.00 $           595.31
     1355                 CAROL J. PAGAC          $      24,908.10 $              0.00 $           112.84
                          RACHEL JOHNSON
     1356                 HALL                    $       5,196.57 $              0.00 $            23.54
     1357                 MARY JANE DULIN         $       4,704.04 $              0.00 $            21.31
     1358                 BESKE SHIRLEY           $       6,679.98 $              0.00 $            30.26
     1359                 BRUCE BATEMAN           $       6,679.98 $              0.00 $            30.26
     1360                 LARRY BATEMAN           $       6,679.98 $              0.00 $            30.26
     1361                 MARTIN BARBARA          $       6,679.98 $              0.00 $            30.26
     1362                 OTTO JEAN               $       6,679.98 $              0.00 $            30.26
     1363                 LARRY BATEMAN           $       6,679.98 $              0.00 $            30.26
     1364                 MARTIN BARBARA          $      15,922.95 $              0.00 $            72.14
     1365                 BESKE SHIRLEY           $      15,922.95 $              0.00 $            72.14
     1366                 BRUCE BATEMAN           $      15,922.95 $              0.00 $            72.14
     1367                 OTTO JEAN               $      15,922.95 $              0.00 $            72.14
     1368                 BETTIS SUZANNE          $      10,159.72 $              0.00 $            46.03
     1369                 JOAN M. CLOBES          $       2,751.46 $              0.00 $            12.47
     1370                 JOAN M. CLOBES          $       2,606.41 $              0.00 $            11.81




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1371                 JOAN M. CLOBES          $         856.42 $              0.00 $             3.88
     1372                 JOAN M. CLOBES          $       3,978.00 $              0.00 $            18.02
     1373                 JOAN M. CLOBES          $       2,094.65 $              0.00 $             9.49
     1374                 PATRIN ELIZABETH        $       4,960.02 $              0.00 $            22.47
                          HARRISON
                          COMMUNITY
     1375                 PRESBYTERIAN CHU        $       3,963.22 $              0.00 $            17.95
                          BRYAN AND
     1376                 MARGARET FORST          $       5,493.88 $              0.00 $            24.89
     1377                 SAUNDRA HAPPE           $      28,188.48 $              0.00 $           127.71
     1378                 WEINZETL DONALD         $      11,393.98 $              0.00 $            51.62
     1379                 WEINZETL DONALD         $       8,050.28 $              0.00 $            36.47
     1380                 WEINZETL DONALD         $      13,841.65 $              0.00 $            62.71
     1381                 WEINZETL DONALD         $       9,663.55 $              0.00 $            43.78
     1382                 HINZ ELLIS              $       5,674.19 $              0.00 $            25.71
                          JOHN AND ARDELLA D
     1383                 HANSON             $           57,212.78 $              0.00 $           259.20
     1384                 MILLER JOELLA           $      26,728.77 $              0.00 $           121.09
     1385                 CROVISIER FRED          $      78,812.07 $              0.00 $           357.05
     1386                 DANNER DAWNIE           $      21,519.34 $              0.00 $            97.49
     1387                 DANNER DAWNIE           $       8,244.99 $              0.00 $            37.35
     1388                 DANNER DAWNIE           $      13,130.68 $              0.00 $            59.49
     1389                 DANNER DAWNIE           $      11,111.53 $              0.00 $            50.34
     1390                 DANNER DAWNIE           $      17,258.47 $              0.00 $            78.19
                          WILLIAM A. & ELSIE
     1391                 JOHNSON IRRVOC.         $       9,714.05 $              0.00 $            44.01
                          WILLIAM A. & ELSIE
     1392                 JOHNSON IRRVOC.         $       8,204.47 $              0.00 $            37.17




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          WILLIAM A. & ELSIE
     1393                 JOHNSON IRRVOC.         $       9,881.79 $              0.00 $            44.77
                          WILLIAM A. & ELSIE
     1394                 JOHNSON IRRVOC.         $       7,986.29 $              0.00 $            36.18
                          WILLIAM A. JOHNSON
     1395                 TESTAMENTARY TRU        $       8,095.04 $              0.00 $            36.67
                          WILLIAM A. JOHNSON
     1396                 TESTAMENTARY TRU        $       6,837.06 $              0.00 $            30.97
                          WILLIAM A. JOHNSON
     1397                 TESTAMENTARY TRU        $       8,234.82 $              0.00 $            37.31
                          WILLIAM A. JOHNSON
     1398                 TESTAMENTARY TRU        $       6,655.24 $              0.00 $            30.15
                          CUSTODIAN SHELLEY
     1399                 K. BARKER               $       2,819.33 $              0.00 $            12.77
                          CUSTODIAN SHELLEY
     1400                 K. BARKER               $       3,524.18 $              0.00 $            15.97
                          CUSTODIAN SHELLEY
     1401                 K. BARKER               $       3,603.08 $              0.00 $            16.32
                          CUSTODIAN SHELLEY
     1402                 K. BARKER               $       4,023.98 $              0.00 $            18.23
                          CUSTODIAN SHELLEY
     1403                 K. BARKER               $       4,023.98 $              0.00 $            18.23
                          CUSTODIAN SHELLEY
     1404                 K. BARKER               $       3,603.08 $              0.00 $            16.32
     1405                 STRUCK JOAN             $      17,137.19 $              0.00 $            77.64
                          FOTHERGILL
     1406                 KATHLEEN                $       5,634.21 $              0.00 $            25.53
                          FOTHERGILL
     1407                 KATHLEEN                $       3,461.23 $              0.00 $            15.68
                          PEGGY J DULIN
     1408                 (DECEASED)              $      12,873.65 $              0.00 $            58.32
     1409                 PATTY KONECNY           $      22,625.22 $              0.00 $           102.50




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     Claim No.            Claimant                of Claim             to Date          Payment
     1410                 HUART JOAN              $      16,210.42 $              0.00 $            73.44
     1411                 MACDONALD LAURA         $      41,539.07 $              0.00 $           188.19
     1412                 WILSON NANCY LEE        $       6,576.90 $              0.00 $            29.80
     1413                 DAVID N. WILSON         $       4,325.35 $              0.00 $            19.60
     1414                 DAVID N. WILSON         $      27,895.88 $              0.00 $           126.38
     1415                 MCMENAMIN JOANN         $       5,622.00 $              0.00 $            25.47
                          RAYMOND J. AND
     1416                 CAROL N. ARKELL         $       5,425.45 $              0.00 $            24.58
     1417                 WALTER DANIEL           $         580.04 $              0.00 $             2.63
     1418                 WEUVE CATHY             $       4,650.88 $              0.00 $            21.07
     1419                 WEUVE CATHY             $      13,625.90 $              0.00 $            61.73
     1420                 LEO E. OSBECK           $      68,201.90 $              0.00 $           308.98
                          DESEL CABOTH &
     1421                 SALLIE E. CABOTH        $      45,507.31 $              0.00 $           206.17
                          VANETTA
     1422                 STEPHENSON-BROWN        $      49,000.00 $              0.00 $           221.99
     1423                 DAVID PRIVIN            $      27,273.33 $              0.00 $           123.56
     1424                 WELLE DALE              $       9,491.03 $              0.00 $            43.00
     1425                 JUDY JOHNSON            $         816.50 $              0.00 $             3.70
     1426                 DUBISHAR LAURINDA       $       1,250.00 $              0.00 $             5.66
     1427                 PARKER NANCY            $       1,250.00 $              0.00 $             5.66
     1428                 GINA WINDSCHITL         $     119,503.20 $              0.00 $           541.40
                          CHURCH OF THE
     1429                 JAPANESE MARTYRS        $      14,789.04 $              0.00 $            67.00
                          ST. MARY'S CATHOLIC
     1430                 SCHOOL              $           7,394.52 $              0.00 $            33.50
     1431                 JUDY JOHNSON            $         741.57 $              0.00 $             3.36




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1432                 ST. MARYS CHURCH        $       7,394.52 $              0.00 $            33.50
                          KATE DUNCAN SMITH
     1433                 DAUGHTERS OF AMER $            11,322.34 $              0.00 $            51.29
     1434                 SCHMITT JUDY            $       5,675.87 $              0.00 $            25.71
     1435                 KASPERSON MERLE         $      51,048.99 $              0.00 $           231.27
     1436                 KASPERSON MERLE         $       4,803.31 $              0.00 $            21.76
     1437                 MCINTOSH MARIAN         $      34,793.27 $              0.00 $           157.63
                          TELLINGHUISEN
     1438                 GRACE                   $      78,018.13 $              0.00 $           353.45
     1439                 DOROTHA HARTY           $      32,446.00 $              0.00 $           146.99
                          WAYNE AND
                          DOROTHA HARTY
     1440                 JTWROS                  $      43,677.00 $              0.00 $           197.87
                          DONALD AND MARY
     1441                 WIDMAN                  $      14,999.50 $              0.00 $            67.95
     1442                 BRADY GALYNN            $      15,504.47 $              0.00 $            70.24
     1444                 BUSS LOIS               $       5,891.01 $              0.00 $            26.69
     1445                 BUSS LOIS               $       2,189.53 $              0.00 $             9.92
     1446                 BUSS LOIS               $       9,732.33 $              0.00 $            44.09
     1447                 BUSS LOIS               $       2,819.29 $              0.00 $            12.77
     1448                 LOIS BUSS               $       7,078.32 $              0.00 $            32.07
                          NATIONAL UNION FIRE
     1451                 INSURANCE COMPA     $           2,725.00 $              0.00 $            12.35
                          KAY A. SATTERLIE
     1452                 TRUST DTD 3-21-11       $       8,724.12 $              0.00 $            39.52
                          CURT AND MARILYN
     1453                 SHOEMAKER               $      47,706.31 $              0.00 $           216.13
     1454                 KULLMAN LUCILLE         $       5,099.22 $              0.00 $            23.10
     1455                 KULLMAN LUCILLE         $       6,457.48 $              0.00 $            29.25




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1456                 KULLMAN LUCILLE         $       8,241.21 $              0.00 $            37.34
     1457                 KULLMAN LUCILLE         $      13,674.12 $              0.00 $            61.95
                          MARILYN AND RON
     1458                 EARNEST                 $      29,677.32 $              0.00 $           134.45
                          RICHARD UBEL LIVING
     1459                 TRUST               $          32,991.41 $              0.00 $           149.46
                          RICHARD UBEL LIVING
     1460                 TRUST               $           9,017.74 $              0.00 $            40.85
                          DON AND LANA
     1461                 RIGGENBERG              $      10,425.17 $              0.00 $            47.23
                          RICHARD UBEL LIVING
     1462                 TRUST               $           7,829.82 $              0.00 $            35.47
                          DOROTHY AND
     1463                 DENNIS WAGNER           $       4,650.88 $              0.00 $            21.07
                          RICHARD UBEL LIVING
     1464                 TRUST               $           7,863.57 $              0.00 $            35.63
     1465                 GODWIN TERRI            $       3,116.33 $              0.00 $            14.12
                          RICHARD UBEL LIVING
     1466                 TRUST               $          15,727.14 $              0.00 $            71.25
     1467                 GODWIN LARRY            $       3,116.33 $              0.00 $            14.12
     1468                 GODWIN TERRI            $       3,116.33 $              0.00 $            14.12
     1469                 SCHROEPFER ROSELLA $            1,700.93 $              0.00 $             7.71
                          DIANNA UBEL LIVING
     1470                 TRUST                   $      43,739.22 $              0.00 $           198.16
                          LAURETTA SEIBERT
     1471                 TRUST                   $      40,735.45 $              0.00 $           184.55
     1472                 NOREEN ROBERT           $      29,077.05 $              0.00 $           131.73
                          RICHARD UBEL LIVING
     1473                 TRUST               $           7,904.68 $              0.00 $            35.81
                          DOROTHY AND
     1474                 DENNIS WAGNER           $      13,625.89 $              0.00 $            61.73




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1475                 BROWN IONA              $      16,824.26 $              0.00 $            76.22
     1476                 SEVERSON ORDELL         $       4,815.67 $              0.00 $            21.82
                          KOLESA AND STEPHEN
     1477                 KIER               $            5,853.39 $              0.00 $            26.52
                          DON AND LANA
     1478                 RIGGENBERG              $       6,072.40 $              0.00 $            27.51
     1479                 KRULL ELAINE            $      22,224.57 $              0.00 $           100.69
     1480                 DORTHA A. HARTY         $       6,220.00 $              0.00 $            28.18
     1481                 DORTHA A. HARTY         $      12,932.00 $              0.00 $            58.59
     1482                 DORTHA A. HARTY         $      33,774.00 $              0.00 $           153.01
     1483                 DORTHA A. HARTY         $      15,484.00 $              0.00 $            70.15
     1484                 DORTHA A. HARTY         $       6,585.00 $              0.00 $            29.83
     1485                 DORTHA A. HARTY         $       7,040.00 $              0.00 $            31.89
     1486                 DORTHA A. HARTY         $       6,967.00 $              0.00 $            31.56
     1487                 ELSIE BLASE             $      70,784.45 $              0.00 $           320.68
     1488                 ELSIE BLASE             $       4,312.00 $              0.00 $            19.54
     1489                 ELSIE BLASE             $       5,055.00 $              0.00 $            22.90
     1490                 ELSIE BLASE             $       1,488.00 $              0.00 $             6.74
     1491                 YOUNG GARY              $       4,518.55 $              0.00 $            20.47
     1492                 PAUL J FROMM            $       3,880.01 $              0.00 $            17.58
     1493                 JEANNETTE ZIMDAHL       $       3,522.28 $              0.00 $            15.96
     1494                 JOAN M. CLOBES          $       1,675.69 $              0.00 $             7.59
     1495                 ROOT LEONARD            $       3,252.72 $              0.00 $            14.74
                          NEW ULM AREA
     1496                 CATHOLIC SCHOOLS        $      12,525.15 $              0.00 $            56.74
                          NEW ULM AREA
     1497                 CATHOLIC SCHOOLS        $      12,149.25 $              0.00 $            55.04




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1498                 DAVID ALTHAUS           $         295.21 $              0.00 $             1.34
                          WILLIAM R. AND
     1499                 MARY C. MARTIN          $      32,174.45 $              0.00 $           145.76
     1500                 JOHNSON MARCELLA        $       4,682.19 $              0.00 $            21.21
     1501                 JOHNSON MARCELLA        $       7,137.53 $              0.00 $            32.34
                          ROGER R. AND
     1502                 VALERIE A. PIRLET       $      34,252.61 $              0.00 $           155.18
     1503                 JOHNSON MARCELLA        $       4,674.49 $              0.00 $            21.18
     1504                 JOHNSON MARCELLA        $       4,649.64 $              0.00 $            21.06
     1505                 JOHNSON MARCELLA        $       7,636.72 $              0.00 $            34.60
     1506                 JOHNSON MARCELLA        $      10,158.48 $              0.00 $            46.02
     1507                 KAMM MARK               $      38,323.52 $              0.00 $           173.62
     1508                 KAMM JOYCE              $       1,931.15 $              0.00 $             8.75
     1509                 HOSE EDWARD             $       7,788.98 $              0.00 $            35.29
     1510                 ANDERSEN VICKI          $      31,839.34 $              0.00 $           144.24
     1511                 STOAKES W KEN           $       5,622.16 $              0.00 $            25.47
                          GOSTONCZIK
     1512                 KATHLEEN                $      16,624.25 $              0.00 $            75.31
     1513                 KENNETH RIEDEMANN $            19,026.31 $              0.00 $            86.20
     1514                 MARTIN RICHARD          $       7,686.17 $              0.00 $            34.82
     1515                 JUDY ARNOLDI            $       3,267.28 $              0.00 $            14.80
     1516                 FRANK JESSE             $       8,349.81 $              0.00 $            37.83
     1517                 RYAN GLORIA             $       9,323.50 $              0.00 $            42.24
     1518                 BUDDENHAGEN DAVID $             5,434.59 $              0.00 $            24.62
     1519                 CINDY ALVARADO          $       3,270.98 $              0.00 $            14.82
     1520                 CINDY ALVARADO          $      12,765.21 $              0.00 $            57.83




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1521                 BETTY LILLEY            $     110,356.39 $              0.00 $           499.96
                          PAUL M AND
     1522                 MARGARET BAUER          $      24,395.47 $              0.00 $           110.52
     1523                 ESPE JAYNE              $       4,384.30 $              0.00 $            19.86
     1524                 PERROTTA ELIZABETH $            3,895.06 $              0.00 $            17.65
     1525                 WILLOUGHBY MARK         $       6,981.82 $              0.00 $            31.63
     1526                 WILLOUGHBY JUDY         $       6,981.82 $              0.00 $            31.63
     1527                 ST MARYS CHURCH         $      37,880.51 $              0.00 $           171.61
                          RUTH J. AND JAMES
     1528                 EDWARDS                 $      40,611.99 $              0.00 $           183.99
     1529                 PATTON JOYCE            $     148,076.00 $              0.00 $           670.84
     1530                 DONALD R. SANDER        $       6,375.00 $              0.00 $            28.88
     1531                 THOM ANGELINE           $     145,081.87 $              0.00 $           657.28
                          JOHN AND ROSANNE
     1532                 LANG                    $     292,923.95 $              0.00 $       1,327.06
     1533                 PATTON JOYCE            $      21,855.99 $              0.00 $            99.02
     1534                 HORICK CLAUDIA          $       4,819.84 $              0.00 $            21.84
     1535                 HORICK CLAUDIA          $      23,394.27 $              0.00 $           105.99
                          KEITH W. AND
     1536                 BEVERLY A. SMITH        $       1,450.86 $              0.00 $             6.57
     1537                 GARNETT H. PIERCE       $      19,737.40 $              0.00 $            89.42
     1538                 GARNETT H. PIERCE       $      18,432.43 $              0.00 $            83.51
     1539                 MARYLYN J. EARNEST $           29,677.32 $              0.00 $           134.45
                          EDWARD AND CAROL
     1540                 MEIDL                   $      32,021.95 $              0.00 $           145.07
     1541                 EFFERTZ THOMAS          $      18,033.03 $              0.00 $            81.70
     1542                 MARYLYN J. EARNEST $           29,677.32 $              0.00 $           134.45




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1543                 HOPCRAFT MARIE          $      55,509.09 $              0.00 $           251.48
     1544                 DEVINE WILLIAM          $      54,392.99 $              0.00 $           246.42
     1545                 PAYSEN LILLIAN          $      10,191.83 $              0.00 $            46.17
     1546                 DIOCESE OF NEW ULM $           27,426.47 $              0.00 $           124.25
                          GEORGE H. AND
                          FRANCES V.
     1547                 DANFORTH                $       6,122.00 $              0.00 $            27.74
     1548                 JENNIFER ANDERSON       $         821.02 $              0.00 $             3.72
     1549                 ROGER SINOW             $       2,463.06 $              0.00 $            11.16
     1550                 ELAYNE SINOW            $       2,463.06 $              0.00 $            11.16
     1551                 BETTY SINOW             $       3,694.59 $              0.00 $            16.74
                          MISTRY FAMILY
     1552                 TRUST                   $      18,017.63 $              0.00 $            81.63
                          HAYDEN PHILLIP
     1553                 BRADY                   $     538,533.00 $              0.00 $       2,439.77
                          OTTERBACH ARTHUR
     1554                 AND FLORENCE TRUST $           42,289.84 $              0.00 $           191.59
     1555                 NISHIDA SUE             $      16,004.71 $              0.00 $            72.51
     1556                 WILLIAM R RANDALL       $      26,150.77 $              0.00 $           118.47
                          MASARU AND HINAKO
     1557                 SASAKI            $            55,882.84 $              0.00 $           253.17
     1558                 ANDERSON ORRINE         $      40,309.31 $              0.00 $           182.62
     1559                 YAMADA AYAKO            $     128,705.84 $              0.00 $           583.09
                          BROWNE-MCKEAN
     1560                 MARY                    $       7,582.02 $              0.00 $            34.35
                          BROWNE-MCKEAN
     1561                 MARY                    $      10,961.32 $              0.00 $            49.66
                          BROWNE-MCKEAN
     1562                 MARY                    $       7,881.18 $              0.00 $            35.70




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          BROWNE-MCKEAN
     1563                 MARY                    $      10,109.39 $              0.00 $            45.80
     1564                 CALDER JOAN             $      25,273.44 $              0.00 $           114.50
     1565                 CALDER JOAN             $       2,177.05 $              0.00 $             9.86
     1566                 CALDER JOAN             $       4,698.81 $              0.00 $            21.29
                          HANSEN FAMILY REV.
     1567                 LIVING TRUST       $           25,273.41 $              0.00 $           114.50
                          HAZEL R. WALL 1998
     1568                 TRUST                   $      50,794.58 $              0.00 $           230.12
                          THE HOPKINS FAMILY
     1569                 TRUST              $           94,399.73 $              0.00 $           427.67
                          THE HOPKINS FAMILY
     1570                 TRUST              $           46,339.90 $              0.00 $           209.94
                          THE HOPKINS FAMILY
     1571                 TRUST              $           12,636.73 $              0.00 $            57.25
     1572                 IDETA FAMILY TRUST      $     119,722.87 $              0.00 $           542.39
     1573                 INOUYE KAZUYE           $      15,619.22 $              0.00 $            70.76
     1574                 KOBAYASHI RUTH          $      24,868.09 $              0.00 $           112.66
     1575                 LADD DOVIE              $      16,263.64 $              0.00 $            73.68
     1576                 ANN G. LEWIS            $      20,213.87 $              0.00 $            91.58
                          LIVINGSTON FAMILY
     1577                 REVOCABLE TRUST         $      40,219.39 $              0.00 $           182.21
                          LIVINGSTON FAMILY
     1578                 REVOCABLE TRUST         $      50,546.92 $              0.00 $           229.00
                          MATSUOKA FAMILY
     1579                 TRUST                   $      15,849.60 $              0.00 $            71.81
                          LANNELL JO MENDES
     1580                 TRUST                   $      12,636.73 $              0.00 $            57.25
                          LANNELL JO MENDES
     1581                 TRUST                   $      25,273.41 $              0.00 $           114.50




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          LANNELL JO MENDES
     1582                 TRUST                   $       9,438.67 $              0.00 $            42.76
     1583                 MUKAI ESTATE TOM        $       2,518.18 $              0.00 $            11.41
     1584                 OLESEN TRUST            $      23,494.08 $              0.00 $           106.44
                          OTTERBACH ARTHUR
     1585                 AND FLORENCE TRUST $           30,328.14 $              0.00 $           137.40
     1586                 HILDA SOUER             $      12,099.27 $              0.00 $            54.81
     1587                 MYRON L. NAMKEN         $      41,708.14 $              0.00 $           188.95
     1588                 JOLICOEUR LISA          $       7,550.95 $              0.00 $            34.21
     1589                 GUSTAFSON DENNIS        $       7,084.21 $              0.00 $            32.09
     1590                 GUSTAFSON DENNIS        $      19,503.43 $              0.00 $            88.36
     1591                 JOLICOEUR LISA          $       5,005.52 $              0.00 $            22.68
     1592                 FRANKE CAROLYN          $      22,133.65 $              0.00 $           100.27
     1593                 TIMM WILMA              $      45,855.18 $              0.00 $           207.74
     1594                 DORA M. LAWRENCE        $       7,682.18 $              0.00 $            34.80
                          EVERETT AND
     1595                 PATRICIA MUSSON, Jr.    $      83,078.15 $              0.00 $           376.38
                          EVERETT AND
     1596                 PATRICIA MUSSON, Jr.    $      25,007.79 $              0.00 $           113.30
     1597                 WILCOX LARRY            $       7,750.57 $              0.00 $            35.11
     1598                 WILCOX LARRY            $       6,096.46 $              0.00 $            27.62
     1599                 WILCOX LARRY            $       6,152.85 $              0.00 $            27.87
                          YOSHIYE YAMAGIWA
     1600                 REV LIVING TRUSTE       $     311,678.32 $              0.00 $       1,412.03
                          JTWROS
                          KAREN/RONALD
     1601                 SAMSON                  $      12,581.81 $              0.00 $            57.00




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          JTWROS KAREN
                          SAMSON RONALD
     1602                 SAMSON                  $      85,594.18 $              0.00 $           387.78
                          JTWROS KAREN
                          SAMSON RONALD
     1603                 SAMSON                  $      10,708.59 $              0.00 $            48.51
     1604                 MARIBETH H. NISSEN      $      12,580.90 $              0.00 $            57.00
                          HEIRS OF JOHN E.
     1605A                HUISENGA, DECEASED $           31,953.91 $              0.00 $           144.76
                          ROBERT FENNER
     1606                 ESTATE                  $     159,192.16 $              0.00 $           721.20
     1607                 DEANNA SNYDER           $      47,568.28 $              0.00 $           215.50
     1608                 DOROTHY REESE           $      14,936.63 $              0.00 $            67.67
     1609                 DONALD WENDEL           $       2,516.97 $              0.00 $            11.40
     1610                 LEONARD RAETHER         $      66,071.76 $              0.00 $           299.33
                          LOUISE ANDERSON
     1611                 ESTATE                  $       9,572.46 $              0.00 $            43.37
     1612                 CLIFTON COREY           $      13,827.12 $              0.00 $            62.64
     1613                 ALMA MELSBY             $      97,380.48 $              0.00 $           441.17
     1614                 HELEN JACOBSON          $      13,997.06 $              0.00 $            63.41
     1615                 RONALD COTHER           $      53,585.37 $              0.00 $           242.76
     1616                 PHYLLIS TASCHNER        $      25,131.26 $              0.00 $           113.85
                          ERDEMAN
     1617                 STEFFENSEN              $      31,994.28 $              0.00 $           144.95
     1618                 DONALD WIDMAN           $      16,472.76 $              0.00 $            74.63
     1619                 LARRY JANISH            $      20,562.31 $              0.00 $            93.16
     1620                 VERNON VEDVEI           $      13,896.49 $              0.00 $            62.96
     1621                 LEON JOSEPHSEN          $       2,542.97 $              0.00 $            11.52
     1622                 GERALDINE WUBBENA $           194,518.30 $              0.00 $           881.25




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1623                 CLIFFORD POPPEN         $       9,548.85 $              0.00 $            43.26
     1624                 BERNICE KOESTER         $      36,676.60 $              0.00 $           166.16
     1625                 ESTHER STUBBE           $      37,456.72 $              0.00 $           169.69
     1626                 POPPEN FARMS, INC       $     166,243.31 $              0.00 $           753.15
     1627                 CARYL POPPEN            $       3,754.09 $              0.00 $            17.01
     1628                 GRACE WALDOW            $      11,087.28 $              0.00 $            50.23
     1629                 NORMA CECIL             $       7,507.65 $              0.00 $            34.01
     1630                 BENNIE WIDMAN           $      26,987.79 $              0.00 $           122.27
     1631                 HUGH EVANS              $     383,690.88 $              0.00 $       1,738.27
     1632                 EILEEN DOMAGALA         $     109,157.22 $              0.00 $           494.53
     1633                 DELVIN DOMAGALA         $       3,262.54 $              0.00 $            14.78
     1634                 LOLA K. JOHNSON         $       1,360.92 $              0.00 $             6.17
     1635                 LOLA K. JOHNSON         $       1,727.00 $              0.00 $             7.82
     1636                 MICHAEL J. BAKER        $       1,727.00 $              0.00 $             7.82
     1637                 MARGARET SOREN          $      64,725.91 $              0.00 $           293.23
     1638                 MICHAEL J. BAKER        $       1,152.00 $              0.00 $             5.22
     1639                 PAULETTE M. CALLEN $          101,343.09 $              0.00 $           459.12
                          KATHLEEN GARLAND
     1640                 REVOCABLE LIVING T      $      23,118.99 $              0.00 $           104.74
                          GARY L. & KATHY K.
     1641                 KASPERSON               $      11,160.00 $              0.00 $            50.56
                          PRINCIPAL TRUST
     1642                 COMPANY TRUSTEE         $       6,033.64 $              0.00 $            27.33
                          PRINCIPAL TRUST
     1643                 COMPANY TRUSTEE         $       5,083.92 $              0.00 $            23.03
                          PRINCIPAL TRUST
     1644                 COMPANY TRUSTEE         $       5,362.82 $              0.00 $            24.30




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          RANDALL
     1645                 WALTER/HELEN, Jr.       $      26,150.77 $              0.00 $           118.47
                          RANDALL
     1646                 WALTER/HELEN, Jr.       $     125,982.22 $              0.00 $           570.75
                          RANDALL
     1647                 WALTER/HELEN, Jr.       $      72,801.14 $              0.00 $           329.82
     1648                 STOREY GARY             $     308,932.75 $              0.00 $       1,399.59
     1649                 GARY STOREY, INC.       $      97,048.84 $              0.00 $           439.67
                          SCRAMSTAD FARMS,
     1650                 INC.                    $      26,270.68 $              0.00 $           119.02
     1651                 SINOPOLI GLORIA         $       3,265.98 $              0.00 $            14.80
     1652                 BYXBE EDITH             $      26,834.00 $              0.00 $           121.57
                          GEORGE AND GLADYS
     1653                 TOTOIANS TTEE     $           110,950.25 $              0.00 $           502.65
                          UMEYO MAE
     1654                 KOYANAGI TRUST          $      16,445.84 $              0.00 $            74.51
     1655                 SHIGEKI TAIRA TRUST $          11,972.30 $              0.00 $            54.24
     1656                 SHIGEKI TAIRA TRUST $          38,196.01 $              0.00 $           173.04
                          ANTHONY S.
     1657                 BIAGIOTTI ESTATE        $       3,736.71 $              0.00 $            16.93
                          ANTHONY S.
     1658                 BIAGIOTTI ESTATE        $       2,802.52 $              0.00 $            12.70
     1659                 JILL ZUPFER             $       7,696.60 $              0.00 $            34.87
                          LYDIA KOEHLMOOS
     1660                 ESTATE                  $      42,496.67 $              0.00 $           192.53
     1661                 NORMAN KOEHLMOOS $             78,909.00 $              0.00 $           357.49
                          HANNAH LEIGH
     1662                 OVERSTAKE               $       2,067.15 $              0.00 $             9.37
     1663                 BENNIE RUHL             $      29,081.16 $              0.00 $           131.75




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          GEORGE A. JOHNSON
     1664                 ESTATE                  $       3,436.37 $              0.00 $            15.57
                          DARLENE M. JOHNSON
     1665                 ESTATE             $            6,227.30 $              0.00 $            28.21
     1666                 ANGELA MACE             $         821.02 $              0.00 $             3.72
     1667                 VIRGINIA L. JOHNSON     $      16,288.95 $              0.00 $            73.80
                          OKOBOJI LAKES BIBLE
     1668                 & MISSIONARY CO     $           5,497.67 $              0.00 $            24.91
     1669                 CASEY N BRIDGMAN        $       8,080.70 $              0.00 $            36.61
     1670                 CASEY N BRIDGMAN        $       3,944.73 $              0.00 $            17.87
                          VALINDA D
     1671                 BRIDGMAN                $       3,944.73 $              0.00 $            17.87
                          JASON WILLIAM
     1672                 DEWITT                  $       9,800.00 $              0.00 $            44.40
                          CLAREN L. RAWSON
     1673                 AND E. RUTH RAWSON $           10,204.91 $              0.00 $            46.23
     1674                 STEELE LAWRENCE         $       7,840.69 $              0.00 $            35.52
     1675                 STEELE LAWRENCE         $       7,866.65 $              0.00 $            35.64
     1676                 STEELE LAWRENCE         $       7,902.23 $              0.00 $            35.80
     1677                 STEELE LAWRENCE         $       7,925.73 $              0.00 $            35.91
     1678                 STEELE LAWRENCE         $      83,624.05 $              0.00 $           378.85
     1679                 STEELE LAWRENCE         $      84,908.09 $              0.00 $           384.67
     1680                 CATTANEO JOSEPH         $      16,004.71 $              0.00 $            72.51
     1681                 DALZELL LOIS            $      26,961.15 $              0.00 $           122.14
     1682                 SCHMIDT ADENA           $      40,558.14 $              0.00 $           183.74
     1683                 SHARER SALLY            $      56,619.97 $              0.00 $           256.51
     1684                 TTEE JOYCE COX          $      38,887.63 $              0.00 $           176.18
     1685                 STEELE LAWRENCE         $      32,090.73 $              0.00 $           145.38




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1686                 STEELE LAWRENCE         $      32,090.73 $              0.00 $           145.38
     1687                 STEELE LAWRENCE         $      64,768.31 $              0.00 $           293.43
     1688                 STEELE LAWRENCE         $       6,655.52 $              0.00 $            30.15
     1689                 STEELE LAWRENCE         $       6,617.60 $              0.00 $            29.98
     1690                 MADDOX DREW             $       2,952.55 $              0.00 $            13.38
                          RATMEYER
     1691                 CATHERINE               $      25,442.12 $              0.00 $           115.26
                          HELEN EGO AND
     1692                 SHUNKICHI EGO JT        $      18,387.04 $              0.00 $            83.30
     1693                 GRAVES LENORA           $       6,178.68 $              0.00 $            27.99
     1694                 GRAVES LENORA           $      19,588.09 $              0.00 $            88.74
                          JOHNSON FAMILY REV
     1695                 LIFETIME TR        $            7,513.03 $              0.00 $            34.04
                          JOHNSON FAMILY REV
     1696                 LIFETIME TR        $            8,023.29 $              0.00 $            36.35
     1697                 JOHNSON TRUST ELSIE $          20,376.85 $              0.00 $            92.32
                          SCHWIERJOHANN
     1698                 EDWARD                  $      11,571.46 $              0.00 $            52.42
                          DESMET CEMETERY
     1699                 ASSOC                   $      10,000.00 $              0.00 $            45.30
     1700                 BUDDENHAGEN JAMES $             5,219.63 $              0.00 $            23.65
     1701                 WILSON GAYLEN           $       1,373.33 $              0.00 $             6.22
     1702                 SECOR JANET             $      13,270.34 $              0.00 $            60.12
     1703                 LANGENESS DOROTHY $            13,190.42 $              0.00 $            59.76
                          MICHAEL AND
     1704                 DEBORAH LONG            $      25,170.47 $              0.00 $           114.03
                          HAROLD AND MARY
     1705                 JOHNSON                 $      50,970.47 $              0.00 $           230.92




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          DANIEL E. HIRTH CLFC
     1706                 CLU                  $         11,374.20 $              0.00 $            51.53
                          CHRISTIANSON
     1707                 LAVERN                  $       4,911.90 $              0.00 $            22.25
     1708                 BLADES DOLORES          $      13,991.76 $              0.00 $            63.39
     1709                 MATA RICHARD            $      10,602.72 $              0.00 $            48.03
     1710                 NEUMANN BETTY           $      42,884.84 $              0.00 $           194.29
     1711                 WEISINGER SUSAN         $       5,961.79 $              0.00 $            27.01
     1712                 HANSON ANDREA           $      12,539.56 $              0.00 $            56.81
     1713                 DRAMSTAD LEANN          $      10,085.56 $              0.00 $            45.69
     1714                 DRAMSTAD RUSSEL         $      10,085.56 $              0.00 $            45.69
     1715                 DRAMSTAD RUSSEL         $      10,082.52 $              0.00 $            45.68
                          ESTATE OF LUCILLE M
     1716                 GEIER BY SON DE     $          20,000.00 $              0.00 $            90.61
     1717                 HAZEL M. HARRIS         $      80,000.00 $              0.00 $           362.43
                          EVERETT AND
     1718                 PATRICIA MUSSON, Jr.    $      26,456.23 $              0.00 $           119.86
     1719                 GROSS BRADLEY           $       4,369.79 $              0.00 $            19.80
     1720                 WILCOX HELENA           $      17,377.66 $              0.00 $            78.73
                          RICHARD ARONSON
                          AND SANDRA
     1721                 ARONSON                 $      57,911.03 $              0.00 $           262.36
     1722                 HAROLD W. THORESON $           84,480.40 $              0.00 $           382.73
     1723                 GERTRUDE THORESON $            24,834.46 $              0.00 $           112.51
     1724                 MYRON ANDERSEN          $           0.00 $              0.00 $             0.00
     1725                 MYRON ANDERSEN          $      10,400.00 $              0.00 $            47.12
     1726                 CAROL OXENFORD          $      41,427.42 $              0.00 $           187.68
     1727                 MOLLY JACOBS            $         821.02 $              0.00 $             3.72




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
     1734                 KOLBE DOUGLAS           $      20,523.54 $              0.00 $            92.98
     1735                 HYNES PATRICIA          $       5,433.14 $              0.00 $            24.61
     1736                 KOLBE DOUGLAS           $      20,523.54 $              0.00 $            92.98
     1737                 HYNES JAMES             $       5,433.14 $              0.00 $            24.61
                          CATHERINE
     1738                 KIRSCHBAUM              $       7,924.82 $              0.00 $            35.90
     1739                 KOLBE DOUGLAS           $      20,523.54 $              0.00 $            92.98
     1740                 BERNICE KOESLER         $      36,676.60 $              0.00 $           166.16
     1742                 BERNICE BACK            $      20,363.36 $              0.00 $            92.25
                          ESTATE OF MILDRED
     1743                 SEECK                   $       6,585.84 $              0.00 $            29.84
     1744                 JOHANNSEN VICKI         $       5,936.27 $              0.00 $            26.89
     1745                 GEORGE K. SELZER        $      10,643.70 $              0.00 $            48.22
     1746                 SCHIFERL DONALD         $      96,864.02 $              0.00 $           438.83
     1747                 CARYL POPPEN            $       9,548.85 $              0.00 $            43.26
     1748                 KRUMMEN LORY            $      18,310.34 $              0.00 $            82.95
     1749                 DELANEY JANET           $      13,262.61 $              0.00 $            60.08
     1750                 CABLE CONNIE            $      13,262.61 $              0.00 $            60.08
     1751                 HOFFMAN LESLIE          $      13,262.61 $              0.00 $            60.08
     1752                 WILLISON PERRY          $      13,262.61 $              0.00 $            60.08
     1753                 RYAN JOHANNSEN          $       5,905.97 $              0.00 $            26.76
                          TOSHIA JOHANNSEN-
     1754                 CASEY                   $       8,111.64 $              0.00 $            36.75
                          GEORGE AND
     1766                 CARONLINE KLOTZ         $      22,389.26 $              0.00 $           101.43
     1791                 BRIAN KOSEL             $      10,550.66 $              0.00 $            47.80
     1792                 MARSHA RENNER           $      10,550.66 $              0.00 $            47.80




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                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
     1793                 KEVIN KOSEL                $       10,550.66 $               0.00 $            47.80
     1794                 LUCINA DUSCHER             $         9,923.76 $              0.00 $            44.96
     1795                 LUCINA DUSCHER             $       20,555.40 $               0.00 $            93.12
     1796                 LUCINA DUSCHER             $       20,555.40 $               0.00 $            93.12
     1797                 LUCINA DUSCHER             $         9,923.76 $              0.00 $            44.96
     1798                 LUCINA DUSCHER             $       20,555.40 $               0.00 $            93.12
     1799                 LUCINA DUSCHER             $         9,923.76 $              0.00 $            44.96
     1800                 LUCINA DUSCHER             $       20,555.40 $               0.00 $            93.12
     1801                 LUCINA DUSCHER             $         9,923.76 $              0.00 $            44.96
     1802                 LUCINA DUSCHER             $         9,923.76 $              0.00 $            44.95
     1803                 LUCINA DUSCHER             $       20,555.40 $               0.00 $            93.11
     1805                 HENSHAW BELLENE            $       45,445.54 $               0.00 $           205.88
                Total to be paid to timely general unsecured creditors                $           172,877.93
                Remaining Balance                                                     $                   0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 244,574.77 have been allowed
     and will be paid pro rata only after all allowed administrative, priority and timely filed general
     (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
     percent.

                 Tardily filed general (unsecured) claims are as follows:

                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
     1733                 ELMER THOM                 $       19,959.56 $               0.00 $             0.00
     1741                 KOESTNER RICHARD           $         1,313.11 $              0.00 $             0.00
     1755                 BRUCE ARTHERHOLT           $         5,557.69 $              0.00 $             0.00




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                                                  Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                of Claim             to Date          Payment
                          HOFFMANN PHYLLIS
     1756                 TOD                     $       3,267.28 $              0.00 $           0.00
     1757                 TARBELL LOAL            $       1,786.24 $              0.00 $           0.00
     1758                 WALTER NICK, Jr.        $       1,741.87 $              0.00 $           0.00
     1759                 NETERVAL RUSSELL        $       8,828.51 $              0.00 $           0.00
     1760                 PARLET GENEVIEVE        $      16,417.37 $              0.00 $           0.00
     1761                 PARLET GENEVIEVE        $      16,417.37 $              0.00 $           0.00
     1762                 MARKUS J ZINNIKER       $      14,715.00 $              0.00 $           0.00
     1763                 MARKUS J ZINNIKER       $      15,007.00 $              0.00 $           0.00
     1764                 MARKUS J ZINNIKER       $      14,366.00 $              0.00 $           0.00
     1765                 SCHULTZ KENNETH         $       1,041.24 $              0.00 $           0.00
     1767                 WOLTER DWAIN            $       1,314.28 $              0.00 $           0.00
                          IRWIN AND FLORENCE
     1768                 CHRISTENSON        $           10,000.00 $              0.00 $           0.00
     1769                 DEBBIE THOMAS           $       6,000.00 $              0.00 $           0.00
     1770                 DOUGLAS J. REIN         $       2,606.41 $              0.00 $           0.00
     1771                 NANCY J. HARDER TOD $           2,606.41 $              0.00 $           0.00
     1772                 REIN MICHAEL            $       2,205.42 $              0.00 $           0.00
     1773                 NANCY J. HARDER TOD $           3,978.00 $              0.00 $           0.00
     1774                 REIN MICHAEL            $       3,366.00 $              0.00 $           0.00
     1775                 DOUGLAS J. REIN         $       3,978.00 $              0.00 $           0.00
     1776                 DOUGLAS J. REIN         $       2,751.46 $              0.00 $           0.00
     1777                 NANCY J. HARDER TOD $           2,751.46 $              0.00 $           0.00
     1778                 REIN MICHAEL            $       2,328.16 $              0.00 $           0.00
     1779                 DOUGLAS J. REIN         $       2,094.65 $              0.00 $           0.00
     1780                 REIN MICHAEL            $       1,772.40 $              0.00 $           0.00




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                                                      Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                    of Claim             to Date          Payment
     1781                 NANCY J. HARDER TOD $               2,094.65 $              0.00 $             0.00
     1782                 DOUGLAS J. REIN            $          856.42 $              0.00 $             0.00
     1783                 REIN MICHAEL               $          724.66 $              0.00 $             0.00
     1784                 NANCY J. HARDER TOD $                 856.42 $              0.00 $             0.00
     1785                 DOUGLAS J. REIN            $        1,675.69 $              0.00 $             0.00
     1786                 REIN MICHAEL               $        1,417.90 $              0.00 $             0.00
     1787                 NANCY J. HARDER TOD $               1,675.69 $              0.00 $             0.00
     1788                 NICHOLAS REIN              $        3,361.22 $              0.00 $             0.00
                          REBECCA A.
     1789                 CARTWRIGHT                 $        3,361.22 $              0.00 $             0.00
     1790                 JEROME JOSEPH REIN         $        3,361.22 $              0.00 $             0.00
     1804                 MARCIA DAVIS               $       57,018.79 $              0.00 $             0.00
                Total to be paid to tardy general unsecured creditors                $                   0.00
                Remaining Balance                                                    $                   0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




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